     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 1 of 202
                                                                      1




1                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
2
     UNITED STATES OF AMERICA,
3                                           Criminal Case
                        Plaintiff(s),       No. 21-00352-JEB
4                v.
                                            Washington, D.C.
5    MARC BRU,
                                            October 3, 2023
6                       Defendant(s).

7    -----------------------------------------------------------

8                                  BENCH TRIAL
                      BEFORE THE HONORABLE JAMES E. BOASBERG
9                       UNITED STATES DISTRICT CHIEF JUDGE

10   APPEARANCES:

11   FOR THE PLAINTIFF(S):      Michael Gordon, Esquire
                                United States Attorney's Office
12                              Middle District of Florida
                                400 North Tampa Street
13                              Suite 3200
                                Tampa, Florida 33602
14
                                Madison Mumma, Esquire
15                              United States Attorney's Office
                                1301 New York Avenue Northwest
16                              Suite 1000
                                Washington, D.C. 20530
17

18   FOR THE DEFENDANT(S):      Marc Bru, Pro Se

19
     STANDBY ATTORNEY:          Benjamin W. Muse, Esquire
20                              Federal Defender, District of Alaska
                                188 West Northern Lights Boulevard
21                              Suite 700
                                Anchorage, Alaska 99503
22

23   REPORTED BY:               Tammy Nestor, RMR, CRR
                                Official Court Reporter
24                              333 Constitution Avenue Northwest
                                Washington, D.C. 20001
25                              tammy_nestor@dcd.uscourts.gov


                                                                     Exhibit D-3
                                                                   Page 1 of 202
     Case 1:21-cr-00352-JEB   Document 107-3     Filed 11/15/24    Page 2 of 202
                                                                          2




1                                   I-N-D-E-X

2
      WITNESS                     DIRECT       CROSS    REDIRECT      RECROSS
3     THOMAS LOYD

4         BY MS. MUMMA               18

5     ELIZABETH GLAVEY

6         BY MR. GORDON              67

7     JULIANNA DIPPOLD

8         BY MS. MUMMA               81

9

10    GOVERNMENT'S EXHIBITS                                       PAGE

11        1                                                          33

12        2                                                          17

13        101 through 110                                            22

14        201 through 212                                            21

15        213                                                        37

16        301                                                        72

17        302                                                        73

18        305                                                        78

19        401 through 403, 501 through 507                           42

20        701 through 703                                            42

21        606 through 608                                            17

22        704 through 706                                           114

23        707                                                       112

24        708.1 through 708.3, 709.1 through 709.3                  142

25


                                                                      Exhibit D-3
                                                                    Page 2 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 3 of 202
                                                                       3




1     GOVERNMENT'S EXHIBITS                                     PAGE

2         710.1 through 710.4                                    142

3         711 through 713                                        139

4         803 through 807 and 809 through 816                     16

5         817 through 824                                        132

6         901 through 907                                        117

7         1001                                                    17

8         1002 through 1005                                       16

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                                                                   Exhibit D-3
                                                                 Page 3 of 202
     Case 1:21-cr-00352-JEB    Document 107-3     Filed 11/15/24    Page 4 of 202
                                                                           4




1     The following proceedings began at 9:32 a.m.:

2               THE COURTROOM DEPUTY:      Good morning.       We are here

3     today for a trial in Criminal Action 21-352, the United States

4     of America versus Marc Bru.

5               Beginning with counsel for the government, please

6     approach the lectern and identify yourself for the record.

7               MR. GORDON:     Good morning, Your Honor.          Mike Gordon

8     for the United States along with Madison Mumma.

9               THE COURT:     Good morning to both of you.

10              MR. GORDON:     Your Honor, also present with us at

11    counsel table is FBI Special Agent Julianna Dippold.

12              THE COURT:     Could you spell the last name.

13              MR. GORDON:     D-I-P-P-O-L-D.

14              THE COURT:     Thank you very much.       Okay.    Good morning.

15              Okay.   Mr. Bru, come forward.

16              MR. BRU:      Marc Anthony Bru.

17              THE COURT:     Thank you very much.       Good morning.

18              And can we have standby counsel identify himself.

19              MR. MUSE:     Good morning, Your Honor.        Ben Muse as

20    standby counsel.     I'm here with Bruce Johnson, chief

21    investigator to the federal public defender.

22              THE COURT:     Okay.   Thank you.     Welcome to both of you.

23              We are here today for a bench trial.           Anything

24    preliminary for the government?

25              MR. GORDON:     No, Your Honor.


                                                                       Exhibit D-3
                                                                     Page 4 of 202
     Case 1:21-cr-00352-JEB    Document 107-3      Filed 11/15/24   Page 5 of 202
                                                                           5




1               THE COURT:      Defense, Mr. Bru, anything preliminary?

2               THE DEFENDANT:        I'm sorry?

3               THE COURT:      Anything preliminary before we begin?

4               MR. BRU:      Yes, Your Honor.

5               THE COURT:      So come to the podium -- when you need to

6     address me for more than a word or two, you should please come

7     to the podium.

8               MR. BRU:      Okay.   Given the circumstances and the

9     narrative surrounding this trial, I decline and I do not

10    consent to this trial.       This trial is -- has been and continues

11    to be political and illegitimate and not lawful.

12              I have a copy of my negative averment that -- I have a

13    copy for you and for the prosecutor to peruse and observe.

14              THE COURT:      Okay.    I am happy to take a look at it,

15    but that notwithstanding, a defendant's consent is not required

16    for the government to proceed to trial, so we will go forward

17    with trial.

18              Any other preliminary issues?

19              MR. BRU:      Well, I object to the whole thing, and you

20    do what you do.

21              THE COURT:     Okay.     Thanks so much.

22              All right.     So just on scheduling, we've got our

23    monthly judges meeting at 4:30 today, so we will recess about

24    4:15, and then we will recess for lunch around 12:15, 12:20,

25    something like that.       Okay?


                                                                       Exhibit D-3
                                                                     Page 5 of 202
     Case 1:21-cr-00352-JEB   Document 107-3     Filed 11/15/24   Page 6 of 202
                                                                         6




1                All right.   Let's begin.      Government may give its

2     opening.

3                MS. MUMMA:   If I could just have one moment, Your

4     Honor, to connect.

5                THE COURT:   Take your time.

6                MS. MUMMA:   Thank you.

7                Can you see that on the screen, Your Honor?

8                THE COURT:   Yes.

9                MS. MUMMA:   Okay.   Great.

10               All right.   Good to go.      Thank you.

11               Your Honor, the 2020 presidential election was a

12    watershed moment for this defendant.         This was his reaction in

13    in the following days:

14               All hell has broken loose.       All the legitimate ballots

15    went to dead people.     POTUS is still Trump.        We have until

16    Jan 20.

17               That's January 20, 2021, the date, obviously, of

18    President Biden's inauguration, the date that, in the

19    defendant's mind, the United States, as we know it, would cease

20    to exist, and an illegitimate entity, the true power backing

21    Congress and Joe Biden, in the defendant's mind, would

22    officially take over.

23               The evidence will show that the defendant called that

24    entity by many names including the corporation, the banking

25    cartel, the de facto regime, and the totalitarian party.


                                                                     Exhibit D-3
                                                                   Page 6 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24    Page 7 of 202
                                                                         7




1               And again, in the defendant's mind, if Donald Trump

2     were to leave office, the country would fall into that entity's

3     hands.   So the defendant --

4               MR. BRU:      Objection, improper argument.

5               THE COURT:      This is opening statement.       She can state

6     whatever she expects the evidence to show.

7               MS. MUMMA:      So the defendant felt there was nothing

8     else for it.    He was going to have to take a stand against the

9     government in order to stop that transfer of power.            And he

10    did.   And he was successful.

11              His and other rioters' efforts on January 6 to

12    overwhelm police and forcibly occupy the Capitol stopped the

13    certification for nearly five hours.        And the defendant made it

14    all the way to the United States Senate, and he took multiple

15    selfies in the Senate gallery to celebrate that feat.

16              And that feat took no small effort on his part.              On

17    his way, he fought to break the police line on the west plaza

18    by pushing a line of fencing into officers.

19              First I want to back up to what exactly led the

20    defendant to obstruct the police, invade the Capitol, and

21    occupy the Senate gallery on January 6.

22              So you will see, the evidence will show, that in the

23    weeks leading up to January 6, the defendant learned of the

24    day's significance, obviously the day that the 2020

25    presidential election would be certified.


                                                                     Exhibit D-3
                                                                   Page 7 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 8 of 202
                                                                       8




1               And you will see evidence from the defendant's

2     Facebook account showing that the defendant educated himself on

3     that certification process.     And as of mid-December, he knew

4     that the certification would take place in Washington, D.C. on

5     the 6th, that the House and the Senate would convene in a joint

6     session, that the Vice President would be there to preside over

7     the Senate, and that members of Congress could and would object

8     to the electoral votes of the states.

9               So on January 4, the defendant packed his things and

10    flew nearly 3,000 miles from Portland, Oregon to

11    Washington, D.C.    And the evidence will show that he viewed a

12    potential Biden administration as a mortal threat to the

13    country and that's why he went that day.

14              This is a quote from the defendant so-called

15    contemplate affidavit, which he has posted on several of his

16    websites.

17              I was present in Washington, District of Columbia, on

18    January 6, 2021 for the reasons that I am aware of the massive

19    fraud in the November 3, 2020 election by the Biden

20    administration attacking the United States of America by way of

21    implementing communism by the totalitarian party, which is

22    illegal in the United States of America.

23              So on the morning of January 6, the defendant put on

24    clear goggles and a neck gaiter to cover his face, which you

25    can see in this photo from his Facebook, and he headed to the


                                                                   Exhibit D-3
                                                                 Page 8 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 9 of 202
                                                                        9




1     National Mall.

2               The evidence will also show that the defendant was a

3     member of the Proud Boys and that he connected with his fellow

4     Proud Boys on the mall from which they all together marched

5     straight to the Capitol before President Trump had given his

6     speech on the Ellipse.

7               In a Facebook -- this is a selfie that the defendant

8     took on the mall.       This again is from his Facebook account.

9               In a Facebook post along the way, the defendant again

10    made his intentions clear.       He planned to seize power from

11    those he believed were corruptly in control of Congress.

12              This is a quote again from his Facebook, and this was

13    posted on January 6.       No longer will we let the bankers control

14    our country.

15              The evidence will show that the defendant was among

16    the first to breach the restricted perimeter at Peace Circle.

17    He trampled over metal barricades and area closed signs that

18    were in his path.       You will see that the defendant spent over

19    an hour on the west plaza of the Capitol.         While he was there,

20    he was not a passive observer.       Instead, he spent much of that

21    time at the front of the mob obstructing law enforcement.

22              You will see and hear how he repeatedly berated U.S.

23    Capitol Police officers including Inspector Thomas Loyd.              And

24    he stood out amongst the members of the mob that day.

25              You will hear from Inspector Loyd today that more than


                                                                    Exhibit D-3
                                                                  Page 9 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24    Page 10 of 202
                                                                        10




1      two and a half years later, he can still specifically remember

2      that defendant and his aggressive behavior.

3                Later on, the defendant found his path blocked to the

4      Capitol again, this time by a line of metal barricades and the

5      police.   He didn't turn around.    He pushed and shoved against

6      those barricades, and he tried to break that police line.

7                This is a picture of him being sprayed by officers and

8      a picture of him pushing against the line.         And you can see

9      from these photos that he was persistent.        Verbal commands and

10     pepper spray could not stop him.        He kept pushing the

11     barricades, putting his full body weight behind that effort,

12     and he didn't retreat until Inspector Loyd who, as Your Honor

13     is aware, is a veteran member of the Capitol Police who

14     oversees hundreds of officers and whose duties usually do not

15     involve being at the front lines at all, he didn't retreat

16     until Inspector Loyd threw a punch in his direction.

17               Only then did the defendant back off.           But that was

18     temporary.   He wanted to get back in the action.          So when the

19     police line finally broke and the west plaza was overrun by

20     rioters, the defendant made his way up to the upper west

21     terrace door.    When he arrived, the exterior doors were open,

22     but the interior doors were closed.        Again, he did not take

23     this opportunity to turn around.        He bided his time with, as

24     Your Honor can see, an emergency exit sign on his right, alarms

25     sounding overhead, and rioters around him shouting, Let us in.


                                                                      Exhibit D-3
                                                                   Page 10 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 11 of 202
                                                                       11




1                Eventually other rioters pushed past the outnumbered

2      officers and entered the Capitol, and the defendant quickly

3      followed.

4                While inside, he made a beeline to the Senate gallery.

5      He did not delay.      There he snapped a few celebratory selfies

6      overlooking the Senate floor.      And again, as Your Honor is

7      aware, law enforcement had evacuated the Vice President and the

8      senators from the floor.      And in this case, it was just 20

9      minutes prior to these selfies.

10               So following January 6, the defendant expressed no

11     shame or regret for his actions on January 6.         Instead, he was

12     proud.   And he made plans to repeat the violence of January 6.

13     He did that by recruiting a friend to help him overthrow the

14     Oregon state government this time at the Oregon Capitol

15     Building in Portland.

16               You can see this text to his friend, part of the text,

17     on February 23, 2021, so just over a month after January 6, a

18     month and a half.      If we do Portland, we do it in shock and

19     awe.   Overwhelm them shit stains with thousands of patriots

20     like the Capitol.

21               Soon after sending this message, the defendant was

22     charged with seven counts for his actions on January 6.           And

23     those counts include obstruction of an official proceeding and

24     civil disorder.

25               And after Your Honor has heard all of the evidence in


                                                                    Exhibit D-3
                                                                 Page 11 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 12 of 202
                                                                       12




1      this case, the government's going to come back and ask you to

2      return a verdict -- the only verdict consistent with the

3      verdict, and that's guilty on all counts.        Thank you.

4                THE COURT:     Thank you very much.    Mr. Bru, do you wish

5      to make an opening statement?

6                MR. BRU:     I do not consent to this trial.      I never

7      have.   For the last three years, I have had denied contract

8      between me and the government or perceived government.

9                Come now Marc Bru, the trustee of person named

10     defendant and the beneficiaries have already been named, within

11     the age of majority, competent to state the following facts and

12     truth under the penalties of perjury, do have the obligation in

13     enforcing temporary peremptory norms thereby existing with the

14     standing right with the performance to ensure the negative

15     averment, in consideration as so;

16               United States of America, also known as the United

17     States corporation company, also the United States, also the

18     U.S. foreign to the -- the U.S. foreign to the United States of

19     America, all court -- all court employees and actors thereby of

20     established by the community trust, operating under Rule 7067,

21     registry funds herein exhibited A -- I have there, I will turn

22     that in -- exhibited A herein.

23               The petitioners -- the petitioners does not have the

24     standing or any obligation thereby have no right to try or sue

25     the defendant in the first place, and this case is moot, fraud,


                                                                    Exhibit D-3
                                                                 Page 12 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 13 of 202
                                                                       13




1      void on its face.      The petitioners did not sign the judicial

2      contracts establishing judicial powers, prosecutorial powers,

3      and translation powers thereby forcing an association.           All

4      previous contracts the defendant signed was under the threat of

5      a gun to murder Marc Bru, the defendant, pain compliance via

6      torture such as illegally incarcerating the defendant, same as

7      being tortured, now by the same petitioners.         Torture is

8      against peremptory norms and is illegal all over the world and

9      thereby all previous contracts are rescinded by the defendant,

10     legally, moot and void on its face for the fraud, due process

11     violations, and gross negligence to heinously attack the

12     defendant to establish no political opposition in a

13     totalitarian control.

14               The petitioners did not answer any questions in the

15     bill of particulars prepared by the defendant nor has satisfied

16     to answer any of the defendant's questions thereby ridiculing

17     the defendant, which is a due process violation to intimidate

18     to -- to intimidate the defendant, which is illegal and a

19     conspiracy.

20               The purpose of any court of law is to establish a

21     common law court of record in demonstrating the facts of the

22     case in proving the truth thereby having a judgment and

23     determination of the injunction of the proper procedures in

24     granting relief and justice where it must be applied.

25     Therefore, any due process violation is a lie, and a case


                                                                    Exhibit D-3
                                                                 Page 13 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 14 of 202
                                                                       14




1      cannot proceed as a lie is established -- as establishing a

2      libel which is railroading of the crimes being committed

3      against the defendant.

4                In the 1789 --

5                THE COURT:     Let me stop you for a minute since I have

6      no idea what you are talking about.       But more importantly, the

7      opening statement is to discuss the evidence in the case.            If

8      there are legal issues, those are subject to motion.           You can

9      discuss the evidence in the case and how and whether the

10     evidence supports the charges or not, but sort of general legal

11     arguments about the trial are not --

12               MR. BRU:     I'm not making any legal arguments.       This is

13     a statement.

14               THE COURT:     Okay.   Well, again --

15               MR. BRU:     This is a statement.    And I don't consent to

16     the trial, so there will be no argument.

17               THE COURT:     I got that part.    Okay.   I'm just saying

18     you need to speak about the evidence in the case and how it

19     relates to the charges.      That's what opening statement is for.

20     So if you want to speak about the evidence, I am happy to hear

21     you.

22               MR. BRU:     I will turn these in as evidence.

23               THE COURT:     Okay.   Thank you very much.

24               Government may put on its case in chief and call its

25     first witness.


                                                                    Exhibit D-3
                                                                 Page 14 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24   Page 15 of 202
                                                                        15




1                 MS. MUMMA:    Government calls inspector Thomas Loyd.

2      Give me one moment, Your Honor.

3                 THE COURT:    Okay.

4                 Thank you, sir.    Good morning, sir.      Thank you for

5      coming.    Please approach the witness stand and raise your right

6      hand.

7                                    THOMAS LOYD

8      Having been first duly sworn on oath, was examined and

9      testified as follows:

10                MR. GORDON:    Your Honor, Ms. Mumma is going to handle

11     questioning of Inspector Loyd.       But before she begins, there

12     are a number of exhibits that the government is entering into

13     evidence that don't require a witness to do so.

14                THE COURT:    Okay.

15                MR. GORDON:    First is the exhibits that were subject

16     to docket entry 79, which are business records from Facebook

17     and Safeway.    So those exhibits are Government's Exhibits 803

18     through 807 and 809 through 816.         Those are the Facebook

19     records.   And then exhibits 1000 --

20                THE COURT:    I'm sorry, so 803 through?

21                MR. GORDON:    Through 807.

22                THE COURT:    Okay.

23                MR. GORDON:    And then 809 through 816.

24                THE COURT:    Okay.   And I'm sorry, the basis for

25     admission is?


                                                                     Exhibit D-3
                                                                  Page 15 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24    Page 16 of 202
                                                                        16




1                MR. GORDON:    They are business records and, therefore,

2      non-hearsay.

3                THE COURT:    Any objection?

4                All right.    They will be admitted.

5                (Government's 803 through 807 and 809 through 816

6      received in evidence.)

7                MR. GORDON:    Similarly, and also addressed in

8      ECF No. 79 is records from Safeway, which are Government's

9      Exhibits 1002 through 1005.

10               THE COURT:    All right.   Any objection?

11               Okay.   Admitted.

12               (Government's 1002 through 1005 received in evidence.)

13               MR. GORDON:    Additionally, the government is

14     introducing a number of exhibits that are the text of statutes,

15     the Constitution, congressional record --

16               THE COURT:    Again, I don't think that's -- I think we

17     had this in the other trial.     I don't think it's appropriate to

18     admit the law.    You can argue the law.      I am aware of the law.

19     I don't think the law needs to be admitted into evidence.

20               MR. GORDON:    That's fine, Your Honor.         Then we can

21     ignore Government's Exhibits 601 through 605, but we would

22     admit 606, 607, and 608 as self-authenticating public records.

23     606 is Senate concurrent resolution 1 from January 3, 2021.

24               THE COURT:    These are parts of the congressional

25     record, so those will be admitted.


                                                                      Exhibit D-3
                                                                   Page 16 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 17 of 202
                                                                      17




1                MR. GORDON:    607 is the Senate's congressional record,

2      and 608 is the House's congressional record from that session.

3                THE COURT:    Okay.

4                (Government's 606 through 608 received in evidence.)

5                MR. GORDON:    Two more, Your Honor.     Government's

6      Exhibit 1001 is the curfew order issued by the mayor of

7      Washington, D.C. on January 6, 2021.

8                THE COURT:    Right.    Which is again --

9                MR. GORDON:    Self-authenticating.

10               THE COURT:    -- public record?

11               MR. GORDON:    Yes.

12               THE COURT:    That will be admitted.

13               (Government's 1001 received in evidence.)

14               MR. GORDON:    Finally, Your Honor, Government's

15     Exhibit 2 is a compilation of -- it's a video compilation that

16     I know you have seen before in other trials of the

17     congressional record and the videos from inside the Senate and

18     House chambers documenting the events recorded in those

19     congressional records.

20               THE COURT:    Okay.    Any objection to that?

21               All right.    Admitted.

22               (Government's 2 received in evidence.)

23               MR. GORDON:    That's Government's Exhibit 2, Your

24     Honor.

25               THE COURT:    Right.


                                                                    Exhibit D-3
                                                                 Page 17 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 18 of 202
                                                                       18




1                MR. GORDON:    Thank you.     Nothing further.

2                THE COURT:    Thank you.    Ms. Mumma.

3                               DIRECT EXAMINATION

4      BY MS. MUMMA:

5      Q     Good morning, Inspector Loyd.

6      A     Good morning.

7      Q     Can you please state and spell your name for the record.

8      A     Inspector Tom Loyd, L-O-Y-D.

9      Q     And what do you do for a living?

10     A     I work for the U.S. Capitol Police.

11     Q     How long have you been with the Capitol Police?

12     A     44 years.

13     Q     And what's the primary mission of the Capitol Police?

14     A     Protect the Congress.

15               THE COURT:    You are a little close to the mic.

16     BY MS. MUMMA:

17     Q     Can you back up a little.

18     A     Too close?

19               THE COURT:    There was a little feedback.       There you

20     go.   Great.

21     BY MS. MUMMA:

22     Q     Where exactly do you operate at the Capitol?

23     A     I'm stationed at the Capitol Building itself.

24     Q     Okay.    And what's your specific title again?

25     A     Inspector.


                                                                     Exhibit D-3
                                                                  Page 18 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 19 of 202
                                                                        19




1      Q     Okay.    And where does inspector fall within the kind of

2      chain of command at Capitol Police?

3      A     You have the frontline officers who are supervised by the

4      sergeants.     The sergeants are supervised by the lieutenants.

5      The lieutenants are supervised by the captains.          And I

6      supervise three captains.     Above me is the rank of deputy

7      chief, assistant chief, and chief.

8      Q     Great.    Approximately how many officers do you oversee in

9      total?

10     A     If you include the supervisors and the civilians,

11     approximately 400.

12     Q     400?

13     A     Yes.

14     Q     And on a daily basis, what would be some of your duties as

15     an inspector?

16     A     I'm responsible for the safety and security of the Capitol

17     Building itself to include the House and Senate chamber, the

18     Capitol visitor center and the Capitol square on the outside.

19     Q     Great.    And just to be clear, where is the Capitol

20     located?

21     A     No. 1 First Street Northwest, Washington, D.C.

22     Q     Washington, D.C.?

23     A     Yes.

24     Q     And I'm assuming -- sorry.

25           Are you familiar with both the Capitol Building itself and


                                                                    Exhibit D-3
                                                                 Page 19 of 202
     Case 1:21-cr-00352-JEB      Document 107-3   Filed 11/15/24   Page 20 of 202
                                                                         20




1      the grounds?

2      A      Yes.

3      Q      Are you familiar with how the building and the grounds

4      looked on January 6, 2021?

5      A      Yes.

6      Q      Prior to your testimony today, did you review Government's

7      Exhibits 201 through 212?

8      A      Yes.

9      Q      What are those, if you can remember?

10     A      Just the outline of the buildings.

11     Q      Okay.   Are they photos and videos depicting both the

12     exterior and the Capitol grounds?

13     A      Yes.

14     Q      Okay.   Do those photos and videos contained in

15     Government's Exhibits 201 through 212 fairly and accurately

16     depict areas and scenes on the exterior of the Capitol and the

17     Capitol grounds as they appeared on January 6, 2021?

18     A      Yes.

19     Q      Okay.   So have they been manipulated or altered in any

20     way?

21     A      Not that I recall.

22     Q      Okay.   They are not, you know, deep fakes?          They are not

23     fake pictures?

24     A      No.

25                  MS. MUMMA:    Okay.   Your Honor, at this time the


                                                                       Exhibit D-3
                                                                    Page 20 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24   Page 21 of 202
                                                                        21




1      government would move to admit Government's Exhibits 201

2      through 212.

3                 THE COURT:    Any objection?

4                 Admitted.

5                 (Government's 201 through 212 received in evidence.)

6      BY MS. MUMMA:

7      Q     Inspector Loyd, does the U.S. Capitol Police system

8      maintain a system of closed-circuit video cameras?

9      A     Yes.

10     Q     Are you familiar with that system?

11     A     Yes.

12     Q     Are there cameras inside and outside of the building?

13     A     Yes.

14     Q     And does that system maintain a time stamp on that video

15     footage?

16     A     Yes.

17     Q     Do they -- do the cameras capture audio or just video?

18     A     Just video.

19     Q     In preparation for your testimony today, have you reviewed

20     certain footage captured by those cameras on January 6, 2021?

21     A     Yes.

22     Q     And based on your presence at the Capitol on January 6 and

23     your knowledge of the closed-circuit video system, do you

24     believe that the footage that you reviewed fairly and

25     accurately depicts the events that took place at the Capitol on


                                                                     Exhibit D-3
                                                                  Page 21 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24   Page 22 of 202
                                                                         22




1      January 6?

2      A     Yes.

3      Q     And prior to your testimony today, did you review

4      Government's Exhibits 101 through 110?

5      A     Yes.

6      Q     Are those closed-circuit footage videos of the interior of

7      the Capitol between approximately 2:36 and 2:50 p.m.?

8      A     Yes.

9      Q     Does that CCTV footage contained in those exhibits fairly

10     and accurately depict areas and scenes both inside the

11     Capitol -- or inside the Capitol as they appeared on January 6?

12     A     Yes.

13     Q     They haven't been manipulated or altered in any way?

14     A     No.

15                 MS. MUMMA:    Your Honor, at this time the government

16     would move to admit Government's Exhibits 101 through 110.

17                 THE COURT:    Any objection?

18                 Admitted.

19                 (Government's 101 through 110 received in evidence.)

20                 MS. MUMMA:    Mr. Gordon, could you please publish

21     Exhibit 209, Government's Exhibit 209.

22                 Thank you.

23     BY MS. MUMMA:

24     Q     Inspector Loyd, can you -- what is this?

25     A     This is a 3D image of the U.S. Capitol Building to include


                                                                      Exhibit D-3
                                                                   Page 22 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 23 of 202
                                                                      23




1      the inauguration stage.

2      Q     Great.    Is the inauguration stage usually there?

3      A     No.    It's only there every four years for the

4      inauguration.

5      Q     How many floors are in the Capitol?

6      A     How many floors?

7      Q     Yes.

8      A     Approximately six.

9      Q     Okay.    What, in this picture itself or in this image, the

10     depiction of the Capitol, which way is the Capitol facing?

11     A     You are looking at the west side.      The west side is

12     closest to us at the bottom of the screen.

13     Q     Great.    If someone wanted to visit the Capitol, where

14     would they, in this photo, access the entrance to the Capitol?

15     Can you circle it.     Do you know how to do that on the screen?

16     A     It's actually -- it's beyond the screen on the top is the

17     Capitol visitor center, which is not part of the actual image.

18     It's to the top of the screen.

19     Q     Okay.    So on the east side?

20     A     Yes, on the east side.

21     Q     Okay.    Is there an entrance on the west side of the

22     building that the general public can access?

23     A     No.

24     Q     So none of these, you know, doors or windows or access

25     points on the west side we see towards the bottom of the photo,


                                                                   Exhibit D-3
                                                                Page 23 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 24 of 202
                                                                        24




1      the public couldn't access those?

2      A     No.

3      Q     Okay.    Is the circling function working on your screen?

4      A     Yes.

5      Q     Okay.    I am going to have you circle a few areas on the

6      screen for you to identify and kind of describe for us.            Can

7      you start with what is the west plaza.

8      A     (Indicating.)

9      Q     Great.

10     A     West plaza.

11                 MS. MUMMA:    Just for the record, he's circling the

12     center, the lowest part of the center image.

13     BY MS. MUMMA:

14     Q     What is that?

15     A     That's the lower west terrace, also known as the west

16     plaza.   It's a cement portion walkway on the west side of the

17     building.

18     Q     Okay.    How about the upper west terrace door?

19     A     (Indicating) upper west terrace door.

20     Q     That's the center of this photograph, the center of the

21     building?

22     A     Yes.

23     Q     Again, is that an emergency exit?

24     A     Emergency exit only.

25                 MS. MUMMA:    Mr. Gordon, you can take that off the


                                                                     Exhibit D-3
                                                                  Page 24 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 25 of 202
                                                                      25




1      screen.

2      BY MS. MUMMA:

3      Q     Inspector Loyd, back in January 2021, what were the

4      procedures for a member of the public who would like to visit

5      the Capitol?

6      A     In January 2021, the building was actually closed to the

7      general public because of the COVID.      You could be invited in

8      as an official visitor.     You have to be invited in by staff or

9      a member of Congress and put on a list to enter into the

10     building during that time.

11     Q     Okay.    So would you have to make an appointment?

12     A     Yes.

13     Q     All right.    Given the COVID procedures -- well, were there

14     any security measures that you would have to go through to

15     enter the building?

16     A     Yes.    Anybody who enters, to include the staff, they have

17     to walk through a magnetometer to make sure there's nothing

18     nefarious on their person.     And if they have any large coats or

19     bags, they have to put those on the x-ray machine, make sure

20     there's nothing nefarious in those items.

21     Q     On January 6, the building wasn't open to the public, but

22     what about the grounds and the exterior of the building?

23     A     On the grounds we did have an outer perimeter for the

24     presidential ballot process.     It included the entire west

25     portion of the square on the west side and the east plaza on


                                                                   Exhibit D-3
                                                                Page 25 of 202
     Case 1:21-cr-00352-JEB      Document 107-3   Filed 11/15/24   Page 26 of 202
                                                                         26




1      the east side.

2      Q      So could the public go beyond that perimeter?

3      A      No.

4                   MS. MUMMA:    Mr. Gordon, could you publish Government's

5      Exhibit 202.

6      BY MS. MUMMA:

7      Q      What is this, Inspector Loyd?

8      A      It's a picture of the U.S. Capitol on January 6.           The red

9      line around the middle portion of the screen was our outer

10     perimeter for that particular day.

11     Q      Okay.    And again, what does that perimeter designate

12     exactly?

13     A      That's our outer perimeter.

14     Q      Okay.    Just to orient us, I am going to have you circle a

15     few areas.      Can you circle First Street Northwest?

16     A      (Indicating) First Street Northwest.

17     Q      What about Peace Circle?

18     A      (Indicating) Peace Circle.

19     Q      Okay.    So was the perimeter physically reinforced in any

20     way?

21     A      Yes.    It was -- the outer perimeter was composed of bike

22     rack.

23     Q      Anything else?

24     A      On the west side, up until January 6, 2021, every four

25     years we segregated the west portion of the west front during


                                                                      Exhibit D-3
                                                                   Page 26 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 27 of 202
                                                                      27




1      the building of the inauguration stage as a construction area.

2      So in addition to the bike rack on the west side, the stage and

3      the grounds were segregated with plastic snow fence.

4      Q     Can you just describe those bike racks a little bit for

5      us.

6      A     A bike rack is made of hard metal.      It's approximately

7      waist high.     Approximately 8 feet in length.     And they hook

8      together.

9      Q     Okay.    Was there bike rack all around the perimeter?

10     A     Yes.    There were some gaps on the north and south side of

11     the building to allow staff to enter and exit, but it was

12     manned by police officers.

13     Q     Okay.    Was there anything else, like, on the restricted

14     perimeter itself indicating that the public could not enter?

15     A     There were signs that stated area closed by the United

16     States Capitol Police board.

17     Q     Okay.

18               MS. MUMMA:    Mr. Gordon, could you please publish

19     Government's Exhibit 203.

20     BY MS. MUMMA:

21     Q     What is this?

22     A     It's a view from the west front on January 6 with a

23     picture of the snow fence and an area closed sign on the snow

24     fence.

25     Q     Okay.    Where did you say this was, west front?


                                                                   Exhibit D-3
                                                                Page 27 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 28 of 202
                                                                      28




1      A     West front.

2                MS. MUMMA:    Mr. Gordon, could you publish Government's

3      Exhibit 208.

4      BY MS. MUMMA:

5      Q     What is this, Inspector Loyd?

6      A     That's a picture of the block of First Street Northwest on

7      January 6.

8      Q     Which side of the building are we looking at here?

9      A     West side.

10     Q     Can you kind of describe what's in the forefront of the

11     photo here?

12     A     Yes.   You have First Street down at the bottom of the

13     screen.   You can see the bike rack, which was part of our outer

14     perimeter that day.     And up towards the grass, you can see the

15     snow fence with the area closed signs on them.

16     Q     Great.   Okay.

17               MS. MUMMA:    You can remove that exhibit.      Thank you.

18     BY MS. MUMMA:

19     Q     All right.    So getting back and more into January 6

20     itself, were you on duty that day?

21     A     Yes.

22     Q     What time did you arrive to work that day?

23     A     Approximately 7:30.

24     Q     And did you have a specific assignment on January 6?

25     A     Yes.   I was responsible for routine operations on the


                                                                   Exhibit D-3
                                                                Page 28 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 29 of 202
                                                                       29




1      inside of the building.

2      Q     Okay.    Was there something special happening at the

3      Capitol on January 6?

4      A     Yes.    It was a certification process for the presidential

5      ballot for the 2020 election.

6      Q     How does that process -- can you describe how that kind of

7      plays out in the Senate and the House within the Capitol

8      Building?

9      A     Yes.    It's a joint session.     The Senate, with the addition

10     of the Vice President, open up at the Senate chamber.           The

11     Speaker of the House will open up the House chamber to get both

12     chambers in session.

13           Then at 1:00 on January 6, the U.S. Senate adjourned with

14     the Vice President and made the walk -- not adjourned, but put

15     in a recess and walked from the Senate chamber down to the

16     House chamber to begin the joint session.

17     Q     Okay.   And on January 6, were you expecting a crowd on the

18     exterior of the building?

19     A     Yes.

20     Q     Why?

21     A     We had been given notice that there would be a large crowd

22     in the tens of thousands of people on January 6.

23     Q     Where was that crowd anticipated to be?

24     A     All around the Capitol.

25     Q     Okay.   What were your expectations heading into January 6?


                                                                    Exhibit D-3
                                                                 Page 29 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 30 of 202
                                                                      30




1      A     Was told to myself and my personnel at my level was it

2      would be a large crowd, tens of thousands of people, but there

3      was no indication or warning of violence.

4      Q     Okay.    In anticipation of the certification process within

5      the building itself, did you or fellow law enforcement agencies

6      that you work in conjunction with, like any other agencies, did

7      you establish any safety measures?

8      A     Yes.    The Vice President, there's a five-agent team from

9      the Secret Service who is always assigned to the Capitol

10     Building.     And their responsibility is to ensure the arrival,

11     the visit, and the departure of any VIP under Secret Service

12     protection goes smoothly.

13           On January 6, I worked for that team for the arrival of

14     the Vice President.

15     Q     So the Vice President was the VIP that day?

16     A     Yes.

17     Q     Okay.   Did he actually arrive that day?

18     A     Yes.

19     Q     What time did he arrive?

20     A     Between 12:35 and 12:40.

21     Q     How do you know?

22     A     Because I was there.

23     Q     Okay.   Did the joint session that you mentioned earlier in

24     the proceedings with the Vice President presiding, did they

25     actually begin as scheduled that day?


                                                                   Exhibit D-3
                                                                Page 30 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 31 of 202
                                                                      31




1      A     Yes.

2      Q     Where were you when they began?

3      A     At 12:53, I was waiting outside the Senate chamber

4      preparing to escort the U.S. Senate, the Vice President from

5      the Senate chamber down to the House chamber.

6            But at 12:53, that's when the initial breach was called

7      out at Peace Circle, so I ran into the majority leader's

8      office, Mr. McConnell's office, because he had a bird's eye

9      view of the assault.     I saw it was very bad, so I immediately

10     went onto the inauguration stage out the lower west terrace

11     door.

12     Q     You said a lot there, so I want to back up a little bit.

13           You did not escort the Vice President that day?

14     A     No.

15     Q     Okay.    And you said you received a call?

16     A     I initially received a call from the assistant chief

17     stating there was a lot of people coming my way.         A couple

18     minutes after that, there was a radio call of the breach on

19     Peace Circle.

20     Q     Okay.    What time was that breach?

21     A     12:53.

22     Q     Was that the initial breach of the Capitol grounds?

23     A     Yes.

24     Q     Who was breaching?

25     A     The protesters on the west side of the building.


                                                                   Exhibit D-3
                                                                Page 31 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 32 of 202
                                                                       32




1      Q      Okay.    All right.   So when you heard about the breach, can

2      you again say where you went.

3      A      Yes.    I initially went into the majority leader's office

4      to observe it, saw that it was very bad, and then I immediately

5      went down, out the lower west terrace door, onto the

6      inauguration stage to assess it there.

7      Q      If I were to show you a closed-circuit video footage kind

8      of montage of the breach that day that's been prepared by my

9      office, the U.S. Attorney's Office, would that help you

10     describe what happened on January 6?

11     A      Yes.

12                MS. MUMMA:    Mr. Gordon, can you publish Government's

13     Exhibit 1.

14     BY MS. MUMMA:

15     Q      Inspector Loyd, have you seen this montage before?

16     A      Yes.

17     Q      Is this just another capture of the Capitol and the

18     grounds?

19     A      Yes.

20     Q      Is this capture and this video a fair and accurate

21     depiction of the grounds and the interior of the building that

22     day?

23     A      Yes.

24                MS. MUMMA:    Your Honor, at this time we would move to

25     did admit and publish Government's Exhibit 1.


                                                                    Exhibit D-3
                                                                 Page 32 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 33 of 202
                                                                       33




1                THE COURT:    Any objection?

2                Okay.   Admitted.

3                (Government's 1 received in evidence.)

4                MS. MUMMA:    Mr. Gordon, if you could play this video

5      until approximately 1 minute and 10 seconds.

6                (The videotape was played.)

7                MS. MUMMA:    I am going to ask you to pause,

8      Mr. Gordon.    This is 58 seconds.

9      BY MS. MUMMA:

10     Q     Inspector Loyd, we are paused here.       Do you see the time

11     stamp up in the corner of the video?

12     A     Yes.

13     Q     What does that say?

14     A     12:58 p.m. on January 6, 2021.

15     Q     Okay.   What direction is the CCTV camera kind of looking

16     out into?

17     A     It's facing the west front of the Capitol.

18     Q     Do you recognize anyone in this video?

19     A     Yes.

20     Q     Who?

21     A     I am actually on the stage.

22     Q     Okay.   Can you circle yourself.

23     A     (Indicating.)

24     Q     So you are circling yourself center bottom, slightly

25     towards the right.


                                                                    Exhibit D-3
                                                                 Page 33 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 34 of 202
                                                                       34




1             And where are you exactly?

2      A      I'm standing on the inauguration stage.

3      Q      Why did you -- why were you down there?       Why did you

4      respond to that area?

5      A      After the initial breach was called out, I saw what was

6      happening, so I immediately went out on the stage to assist.

7      Q      Do you remember how long you were kind of in this area

8      for?

9      A      I was on the west front from approximately 12:58 until

10     approximately 2:10 in the afternoon.

11     Q      So you can see -- can you kind of describe what's

12     happening in this photo?

13     A      Yes.    They had the initial breach down at Peace Circle.

14     The crowd surged up from that area.       And we momentarily set up

15     a temporary police line.      There's a black temporary fence

16     that's -- that runs through the middle of the screen.

17     Attempted to set up a temporary police line there, but the mob

18     ended up breaching that line also and made their way to the

19     base of the inauguration stage.

20     Q      Okay.    As that crowd approached, were any officers

21     injured?

22     A      Yes.

23     Q      How many approximately if you can remember?

24     A      This initial breach, at least a dozen in the initial

25     breach.


                                                                    Exhibit D-3
                                                                 Page 34 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 35 of 202
                                                                      35




1      Q     Okay.   Can you tell us kind of what it was like being down

2      there at this time.

3      A     It was just a tremendous street fight at that point.

4      Q     It was a street fight?

5      A     Yes.

6      Q     Can you describe what the mood of the crowd was?

7      A     The crowd was very angry.

8      Q     Okay.   What did you do with respect to security at the

9      Capitol itself at this point with the interior of the building?

10     A     At this point, when the mob breached this temporary police

11     line, I locked down the building.

12     Q     Okay.   And you said you were down there for over an hour?

13     A     Yes.

14     Q     What did you do during that time?

15     A     Basically led my team through the initial battle.         We were

16     alone.   It was just Capitol Police on the stage for

17     approximately 10 or 15 minutes.     So I was leading my team

18     during that battle when it was just us.

19           The Metropolitan Police Department got there very quickly,

20     within 10 to 15 minutes.     And because of their numerous

21     officers, they basically took over the west front at that

22     point.

23           My officers who were injured retreated back into the

24     building to get rehabilitated, and I stayed outside with the

25     Metropolitan Police Department until approximately 2:10.


                                                                   Exhibit D-3
                                                                Page 35 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 36 of 202
                                                                       36




1      Q     Did you have a chance to review Government's Exhibit 213

2      prior to your testimony today?

3      A     Yes.

4      Q     Is that a time lapse of the west front?

5      A     Yes.

6      Q     Do you know about what time frame that covers?

7      A     I believe it starts at 12:58 and goes for hours.

8      Q     Okay.   So while you were down there?

9      A     Yes.

10               MS. MUMMA:    All right.   Mr. Gordon, if you could pull

11     up Government's Exhibit 213.     If you can just pause it.

12               Thank you.

13     BY MS. MUMMA:

14     Q     Is this the time lapse that you reviewed?

15     A     Yes.

16     Q     Is this the footage from the same camera angle that we

17     were just looking at in Government's Exhibit 1?

18     A     Yes.

19     Q     And does this video kind of give a sense of the size of

20     the crowd and what was going on with the police interacting

21     with that crowd?

22     A     Yes.

23               MS. MUMMA:    Your Honor, at this time the government

24     would move to admit Government's Exhibit 213.

25               THE COURT:    Any objection?


                                                                    Exhibit D-3
                                                                 Page 36 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 37 of 202
                                                                       37




1                 Okay.   Admitted.

2                 (Government's 213 received in evidence.)

3                 MS. MUMMA:    Mr. Gordon, if you could play through 52

4      seconds.

5                 (The videotape was played.)

6                 MS. MUMMA:    We are paused here at 52 seconds.

7      BY MS. MUMMA:

8      Q     Inspector Loyd, you touched on this a little bit before,

9      but can you describe kind of what we just saw?

10     A     Yes.    That's a time-lapse video of the initial breach that

11     ended up at the temporary black fence that we discussed

12     earlier.     And the mob breached that fence, came to the base of

13     the stage where myself and my officers set up a temporary

14     police line.

15           We were getting overwhelmed, tremendously overwhelmed.

16     And the Metropolitan Police got there very quickly with several

17     officers, and they actually made ground, forcing the crowd

18     back, as you can see here, halfway down the west plaza.

19     Q     Did they use any kind of barricade to force the crowd

20     back?

21     A     I'm sorry?

22     Q     Did they use any kind of barricade to force the crowd

23     back?

24     A     Yes.   The bike rack, yes.

25                MS. MUMMA:    Okay.   We are going to play now,


                                                                    Exhibit D-3
                                                                 Page 37 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 38 of 202
                                                                        38




1      Mr. Gordon, until 2 minutes and 27 seconds.

2                  (The videotape was played.)

3                  MS. MUMMA:    You can pause there, Mr. Gordon.

4                  We are paused at 2 minutes and 23 seconds.

5      BY MS. MUMMA:

6      Q     Inspector Loyd, were you outside in this vicinity in the

7      lower west plaza and the west plaza for that entire time period

8      that we just watched?

9      A     No.    I left at approximately 2:10 in the afternoon.

10     Q     What is the time stamp up there?

11     A     That is 2:30.

12     Q     Can you describe what we just watched in the video.

13     A     Yes.    Going back to my original testimony, when the

14     Metropolitan Police arrived, they actually made progress

15     forcing the crowd back and set up another temporary police

16     line.   They held the line for, you know, approximately an hour.

17           And then eventually the crowd became too big and too

18     forceful, and they broke the police line again, forced the

19     Metropolitan Police to form it back to the base of the stage.

20     Q     There are times in the video where you can see something

21     in the air.     What was that?

22     A     Pepper spray or bear spray.

23     Q     Did people in the crowd have chemical irritants, or was

24     that the police?

25     A     Both.


                                                                     Exhibit D-3
                                                                  Page 38 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 39 of 202
                                                                       39




1      Q     Were officers being sprayed with those irritants?

2      A     Yes.

3      Q     How were you dressed that day, on January 6?

4      A     I was just dressed in the regular uniform.

5      Q     It wasn't riot gear?

6      A     No.

7      Q     Were any of your officers dressed in riot gear?

8      A     Some.

9      Q     Okay.   Did you, yourself, did you engage in any sort of

10     combat or fighting with the crowd, or did you hang back?

11     A     Yes.

12     Q     So you did engage in fighting?

13     A     Yes.

14     Q     Okay.   What kind of fighting?

15     A     Initially it was communication back and forth.         But

16     eventually I made my way to the front line.         When the

17     Metropolitan Police was out on the front line, I would survey

18     the line from a supervisor role.        If an officer had to come off

19     the line from being injured or sprayed, I would fill in that

20     gap and engage the protesters on the line until another officer

21     could come back and replace me.

22     Q     Engage them in what way?

23     A     Physically.

24     Q     With your hands?

25     A     Yes.


                                                                    Exhibit D-3
                                                                 Page 39 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 40 of 202
                                                                        40




1      Q     Is that something you normally have to do as an inspector?

2      A     No.

3      Q     So at the same time that these confrontations that were

4      going on with the rioters that you just described, were you

5      still coordinating with other officers and your supervisors?

6      A     Yes.

7      Q     We are going to return now --

8                  MS. MUMMA:    You can remove this from the screen,

9      Mr. Gordon.

10     BY MS. MUMMA:

11     Q     I am going to turn now to kind of some of the particular

12     interactions that you've described in a more general way with

13     the rioters.

14           First, have you had a chance to review Government's

15     Exhibits 401 through 403?

16     A     Yes.

17     Q     Are those body-worn camera clips and a still image of

18     body-worn camera?

19     A     Yes.

20     Q     Who is in those videos in that still image?

21     A     The suspect and myself.

22     Q     Okay.   When you say suspect --

23     A     The defendant.

24     Q     You have had a chance to review all three of those

25     exhibits?


                                                                     Exhibit D-3
                                                                  Page 40 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 41 of 202
                                                                      41




1      A     Yes.

2      Q     Were you present when the footage was filmed?

3      A     Yes.

4      Q     And are these videos in the image a fair and accurate

5      depiction of what you saw that day?

6      A     Yes.

7      Q     Okay.   And then have you had a chance to review

8      Government's Exhibits 501 through 507?

9      A     Yes.

10     Q     Are those open source photos and videos of the defendant

11     on January 6, 2021?

12     A     Yes.

13     Q     Is he walking to the Capitol on Capitol grounds?

14     A     Yes.

15     Q     Are those photos and videos fair and accurate depictions

16     of the defendant walking to the Capitol and on the Capitol

17     grounds on January 6?

18     A     Yes.

19     Q     And have you had a chance to review Government's

20     Exhibits 701 through 703?

21     A     Yes.

22     Q     Are those videos and a still image taken by U.S. Capitol

23     Police officers on the west plaza on January 6, 2021?

24     A     Yes.

25     Q     And are those photos and videos -- the photo and videos


                                                                   Exhibit D-3
                                                                Page 41 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 42 of 202
                                                                       42




1      fair and accurate captures of what happened on the west plaza?

2      A     Yes.

3                MS. MUMMA:    Your Honor, at this time the government

4      would move to admit Exhibits 401, 402, 403, 501 through 507,

5      and 701 through 703.

6                THE COURT:    Any objection?

7                Admitted.

8                (Government's 401 through 403, 501 through 507, and

9      701 through 703 received in evidence.)

10               MS. MUMMA:    Mr. Gordon, if you could publish

11     Government's Exhibit 506.

12     BY MS. MUMMA:

13     Q     Inspector Loyd, can you describe what we are looking at

14     here?

15     A     Yes.    That's the scene of the initial breach down at Peace

16     Circle.

17     Q     At approximately what time, or what time was the initial

18     breach?

19     A     The initial breach was 12:53.

20     Q     Okay.    Do you recognize anybody in the photo?

21     A     Yes, the defendant that's highlighted.

22     Q     Highlighted how?

23     A     It's bright, and the upper portion of his body is outlined

24     in red.

25     Q     On the left side of the screen here?


                                                                    Exhibit D-3
                                                                 Page 42 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 43 of 202
                                                                      43




1      A     Yes.

2      Q     And what's going on -- well, do you see -- is there

3      anything else kind of notable about this photo?          Do you see

4      anything that we discussed earlier?

5      A     You see the bike rack that was pushed over and the snow

6      fence that had the area closed signs on them.

7                MS. MUMMA:    Mr. Gordon, could you publish Government's

8      Exhibit 703.

9      BY MS. MUMMA:

10     Q     Can you describe what we are looking at here, Inspector

11     Loyd?

12     A     Yes.    That's the lower west terrace.    In this particular

13     picture, you can see that the Metropolitan Police Department

14     have pushed the crowd back a little bit, and you see another

15     outline version of the defendant.

16     Q     Okay.    When you say lower west terrace, is there another

17     name for that area?

18     A     The west plaza.

19     Q     Is it kind of interchangeable in your view?

20     A     Yes.

21     Q     Okay.    So you see the defendant.    Can you describe -- you

22     said lower right corner?

23     A     Yes, lower right corner.

24     Q     Outlined in red?

25     A     Yes.


                                                                    Exhibit D-3
                                                                 Page 43 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 44 of 202
                                                                      44




1      Q     And can you describe again what's going on at this stage

2      at the riot in the photo?

3      A     Yes.   That's the ongoing battle that has lasted several

4      hours on the west front.     And at this particular time, the

5      Metropolitan Police had actually gained ground because you can

6      see a large portion of the pavement, but eventually that line

7      would collapse.

8      Q     Can you see anything between the Metropolitan Police and

9      the rioters?

10     A     Yes.   There appears to be some bike rack.

11     Q     And can you identify the -- is there a way to identify who

12     is Metropolitan Police and who is Capitol Police in this photo?

13     A     In this picture, the Metropolitan Police are mostly in

14     green or yellow.

15     Q     Great.

16               MS. MUMMA:    Mr. Gordon, can you publish Government's

17     Exhibit 702.

18               And pause it, please.

19     BY MS. MUMMA:

20     Q     Inspector Loyd, do you see yourself in the photo?

21     A     Yes.

22     Q     In this still image, rather.

23           Where are you located?

24     A     I'm all the way to the left of the screen.

25     Q     Left center or top or bottom?


                                                                   Exhibit D-3
                                                                Page 44 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24   Page 45 of 202
                                                                         45




1      A     In the center of the screen, all the way to the left.

2      Q     Okay.   Do you -- all right.       That's good.

3            Do you see the defendant -- let's see.

4                 MS. MUMMA:    Can you play this video, Mr. Gordon, to

5      about 4 seconds in.

6                 (The videotape was played.)

7                 MS. MUMMA:    You can pause it here.      Pause at 4

8      seconds.

9      BY MS. MUMMA:

10     Q     Do you see the defendant, Inspector Loyd?

11     A     Yes.

12     Q     Where is he?

13     A     He's circled with a red circle.

14                MS. MUMMA:    Mr. Gordon, could you play until about 27

15     seconds in.

16                (The videotape was played.)

17                MS. MUMMA:    You can pause it here.      We are paused at

18     28 seconds into this video.

19     BY MS. MUMMA:

20     Q     Inspector Loyd, can you describe what we see the defendant

21     doing in this footage.

22     A     He's at the front line yelling at the police officers and

23     pointing.

24     Q     Okay.   And do you see any kind of physical confrontations

25     between rioters and officers happening in front of the


                                                                     Exhibit D-3
                                                                  Page 45 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24    Page 46 of 202
                                                                       46




1      defendant or anywhere in the vicinity of the defendant?

2      A     Yes.

3                MS. MUMMA:    Okay.   Mr. Gordon, could you publish

4      Government's Exhibit 501.

5                And can we make sure the sound is working?

6                (The videotape was played.)

7                MS. MUMMA:    You can pause it briefly.        Can you pause

8      it.

9                We are paused here at 9 seconds in.

10     BY MS. MUMMA:

11     Q     Did you -- when we just watched the first eight seconds,

12     do you see yourself in the video?

13     A     Yes.

14     Q     And do you recognize anyone else in the video?

15     A     I'm sorry?

16     Q     Do you recognize anybody else in the video?

17     A     Yes.    The defendant.

18     Q     Okay.   And is this the same time frame that we just

19     watched in the previous exhibit, 702?

20     A     Yes.

21               MS. MUMMA:    Mr. Gordon, you can go ahead and play it.

22               (The videotape was played.)

23               MS. MUMMA:    Just played the video to the end, for the

24     record.

25


                                                                     Exhibit D-3
                                                                  Page 46 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 47 of 202
                                                                        47




1      BY MS. MUMMA:

2      Q      Inspector Loyd, do you remember -- or can you describe

3      what the defendant was doing in that video.

4      A      He was yelling at the police officers about being part of

5      a corporation.

6      Q      Okay.    Following January 6, did you remember this episode?

7      A      Yes.

8      Q      Did you remember this episode until I approached you about

9      this case?

10     A      I'm sorry?

11     Q      How long -- has this, you know, stuck in your mind in any

12     way?

13     A      Yes.    The reason that particular comment stuck in my mind,

14     because it was odd.       I had never heard that particular

15     reference before about the corporation.

16     Q      Okay.    Great.   All right.

17               MS. MUMMA:      Mr. Gordon, could you publish Government's

18     Exhibit 401.

19               (The videotape was played.)

20     BY MS. MUMMA:

21     Q      Inspector Loyd, can you tell us kind of about the video

22     that we are looking at here?

23     A      Yes.    That's a video of the temporary police line on the

24     lower west terrace that was established by the Metropolitan

25     Police Department.


                                                                     Exhibit D-3
                                                                  Page 47 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24   Page 48 of 202
                                                                         48




1      Q     Can you read the time stamp in the corner there?

2      A     13:13, which is 1:13 p.m. on January 6, 2021.

3                MS. MUMMA:      You can go ahead and play, Mr. Gordon,

4      until 27 seconds in.

5                (The videotape was played.)

6                MS. MUMMA:      We are paused at 18 seconds.

7      BY MS. MUMMA:

8      Q     Who is that, Inspector Loyd?

9      A     That's the defendant.

10     Q     Circled in red?

11     A     Yes.

12     Q     What's he doing there?

13     A     He's trying to disassemble the temporary police line.

14     Q     How is he doing that?

15     A     Physically grabbing on to the barriers, the bike rack.

16     Q     Okay.

17               MS. MUMMA:      You can go ahead and play to the end.

18               (The videotape was played.)

19     BY MS. MUMMA:

20     Q     Can you kind of describe what we just walked?

21     A     Yes.    That was a body cam of the Metropolitan Police

22     officers battling the defendant.          One of the Metropolitan

23     Police officers took a pepper spray directly to the face and

24     had to back out.       And I filled the gap and struck at the

25     defendant at that point.


                                                                      Exhibit D-3
                                                                   Page 48 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 49 of 202
                                                                      49




1      Q     Struck how exactly?

2      A     With my fist.

3      Q     Did you make contact?

4      A     Partially, yes.

5      Q     Partially.   Glance?

6      A     Yes.

7      Q     Okay.

8                MS. MUMMA:    Mr. Gordon, could you publish Government's

9      Exhibit 504 and play for about 6 seconds, please.

10               (The videotape was played.)

11               MS. MUMMA:    You can pause here.

12     BY MS. MUMMA:

13     Q     Is this the same incident we just watched in Government's

14     Exhibit 401?

15     A     Yes.

16     Q     Do you see the defendant?

17     A     Yes.

18     Q     Where?

19     A     He's circled in red.

20     Q     Okay.

21               MS. MUMMA:    Can you play to the end, Mr. Gordon.

22               (The videotape was played.)

23     BY MS. MUMMA:

24     Q     So we have seen this incident from multiple angles now.

25     Can you describe -- before you took that punch, was there -- or


                                                                   Exhibit D-3
                                                                Page 49 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 50 of 202
                                                                        50




1      made that swing, was there anything else that was done to kind

2      of stop the defendant before you resorted to punching?

3      A     Yes.    We are constantly yelling back and forth at the

4      crowd.   We are setting up a temporary bike rack, trying to

5      maintain the bike rack.       All of that was done to try to

6      maintain the police line, but the crowd kept pushing.

7      Q     Was any kind of pepper spray used?

8      A     Yes.

9      Q     The defendant was sprayed with that pepper spray?

10     A     I'm sure he was.

11     Q     All right.    So as an inspector, do you often have to

12     resort to kind of such measures?

13     A     No.

14                 MS. MUMMA:    Okay.   Mr. Gordon, could you please

15     publish Exhibit 1, about 1 minute and 16 seconds.           We are just

16     going to keep it paused.       You don't need to play.

17     BY MS. MUMMA:

18     Q     Inspector Loyd, what is depicted here?

19     A     This is a picture of the steps that's on the north side of

20     the inauguration stage.       The steps lead from the lower west

21     terrace or the west plaza up to the upper west terrace.

22     Q     Okay.    Can you give us the time stamp in the video here.

23     A     2:09 p.m. on January 6, 2021.

24     Q     So at this point in time, can you kind of describe what is

25     happening in this still image?


                                                                     Exhibit D-3
                                                                  Page 50 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 51 of 202
                                                                      51




1      A     Yes.   I had a few officers there, had once again set up a

2      temporary police line.     But that police line was breached also,

3      and the crowd is rushing up to the steps to the upper west

4      terrace.

5      Q     What were you doing at this time, so about 2:10?

6      A     About 2:10 I had received a phone call from my assistant

7      chief of police who ordered me to leave the west front and go

8      to the east front.

9      Q     Why did he order you to do that?

10     A     At approximately 2:10, the barricades on the east front of

11     the Capitol had been breached, and there was no commander there

12     so he ordered me to go take over the east front.

13     Q     Did you actually go take over at the east front?

14     A     No.    I never made it over there.    Once I had entered the

15     building, the first wave of rioters who had broken into the

16     building came in, and they were headed to the Senate floor.

17     And I heard calls for help from my officers around the Senate

18     floor, so I made my way to the Senate chamber.

19     Q     Was there a threat to the Senate chamber at that time?

20     A     Yes.   The first wave of rioters who had broken into the

21     building had come up the stairwell and made their way to the

22     Ohio Clock area right outside the Senate chamber.

23     Q     What was the security status of both the Senate chamber

24     and the House chamber at that point in time?

25     A     At that particular point, they were lockdown.


                                                                   Exhibit D-3
                                                                Page 51 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 52 of 202
                                                                        52




1      Q     Okay.

2                  MS. MUMMA:    Mr. Gordon, can you play this video until

3      1 minute and 50 seconds.

4                  (The videotape was played.)

5                  MS. MUMMA:    We are paused here at 1 minute and 50

6      seconds.

7      BY MS. MUMMA:

8      Q     Can you read us the time stamp at the top there, Inspector

9      Loyd?

10     A     Yes.    2:12 p.m. on January 6, 2021.

11     Q     Great.    What is happening here in this kind of -- what did

12     we just watch and, what is happening in this --

13     A     You are in the upper west terrace looking at the Senate

14     wing door.

15     Q     Okay.    What is happening in the upper west terrace at

16     2:12 p.m.?

17     A     The first of the rioters who had breached that temporary

18     police line on the steps have made it to the upper west

19     terrace, and they are heading to the Senate wing door.

20     Q     Okay.    And to be very clear, do the protesters have

21     permission to be either here on the upper west terrace or in

22     the building?

23     A     No.

24     Q     What did this, the breach that you mentioned in the Senate

25     wing, what did that cause to happen in terms of building


                                                                     Exhibit D-3
                                                                  Page 52 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 53 of 202
                                                                      53




1      security?

2      A     When they actually breached the building, the interior of

3      the building, that's when the House and Senate chambers locked

4      down and sheltered in place.

5                MS. MUMMA:    Mr. Gordon, can you skip ahead to 5:06,

6      and you don't need to play.

7      BY MS. MUMMA:

8      Q     Okay.    Do you recognize this, where this is?

9      A     Yes.    That's the Ohio Clock area.

10     Q     Where is that in relation to -- in the Capitol Building?

11     A     That's just outside the Senate chamber.

12     Q     Okay.    Do you see yourself in the image?

13     A     Yes.

14     Q     Can you circle yourself.

15     A     (Indicating.)

16     Q     Great.    And what's happening here?

17     A     That's the first wave of rioters who had breached the

18     building.     They enter the building, and they came up to the

19     second floor in an attempt to take over the Senate chamber.

20     Q     How long were you in this area?

21     A     I was there for approximately 10 or 15 minutes.

22     Q     Did you engage with these rioters in any kind of way?

23     A     Just verbally.

24     Q     Okay.    What were you thinking at this point in the day?

25     A     It was a complete disaster and, you know, you had to


                                                                   Exhibit D-3
                                                                Page 53 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 54 of 202
                                                                      54




1      resort to your original mission of protect the Congress.            We

2      could not protect the outer perimeter.       That was gone.     We

3      could not protect the interior of the building because it had

4      been breached and overtaken.

5            So at this point we are sheltering in place, the United

6      States Senate, the Vice President, as well as the House of

7      Representatives, needed to focus on that mission, and

8      eventually we evacuated all those people.

9      Q     Okay.   So at this point, the senators were still in the

10     Senate chamber?

11     A     As well as the Vice President.

12     Q     Okay.   What happened next?

13     A     I was here for about 10 or 15 minutes.       I was satisfied

14     with our posture at this point.     We were locked down.       And

15     there was no active attempt to break into the chamber.          Deputy

16     Chief Waldow came and relieved me here and I --

17     Q     I'm sorry, who is Deputy Chief Waldow?

18     A     Deputy Chief Waldow was the deputy chief in charge of the

19     operational services bureau on this particular day.

20           He comes into the picture shortly after this.        I asked for

21     permission to leave the Senate chamber to go check on the House

22     chamber.

23     Q     And did you go over to the House chamber?

24     A     Yes.

25     Q     What did you find when you got there?


                                                                   Exhibit D-3
                                                                Page 54 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 55 of 202
                                                                      55




1      A     When I got there, my officers had done what they were

2      trained to do.    They were locked down in the House chamber

3      sheltering in place.     It was relatively quiet when I first got

4      there because most of the protesters were still on the north

5      side of the building.     But eventually, five or ten minutes

6      later, they made their way down to the House chamber.

7      Q     While the House members were -- were they inside the House

8      chamber still at that time?

9      A     Yes.

10     Q     Were the senators and the members -- and the

11     Congresspeople in the House, were they able to evacuate before

12     the rioters made contact with them?

13     A     Yes.

14     Q     Did the rioters ever make contact with any of those

15     individuals?

16     A     Not directly.    There was some passing in the hallways, but

17     there was no physical activity.

18               MS. MUMMA:    Mr. Gordon, we are going to skip ahead to

19     12:42 and play until about 12:52.

20               (The videotape was played.)

21               MS. MUMMA:    Pause here at 12:52.

22     BY MS. MUMMA:

23     Q     Can you describe what we were just seeing happening and

24     what we are seeing in this still image here?

25     A     Yes.   This was about 4:30 in the afternoon on January 6.


                                                                   Exhibit D-3
                                                                Page 55 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 56 of 202
                                                                       56




1      By this time, we had gained control of the interior of the

2      building once again.     And now the focus was on the outside.

3      And you see once again mostly Metropolitan Police are trying to

4      clear the exterior of the building.

5      Q     Okay.   Are there any kind of doors visible from this

6      angle, doors to the Capitol?

7      A     None of them are on screen.       To the left would be the

8      north door of the Capitol, and at the end of the first layer of

9      the building, the Senate side of the building, around that

10     corner is the Senate wing door.

11     Q     Is the upper west terrace door in this general vicinity?

12     A     The upper west terrace door would have been in the very

13     middle of the building on the upper west terrace.

14     Q     Okay.

15     A     Directly below the flag you see there.

16     Q     Okay.   So kind of center right?

17     A     Yes.

18     Q     About what time was the last rioter removed from the

19     building?

20     A     From the interior of the building, approximately 4:30.

21     Q     And then what about the exterior grounds, when were

22     those --

23     A     Approximately 6:00.

24     Q     And in which direction -- you can see the rioters being

25     escorted here.    In which direction are they headed?


                                                                    Exhibit D-3
                                                                 Page 56 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 57 of 202
                                                                       57




1      A     They are on the west side of the building, and we are

2      forcing them around the corner heading east towards the east

3      plaza.

4      Q     Why were you pushing them in that direction?

5      A     That was the closest exit point to get everybody off the

6      upper west terrace.

7      Q     Okay.    I want to talk a little bit more about --

8                 MS. MUMMA:    You can remove this exhibit, Mr. Gordon.

9      BY MS. MUMMA:

10     Q     I want to talk a little bit more about kind of the

11     official business going on inside the Capitol on January 6.

12                MS. MUMMA:    Mr. Gordon, can you publish Government's

13     Exhibit 211.

14     BY MS. MUMMA:

15     Q     Do you recognize what this is?

16     A     Yes.    It's a blueprint map of the second floor of the U.S.

17     Capitol.

18     Q     Great.    And just to orient us a little bit, can you point

19     out where the House chamber is.

20     A     (Indicating) that's the House chamber.

21     Q     And what about the Senate?

22     A     (Indicating) Senate chamber.

23     Q     Okay.    Can you remind us again what is happening again in

24     the House and the Senate on January 6?

25     A     The presidential ballot certification process for the 2020


                                                                    Exhibit D-3
                                                                 Page 57 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 58 of 202
                                                                      58




1      presidential election.

2      Q     During your decades of service, how many of those did you

3      witness?

4      A     This was the first one I almost witnessed personally.          It

5      was the first time I was assigned the Capitol while it was

6      going on.     But I have been with the department 33 years, and I

7      have been on the outskirts, on the office buildings, for all

8      the other times.

9      Q     Okay.    You mentioned earlier that the Vice President and

10     the senators will travel to the House at some point during the

11     certification process?

12     A     Yes.

13     Q     About what time was that anticipated happening?

14     A     The first time they did that was 1:00, approximately 1:00.

15     Q     Okay.    So they are going from one side of the building to

16     the other, is that right?

17     A     Yes.

18     Q     And would the presence of rioters on that route affect the

19     ability of the senators and the Vice President to move from one

20     side to the other of the building?

21     A     Yes.

22     Q     All right.    So you said that joint session began at

23     1:00 p.m., is that right?

24     A     Approximately, yes.

25     Q     And why was that session called to order?


                                                                   Exhibit D-3
                                                                Page 58 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 59 of 202
                                                                        59




1      A     That's the process, the constitutional process, that's

2      been well established where the Vice President and the Senate

3      join the House of Representatives in the House chamber and you

4      have the calling of the presidential ballots.

5            And while you are in the House chamber, it is an

6      opportunity for the House of Representatives members or the

7      senators to raise formal objections to a particular ballot.

8            If that occurs and all the standards are met, then the

9      House and Senate would go back to their respective chambers to

10     have discussion over that particular objection.

11     Q     Great.    Did that entire process happen that day?

12     A     Yes.

13     Q     It did.    Okay.

14           Well, did it happen as it was intended to happen in terms

15     of schedule?

16     A     No.    It was interrupted at approximately 2:10, 2:15.

17     Q     Okay.    So it stopped at some point?

18     A     Yes.

19     Q     Okay.    And when it stopped, did it go into recess?

20     A     Yes, both chambers went into recess.

21     Q     What does that mean?

22     A     It's basically you are taking a break to deal with some

23     issue.   On this particular day, they had to take a break

24     because there were rioters inside the building who were

25     threatening the safety of the members of Congress as well as


                                                                     Exhibit D-3
                                                                  Page 59 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 60 of 202
                                                                      60




1      the Vice President.

2      Q     Okay.    Can business continue as usual when there are

3      unauthorized people, on any day, not just January 6, when there

4      are unauthorized people in the building?

5      A     No.

6      Q     What about one person?

7      A     One person can bring the processing to a halt.

8      Q     Okay.    What about if one unauthorized person is on the

9      grounds, not in the interior of the building?

10     A     On the exterior of the building, unless there's something

11     specific, the process can continue until it's resolved

12     depending on what that individual is doing or their proximity

13     to the building.

14     Q     Okay.    You helped -- did you help evacuate people from the

15     chambers yourself?

16     A     Yes.    I led the evacuation of the House of

17     Representatives.

18     Q     Okay.    Did rioters eventually enter the chambers?

19     A     They made their way to the Senate chamber after the Senate

20     and the Vice President were evacuated.       The House chamber,

21     there was one attempt to hop through a broken window at the

22     east speaker's lobby, but that protester was shot and stopped.

23     Q     What did the rioters do once they made it inside?

24     A     Once they got inside?

25     Q     The chambers, yes.


                                                                   Exhibit D-3
                                                                Page 60 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 61 of 202
                                                                      61




1      A     The Senate chamber, they went through desks, you know,

2      basically explored the entire Senate floor and galleries.

3      Q     You said earlier that you started your day at 7:30 a.m.?

4      A     Yes.

5      Q     What time did you leave the Capitol that evening?

6      A     Approximately 11:00 or midnight.

7      Q     Okay.    And you said earlier that the joint session had to

8      pause.    Were they able to resume at some point?

9      A     Yes.    At approximately 8:00 p.m. in the evening, they

10     started getting back to business.

11     Q     Great.    What time did they finish their business?

12     A     Approximately 3:39 in the morning on January 7.

13     Q     Okay.

14               THE COURT:    All right.   Is this a convenient time to

15     take a break?

16               MS. MUMMA:    Yes.

17               THE COURT:    All right.   Let's take a ten-minute

18     recess.

19               (A recess was taken at 10:49 a.m.)

20               THE COURT:    Okay.   You may recall your witness.

21               MS. MUMMA:    One moment, Your Honor.

22     BY MS. MUMMA:

23     Q     Welcome back, Inspector Loyd.     I don't have too much left

24     for you here.     I just want to kind of wrap up.

25               MS. MUMMA:    First of all, Mr. Gordon, can you pull up


                                                                   Exhibit D-3
                                                                Page 61 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 62 of 202
                                                                      62




1      Government's Exhibit 808.

2                MR. GORDON:    We don't have an 808.

3                MS. MUMMA:    Sorry.   It's Government's Exhibit 807.

4                MR. GORDON:    Exhibit 809.

5                MS. MUMMA:    Exhibit 809.

6      BY MS. MUMMA:

7      Q     Inspector Loyd, do you know who this is?

8      A     Yes.    The defendant.

9      Q     Do you recognize where this photo was taken?

10     A     Yes.    It appears to be on the gallery section of the U.S.

11     Senate chamber.

12     Q     What is the significance of the gallery section, you said?

13     A     The gallery section, during normal times without COVID,

14     that's the area for the general public to observe senatorial

15     proceedings.

16     Q     Okay.    Do you see anybody down on the floor there?

17     A     Not at that particular moment, no.

18     Q     Okay.

19               MS. MUMMA:    Brief indulgence, Your Honor.

20     BY MS. MUMMA:

21     Q     At that point in the day, why was nobody there on the

22     floor?

23     A     At that point, when that picture was taken, we had

24     evacuated the United States Senate and the Vice President from

25     the Senate chamber.


                                                                   Exhibit D-3
                                                                Page 62 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 63 of 202
                                                                        63




1      Q     Okay.   And can business as usual proceed with somebody in

2      the Senate gallery like that?

3      A     No.

4      Q     Okay.

5                  MS. MUMMA:    You can remove this exhibit, Mr. Gordon.

6      BY MS. MUMMA:

7      Q     Inspector Loyd, in your decades of service, have you ever

8      experienced anything like January 6?

9      A     No.

10     Q     Can you remind us what the core mission of the Capitol

11     Police is.

12     A     Protect the Congress.

13     Q     And did the rioters at the Capitol on January 6 obstruct

14     that mission that day?

15     A     Yes.

16     Q     How did they do that?

17     A     By first breaching our outer perimeter, assaulting my

18     police officers, surging to the lower west terrace, breaching

19     that temporary police line, once again assaulting my officers,

20     surging to the base of the inauguration stage.

21           And even with reinforcements from the Metropolitan Police

22     Department, they ended up overcoming the resources of the

23     Metropolitan Police Department.       They forced their way up onto

24     the stage.    They broke into the building at approximately

25     2:10 p.m. forcing the United States Senate and the House of


                                                                     Exhibit D-3
                                                                  Page 63 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24    Page 64 of 202
                                                                       64




1      Representatives as well as the Vice President to shelter in

2      place for their lives.

3            They stopped the process, obviously the presidential

4      ballot process, at that point.     And we were forced to evacuate

5      the Vice President, the United States Senate, and the House of

6      Representatives because the mob was actively trying to get to

7      them and attack them.     And luckily no members of Congress were

8      physically injured.

9            The presidential ballot certification process was delayed

10     several hours.     We did eventually get the building up and back

11     open for business at approximately 8:00.       And we helped the

12     Congress fulfill their constitutional duty of certifying the

13     election on the early morning of January 7.

14     Q     All right.    That's the rioters generally.        What about the

15     defendant specifically, did he obstruct your mission that day?

16     A     Yes.    As an individual and as part of the mob.       For

17     January 6, that particular mob was one unit made up of tens of

18     thousands of people whose goal it was to obstruct the

19     presidential ballot process.     That was clear.     And he

20     participated in that.

21     Q     Okay.    If there were no confrontations with rioters on the

22     west plaza that day, would you have been somewhere else?

23     A     Yes.    I would have been inside the building escorting the

24     Senate and the Vice President from the Senate chamber back down

25     to the House chamber.


                                                                     Exhibit D-3
                                                                  Page 64 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 65 of 202
                                                                       65




1      Q     You mentioned a few officers were injured.          Do you know

2      about how many in total?

3      A     Approximately 150.

4      Q     All right.   And circling back one more time to your

5      confrontation, your physical confrontation, with the defendant,

6      you know, what kind of tactics, again, did you deploy or would

7      you deploy in a scenario like that?

8                THE COURT:     I think we have covered this area.

9                MS. MUMMA:     Okay.   Brief indulgence, Your Honor.

10               Your Honor, only one more thing.       Just so you know, we

11     admitted Exhibit 2 earlier, which is the official montage --

12     sorry, official proceeding montage.       It's about a nine-minute

13     video that summarizes what happened with respect to the

14     certification process.

15               I'm not going to play it now unless you request that I

16     do.   I don't think you will.      I just wanted to flag it for your

17     attention and describe what it is.

18               THE COURT:     Okay.   Thank you.

19               MS. MUMMA:     Other than that, nothing further.

20               THE COURT:     Thank you.

21               Cross?

22               Mr. Bru, would you like to cross-examine the witness?

23               MR. BRU:     I do not consent to this trial.      That's it.

24               THE COURT:     Okay.

25               Thank you, sir.


                                                                     Exhibit D-3
                                                                  Page 65 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24   Page 66 of 202
                                                                         66




1                THE WITNESS:     Thank you, sir.

2                THE COURT:     Appreciate it.    You may step down.

3                All right.     Government, call its next witness.

4                MR. GORDON:     Government calls Secret Service Agent

5      Elizabeth Glavey.      One moment, Your Honor, let me step outside

6      and grab her --

7                THE COURT:     All right.

8                MR. GORDON:     -- or my colleague will, very generously.

9                Ms. Bell-Norwood -- oh, Ms. Bell-Norwood has departed

10     us.

11               Sir, can I have the podium to publish exhibits from?

12               THE COURTROOM DEPUTY:       Certainly.    One moment.

13               THE COURT:     Good morning.

14               THE WITNESS:     Good morning, sir.

15               THE COURTROOM DEPUTY:       Please raise your right hand.

16                                ELIZABETH GLAVEY

17     Having been first duly sworn on oath, was examined and

18     testified as follows:

19               THE COURTROOM DEPUTY:       Thank you very much.      You may

20     have a seat.

21               MR. GORDON:     Your Honor, before I begin with

22     questions, I know that you are well aware of the fact this is a

23     Secret Service agent.      In fact, I know you have, not only heard

24     Special Agent Glavey testify before, but you have heard me

25     direct Special Agent Glavey on these very topics.           So we will


                                                                     Exhibit D-3
                                                                  Page 66 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24   Page 67 of 202
                                                                        67




1      try to be as brief as we can, but there are certain things we

2      have to establish just for the appellate record.

3                 THE COURT:    I understand that there are certain

4      elements that need to be established, but you may need not go

5      too far beyond that.

6                 MR. GORDON:    Yes, Your Honor.     I am well aware.

7                                DIRECT EXAMINATION

8      BY MR. GORDON:

9      Q     Special Agent Glavey, can you please give us your name and

10     occupation for the record, please.

11     A     My name is Elizabeth Glavey.       I'm a special agent with the

12     United States Secret Service.

13                THE COURT:    And would you spell your last name for us,

14     please.

15                THE WITNESS:    G-L-A-V-E-Y.

16                THE COURT:    Thanks.

17     BY MR. GORDON:

18     Q     Special Agent Glavey, what do you do for the Secret

19     Service?

20     A     I am currently an instructor at our training center.

21     Q     Is that the job you had on January 6, 2021?

22     A     It is not.

23     Q     What job did you have that day?

24     A     I was an agent on the Vice President's detail.

25     Q     Vice President Michael Pence?


                                                                     Exhibit D-3
                                                                  Page 67 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 68 of 202
                                                                      68




1      A     That's correct.

2      Q     Being part of his detail, what did that entail for you to

3      do every day?

4      A     It required me to work as a shift agent where I

5      essentially would be the bodyguard around the Vice President,

6      and I also would conduct advances for any of the Vice

7      President's travel where I would develop security plans.

8      Q     Were you aware of the Vice President's plans to travel

9      anywhere on January 6, 2021?

10     A     Yes.

11     Q     And where was he due to travel that day?

12     A     He was scheduled to go to the Capitol.

13     Q     For what purpose?

14     A     For the certification of the vote.

15     Q     And what was he going to be doing there?

16     A     He was going to oversee the certification.

17     Q     You said you were involved in planning for that visit.

18     What did that entail?

19     A     For that visit, since it was in town and at the Capitol,

20     my duties were to coordinate with my liaison counterpart and

21     coordinate the assets that would be coming with us to the

22     Capitol and get a plan together for our arrival and for the

23     visit that day.

24     Q     How long did you expect to stay at the Capitol that day?

25     A     We expected to be there quite a long time because we knew


                                                                   Exhibit D-3
                                                                Page 68 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24    Page 69 of 202
                                                                       69




1      several states would object.     And with each state that would

2      object, they would deliberate for a few hours.           So we knew

3      potentially we would go into the wee hours of the next day.

4      Q     Are you familiar with the term restricted perimeter?

5      A     Yes.

6      Q     What is a restricted perimeter?

7      A     It's a perimeter around, in our cases, a venue that would

8      restrict access to only those who are authorized to enter.

9      Q     What do you do to set up a restricted perimeter or to

10     establish one?

11     A     We would establish the perimeter with bike rack and the

12     use of law enforcement personnel.

13     Q     Was a restricted perimeter designated for the Vice

14     President's trip to the Capitol on January 6, 2021?

15     A     Yes, there was.

16     Q     Now publishing what's already in evidence as Government's

17     Exhibit 202, Special agent Glavey, do you see Government's

18     Exhibit 202?

19     A     Yes, I do.

20     Q     What does that red line indicate?

21     A     The perimeter.

22     Q     Is that the restricted perimeter you were just referring

23     to?

24     A     Yes.

25     Q     And so what did that mean?    Were people allowed to -- were


                                                                     Exhibit D-3
                                                                  Page 69 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 70 of 202
                                                                       70




1      regular people, pedestrians, tourists, anyone, allowed to cross

2      over into that area contained within the red line on January 6?

3      A      No.    The Capitol Building was closed to the public that

4      day.

5      Q      Okay.    Was there some sort of barrier, whether it be a

6      fence, a barricade, signs, something along that entire red line

7      outline here?

8      A      Capitol Police set up the perimeter and enforced it.          I

9      know there was bike rack used to establish the perimeter.            I

10     can't advise where there was signage or if there were any other

11     barriers that were used.

12     Q      Okay.    Now, was anyone else that the Secret Service

13     protects beyond Vice President Pence traveling with your group

14     to the Capitol that day?

15     A      Yes.

16     Q      Who?

17     A      The second lady Karen Pence and the one daughter Charlotte

18     Pence.

19     Q      As a member of the Vice President's security detail, are

20     you also charged with protecting his immediate family, his wife

21     and daughter?

22     A      Yes.

23     Q      Are they also Secret Service protectees?

24     A      Yes.

25     Q      Now, you said that you had to coordinate with your liaison


                                                                    Exhibit D-3
                                                                 Page 70 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 71 of 202
                                                                       71




1      to coordinate the visit that day.        Is that Agent -- or

2      Inspector Lanelle Hawa?

3      A     That's correct.

4      Q     I am now showing you what's premarked for identification

5      as Government's Exhibit 301.     Do you recognize Government's

6      Exhibit 301?

7      A     Yes, I do.

8      Q     What do you recognize that to be?

9      A     That's the email from my counterpart Lanelle Hawa

10     regarding the head of state notification.

11     Q     Now, is this a fair and accurate copy of the email?

12     A     Yes, it is.

13     Q     Have you seen this email before today?

14     A     Yes.

15     Q     Were you part of this email exchange?

16     A     Yes, I was.

17               MR. GORDON:    All right.     At this time the government

18     submits Government's 301 into evidence.

19               THE COURT:    Any objection?

20               Admitted.

21               (Government's 301 received in evidence.)

22     BY MR. GORDON:

23     Q     What's the purpose of this email?

24     A     The purpose of this email is to provide a head of state

25     notification and notifies who would be visiting the Capitol,


                                                                    Exhibit D-3
                                                                 Page 71 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24   Page 72 of 202
                                                                        72




1      and it provides information regarding points of contact and a

2      brief itinerary for the individual that would be visiting the

3      Capitol.

4      Q     All right.    I am now showing you what's premarked for

5      identification as Government's Exhibit 302.          Do you recognize

6      Government's 302?

7      A     Yes, I do.

8      Q     What is Government's 302?

9      A     The head of state notification, the worksheet.

10     Q     Was this attached to the email that we just saw on 301?

11     A     Yes, it was.

12     Q     Were you also someone who -- did you receive this

13     attachment?

14     A     Yes.

15     Q     Is this, Government's Exhibit 302, a fair and accurate

16     copy of the document attached to 301?

17     A     Yes, it is.

18                MR. GORDON:    At this time the government submits 302

19     into evidence.

20                THE COURT:    Any objection?

21                Admitted.

22                (Government's 302 received in evidence.)

23     BY MR. GORDON:

24     Q     Scrolling down to the bottom of 302, can you summarize the

25     information in this chart?      We are not going to go line by


                                                                     Exhibit D-3
                                                                  Page 72 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 73 of 202
                                                                      73




1      line, but generally what does it tell us?

2      A     It is the proposed itinerary for the Vice President's

3      visit to the Capitol.     So it provides arrival times.       It

4      provides locations where he will be, if there's any greeters,

5      the destinations that he will be going to, what he will be

6      doing at those destinations, and then where he will be

7      departing from, and then departure times.

8      Q     What does MC mean?    I have circled that on the second

9      column on the left.

10     A     Motorcade.

11     Q     Okay.   There's a reference to S214 in that same column.

12     What does that mean?

13     A     That's the vice president's office in the Capitol.

14     Q     And there's a reference -- when it says via MC to Senate

15     carriage, what is that?     What is the Senate carriage?

16     A     It meant that the motorcade was going to arrive at the

17     Senate carriage entrance at the Capitol.

18     Q     Why are so many times in this chart listed as TBD?

19     A     It's listed as TBD because, again, once the certification

20     began, we expected for states to have objections.         So once

21     there was an objection, they would return to the Senate

22     chambers, deliberate, and they could do that for several hours.

23     And depending on how many states objected, the day would just

24     get longer and longer, and you couldn't give a concrete time as

25     to the timeline.


                                                                   Exhibit D-3
                                                                Page 73 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 74 of 202
                                                                      74




1      Q     Was the Vice President expected to stay in one room, for

2      example, his Senate office, for the whole time this was going

3      on?

4      A     No.

5      Q     Was he going to have to move throughout the Capitol

6      Building?

7      A     Yes.

8      Q     Where was he going to have to move?

9      A     He was going to have to move between the House and Senate

10     chambers.

11     Q     And would his security detail, like you, move with him?

12     A     Yes, we would.

13     Q     Now, did the day go smoothly?     Did it follow this plan?

14     A     No, it did not.

15     Q     Why is that?

16     A     At one point one of the states objected.       We moved back to

17     the Senate chamber.     And while we were in the Senate chamber,

18     protesters approached the Capitol and then ultimately entered

19     the Capitol Building.

20     Q     Did there come a time when you had to evacuate the Vice

21     President from the Senate?

22     A     We had to relocate him.

23     Q     Why do you make that distinction between relocate and

24     evacuate?

25     A     Evacuate in my mind means that we would have left the


                                                                   Exhibit D-3
                                                                Page 74 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 75 of 202
                                                                      75




1      Capitol.     Relocate, we remained inside the Capitol.

2      Q     Now, in that chart we just saw and in your description

3      earlier, you said the Vice President was going to move back and

4      forth between his office, the House, and the Senate?

5      A     Correct.

6      Q     Did you have to relocate him somewhere else in the Senate

7      or somewhere else in the Capitol complex during the day?

8      A     Yes.

9      Q     Without telling us where exactly, just connect the dots.

10     Why did that happen?

11     A     We had to relocate him for his safety.       The protesters,

12     again, entered the Capitol.     They were not authorized to be in

13     the building.     They had not been screened.     We didn't know who

14     had weapons.     And we couldn't have them in close proximity to

15     the Vice President, so we relocated him for his safety.

16     Q     And when you relocated him, was he still on Capitol

17     grounds somewhere?

18     A     Yes.

19     Q     How long did he stay in that relocated location?

20     A     Several hours.

21     Q     And why did he have to stay there several hours?

22     A     Because we had to wait for the protesters to be cleared

23     out of the building and it be deemed safe to return.

24     Q     Would you have deemed it safe for the Vice President to

25     return to the Senate chamber or to his Senate office if there


                                                                   Exhibit D-3
                                                                Page 75 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 76 of 202
                                                                      76




1      was even one unauthorized, unscreened rioter still in the

2      building?

3      A     No.

4      Q     Could you explain why.

5      A     Again, you don't know if they have any form of weapons on

6      them.   You don't know if they had any explosives on them or

7      planted any explosives in the building, so you would want the

8      protesters removed, and you would want to the building swept

9      for any devices.

10     Q     So not enough for the last person to be taken out of the

11     building?   You couldn't immediately bring the Vice President

12     back in at that point?

13     A     No.

14     Q     Because you would still have to do what?

15     A     Sweep the building.

16     Q     All right.    Have you -- I'm sorry.    I am now pulling up

17     what's premarked for identification as Government's

18     Exhibit 305.

19           Did you have a means of communicating with other Secret

20     Service agents that day?

21     A     Yes, I did.

22     Q     What was that?

23     A     My radio.

24     Q     And did you -- was your radio tuned to a common frequency?

25     A     A frequently specific for our detail.


                                                                   Exhibit D-3
                                                                Page 76 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 77 of 202
                                                                      77




1      Q     So you were able to speak to other agents yourself?

2      A     Yes.

3      Q     And were you able to hear what other agents were saying to

4      you and to each other?

5      A     Yes.

6      Q     Now, I have put up what's premarked for identification as

7      Government's Exhibit 305.     Do you recognize the video that's

8      Government's 305?

9      A     This particular video, no.

10     Q     You have never seen the compilation video of the Secret

11     Service movements of the Vice President?

12     A     I have seen multiple times the one of him being relocated

13     down the stairwell.     I may have seen this, but I don't recall

14     this actual frame that we are looking at right now.

15               (The videotape was played.)

16     BY MR. GORDON:

17     Q     I have played it to 2 seconds in.      Do you recognize the

18     frame that we are looking at at 2 seconds in?

19     A     Yes, I do.

20     Q     Does this video fairly and accurately capture your

21     movements of the Vice President?

22     A     Yes.

23     Q     Have you heard the radio traffic associated with this

24     video?

25     A     Yes.


                                                                   Exhibit D-3
                                                                Page 77 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 78 of 202
                                                                       78




1      Q     And does the radio traffic in this video fairly and

2      accurately copy the radio traffic that was going on at the time

3      the events in these videos are displayed?

4      A     Yes.

5                MR. GORDON:    At this time the government moves 305

6      into evidence?

7                THE COURT:    Any objection?

8                Admitted.

9                (Government's 305 received in evidence.)

10               MR. GORDON:    I am now going to publish

11     Government's 305.

12               (The videotape was played.)

13               MR. GORDON:    I have paused the video at 37 seconds.

14     BY MR. GORDON:

15     Q     Special Agent Glavey, first of all, is the female voice

16     that we are hearing on this video, is that your voice?

17     A     Yes, it is.

18     Q     This room that we see at the 38 second mark, have you

19     heard this referred to as the Ohio Clock corridor?

20     A     I have never heard that name.

21     Q     Do you recognize this location within the Capitol?

22     A     Vaguely, yeah.

23     Q     When this agent is saying there's six officers between us,

24     what is that referring to?

25     A     There were six officers that were keeping the protesters


                                                                    Exhibit D-3
                                                                 Page 78 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 79 of 202
                                                                      79




1      from entering through the doorway that led to where the

2      stairwell was to go up to the Vice President's office.

3      Q     In other words, without compromising the evacuation

4      routes, are the six officers I have circled on the screen, are

5      they between these rioters on the right and the stairway that

6      we saw seconds before?

7      A     Yes.   There was an arched doorway.     If you passed through

8      it, you would be steps away from that staircase.

9      Q     So if you wanted to go back, after you relocated the Vice

10     President, if you wanted to return him to his office, would the

11     most direct route be to go on this same path, back the same

12     direction, back up those same stairs?

13     A     In a hallway close to it, yes.

14               MR. GORDON:    We will continue here from the 38 second

15     mark.

16               (The videotape was played.)

17     BY MR. GORDON:

18     Q     That's your voice, correct?

19     A     Yes.

20               (The videotape was played.)

21     BY MR. GORDON:

22     Q     And immediately after that, was the Vice President moved

23     out of that door we just saw, down those stairs, and past those

24     rioters in that hallway?

25     A     Yes.


                                                                   Exhibit D-3
                                                                Page 79 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 80 of 202
                                                                       80




1      Q     Okay.   All right.    Special Agent Glavey, did you consider

2      the Vice President to be in danger on January 6?

3      A     Yes.

4      Q     And did you consider him to be in danger by every last

5      rioter who unlawfully entered the Capitol Building?

6      A     Yes.

7      Q     Okay.

8                MR. GORDON:     Nothing further, Your Honor.

9                THE COURT:     Thank you.

10               Mr. Bru, do you wish to cross-examine?

11               MR. BRU:     I do not consent to this trial.

12               THE COURT:     Okay.   Very well.

13               The government may call its next witness.

14               MS. MUMMA:     The government calls Special Agent

15     Julianna Dippold.

16                                 JULIANNA DIPPOLD

17     Having been first duly sworn on oath, was examined and

18     testified as follows:

19               THE COURTROOM DEPUTY:       You may be seated.

20                                DIRECT EXAMINATION

21     BY MS. MUMMA:

22     Q     Good morning, Agent Dippold.

23     A     Good morning.

24     Q     Can you state and spell your full name for the record,

25     please.


                                                                     Exhibit D-3
                                                                  Page 80 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 81 of 202
                                                                      81




1      A     It's Julianna Dippold.     It's J-U-L-I-A-N-N-A.     And the

2      last name is D-I-P-P-O-L-D.

3      BY MS. MUMMA:

4      Q     Great.    Thank you.   Where do you work?

5      A     I work for the Federal Bureau of Investigation.

6      Q     How long have you been with the Federal Bureau of

7      Investigation or FBI?

8      A     About five and a half years.

9      Q     And where is your office located?

10     A     So I'm out of the Seattle division, but I'm located in the

11     Vancouver resident agency.

12     Q     Okay.    And what is your job title exactly?

13     A     I am a special agent.

14     Q     What are the kind of responsibilities of a special agent?

15     A     It's to drive cases, so criminal investigations.

16     Q     And in criminal investigations, can you just list some of

17     the things that you do as a special agent?

18     A     Sure.    I swear affidavits, serve grand jury subpoenas,

19     conduct interviews, arrests.

20     Q     When you became a special agent with the FBI, did you

21     complete any training?

22     A     I did.

23     Q     Can you describe that training.

24     A     It was almost five months at the Federal Bureau of

25     Investigations basic training in Quantico, Virginia.          Through


                                                                   Exhibit D-3
                                                                Page 81 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 82 of 202
                                                                        82




1      that program, learned defensive tactics, firearms, and then law

2      and how to conduct investigations.

3      Q     Have you testified in court before?

4      A     This is my first time.

5      Q     Welcome.

6            Do any of your investigations involve people that

7      committed offenses on U.S. Capitol grounds on January 6, 2021?

8      A     Yes.

9      Q     Do you usually work on those kinds of cases?

10     A     No.

11     Q     What kind of cases do you typically work on?

12     A     I primarily work crimes against children.

13     Q     Crimes against children, you said?

14     A     Yes.

15     Q     Are you involved in the case against Mr.         -- or the

16     defendant?

17     A     Yes.

18     Q     What was your role in that investigation?

19     A     I was the case agent.

20     Q     Case agent.      What does that entail?

21     A     So I was the lead investigator.       I was the one that drove

22     the case.    So any of the legal processes, I served them or

23     swore to them.

24     Q     As the case agent, did you review and gather evidence

25     related to the investigation?


                                                                     Exhibit D-3
                                                                  Page 82 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24    Page 83 of 202
                                                                         83




1      A     Yes.

2      Q     Have you interacted with the defendant, Mr. Bru, in

3      person?

4      A     Yes.

5      Q     And what context did you do that in?

6      A     It was on the day of his arrest, and then the next day

7      when he was transported from the county jail to the U.S.

8      Marshals in Portland, Oregon.

9      Q     You were present both during his arrest and during that

10     transfer?

11     A     Yes.

12               MS. MUMMA:    Mr. Gordon, can you publish Government's

13     Exhibit 505 previously admitted.

14               Thank you.

15     BY MS. MUMMA:

16     Q     Agent Dippold, do you recognize this photo?

17     A     I do.

18     Q     Who is that at the center of the photo I am just going to

19     circle?

20     A     That is Mr. Bru.

21     Q     Great.    Can you describe what Mr. Bru is wearing in the

22     photo.

23     A     Yes.    He's wearing a black zip-up hoodie.        He has

24     light-colored jeans on.     He has goggles around his neck, black

25     gloves, and he also has a gaiter, it can be a face covering


                                                                     Exhibit D-3
                                                                  Page 83 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 84 of 202
                                                                       84




1      also, wrapped around his neck.

2      Q     Do you see Mr. Bru in the courtroom today?

3      A     I do.

4      Q     Can you identify him?     Can you point him out and identify

5      him by an article of clothing?

6      A     The blue shirt with the gray striped tie.

7      Q     Thank you.

8                MS. MUMMA:     Your Honor, may the record reflect that

9      Agent Dippold has identified the defendant?

10               THE COURT:     So reflect.

11               MS. MUMMA:     Thank you.

12     BY MS. MUMMA:

13     Q     And how long have you -- did you spend -- when you were

14     with him for the arrest and for the transfer process, how long

15     would you say, an estimate, did you spend with him?

16     A     The arrest was very fleeting.      The transport itself, I

17     think, was around 30 minutes.

18     Q     30 minutes?      Okay.

19           In that 30 minutes, did you become familiar with his

20     appearance?

21     A     Yes, I would say so.

22     Q     What about his voice?

23     A     Definitely.

24     Q     How did you become familiar with his voice?

25     A     He talked most of the ride from the county jail to the


                                                                    Exhibit D-3
                                                                 Page 84 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 85 of 202
                                                                       85




1      U.S. Marshals.

2      Q      Okay.   Can you come up to the microphone just a little

3      bit.

4      A      Yes.    Sorry.

5      Q      Moving on.    Agent Dippold, as part of your investigation

6      into the defendant, did you identify any kind of any Facebook

7      account connected to the defendant?

8      A      Yes.

9      Q      Was there more than one?

10     A      It was.

11     Q      How many?

12     A      There's at least three.

13     Q      At least three.

14               MS. MUMMA:     Mr. Gordon, can you pull up what's been

15     marked previously and admitted previously as Exhibit -- oh, it

16     has not been admitted.      Can you please pull up Exhibit 803.

17     BY MS. MUMMA:

18     Q      Do you recognize this photo, Agent Dippold?

19     A      I do.

20     Q      What is it?

21     A      That would be the profile picture from one of his Facebook

22     accounts.

23     Q      Was that account publicly accessible?       You saw this photo?

24     A      Yes.

25     Q      Did you gather this, I guess -- is this a screenshot?


                                                                    Exhibit D-3
                                                                 Page 85 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 86 of 202
                                                                        86




1      A     Yes.    It's a screenshot that would have been taken maybe

2      from someone on a cell phone.

3      Q     Did you gather this screenshot as part of your

4      investigation?

5      A     Yes.

6      Q     Is it a fair and accurate screenshot of the defendant's

7      Facebook profile?

8      A     Yes.

9      Q     It hasn't been altered in any way?

10     A     No.

11                 MS. MUMMA:    Your Honor, we would move to admit

12     Government's Exhibit 803.

13                 THE COURT:    That's already in.

14                 MS. MUMMA:    That's already admitted?     Okay.

15                 THE COURT:    803 through 816 are in.

16                 MS. MUMMA:    Okay.   Thank you, Your Honor.

17     BY MS. MUMMA:

18     Q     Can you describe what we are seeing here in the photo?

19     A     That's Mr. Bru in a wooded area, I would say, and he has a

20     gun that he's pointing at the camera.

21     Q     Okay.    Did you obtain a search warrant to search this

22     account specifically?

23     A     No.

24     Q     All right.    Did you obtain a warrant to search another

25     account?


                                                                     Exhibit D-3
                                                                  Page 86 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 87 of 202
                                                                      87




1      A     Yes.

2      Q     What was that account name under?

3      A     Vicorous.

4      Q     Was it account identifier 1450792039?

5      A     Yes.

6      Q     How did you know that that account was linked to the

7      defendant?

8      A     The person who originally reported Mr. Bru turned me to

9      that account.

10     Q     Okay.    And did you receive records back from Facebook

11     following the service of that search warrant?

12     A     Yes.

13     Q     What did those records -- did you have an opportunity to

14     review those records?

15     A     Yes, all of them.

16     Q     What did they contain, can you describe them?

17     A     Yeah.    So when Facebook provides records, it's typically

18     in two parts.     The first part is all media, so that's all --

19     any type of audio recording, video recording, as well as

20     pictures.     The second half is -- it's a pdf of just any posts,

21     messages, status updates, subscriber information.

22     Q     About what time period did the records cover

23     approximately?     Was it before January 6?

24     A     Yeah, it was before January 6.     I don't remember exactly

25     when it started, but it was before January 6 up until when I


                                                                   Exhibit D-3
                                                                Page 87 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 88 of 202
                                                                      88




1      served it, which would have been, I believe, about March of

2      2021.

3      Q     And when you reviewed the records, did you find anything

4      relevant to the investigation?

5      A     Yes.

6      Q     And did you review Government's Exhibits 804 through 807

7      and 809 through 816 before your testimony today?

8      A     I did.

9                MS. MUMMA:    Mr. Gordon, can you publish Government's

10     Exhibit 806.

11     BY MS. MUMMA:

12     Q     Agent Dippold, what are we looking at here?

13     A     So this is a selfie that Mr. Bru took.       It's on the

14     Capitol mall.     And you can see the Washington Monument in the

15     background.

16     Q     Is this Mr. Bru here (indicating)?

17     A     It is.

18     Q     Okay.    And this was posted on his Facebook?

19     A     Yes.

20     Q     Do you recall approximately what time?

21     A     I believe it was in the morning.

22     Q     So before noon obviously?

23     A     Yes.

24     Q     Are you familiar with the general timeline of January 6?

25     A     In broad strokes.


                                                                   Exhibit D-3
                                                                Page 88 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 89 of 202
                                                                      89




1      Q     Are you aware if a rally occurred that day?

2      A     It did, yes.

3      Q     Where did that occur?

4      A     I believe much further, closer to the Washington Monument.

5      Q     On the Ellipse?

6      A     On the Ellipse.

7      Q     Were speeches given at that rally?

8      A     Yes.

9      Q     Was one of those speeches given by former president Donald

10     Trump?

11     A     Yes.

12     Q     At about what time did that speech occur?

13     A     I believe that was from about noon to 1:00.

14     Q     All right.    Back to the photo here, you said that's the

15     monument in the background there?

16     A     Yes.

17     Q     Circling, right there (indicating).

18           Do you know who those people in the photo are aside from

19     Mr. Bru?

20     A     There's a couple that I recognize.      Can I circle it or --

21     Q     Yeah, go ahead and circle.

22     A     So this individual right here (indicating), and then this

23     individual in the blue hat and white sunglasses, they --

24     Q     Sorry.    Can you start with the first individual.

25     A     Yeah.    He has like a dark hat and like an American flag


                                                                   Exhibit D-3
                                                                Page 89 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 90 of 202
                                                                      90




1      looking gaiter around his face, also with sunglasses.          Both of

2      them are also -- were also defendants in January 6 related

3      charges, both out of Florida, and both Proud Boys.

4      Q      Just for the record, Mr. Bru is in the forefront of the

5      photo here taking the selfie.     And then you have identified the

6      man in the back kind of below that red and black flag.          Can you

7      describe again what he's wearing?

8      A      The one on the right, you are talking --

9      Q      The right, yes.

10     A      He has like a dark-colored hat, sunglasses, and then what

11     I believe is like an American flag gaiter covering his mouth.

12     Q      And then you identified this man, which he's almost in the

13     center the photo?

14     A      Uh-huh.

15     Q      Can you describe what he's wearing.

16     A      He has a blue hat and white sunglasses.

17     Q      And how do you -- again, how do you know who those people

18     are?

19     A      They are also defendants in other January 6 trials.          Both

20     have been sentenced.

21     Q      Okay.   And are these people here gathered together for any

22     particular reason?

23     A      I believe so, yes.

24     Q      What is that reason?

25     A      This is a group of Proud Boys, and they banded together on


                                                                   Exhibit D-3
                                                                Page 90 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 91 of 202
                                                                      91




1      January 6 and conducted their activity together.

2      Q     Okay.   Who are the Proud Boys?

3      A     The Proud Boys are -- it's a national organization.           They

4      stylize themselves as kind of like a frat group, so guys who

5      like to get together and drink.     But they are known in the law

6      enforcement community as being right-wing extremists.

7                MS. MUMMA:    Mr. Gordon, can you publish Government's

8      Exhibit 804.

9      BY MS. MUMMA:

10     Q     Agent Dippold, do you recognize what this is?

11     A     I do.

12     Q     What is it?

13     A     This is a video that was also found in Mr. Bru's Facebook

14     account, a video that he took.

15     Q     Can you describe -- do you know when this video took place

16     based on those records?

17     A     So also in the morning, close to the same time the picture

18     was taken.

19     Q     Morning of January 6?

20     A     Yes.

21     Q     And he posted this onto his Facebook?

22     A     Yes.

23     Q     And what's that in the distance in the photo?        I will

24     circle it here (indicating)?

25     A     That is the Capitol.


                                                                   Exhibit D-3
                                                                Page 91 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 92 of 202
                                                                      92




1      Q     The Capitol Building?

2      A     Yes.

3                MS. MUMMA:    All right.   Mr. Gordon, can you go ahead

4      and play the video.

5                (The videotape was played.)

6      BY MS. MUMMA:

7      Q     Agent Dippold, who is speaking just then?

8      A     Mr. Bru.

9      Q     How do you know?

10     A     Again, after spending time with him, I have learned his

11     voice.

12     Q     Are you familiar with downtown Washington, D.C.?

13     A     Roughly.

14     Q     Can you tell enough -- are you familiar enough so that you

15     can tell where the defendant is as he's taking this video?

16     A     He's on the mall.

17     Q     And can you tell where he's headed?

18     A     To the Capitol.

19     Q     And you heard what he said just now?

20     A     Yes.

21     Q     Are you familiar with the term sovereign citizen?

22     A     I am.

23     Q     What does that refer to just quickly and generally?

24     A     It's people who have a certain ideology that the

25     government, the U.S. government, is not legitimate.         They are


                                                                   Exhibit D-3
                                                                Page 92 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 93 of 202
                                                                      93




1      typically antigovernment and believe that the United States of

2      America is a corporation.

3      Q     Okay.   Is it kind of an umbrella term for many different

4      beliefs associated with one particular term?

5      A     Yes.

6      Q     All right.   What about when he says banking cartel, is

7      that associated -- based on your experience with the FBI, is

8      that kind of associated with any particular theory?

9      A     It's also associated with sovereign citizens, yes.

10     Q     What is the theory?

11     A     My understanding of it is that, again, the United States

12     is a corporation that essentially sold out to a banking

13     industry, and the banking cartel would be -- again, there's

14     antisemitic roots to that.     It's Jewish people that run it.

15     Q     Okay.   So boiled down, both of those theories are

16     connected and are based on a belief that the United States

17     government is illegitimate?

18     A     Yes.

19     Q     Okay.   And as part of your -- moving on to a different

20     kind of topic.

21           As part of your investigation into the defendant, did you

22     review and locate footage and photos of the defendant outside

23     the Capitol on January 6?

24     A     Yes.

25     Q     Okay.   Did you look at body-worn camera photos and


                                                                   Exhibit D-3
                                                                Page 93 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 94 of 202
                                                                       94




1      images -- sorry, videos and images of the defendant?

2      A     Yes.

3      Q     And that was from Metropolitan Police?

4      A     Yes, it was.

5      Q     And then what about open source footage and videos?

6      A     Yes.

7      Q     U.S. Capitol Police footage?

8      A     Yes.

9      Q     And then closed-circuit footage?

10     A     Yes.

11               MS. MUMMA:    Mr. Gordon, can you publish Government's

12     Exhibit 506.

13     BY MS. MUMMA:

14     Q     What is this?    What's happening here, Agent Dippold?

15     A     This is just a little after the barricades have been

16     overrun over by the Peace Circle, and Mr. Bru is visible in

17     this photo.

18     Q     So this is a photograph?

19     A     Yes.

20     Q     Is it open source?

21     A     Yes.

22     Q     Okay.   So when you say -- you said Peace Circle.

23               THE COURT:    I think we have seen this.        I don't

24     believe Agent Dippold was actually there.

25               MS. MUMMA:    No problem.     We will move on.


                                                                     Exhibit D-3
                                                                  Page 94 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 95 of 202
                                                                      95




1                Mr. Gordon, can you publish -- actually, never mind.

2                Can you publish Exhibit 210, please.

3      BY MS. MUMMA:

4      Q     Agent Dippold, can you point out -- or I'll just go ahead

5      and do it for you.     What is this here (indicating)?

6      A     That's the west terrace or west plaza.

7                MS. MUMMA:    Mr. Gordon, can you publish Exhibit 507,

8      Government's Exhibit.

9      BY MS. MUMMA:

10     Q     Agent Dippold, have you seen this before?

11     A     I have.

12     Q     What is it?

13     A     It is a video on the Capitol grounds as rioters attempt to

14     enter the building.

15     Q     Where are they attempting to enter?

16     A     The upper west terrace, I do believe.

17               MS. MUMMA:    Mr. Gordon, can you play for about four

18     seconds, please.

19               (The videotape was played.)

20               MS. MUMMA:    Pause.

21     BY MS. MUMMA:

22     Q     Do you see the defendant?

23     A     Yes.

24     Q     Is he circled in red holding the phone here on the right

25     side of the photograph --


                                                                   Exhibit D-3
                                                                Page 95 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 96 of 202
                                                                      96




1      A     Yes, he is.

2      Q     -- or the still image?

3            What's he doing?

4      A     At this point in time, he's either -- well, he has his

5      phone up, so he may be taking pictures or images.         But he's

6      walking towards that open door.

7                MS. MUMMA:    Mr. Gordon, can you keep playing until

8      about 48 seconds.

9                (The videotape was played.)

10               MS. MUMMA:    Thank you.

11     BY MS. MUMMA:

12     Q     Can you describe what's happening here?

13     A     Yes.    So those outer doors are open.    That high-pitched

14     ringing sound is the alarm.     And these individuals are all

15     starting to move into the building shouting let us in and our

16     house.

17     Q     Do you see the defendant in this still of the video?

18     A     Yeah.    He's just inside those outer doors on the right

19     side there.

20     Q     Circled in red?

21     A     Yes.

22     Q     Okay.    Do you know what that sign on the door says to his

23     right.

24           If you can't read it --

25     A     I can make out alarm sounds, but that's about it.


                                                                   Exhibit D-3
                                                                Page 96 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 97 of 202
                                                                      97




1                MS. MUMMA:    Can you play just a tiny bit more,

2      Mr. Gordon.

3                (The videotape was played.)

4                THE WITNESS:    Push until alarm sounds.

5      BY MS. MUMMA:

6      Q     Does it say emergency exit?

7      A     Yes, at the top there, emergency exit only.

8                MS. MUMMA:    You can go ahead and play to the end,

9      Mr. Gordon.

10               (The videotape was played.)

11               MS. MUMMA:    Thank you.

12     BY MS. MUMMA:

13     Q     What happened there at the end of that video?

14     A     So they were shouting let us in, let us in, and then the

15     officers appear to step aside and allow them to enter the

16     building.

17     Q     Did you see about how many officers -- as the individual

18     filming walked by, did you see how many officers he passed on

19     the sides?

20     A     I think there was two or three.

21     Q     And did the defendant enter the building at that time?

22     A     Yes.

23     Q     How do you know?

24     A     He was captured on CCTV footage.

25     Q     All right.   So you mentioned earlier that you had reviewed


                                                                   Exhibit D-3
                                                                Page 97 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 98 of 202
                                                                      98




1      close circuit footage as part of the investigation --

2      A     I did.

3      Q     -- just now that you had seen him enter the building in

4      that footage?

5      A     Yes.

6      Q     Through looking at that footage, did you become familiar

7      with the Capitol Building?

8      A     I did.

9      Q     How long was the defendant in the building approximately?

10     A     I think it was around 15 minutes or so.

11     Q     And did you have a chance to review Government's Exhibits

12     101 through 110?

13     A     Yes.

14     Q     Are those closed-circuit video clips of the defendant

15     walking through the Capitol?

16     A     Yes.

17     Q     I am not going to play all these videos, but we will go

18     through at least some of them, either watching a tiny bit of it

19     or just staying on a still image and kind of chart Mr. Bru's

20     course through the building.

21               MS. MUMMA:    So starting with his entrance, which we

22     just saw from one angle, Mr. Gordon, could you please pull up

23     or publish Government's Exhibit 101.

24               Can you play this video for about five seconds.

25               (The videotape was played.)


                                                                   Exhibit D-3
                                                                Page 98 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 99 of 202
                                                                      99




1                MS. MUMMA:    You can pause here.

2      BY MS. MUMMA:

3      Q     Do you see the defendant?

4      A     I do.

5      Q     Is that him right there circled in the top?

6      A     Yes.

7      Q     So this is at the same time as the video we just watched,

8      just from a different angle --

9      A     Yes --

10     Q     -- looking out at the building --

11     A     -- that's correct.

12     Q     -- the upper west terrace door?

13               MS. MUMMA:    Can you skip, Mr. Gordon, to 12 seconds

14     in.   You don't need to play.

15     BY MS. MUMMA:

16     Q     At this point where is Mr. Bru?

17     A     He is inside those exterior doors on the left side.

18     Q     And can you read what the time stamp says on the top left

19     there?

20     A     2:36 p.m. on January 6, 2021.

21               MS. MUMMA:    Mr. Gordon, can you now publish

22     Government's Exhibit 102.

23               (The videotape was played.)

24     BY MS. MUMMA:

25     Q     Agent Dippold, is that Mr. Bru there circled in blue in


                                                                   Exhibit D-3
                                                                Page 99 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 100 of 202
                                                                       100




1       the top left?

2       A    Yes, it is.

3       Q    Is this where he went after his entrance through those

4       upper west terrace doors?

5       A    Yes.

6       Q    Do you know what this area is called?

7       A    The rotunda.

8       Q    And you have seen this clip before.        In this clip, what

9       does he proceed to do?

10      A    He essentially just moves across the floor to the other

11      side.

12      Q    Do you know where he's heading?

13      A    I believe --

14      Q    The Senate or the House side of the building?

15      A    He was headed towards the Senate side.

16                MS. MUMMA:    Mr. Gordon, can you publish Government's

17      Exhibit 103.

18                (The videotape was played.)

19                MS. MUMMA:    You can go ahead and pause here.       Paused

20      at 11 seconds into Government's Exhibit 103.

21      BY MS. MUMMA:

22      Q    Agent Dippold, is that the defendant circled in blue --

23      A    Yes.

24      Q    -- towards kind of the upper right-hand side of the photo?

25           And can you -- what does the time stamp say at the top


                                                                     Exhibit D-3
                                                                 Page 100 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 101 of 202
                                                                       101




1       left there?

2       A    It's 2:40 p.m.

3       Q    Where are we now in this video?

4       A    So this is the interior rotunda doors.

5       Q    Is this outside of the rotunda that we just saw on the

6       video?

7       A    It's outside the rotunda, yes.

8                 MS. MUMMA:    Okay.   Can you -- Mr. Gordon, you publish

9       Government's Exhibit 104.

10                (The videotape was played.)

11                MS. MUMMA:    You can pause here, please.

12      BY MS. MUMMA:

13      Q    Is that Mr. Bru there (indicating)?

14      A    Yes.

15      Q    So where is he now?

16      A    He's now headed up to the third floor.

17      Q    Okay.    So he was on, in a previous video, the second

18      floor, and now he's heading up the stairs to the third?

19      A    Yes.

20                MS. MUMMA:    Mr. Gordon, can you publish Exhibit 106.

21                You can skip to about 1:41 here and pause.         You can

22      pause here.    I am going to clear this.

23                (The videotape was played.)

24      BY MS. MUMMA:

25      Q    Agent Dippold, do you know where we are approximately now


                                                                     Exhibit D-3
                                                                 Page 101 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 102 of 202
                                                                       102




1       in this image?

2       A    Yes.    We are outside of the Senate in that upper gallery.

3       Q    And who is circled in blue there in the center of the

4       screen?

5       A    Mr. Bru.

6       Q    Okay.    And what does that time stamp say in the upper

7       left?

8       A    2:42 p.m.

9                 MS. MUMMA:    Mr. Gordon, you can go ahead and play

10      until about 2 minutes and 5 seconds.

11                (The videotape was played.)

12                MS. MUMMA:    We can pause here.

13                Paused at 2 minutes and 8 seconds.

14      BY MS. MUMMA:

15      Q    Can you describe what just happened here, Agent Dippold?

16      A    Yes.    Mr. Bru walked further down the corridor away from

17      the camera and then entered the middle set of open doors.

18      Q    Where did he enter?

19      A    Through those doors.

20      Q    What's beyond those doors?

21      A    Oh, into the Senate gallery.

22      Q    Is there any additional evidence that Mr. Bru entered the

23      Senate gallery?

24      A    Yes.

25      Q    What is that evidence?


                                                                     Exhibit D-3
                                                                 Page 102 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 103 of 202
                                                                        103




1       A     He took pictures of himself inside the gallery.

2                  MS. MUMMA:    We have already seen that picture, so I am

3       not going to show it again unless Your Honor would like to see

4       it.

5                  Okay.   Mr. Gordon, can you publish Exhibit 107,

6       please.    You can play at 4:42, please.

7                  (The videotape was played.)

8                  MS. MUMMA:    Pause here, Mr. Gordon.

9                  We are paused at 5 minutes and 5 seconds.

10      BY MS. MUMMA:

11      Q     Agent Dippold, can you remind us where we are?

12      A     Yes.    We are still in the corridor outside of the Senate

13      gallery.

14      Q     What did we just see in this video?

15      A     We saw Mr. Bru come out of the Senate gallery and walk

16      towards the camera and then out of sight.

17      Q     What is the time stamp in the corner there?

18      A     2:46 p.m.

19      Q     Okay.    So doing the math, based on when this video

20      started, which is about 30 seconds ago, was he inside the

21      gallery for about two to three minutes?

22      A     Yes.

23                 MS. MUMMA:    Mr. Gordon, can you publish Government's

24      Exhibit 108.     And we are going to skip to 1:32 and pause.

25                 (The videotape was played.)


                                                                      Exhibit D-3
                                                                  Page 103 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 104 of 202
                                                                       104




1                 MS. MUMMA:    Can you scroll back just a bit,

2       Mr. Gordon.

3                 Brief indulgence.

4                 Can you go ahead and play for just a few seconds.

5                 (The videotape was played.)

6                 MS. MUMMA:    You can pause here.

7       BY MS. MUMMA:

8       Q    Agent Dippold, is that Mr. Bru there (indicating)?

9       A    Yes.

10      Q    Circled in the center of this still image at 1 minute and

11      35 seconds?

12      A    Yes.

13                MS. MUMMA:    You can go ahead and play, Mr. Gordon.

14                (The videotape was played.)

15                MS. MUMMA:    You can pause here, Mr. Gordon.       We are

16      paused at 2 minutes and 21 seconds.

17      BY MS. MUMMA:

18      Q    Agent Dippold, is this still Mr. Bru here in this

19      corridor --

20      A    Yes.

21      Q    -- circled in the center in the blue (indicating).

22           Do you see any law enforcement in this video?

23      A    Yes.

24      Q    Can you -- is this them over here in this line?

25      A    Yes, it is.


                                                                     Exhibit D-3
                                                                 Page 104 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 105 of 202
                                                                        105




1                  MS. MUMMA:    Mr. Gordon, can you publish Government's

2       Exhibit 109.     Go to 15 seconds in and pause here.

3                  Agent, we are paused at 16 seconds.

4       BY MS. MUMMA:

5       Q      Agent Dippold, here in the left-hand corner, is that

6       Mr. Bru?

7       A      Yes, it is.

8       Q      And do you recognize where this video location is?

9       A      Yes, I do.

10      Q      Where is it?

11      A      So this is, again, outside the Senate gallery where Mr. --

12      or Vice President Pence actually evacuated from.

13      Q      Do you know approximately -- what's the time stamp here?

14      A      2:48 p.m.

15      Q      So that's about 20 minutes after the evacuation of the

16      Vice President?

17      A      That sounds right, yes.

18                 MS. MUMMA:    And you can play until about 23 seconds,

19      Mr. Gordon.

20                 (The videotape was played.)

21                 MS. MUMMA:    We can go ahead and take that down.          Thank

22      you.

23      BY MS. MUMMA:

24      Q      Okay.   Agent Dippold, switching gears again, we are going

25      to talk a little bit about the impact of the events of


                                                                      Exhibit D-3
                                                                  Page 105 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 106 of 202
                                                                       106




1       January 6 on the city of Washington, D.C. and beyond.

2            To your knowledge, was a curfew imposed in D.C. on

3       January 6?

4       A    Yes, there was.

5       Q    Who was that imposed by?

6       A    The mayor.

7                 MS. MUMMA:    Mr. Gordon, can you publish Government's

8       Exhibit 1001.

9       BY MS. MUMMA:

10      Q    Do you recognize what this is?

11      A    I do.

12      Q    What is it?

13      A    This is the order declaring the citywide curfew.

14      Q    I'm sorry.    Can you say that one more time.

15      A    This is the order declaring the citywide curfew.

16      Q    Do you know if that curfew applied to businesses?

17      A    It did, yeah.

18      Q    What about grocery stores?

19      A    Yes.    That would have been included in businesses.

20      Q    Are you familiar with Safeway grocery stores?

21      A    I am.

22      Q    Is Albertsons the parent company of Safeway?

23      A    Yes.

24                MS. MUMMA:    Mr. Gordon, can you publish Government's

25      Exhibit 1002.


                                                                     Exhibit D-3
                                                                 Page 106 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 107 of 202
                                                                       107




1       BY MS. MUMMA:

2       Q    What is this?

3       A    This was an email that went from one of the higher-ups at

4       Albertsons to all the store managers of the Safeway stores in

5       D.C. essentially saying there's going to be a curfew, and

6       Safeway is going to abide by that curfew, and all D.C. stores

7       need to close by 4:00 p.m.

8       Q    When you say D.C., D.C. Safeway stores?

9       A    D.C. Safeway stores specifically, yes.

10      Q    Are you aware if -- because they had to close early that

11      day, are you aware if Safeway stores in D.C. lost any revenue

12      as a result of having to close early on January 6?

13      A    They did.

14                MS. MUMMA:    Mr. Gordon, can you publish Government's

15      Exhibit 1003.

16      BY MS. MUMMA:

17      Q    Do you recognize what this is, Agent Dippold?

18      A    Yes.   It's a table showing store sales.

19      Q    Great.    And what's the -- does it cover a certain date

20      range?   What about on the first page here, what's the date for?

21      A    Yeah, so this is for January 5, 2021.

22                MS. MUMMA:    If we scroll down, Mr. Gordon, to the

23      second page.

24      BY MS. MUMMA:

25      Q    What about this chart here?


                                                                     Exhibit D-3
                                                                 Page 107 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 108 of 202
                                                                       108




1       A      This is January 6, 2021.

2                 MS. MUMMA:     And the next page, Mr. Gordon.

3                 THE WITNESS:     January 7, 2021.

4       BY MS. MUMMA:

5       Q      And you have reviewed all three of these charts?

6       A      I have.

7       Q      Okay.    And these reports, can you describe again what they

8       are?

9       A      Yeah, so it's essentially a table showing the sales

10      projected and then actual sales of each of those Safeway stores

11      listed in the first column there on the 5th, 6th and 7th, so in

12      this case on January 6, 2021.

13      Q      That's D.C. Safeway stores?

14      A      Yes.

15      Q      Great.    So let's just briefly identify each of these

16      columns here.      You see where it says projected ID presented,

17      the second column?

18      A      Yes.

19      Q      Do you know what that means?

20      A      That's what they anticipated they were going to make on

21      that date based on sales the previous year.

22      Q      And so it's same time, same date, last year?

23      A      Yeah.

24      Q      All right.    Looking to the actual ID column now, the first

25      column, what is that row for?


                                                                     Exhibit D-3
                                                                 Page 108 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 109 of 202
                                                                      109




1       A    That's what their sales actually were on January 6, 2021.

2       Q    Compared to the previous year?

3       A    Yes.

4       Q    Okay.   So when a number is read -- the last column, can

5       you describe that briefly, ID percentage versus projected?

6       A    Yeah, so that's the difference between what they actually

7       made versus what they were projected to make.

8       Q    So in that column, when a number -- generally when a

9       number is red, what does that mean?

10      A    It's bad.   It's a deficit in what they anticipated to

11      make.

12      Q    Okay.   So looking at the right column here, ID percentage

13      versus projected, all of those numbers except one are red,

14      right?

15      A    Yes.

16      Q    So that means the Safeway stores in these locations did

17      worse than they expected to do on January 6?

18      A    Yes.

19      Q    Let's look very briefly on the first page for the

20      January 5, 2021 chart.

21           You see in the far column the ID percentage versus

22      projected.   Is that a mix of black and red?

23      A    Yeah.   Some days they made revenue.      Other days they made

24      less revenue than expected.

25      Q    Some stores did better, and some --


                                                                    Exhibit D-3
                                                                Page 109 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 110 of 202
                                                                       110




1       A    Yeah.

2       Q    Okay.    And are you aware if Safeway stores operate across

3       state lines?

4       A    They do.

5                 MS. MUMMA:    Mr. Gordon, can you publish Government's

6       Exhibit 1004.

7       BY MS. MUMMA:

8       Q    Look at the top left-hand corner here.         Can you see where

9       it says warehouse shipments?      Can you see where it says D.C.

10      Safeway stores -- sorry.     Let's start again.

11           Do you recognize what this is?

12      A    Yes.

13      Q    What is it?

14      A    Essentially what is being shipped to each of those stores,

15      D.C. stores.

16      Q    D.C. stores, okay.     In the top left-hand corner, do you

17      see where the document says the D.C. Safeway stores get their

18      shipments from?

19      A    Yes, from Lancaster, Pennsylvania.

20      Q    Okay.    And then in the second column here, what does the

21      head of that second column say?

22      A    D.C. store number.

23                MS. MUMMA:    We can remove that exhibit.       Thank you,

24      Mr. Gordon.

25


                                                                     Exhibit D-3
                                                                 Page 110 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 111 of 202
                                                                        111




1       BY MS. MUMMA:

2       Q    Switching back to the defendant specifically, I will clear

3       the screen.   You mentioned earlier that you were present for

4       his arrest, is that right?

5       A    Yes.

6       Q    Where was that exactly?

7       A    So it was Hazel Dell, Washington, which is part of

8       Vancouver, Washington.

9       Q    Before you arrested Mr. Bru, did you learn through your

10      investigation he was a member of any particular groups aside

11      from the Proud Boys?

12      A    No.

13      Q    Was he a member of any kind of Washington state based

14      groups, militia or any of that kind of --

15      A    So his name was registered on the Washington state militia

16      website.

17                 MS. MUMMA:    Mr. Gordon, can you pull up what's been

18      labeled as Government's Exhibit 707.

19      BY MS. MUMMA:

20      Q    Agent Dippold, do you recognize what this is?

21      A    Yes.

22      Q    What is it?

23      A    It's a screenshot of the website Washington state militia

24      at Mr. Bru's page.

25      Q    And you gathered this screenshot as part of your


                                                                      Exhibit D-3
                                                                  Page 111 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24   Page 112 of 202
                                                                         112




1       investigation?

2       A    Yes.

3       Q    Is it a fair and accurate depiction of the defendant's

4       Washington state militia page?

5       A    Yes.

6       Q    Has it been altered in any way?

7       A    No.

8                  MS. MUMMA:    Your Honor, government moves to admit

9       Government's Exhibit 707.

10                 THE COURT:    Any objection?

11                 Admitted.

12                 (Government's 707 received in evidence.)

13                 MS. MUMMA:    Thank you.

14      BY MS. MUMMA:

15      Q    Just very briefly on this topic, as an agent in Washington

16      state, are you familiar with the legality of militias in the

17      state?

18      A    Per Washington state's Constitution, armed militias are

19      prohibited.

20      Q    All right.

21                 MS. MUMMA:    You can remove this exhibit, Mr. Gordon.

22      BY MS. MUMMA:

23      Q    Moving on to the defendant's actual arrest, when you

24      arrested the defendant, did you conduct any searches in

25      connection with that arrest?


                                                                       Exhibit D-3
                                                                   Page 112 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24   Page 113 of 202
                                                                         113




1       A      Yes.

2       Q      When you -- where did you search?

3       A      So when he was arrested, he was arrested essentially out

4       of his vehicle so we conducted a search of his vehicle.

5       Q      Did you collect any items for evidence when you conducted

6       that search of his vehicle?

7       A      Yes.

8       Q      After you collected those items, did you document them in

9       any way?

10      A      Yes.

11      Q      How did you document them?

12      A      They were photographed and entered into an item collected

13      log.

14      Q      Have you had a chance to review Government's Exhibits 704

15      through 706?

16      A      Yes.

17      Q      And do you remember what those are?

18      A      The photographs of the items that were collected.

19      Q      Are they fair and accurate copies of the photos you took

20      of the items you collected?

21      A      Yes.

22                 MS. MUMMA:    The government moves to admit

23      Government's Exhibits 704 through 706.

24                 THE COURT:    Any objection?

25                 Admitted.


                                                                       Exhibit D-3
                                                                   Page 113 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 114 of 202
                                                                       114




1                 (Government's 704 through 706 received in evidence.)

2                 MS. MUMMA:    Mr. Gordon, can you publish Government's

3       Exhibit 706.

4       BY MS. MUMMA:

5       Q    Agent Dippold, what is this?

6       A    This is the neck gaiter that he wore on January 6.

7       Q    Okay.   How did you recognize it from January 6?

8       A    The unique coloring and pattern of it.

9       Q    And you found this in his car?

10      A    Yes.

11                MS. MUMMA:    Mr. Gordon, can you publish Government's

12      Exhibit 705?

13      BY MS. MUMMA:

14      Q    Do you recognize what this is?

15      A    Yes.

16      Q    What is it?

17      A    It's a black hoodie that has Vancouver Proud Boys written

18      over the top and then a ship with Proud Boys written in the

19      sails inside of a compass, and then Columbia is over the top of

20      the compass and River is under the bottom of the compass.

21      Q    And you found this in Mr. Bru's car as well?

22      A    Yes.

23      Q    Do you remember where Mr. Bru is from?

24      A    I believe that area.

25      Q    Vancouver?


                                                                     Exhibit D-3
                                                                 Page 114 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 115 of 202
                                                                        115




1       A    Yes.

2                  MS. MUMMA:    Mr. Gordon, can you publish

3       Government's Exhibit 704.

4       BY MS. MUMMA:

5       Q    What is this?

6       A    This is a helmet also found in the vehicle that had a

7       patch.   I believe it was Velcroed on to the helmet.          It has --

8       it's a gold and black badge.       It has the laurel leaves.       In

9       between the leaves is a P and Boy, which I understand to be for

10      Proud Boys.    And then starting at the bottom and working all

11      the way around, it says, I am a western chauvinist who refuses

12      to apologize for creating the modern world, which I know to be

13      associated with the Proud Boys.

14      Q    Associated in what kind of way?

15      A    It's a pledge.

16      Q    Pledge?

17      A    Uh-huh.

18                 MS. MUMMA:    We can remove this exhibit.

19      BY MS. MUMMA:

20      Q    When you arrested Mr. Bru, did you seize any devices from

21      his person or his car?

22      A    There was a cell phone in his vehicle that was seized.

23      Q    Did you search that cell phone pursuant to a lawful search

24      warrant?

25      A    Yes.


                                                                      Exhibit D-3
                                                                  Page 115 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 116 of 202
                                                                      116




1       Q    Did you find anything of significance on it?

2       A    Yes.

3       Q    What did you find that was relevant?

4       A    There were some messages held within the Telegram

5       application.

6       Q    What's Telegram?

7       A    It's an encrypted messaging service that's free for people

8       to use.

9       Q    Okay.   Were those -- did you document those messages in

10      any way?

11      A    They were photographed.

12      Q    Okay.   When you say photographed, did you do, you know, an

13      image of the phone, or did you actually photograph the phone?

14      A    No.    It was not myself.   Another agent actually held a

15      camera over and took pictures of the screen of the phone.

16      Q    Have you had a chance to review Government's Exhibits 901

17      through 907?

18      A    Yes.

19      Q    And what are those?

20      A    Pictures of that phone.

21      Q    So literal pictures of the phone?

22      A    Yes.

23      Q    Of the messages pulled up on the phone?

24      A    Yes.

25      Q    Are those fair and accurate -- are those exhibits fair and


                                                                    Exhibit D-3
                                                                Page 116 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24     Page 117 of 202
                                                                           117




1       accurate copies of the photos that you took of the phone?

2       A    Yes.

3       Q    They haven't been altered in any way?

4       A    They have not.

5                  MS. MUMMA:    Your Honor, the government moves to admit

6       Government's Exhibits 901 through 907.

7                  THE COURT:    Any objection?

8                  Admitted.

9                  (Government's 901 through 907 received in evidence.)

10                 MS. MUMMA:    Mr. Gordon, if you could pull up

11      Government's Exhibit 908.

12                 Your Honor, this is a demonstrative of the

13      Government's Exhibits 902, 903, 904, and 907.              I believe it

14      starts with Government's Exhibit 904.

15      BY MS. MUMMA:

16      Q    Looking at this exhibit here, is this how the messages

17      appeared when you searched the phone?

18      A    No.

19      Q    Did the government produce this format that we are looking

20      at here?

21      A    Yes.

22      Q    Are the contents of this format fair and accurate

23      reflections of the data that you pulled off -- that you took of

24      the phone -- the photos that you took of the phone?

25      A    They are, yes.


                                                                        Exhibit D-3
                                                                    Page 117 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 118 of 202
                                                                        118




1       Q    When you took the pictures of the phone, did it capture

2       the date and the time of the messages?

3       A    I believe for some it did, and others it did not.

4       Q    Can you describe what we are seeing in the government's

5       depiction of the Government's Exhibit 904?

6       A    Yes.    The blue bubbles came from Mr. Bru, and then the

7       gray bubble came from someone that was in the phone as Marco

8       Pledge.

9       Q    Marco Pledge.      Okay.   All right.   So the defendant is

10      speaking on the blue, and Marco Pledge is in the gray on the

11      left?

12      A    Yes.

13      Q    I am going to go ahead and read the blue message here from

14      the defendant.    I will actually read all of these.

15           Starting with the first blue message, this is at 1:04 a.m.

16      on February 23.    If we do Portland, we do it in shock and awe.

17      Overwhelm them shit stains with thousands of patriots like the

18      Capitol.    Liberate the libtards from themselves.         Who will come

19      against us?    JBGC, Cascadia, city cops, special units like SWAT

20      and sheriffs.    I would think we could outnumber all them twats.

21      This would be like pulling the teeth out of a dog's mouth.

22      Then destruct the comms, transmitters, and such.           Be done with

23      them and --

24                 (There was an interruption by the court reporter.)

25                 MS. MUMMA:    Yes.


                                                                      Exhibit D-3
                                                                  Page 118 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 119 of 202
                                                                       119




1                  Be done with them, and it doesn't matter what judicial

2       legislates from the bench.      They keep it up and we occupy them

3       too.    I don't see how NGs would be dispatched from D.C. to come

4       put out this fire.      This would be a true test if military admin

5       was controlling anything.      Better than dying a death of a

6       thousand cuts.

7                 And then the left in the gray message, Well, now

8       you're speaking my language.

9                 Can you describe what the image is in the bottom in

10      the next message from Mr. Bru here?

11      A      Yes.    It's a superimposed picture of the former president

12      Donald Trump wearing a black hat with a Proud Boy emblem and

13      throwing up the okay sign.

14                MS. MUMMA:     Mr. Gordon, can you move to the next

15      slide, which is Government's Exhibits 902 through 903.

16      BY MS. MUMMA:

17      Q      What is the date on these messages?

18      A      February 21.

19      Q      Okay.    So this is two days before the last message that I

20      just read?

21      A      Yes.

22      Q      And who are these messages between?

23      A      Mr. Bru is again in the blue, and then in gray is -- I

24      forget the individual's first name, but Flanary is what he goes

25      by.


                                                                     Exhibit D-3
                                                                 Page 119 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 120 of 202
                                                                        120




1       Q    Do you know who Flanary is?

2       A    I do know who he is, yes.

3       Q    Who is he?

4       A    He's an individual that Mr. Bru worked with in Portland,

5       Oregon.

6       Q    So these messages continue on to the next slide.           Can you

7       briefly summarize what's being said here.

8       A    Essentially Mr. Bru is telling Mr. Flanary that he has gas

9       masks that are normally $300 that he can get for a hundred

10      dollars.

11           And then Mr. Flanary says, Gas masks for a hundred?              I'm

12      interested.

13                 MS. MUMMA:    Mr. Gordon, can you go to the next slide,

14      which is a continuation.

15      BY MS. MUMMA:

16      Q    Can you summarize again what's happening on this next

17      slide here?

18      A    Yes.   So they are continuing to discuss the gas masks.

19      Mr. Bru sends a picture.      And then Mr. Flanary says, Nice.

20      I'll take a medium.

21           Mr. Bru responds with, They are all one size fits all.             We

22      left without them, but I told Marco to keister them until we

23      have funds to buy all that are left.

24                 MS. MUMMA:    Mr. Gordon, can you go to the next slide,

25      Government's Exhibit 107.


                                                                      Exhibit D-3
                                                                  Page 120 of 202
     Case 1:21-cr-00352-JEB     Document 107-3     Filed 11/15/24   Page 121 of 202
                                                                          121




1       BY MS. MUMMA:

2       Q    What is this?

3       A    This was also taken from his phone.           It's a -- it's a

4       gorilla.    Again, it's a black and yellow picture, Proud Boys

5       over the top, USA underneath, alpha as fuck under the bottom

6       making up the bottom of the circle.          Those laurels leaves are

7       inside the larger circle, and then a gorilla is in between the

8       laurel leaves.

9       Q    When you say this was found in his phone, is this -- where

10      was this found in his phone exactly?

11      A    I believe it was either the background or the main screen

12      of his phone.

13      Q    Okay.    We can remove this exhibit, Mr. Gordon.

14           Your Honor, we are going to switch gears again, so if you

15      want to take a break.

16                 THE COURT:    All right.      This sounds like a good

17      luncheon break.    1:45.    Lunch until 1:45.       Thanks.

18                 MS. MUMMA:    Thank you.

19                 (A recess was taken at 12:16 p.m.)

20                 THE COURT:    Good afternoon, everyone.

21                 Welcome back.    Government may resume.

22                 MS. MUMMA:    Thank you, Your Honor.        Recalling Agent

23      Dippold.

24                 May I proceed?

25                 THE COURT:    Please.


                                                                        Exhibit D-3
                                                                    Page 121 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 122 of 202
                                                                       122




1       BY MS. MUMMA:

2       Q    Hi again.    So when we last stopped, we were about to get

3       into -- I was about to ask you about the defendant's social

4       media.

5       A    Okay.

6       Q    So earlier you were talking about the returns that you

7       received from Mr. Bru's Facebook accounts, or one of them, the

8       Vicorous account.

9            Did those returns contain private messages and posts from

10      his timeline?    I think you talked about that earlier.

11      A    Yes, they did.

12                MS. MUMMA:    Mr. Gordon, can you publish Government's

13      Exhibit 811.

14      BY MS. MUMMA:

15      Q    Agent Dippold, what is this?

16      A    I believe this was a message that Mr. Bru sent to someone

17      on November 10, 2020.

18      Q    And what's the significance of that date, November 10?

19      A    That's seven days after the election.

20      Q    The 2020 election?

21      A    Yes.

22      Q    I am going to go ahead and read this.        And this is from

23      Mr. Bru, right?

24      A    Yes.

25      Q    All hell has broke loose.      I can't pay attention to ignite


                                                                     Exhibit D-3
                                                                 Page 122 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24   Page 123 of 202
                                                                         123




1       when I'm in the middle of trying to secure myself for the next

2       30 days.   The watermark is nanotech from Xerox that was

3       embedded in all the legitimate ballots.          All the legitimate

4       ballots that went to dead people and all over to handlers have

5       been traced.    POTUS is still Trump.       He's handling the fraud.

6       It's a big joke on both parties.         He's going to have them all

7       jailed and/or hung.      We have until Jan 20.

8                  MS. MUMMA:    And so next we are going to move on to

9       Exhibit -- can you pull up Government's Exhibit 813.

10                 Actually, can you do 811.      Sorry.    812, 812.

11      BY MS. MUMMA:

12      Q    Okay.    What is this, Agent Dippold?

13      A    This is another message exchange between Marc Bru and some

14      other individual on December 12, 2020.

15      Q    Can you break that down for us.         How many messages are

16      there, two?

17      A    So there's two.      The message on the top is from the

18      unidentified individual, and then the message on the bottom is

19      from Mr. Bru.

20      Q    And what are the dates of these messages?

21      A    December 12, 2020.

22      Q    Okay.    I will go ahead and read these as well.          So the

23      first message from the other individual that you mentioned, I

24      guess I haven't been to enough events of that nature yet, lol.

25      I usually try to avoid gatherings where there might be physical


                                                                       Exhibit D-3
                                                                   Page 123 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 124 of 202
                                                                        124




1       violence.    Should I be concerned?

2            And from Mr. Bru, Anytime patriots are going out to

3       exercise their rights and their freedoms nowadays is a

4       potential for opposition.      Being timid now is not the remedy.

5            Agent Dippold, can you explain a bit of the context,

6       surrounding conversation here, so we know what they are

7       referring to exactly, or is this about January 6?

8       A    I believe this was a group thread.         There were multiple

9       people in it.    There were discussions of January 6, but I

10      believe this had more to do with a protest that was supposed to

11      happen in Mossy Rock, Washington, which was not January 6

12      related.    If I remember correctly, it was more like COVID-19

13      and the restrictions that the government imposed surrounding

14      that.

15                 MS. MUMMA:    Mr. Gordon, can you publish Government's

16      Exhibit 813 now.

17      BY MS. MUMMA:

18      Q    What is this, Agent Dippold?

19      A    This was another message that Mr. Bru posted in a Facebook

20      chat.

21                 MS. MUMMA:    Can you zoom in for us a little bit,

22      Mr. Gordon.

23                 MR. GORDON:    Which section?

24                 MS. MUMMA:    You can zoom in on the top.       That's great.

25


                                                                      Exhibit D-3
                                                                  Page 124 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24    Page 125 of 202
                                                                        125




1       BY MS. MUMMA:

2       Q    Can you read this -- see this?       I will underline it.        This

3       is the body here.

4       A    Yes.

5       Q    What does that say?

6       A    From President Trump's attorney Jenna Ellis.

7       Q    Can you summarize what this message says?           I'm not going

8       to read it in full.

9       A    Yeah, so this wasn't something that Mr. Bru wrote.            It was

10      more of a copy and paste job.      It has to do with January 6 and

11      the certification of the election.

12      Q    Okay.   So it talks about the process of that

13      certification?

14      A    Yes.

15      Q    And what's the date at the top there?

16      A    That is December 15, 2020.

17      Q    All right.

18                MS. MUMMA:    Mr. Gordon, can you publish 814.

19      BY MS. MUMMA:

20      Q    What are we seeing here?      What's this?

21      A    This is either a post or a message from Mr. Bru again in

22      his Facebook account.

23      Q    What's the date?

24      A    December 18, 2020.

25      Q    I will go ahead and read it.       The government caused this


                                                                     Exhibit D-3
                                                                 Page 125 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 126 of 202
                                                                       126




1       culture that we are experiencing, and therefore, we have to hit

2       the government back in order to change it.

3            And similar to the two messages before, can you provide us

4       a little bit of context?

5       A    Again, this more has to do with COVID-19 and the

6       restrictions that the government placed on just regular

7       individuals.

8       Q    In Washington state?

9       A    Yeah.

10                MS. MUMMA:    Mr. Gordon, can you publish Government's

11      Exhibit 815.

12      BY MS. MUMMA:

13      Q    What is this, Agent Dippold?

14      A    This was something that Mr. Bru posted to his Facebook

15      account on January 6, 2021.

16      Q    What's the time there at the top?

17      A    1551 UTC, Universal.

18      Q    Is that morning time Eastern, is it --

19      A    Yeah, I believe that that is around 10:00 a.m.

20      Q    And was this -- do you remember if anything was posted

21      along with this message?

22      A    I believe the video that we saw earlier where he was

23      photographing -- or filming them walking towards the Capitol

24      and the mall, I believe this was around that same time.

25      Q    I will go ahead and read this.


                                                                     Exhibit D-3
                                                                 Page 126 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24    Page 127 of 202
                                                                          127




1            Here at the capital of the nation, though it is foreign

2       soil and has belonged to the banking cartel, no longer will we

3       let the bankers control our country.         The banking corporation

4       of this country is dead.

5            Based on your experience and your investigation, again,

6       what is banking cartel?

7       A    Again, it has to do with sovereign citizens and the idea

8       that the United States a corporation that belongs to the

9       banking cartel, again having that antisemitic mentality of it's

10      the Jews that are the problem.

11      Q    Last Facebook message.

12                 MS. MUMMA:    Can you publish Government's Exhibit 816,

13      Mr. Gordon.

14      BY MS. MUMMA:

15      Q    What is this, Agent Dippold?

16      A    These were more messages that Mr. Bru sent to another

17      individual on January 8, 2021.

18      Q    So that's two days after January 6?

19      A    Yes.

20      Q    I will go ahead and read these three.          These all from

21      Mr. Bru?

22      A    Yes.

23      Q    Starting with the first message at the top, Keep the

24      signal notifications from me on.         This is going to get bumpy,

25      and we will need the funds to drive back home.             How soon can


                                                                       Exhibit D-3
                                                                   Page 127 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 128 of 202
                                                                      128




1       arrangements he made to receive the funds and get them on your

2       bank card?   I have your debit info linked to my cash cards

3       account now.   So it's fast and shows my card info being used,

4       not yours.   Pretty clever if I do so say so myself, lol.

5            Next message, I have to delete my FB and messenger, and a

6       peace sign at the bottom.

7            Agent Dippold, what is Signal?

8       A    Signal is another messaging application that can be found

9       on phones.   It's an encrypted platform.

10      Q    And when you discovered -- you mentioned that you found

11      these three accounts.    Did you do a search for this Vicorous

12      account on -- as in when you did a public search for this

13      account, did it show up on Facebook?

14      A    Oh, no, it did not.

15      Q    And why would that be?

16      A    He had deleted his account --

17      Q    Do you know that --

18      A    -- or deactivated it, I think is the terminology that

19      Facebook uses.

20      Q    Do you know that for a fact?

21      A    I do.

22      Q    How?

23      A    In the returns that Facebook provided, they provided a

24      date and time stamp of that deactivation.

25      Q    And based on your experience as an investigator with the


                                                                    Exhibit D-3
                                                                Page 128 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 129 of 202
                                                                       129




1       FBI, what kinds of motivations have you found typically prompt

2       people to delete their social media?

3       A    To hide evidence or get rid of evidence.

4                 MS. MUMMA:    You can remove this exhibit, Mr. Gordon.

5                 Switching to Twitter --

6                 THE COURT:    Can you just show me 813 again and blow it

7       up so I can read that.      That seems most directly relevant to

8       January 6.

9                 MS. MUMMA:    Yes, of course.    Do you want us to zoom it

10      in at all?

11                THE COURT:    Yes, just bigger.

12                Okay.   That's good.

13                I guess this is forwarded from -- okay.         Keep going.

14                MR. GORDON:    I'm sorry, Your Honor?

15                THE COURT:    You can keep going.

16                Okay.   Keep going.

17                Okay.   Thanks.

18                MS. MUMMA:    Your Honor, at this time I would request

19      that you take judicial notice of docket entries in this case

20      from June 26, 2023 to August 3, 2023.       They are not numbered,

21      but they are concerning the defendant's failure to appear, the

22      bench warrant being issued and the government's notice prior to

23      that bench warrant being issued, and his eventual reappearance.

24                THE COURT:    Okay.

25


                                                                     Exhibit D-3
                                                                 Page 129 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 130 of 202
                                                                       130




1       BY MS. MUMMA:

2       Q    Agent Dippold, as part of your investigation, did you

3       learn if the defendant had any active social media accounts?

4       A    Yes.

5       Q    And what were those?

6       A    Twitter.

7       Q    Did you monitor that account?

8       A    I would check in on it periodically, yes.

9       Q    Was it a public account?

10      A    It was, yes.

11      Q    How did you identify which account was the defendant's?

12      A    He had posts in which he identified himself.          There's

13      another website where he's soliciting money for his defense

14      fund that also was linked to that Twitter account.

15      Q    Okay.   What was that Twitter account called?

16      A    Bootlegger777.

17      Q    Have you had a chance to review Government's Exhibit 817?

18      A    Yes.

19                MS. MUMMA:    Mr. Gordon, would you publish Government's

20      Exhibit 817.

21      BY MS. MUMMA:

22      Q    Do you recognize what this is?

23      A    Yes.

24      Q    What is it?

25      A    In layman's terms, it's his profile picture essentially.


                                                                     Exhibit D-3
                                                                 Page 130 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24   Page 131 of 202
                                                                         131




1       Q    Is it a screenshot?

2       A    It's -- yes, sorry, it's a screenshot of his account.

3       Q    By his account, you mean the defendant's account?

4       A    I'm sorry.    Mr. Bru's Twitter account, yes.

5       Q    And as part of your investigation, did you gather any

6       additional evidence from this account aside from this

7       screenshot here?

8       A    Yes, other posts that he made to that account.

9       Q    Have you had a chance to review Government's Exhibits 817

10      through 824?

11      A    Yes.

12      Q    Are those screenshots of the defendant's Twitter account

13      and his tweets?

14      A    Yes.

15      Q    Are they fair and accurate depictions of the defendant's

16      Twitter profile and his tweets?

17      A    Yes.

18      Q    And they haven't been altered in any way?

19      A    No.

20                 MS. MUMMA:    Your Honor, at this time we would move to

21      admit Government's Exhibits 817 through 824.

22                 THE COURT:    Any objection?

23                 Admitted.

24                 (Government's 817 through 824 received in evidence.)

25                 MS. MUMMA:    Mr. Gordon, can you remove this exhibit


                                                                       Exhibit D-3
                                                                   Page 131 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 132 of 202
                                                                        132




1       and publish Exhibit 819.

2       BY MS. MUMMA:

3       Q    Do you recognize this exhibit?

4       A    I do.

5       Q    What is it?

6       A    It's a post that he published to -- sorry.           It's a post

7       that Mr. Bru published to his Twitter account, a screen capture

8       of that.

9       Q    Who is in that -- is there a photo there?

10      A    Yes.    That is Mr. Bru in that photo.

11      Q    What's the date on this tweet?

12      A    April 18.

13      Q    Okay.

14      A    And I believe that would have been April 18, 2023.

15      Q    Okay.

16                 MS. MUMMA:    I won't read this for Your Honor, but

17      Mr. Gordon, can you publish Government's Exhibit 820.

18      BY MS. MUMMA:

19      Q    What is this, Agent Dippold?

20      A    It's a screen capture of another post that Mr. Bru posted

21      to his Twitter account.

22      Q    What was the significance of this tweet?

23      A    He again identifies himself in it.

24      Q    And what's the date there?

25      A    March 13, which would be March 13, 2023.


                                                                      Exhibit D-3
                                                                  Page 132 of 202
     Case 1:21-cr-00352-JEB     Document 107-3    Filed 11/15/24   Page 133 of 202
                                                                         133




1                  MS. MUMMA:    Mr. Gordon, can you publish Government's

2       Exhibit 821.

3       BY MS. MUMMA:

4       Q    Do you recognize this, Agent Dippold?

5       A    I do.

6       Q    What is it?

7       A    It's another screen capture of a post that Mr. Bru posted

8       to his Twitter account.

9       Q    Okay.    What's the date there?

10      A    It's May 31.     Again that would be 2023.

11      Q    I'm just going to briefly highlight -- what's the text at

12      the top?

13      A    A corporation cannot --

14      Q    Sorry.    Is that from Mr. Bru?

15      A    Oh, yes.   Sorry.

16      Q    And then what's the image below?

17      A    It's something that he took from somewhere else and is

18      retweeting.

19      Q    All right.    I'm going to just briefly read the red

20      highlights here.

21           First it starts with a title of this image, When a

22      government becomes a corporation.

23           And then lower it says, What we call government today is,

24      in fact, an incorporated entity.         That means that because they

25      are corporations, they can no longer represent you, an


                                                                       Exhibit D-3
                                                                   Page 133 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 134 of 202
                                                                       134




1       autonomous, living man/woman.

2            So, Agent Dippold, when the tweet says corporation, what

3       is he referring to?

4       A    Again, the United States of America.

5                 MS. MUMMA:    Mr. Gordon, can you publish Government's

6       Exhibit 823.

7       BY MS. MUMMA:

8       Q    Do you recognize --

9                 THE COURT:    Unless this is consciousness of guilt

10      evidence, what's the relevance of this?

11                MS. MUMMA:    It goes to his -- I mean what he -- his

12      beliefs have been consistent from before January 6 to January 6

13      itself to after.      He is using all these terms consistently,

14      whether it's --

15                THE COURT:    Right.   But what he says, unless it's

16      consciousness of guilt, what he believes now, how is that

17      relevant?

18                MS. MUMMA:    I think we have -- we have evidence that

19      he believed this prior to January 6 as well and that on

20      January 6 --

21                THE COURT:    Why isn't it only relevant what he

22      believed prior to and on January 6?

23                MS. MUMMA:    Sorry, Your Honor, can you repeat.

24                THE COURT:    Why isn't the only thing that's relevant

25      what he believed prior to and on January 6, not what he


                                                                     Exhibit D-3
                                                                 Page 134 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 135 of 202
                                                                       135




1       believes now?

2                 MS. MUMMA:    We believe that this evidence goes to his

3       mind-set, his beliefs on January 6.

4                 THE COURT:    I think you have shown that mind-set and

5       those beliefs sufficiently, so I'm not sure this is relevant.

6                 MS. MUMMA:    Okay.   We will move on, Your Honor.

7                 You can remove this exhibit, Mr. Gordon.

8                 Brief indulgence, Your Honor.

9                 Mr. Gordon, can you please publish Government's

10      Exhibit 818B.

11                Your Honor, I will say at the outset, if you don't

12      want me to proceed here for the same reasons, you just --

13                THE COURT:    I don't know what it is, but if it's the

14      same issue regarding his beliefs as opposed to -- if it's

15      anything that is consciousness of guilt or confession, that

16      would be one thing.     But if it's just sort of his beliefs as of

17      2023, I don't think that really goes anywhere.

18                MS. MUMMA:    Okay.   I think it goes more to

19      consciousness of guilt, so I'll go ahead and proceed.

20                THE COURT:    Okay.

21      BY MS. MUMMA:

22      Q    Agent Dippold, can you describe what this is?

23      A    It's a screen capture of a post that Mr. Bru made to his

24      Twitter account.

25      Q    Okay.   And are these messages between Mr. Bru and someone


                                                                     Exhibit D-3
                                                                 Page 135 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 136 of 202
                                                                      136




1       else?

2       A    Yes, someone else named Mel.

3       Q    Do you know who Mel is?

4       A    Mel Hawley.

5       Q    Who's that?

6       A    She is a, I would say, also a sovereign citizen.         She

7       hosts a podcast going to that, to sovereign citizens.

8       Q    How do you know it's her?

9       A    I recognize her picture from her podcast.

10      Q    Are these messages, these screenshot messages, dated?

11      A    Yes, they are.

12      Q    What's the date?

13      A    June 27.

14      Q    What's the significance of that date?

15      A    I believe that was after Mr. Bru had missed one of his

16      hearings.

17      Q    June 7, 2023?

18      A    Yes.

19      Q    Can you describe a little bit how the messages are laid

20      out here as in who sent the ones in green and who sent the one

21      on the left in white?

22      A    Yes.    Mel Hawley would have sent the messages on the left,

23      and Mr. Bru would have sent the messages that are on the right

24      in the green box.

25      Q    Okay.    Starting with the full message on the left, is that


                                                                    Exhibit D-3
                                                                Page 136 of 202
     Case 1:21-cr-00352-JEB     Document 107-3     Filed 11/15/24   Page 137 of 202
                                                                          137




1       a photo?

2       A    Yes.    It looks like a screen capture of a tweet from

3       someone else.

4       Q    What is that tweet about if you could summarize it?

5       A    About Mr. Bru failing to appear for a June 16 hearing.

6       Q    Okay.    I will go ahead and read the green message on the

7       right.    That's from Mr. Bru?

8       A    Yes.

9       Q    Okay.    Nice.   I certified-mailed my motion to the

10      prosecutor.    I'm done entertaining their bullshit.           If they

11      want me, they will come get me.          I'm drawing a fucking line in

12      the sand.    I can't believe Americans are willingly paying money

13      to see their fucking so-called patriot heros go to the

14      totalitarian clink.      They torture.      They strip rights.     They

15      murder.    And everyone is okay with letting J6ers go through the

16      motions to be unappreciated martyrs.          Americans can go fuck

17      themselves.    I have lost my life, my family, my prosperity for

18      the cause, yet still no fucking backbone from Americans.                I'm

19      not a debt slave, and I will not submit to a totalitarian,

20      belligerent, de facto regime.       Thanks for the info.        You should

21      make sure my reply makes it to print.          I would rather die free

22      than submit to fucking tyrants.

23                 MS. MUMMA:    You can remove that, Mr. Gordon.         We will

24      switch gears again.

25


                                                                        Exhibit D-3
                                                                    Page 137 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24   Page 138 of 202
                                                                        138




1       BY MS. MUMMA:

2       Q     As part of your investigation, Agent Dippold, have you

3       collected various filings and letters from the defendant that

4       he's written regarding this case?

5       A     Yes.

6       Q     Did you collect a letter and a judicial contract written

7       and signed by the defendant and sent to Chief Judge Boasberg

8       and AUSA Mike Gordon?

9       A     Yes.

10      Q     And did you collect a complaint affidavit written by the

11      defendant and published online?

12      A     Yes.

13      Q     Did you collect Mr. Bru's motion to dismiss this case?

14      A     Yes.

15      Q     Have you had a chance to review Government's Exhibits 711

16      through 713?

17      A     I have.

18      Q     Are those exhibits the three documents I just referenced

19      to?

20      A     They are.

21      Q     Are they fair and accurate copies of those documents?

22      A     Yes.

23                MS. MUMMA:    Your Honor, at this time the government

24      would move to admit Government's Exhibit 711 through 712 (sic).

25                THE COURT:    Any objection?


                                                                      Exhibit D-3
                                                                  Page 138 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 139 of 202
                                                                        139




1                  Okay.   Admitted.

2                  MS. MUMMA:    Mr. Gordon.

3                  THE COURT:    I'm sorry, did you say 712 through --

4                  MS. MUMMA:    Sorry, 711 through 713, yes, Your Honor.

5                  THE COURT:    Okay.   Admitted.

6                  (Government's 711 through 713 received in evidence.)

7                  MS. MUMMA:    Mr. Gordon, could you publish Government's

8       Exhibit 712.

9       BY MS. MUMMA:

10      Q      Do you recognize this, Agent Dippold?

11      A      I do.

12      Q      What is it?

13      A      This is Mr. Bru's complaint affidavit.

14      Q      Do you see that first highlighted line there?

15      A      I do.

16      Q      What does that say?

17      A      The respondents, and it names multiple people including

18      myself.

19                MS. MUMMA:     Mr. Gordon, can you scroll down a little

20      bit.   I'm going to read this highlighted section here.

21                The affiant was present in Washington District of

22      Columbia on January 6, 2021 for the reasons that the affiant is

23      aware of the massive fraud in the November 3, 2020 election by

24      the Biden administration attacking the United States of America

25      by way of implementing communism by the totalitarian party,


                                                                      Exhibit D-3
                                                                  Page 139 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 140 of 202
                                                                      140




1       which is illegal in the United States of America.

2                  You can remove this, Mr. Gordon.

3       BY MS. MUMMA:

4       Q    Agent Dippold, do you know what a podcast is?

5       A    I do.

6       Q    As part of your investigation, did you discover if the

7       defendant was a guest on any podcasts involving January 6,

8       2021?

9       A    Yes.

10      Q    Is one of them the Liberty Tactics podcast?

11      A    Yes.

12      Q    What was the topic of that particular episode?

13      A    Mr. Bru's participation in the events of January 6.

14      Q    Have you had a chance to review Government's

15      Exhibits 701-point -- sorry, 708.1 through 708.3?

16      A    I have.

17      Q    What are those?

18      A    Clips from that podcast.

19      Q    And are they fair and accurate copies of those clips?

20      A    Yes.

21      Q    Did he appear on what's called the Sovereign Souls

22      podcast?

23      A    Yes.

24      Q    What was the topic of that podcast episode?

25      A    Again, his participation in the events of January 6.


                                                                    Exhibit D-3
                                                                Page 140 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24   Page 141 of 202
                                                                        141




1       Q    Have you had a chance --

2                  (There was an interruption by the court reporter.)

3                  MS. MUMMA:    Yes.

4       BY MS. MUMMA:

5       Q    Have you had a chance to review Government's

6       Exhibits 709.1 through 709.3?

7       A    I have.

8       Q    What are those?

9       A    They are clips from that podcast.

10      Q    What was the topic of -- are those clips fair and accurate

11      copies of clips from that podcast, the Sovereign Souls podcast?

12      A    Yes.

13      Q    And did he appear -- lastly, did he appear on the

14      Unchained podcast?

15      A    He did.

16      Q    What was the topic of that episode?

17      A    Again his events or his participation in the events of

18      January 6.

19      Q    Have you had a chance to review Government's

20      Exhibits 710.1 through 710.4?

21      A    I have.

22      Q    What are those?

23      A    Clips from that podcast.

24      Q    Are they fair and accurate copies of clips from that

25      podcast?


                                                                      Exhibit D-3
                                                                  Page 141 of 202
     Case 1:21-cr-00352-JEB    Document 107-3     Filed 11/15/24   Page 142 of 202
                                                                         142




1       A    Yes.

2                 MS. MUMMA:    All right.      Your Honor, at this time we

3       would move to admit Government's Exhibits 708.1 through 708.3,

4       709.1 through 709.3, and 710.1 through 710.4.

5                 THE COURT:    All right.      Any objection?

6                 Okay.   Admitted.

7                 (Government's 708.1 through 708.3, 709.1 through

8       709.3, and 710.1 through 710.4 received in evidence.)

9       BY MS. MUMMA:

10      Q    I am going to play a few of these clips for you, Agent

11      Dippold beginning with Government's Exhibit 709.1, which is a

12      clip from the Sovereign Souls podcast.

13                MS. MUMMA:    You can go ahead and play.

14                (The videotape was played.)

15      BY MS. MUMMA:

16      Q    Agent Dippold, what was the key takeaway you had from

17      listening to that clip?

18      A    One, he admits his involvement with the Proud Boys, and

19      then -- that could be it.

20                MS. MUMMA:    Mr. Gordon, would you publish and play

21      Government's Exhibit 709.2.

22                (The videotape was played.)

23      BY MS. MUMMA:

24      Q    What was the key takeaway from that clip?

25      A    Again he places himself with the Proud Boys on January 6.


                                                                       Exhibit D-3
                                                                   Page 142 of 202
     Case 1:21-cr-00352-JEB    Document 107-3     Filed 11/15/24   Page 143 of 202
                                                                         143




1       Q    Anything with respect to the rally and the speech?

2       A    He skipped it.

3                 MS. MUMMA:    Mr. Gordon, can you go ahead and publish

4       and play Government's Exhibit 708.3, which is a clip from the

5       Liberty Tactics podcast.

6                 (The videotape was played.)

7                 MS. MUMMA:    Just go ahead and play next, Mr. Gordon,

8       Government's Exhibit 710.4 from the Freedom Unchained podcast.

9                 (The audiotape was played.)

10      BY MS. MUMMA:

11      Q    Any takeaway from that clip, Agent Dippold?

12      A    I would say that he was aware that the police were

13      employing crowd control techniques, meaning he was not supposed

14      to be there.

15                MS. MUMMA:    And lastly, Mr. Gordon, can you publish

16      and play Government's Exhibit 709.3, which is from Sovereign

17      Souls.

18                (The videotape was played.)

19                MS. MUMMA:    Nothing further, Your Honor.

20                THE COURT:    Okay.   Mr. Bru, do you wish to cross?

21                MR. BRU:    I don't consent.

22                THE COURT:    Okay.   Thank you so much, agent.

23                Any further evidence for the government?

24                MR. GORDON:    No, Your Honor.      The government rests.

25                THE COURT:    All right.      Does the defense wish to


                                                                       Exhibit D-3
                                                                   Page 143 of 202
     Case 1:21-cr-00352-JEB     Document 107-3   Filed 11/15/24     Page 144 of 202
                                                                          144




1       make -- I guess at this point -- I guess, are you intending to

2       put on any evidence, Mr. Bru?

3                  MR. BRU:   Just to confirm that the negative averment

4       has been --

5                  THE COURT:    All right.

6                  MR. BRU:   -- processed.

7                  THE COURT:    Okay.   We filed that negative averment.

8       We filed the document titled negative averment.

9                  Okay.   So if you are not going to put on any evidence,

10      then the standard would be the same for -- I mean, I don't

11      think I need to do a motion for judgment of acquittal here

12      since we will hear that under the same -- we will just hear it

13      as to a verdict.

14                 So do you wish to put on any evidence in your own

15      defense?

16                 MR. BRU:   No.   I am not going to argue.

17                 THE COURT:    Okay.   So let me just tell you that you do

18      have the right to testify in your own behalf.             If you choose

19      not to testify, I can't hold that against you and I won't hold

20      that against you.     But you do have the right to testify in your

21      own behalf.    Do you understand that?

22                 MR. BRU:   No, I comprehend what you are saying.

23                 THE COURT:    Do you wish to testify or not?

24                 MR. BRU:   I do not.

25                 THE COURT:    I'm sorry, I couldn't hear.


                                                                       Exhibit D-3
                                                                   Page 144 of 202
     Case 1:21-cr-00352-JEB    Document 107-3     Filed 11/15/24    Page 145 of 202
                                                                          145




1                 MR. BRU:    I do not.

2                 THE COURT:    All right.      So is the government prepared

3       to close now?   Do you want a recess?

4                 MR. GORDON:    Your Honor, I would be happy to take a

5       ten-minute recess and then close.

6                 THE COURT:    Okay.   Sounds good.

7                 (A recess was taken at 2:23 p.m.)

8                 THE COURT:    All right.      Welcome back.      Government may

9       give its closing.

10                MR. GORDON:    Thank you, Your Honor.

11                Your Honor, some cases are complicated.            This is not

12      one of them.

13                We have proceeded with this trial at lightning speed,

14      not only because it's a bench trial and we can do that and the

15      defendant hasn't crossed anyone, but also because the evidence

16      is extremely straightforward and the defendant's conduct is

17      undisputable -- or indisputable because it's captured on video

18      on one hand and because the defendant admits to it on the

19      other.

20                So I want to quickly recap that conduct; although, I

21      recognize given that you have just heard the evidence in the

22      same day, we don't need to go into great detail.

23                The defendant, first, most importantly, he traveled

24      from Washington state to Washington, D.C. on January 6 but not

25      to attend the Stop the Steal rally.         By his own admission, he


                                                                       Exhibit D-3
                                                                   Page 145 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 146 of 202
                                                                       146




1       never went to the rally and he didn't listen to anyone speak.

2                 So he didn't go to the Capitol, as so many January 6

3       defendants claim, because, at the end of his speech, Donald

4       Trump told his followers, And now march to the Capitol.           The

5       defendant had already left the Ellipse and walked to the

6       Capitol an hour before that ever happened.

7                 By his own admissions, what he did is he went to the

8       Ellipse, he met up with fellow Proud Boys, and they

9       collectively walked directly from the Ellipse to the Capitol

10      because that's what he came to do, not to hear people speak,

11      but to take action, specific action, action that he said was to

12      stop the banking cartel, which for him is synonymous with

13      government, with Congress, to stop them from taking power from

14      President Trump.      That was what he came for, that's what he

15      did, and so listening to some speeches wasn't on the agenda.

16                He marched with the Proud Boys down Pennsylvania

17      Avenue and was one of the very first people to breach at the

18      Peace Circle.   And Your Honor has now seen multiple times that

19      photograph of him at the Peace Circle in the front of the line

20      holding his phone up as they trample over the downed barricades

21      with the area closed signs still displayed on them.

22                So that's sign number one.      Any suggestion that the

23      defendant might have that I didn't know I wasn't allowed on the

24      Capitol grounds, it was an innocent mistake, right?          We are

25      going to see over and over and over indications that he had


                                                                     Exhibit D-3
                                                                 Page 146 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 147 of 202
                                                                      147




1       that he was not allowed to be where he was, and that's the

2       first one.

3                  So he marched down Pennsylvania Avenue, breached the

4       Peace Circle, and progressed to the west plaza where you saw

5       from the time lapse video that initially officers had

6       successfully set up a barricade here (indicating) where I have

7       indicated with a semicircle with my finger on Government's

8       Exhibit 209.

9                  So he was stymied.   After first being stymied by the

10      Peace Circle barricades, he was then stymied again once he got

11      to the west plaza by uniformed officers wearing riot gear

12      establishing a police line behind bicycle rack barricades.

13                 But then he and other rioters breached that barricade,

14      and he ended up where the yellow X is on Government's

15      Exhibit 209 on the west plaza.

16                 And there again he's blocked by uniformed officers

17      wearing riot gear.    It's not that the defendant didn't know

18      they were there or didn't see them, right?       As Government's

19      Exhibit 702 indicates, he pushed his way to the front of that

20      crowd, thousands of people, he pushes his way to the front, and

21      he's getting ready to get in the faces of those officers and

22      yell at them.    Again, he has full knowledge he's not allowed to

23      be where he is because he's being blocked from going any

24      farther.

25                 From there, and I will move on from this video, from


                                                                    Exhibit D-3
                                                                Page 147 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24    Page 148 of 202
                                                                       148




1       there the defendant moves to the sort of south side of the west

2       plaza where the incident with Inspector Loyd happens.          This

3       incident is the crux of Count 6, which is the civil disorder

4       count.   This is really sort of where the rubber meets the road

5       on that count.

6                 What's happening here is, as Inspector Loyd described,

7       the rioters had pushed forward on the west plaza so the

8       officers' backs were almost against the inaugural stage.             And

9       then when the MPD officers had arrived in their telltale yellow

10      jackets, their highlighter-colored jackets, the MPD officers

11      had brought the bike rack barricades back and were starting to

12      gain ground pushing the rioters back on the west plaza.

13                As you just heard the defendant say in that clip from

14      the Sovereign Souls podcast, the defendant saw what he

15      understood to be crowd control tactics.       He fully understood

16      that what the officers were doing was attempting to control the

17      crowd.   He described it as kettling, basically trying to

18      maneuver the crowd into a position.

19                The defendant didn't like that.      He didn't want that

20      to happen.   He didn't want to give any ground.         So he fought

21      back against those police.    He tried to stop these uniformed

22      police officers engaging in their official duties who were

23      responding to a riot, he tried to stop their tactic in its

24      tracks because he didn't like it.

25                He doesn't get to decide that.      That's illegal.        It


                                                                    Exhibit D-3
                                                                Page 148 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24   Page 149 of 202
                                                                        149




1       doesn't matter if he thinks that he is -- that kettling is an

2       improper tactic.      It doesn't matter if he thinks that he had a

3       right to stand there.      None of that is a defense.

4                 When those officers were engaged in their lawful

5       duties, he tried to obstruct, impede, or interfere with them.

6       And Inspector Lloyd told you specifically that, in fact, Marc

7       Bru did obstruct, impede, and interfere with him and the other

8       officers trying to erect those bike rack barricades and push

9       the crowd back.

10                In Government's 402, you see the moment captured where

11      the defendant is leaning with both hands on the bike rack

12      barricade and his entire body weight pushing forward trying to

13      stop the police progress.

14                I am going to next go from the still shot to the body

15      camera video itself and ask Your Honor to focus on the right

16      side of the screen where you are going to see that the officers

17      aren't pushing the barricades into the defendant.           It's the

18      defendant who goes to the fight.        He's the one who maneuvers

19      himself through the crowd from the side and goes up to the

20      officers and grabs hold of the barricades and refuses to let

21      go.

22                (The videotape was played.)

23                MR. GORDON:    You will see the defendant on the right

24      side here, far right side of the frame, maneuvers himself

25      through the crowd, grabs hold of the barricade with one hand,


                                                                      Exhibit D-3
                                                                  Page 149 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 150 of 202
                                                                       150




1       now two hands, presses his full weight against it, ducks when

2       an officer tries to use chemical spray, and then Inspector Loyd

3       punches him or tries to punch him to get him to retreat.

4                 That sequence is important.      Not only did the

5       defendant choose to put himself in that position, officers

6       tried to get him to let go by multiple means, right?          One

7       officer pulls out his can of pepper spray and sprays it

8       directly at the defendant, who is wearing goggles to protect

9       himself against exactly that kind of repelling tactic.          The

10      defendant ducks.      The pepper spray goes over his head.      He

11      refuses to let go.      And that's when Inspector Loyd comes over

12      and tries to punch the defendant.

13                As Inspector Loyd said, there's no one else he tried

14      to punch on January 6.      Nobody else he felt that was necessary

15      to do to get the person to let go and allow the police to

16      engage in their official duties.

17                And you will see in Government's 504, it captures the

18      moment just before that punch when the defendant has ducked to

19      avoid the police spray.

20                So again, here's another indication the defendant has

21      that he is not allowed to do anything that he's doing, right?

22      When uniformed police officers are trying to pepper spray you

23      in the face and punch you in order to get you to stand down,

24      it's a pretty clear indication you don't have the right to be

25      where you are or do what you are doing.


                                                                     Exhibit D-3
                                                                 Page 150 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 151 of 202
                                                                       151




1                 So this incident comprises Count 6, the civil disorder

2       felony, which now brings us to sort of the second stage of the

3       defendant's conduct.

4                 After leaving the west plaza, he then -- or after

5       leaving that incident with the barricades, he progresses

6       through the west plaza, up the stairs, and enters the Capitol

7       through the center door in the upper west terrace, the second

8       floor of the Capitol directly opposite the rotunda.

9                 And as you saw from tracing the defendant's path, he

10      goes into the rotunda, he's there briefly, he exits the rotunda

11      through the north side, and then immediately goes in the

12      direction of the Senate where he encounters police officers,

13      goes into the Senate itself.      And then merely 20 minutes after

14      the Vice President and the senators have been evacuated from

15      this very room, the defendant takes celebratory selfies

16      standing in the gallery.

17                And this moment is chilling because this is one of the

18      most sacred spaces in our country and it's one of the most

19      sacred moments, right?      This is the day in which the hallmark

20      of our democracy, the peaceful transfer of power, is supposed

21      to be happening.      And yet the actions of violent people like

22      the defendant have forced the senators to be evacuated, the

23      Vice President to be relocated for their own safety.          This room

24      that should be full of democracy happening live is, instead,

25      empty as the defendant is occupying it and taking the


                                                                     Exhibit D-3
                                                                 Page 151 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24     Page 152 of 202
                                                                         152




1       celebratory selfie, look what I did, look what we accomplished,

2       look what we conquered.

3                  It's indisputable that the certification was, in fact,

4       obstructed, right, that the Congress was unable to complete the

5       certification for many, many hours.      It was delayed from

6       approximately 2:12 to at least in the Senate until

7       approximately 8:06, almost six hours of delay.

8                  So the defendant's conduct is clear.         It's clear he

9       obstructed the law enforcement officers.       It's clear that he

10      obstructed Congress.

11                 So the only remaining questions have to do with

12      identity, which we can dispatch with quickly, and then the mens

13      rea questions, right, the intent.

14                 First, identity, which is fairly easy.        He is

15      recognizable.    He's recognizable to Inspector Loyd to Agent

16      Dippold.    He took selfies himself.   He's wearing the

17      characteristic gaiter which was later found in his car.            He

18      appears, frankly, the same today in court as he did on

19      January 6.    Some defendants have changed their hair, their

20      facial hair, he has not.    He's readily identifiable.         Identity

21      isn't a real question here.     Plus the defendant, himself, in

22      one of his text messages admits that he entered the Capitol.

23                 So moving on to the mens rea.    Did he know the

24      significance of January 6?    Was he aware of that?         Did he know

25      that that was the day the certification was taking place, not


                                                                     Exhibit D-3
                                                                 Page 152 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 153 of 202
                                                                      153




1       just the day Proud Boys were gathering in D.C., not just the

2       day that a rally was happening, right, did he have specific

3       knowledge of this event, this congressional official proceeding

4       he was there to obstruct?    And yes, he did.

5                 And Your Honor just read that he shared on

6       December 15, right, a mere three weeks earlier a detailed

7       description from President Trump's attorney Jenna Ellis

8       describing exactly what would happen in a very, very detailed

9       fashion on January 6.

10                Some defendants just know, oh, January 6

11      certification, and that's all they have.       Here, look at the

12      level of detail the defendant is sharing.       And I won't read

13      every word, but just the first paragraph.       Today the Electoral

14      College votes will be sealed and sent by special carrier to

15      Washington where they will remain sealed until January 6 when

16      the House and Senate will come into a joint session to open the

17      votes.

18                And then the rest of this message runs through sort of

19      step by step what's going to happen on January 6.         So the

20      defendant is keenly aware of that official proceeding and

21      keenly aware that if things go the way he's hoping, President

22      Trump stays in power, but if they don't, President Trump leaves

23      office, and the people the defendant refers to as the uniparty,

24      as the banking cartel, right, as the corporation, those people

25      are in power.


                                                                    Exhibit D-3
                                                                Page 153 of 202
     Case 1:21-cr-00352-JEB   Document 107-3     Filed 11/15/24     Page 154 of 202
                                                                          154




1                 The defendant says in the complaint affidavit, the

2       so-called complaint affidavit that he files about eight months

3       later, gets notarized, he says, I was present in

4       Washington, D.C. on January 6 for the reasons that I am aware

5       of the massive fraud in the November 3, 2020 election by the

6       Biden administration attacking the United States of America by

7       way of implementing communism by the totalitarian party, which

8       is illegal in the United States of America.

9                 So he shares beforehand his awareness of January 6.

10      He makes it explicit afterwards that he was there for the

11      certification specifically.

12                So he was aware of it.       How do we know that he

13      intended to obstruct it?    How do we get to the 1512 mens rea?

14                I will address that after the point I alluded to

15      earlier about the 1752 mens rea.        Here are just a few of them.

16      He tramples over the signs on his way through the Peace Circle.

17      He confronts the officers in 702.

18                When he enters the building, alarms are blaring.              He

19      walks right past and then stands next to a sign that says

20      emergency exit only, push until alarm sounds.             And then even

21      after getting through this door and standing there while the

22      alarms blare, he's still stopped, again, by a line of police

23      officers where the crowd that he is a part of is chanting let

24      us in, let us in.

25                So they are not allowed to walk in.         It's not a


                                                                       Exhibit D-3
                                                                   Page 154 of 202
     Case 1:21-cr-00352-JEB   Document 107-3     Filed 11/15/24    Page 155 of 202
                                                                         155




1       regular tourist visit.    They have to intimidate the officers

2       until the officers let them go.

3                  And why did the officers let them go?          I think we, you

4       know -- there's no way that those four officers could have

5       stopped the mob of thousands.     They made a strategic choice.

6                  So to the 1512 intent.      Start with right after the

7       election.    The defendant writes on Facebook, All hell has broke

8       loose.   I can't pay attention to ignite when I'm in the middle

9       of trying to secure myself for the next 30 days.            The watermark

10      is nanotech from Xerox that was embedded in all the legitimate

11      ballots, all the legitimate ballots that went to dead people

12      and all over to handlers have been traced.         POTUS is still

13      Trump.   He's handling the fraud.       It's a big joke on both

14      parties.    He's going to have them all jailed and/or hung.            We

15      have in January 20, all right, January 20, the day of

16      inauguration, right, the official final last day where power is

17      transferred.

18                 So in the defendant's view, the election that resulted

19      in a win for Joe Biden was the hell that had broken loose,

20      right?   So now be believes there is this secret plan where

21      ballots were watermarked, and that's when it's going to be

22      discovered, and President Trump is going to have the last laugh

23      because he's going to unveil the cheating that was at the sort

24      of bottom of this.    That's where the defendant starts this

25      belief that, you know, this so-called cheating is going to be


                                                                      Exhibit D-3
                                                                  Page 155 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 156 of 202
                                                                      156




1       revealed by the secret plan. But that doesn't happen, right?

2                 A month later, five weeks later, the defendant is

3       still frustrated.     He's frustrated by what's happening with the

4       election.    He's frustrated by what's happening with the culture

5       generally, by COVID restrictions.      And he writes, The

6       government caused this culture that we are experiencing, and

7       therefore, we have to hit the government back in order to

8       change it.

9                 There's a written embrace of violent means to achieve

10      political ends.

11                Then we get to January 6 itself, after he's traveled

12      3,000 miles, right, after he's not there for the rally, not

13      there for the speeches, he gathers the Proud Boys and records

14      this video of himself as they walk to the Capitol.

15                (The videotape was played.)

16                MR. GORDON:   I'm walking to the Capitol, and although

17      it's foreign soil, it won't be for long.       This country no

18      longer belongs to the banking cartel.

19                That threat isn't an empty one.      It's a prediction,

20      right?   What he's saying is the foreign soil in the defendant's

21      mind is that there is a conspiracy of elites, of globalists,

22      right, in his mind, that the uniparty or Congress, they are all

23      in a league together, right?     And President Trump is the lone

24      sort of champion standing in the breach between this foreign

25      globalist banking cartel control of the country of which the


                                                                    Exhibit D-3
                                                                Page 156 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 157 of 202
                                                                      157




1       republicans and democrats are just two sides of that same coin,

2       right, and President Trump is the one opposing them.

3                  And so he is here to liberate the country from those

4       people.    That's his worldview.   It's a little different than

5       some of our January 6 defendants who view the democrats solely

6       as the enemy.    It's not the defendant's point of view.       His

7       point of view is all the government, all of Congress.         It's all

8       corrupt.    It's all the banking cartel.    They have made the

9       country foreign soil.     He is on his way to liberate it.

10                 Just to make sure everyone knows that's his intent, he

11      doesn't just say it in the video he records and posts on

12      Facebook, he then minutes later posts the same thing in written

13      form to Facebook.     Here at the capital of the nation, though it

14      is foreign soil and has belonged to the banking cartel, no

15      longer will we let the bankers control our country.         The

16      banking corporation of this country is dead.

17                 Beyond the sort of antisemitic undertones of viewing

18      of the banking cartel and the globalists and all the things

19      that come with that, the defendant has made very clear in other

20      posts and other tweets in other statements of the connection

21      between the sort of bankers and banking cartel and the

22      corporation that he views the country as and government.            They

23      are all synonyms for him.

24                 And that's the relevance, that's the importance of

25      those exhibits that Ms. Mumma was talking about with Your Honor


                                                                    Exhibit D-3
                                                                Page 157 of 202
     Case 1:21-cr-00352-JEB   Document 107-3     Filed 11/15/24   Page 158 of 202
                                                                        158




1       a few minutes ago.     Even though they come after January 6, they

2       define the terms.     They show what the defendant means by these

3       terms, just as the negative averment that he read used those

4       same terms, just as the compact he asked Your Honor and I to

5       sign as part of this trial used those same terms.

6                 To the defendant, somewhere along the country's

7       history, the United States became a corporation and not a

8       government and seek to be legitimate.        I can't explain this

9       worldview to you in a way that will be rational and make sense.

10      I don't understand the arguments or the things the defendant is

11      relying on.

12                But I do know from reading all the things he has

13      submitted and written that he views them all as synonymous.            So

14      when he says, I'm here to take the country back from the

15      banking cartel, it doesn't mean that he's there to oppose the

16      treasury department or he's there to oppose financial policy or

17      Wall Street.   It means he's there to take back power from

18      Congress, and he's there on January 6 because he knows that's

19      the certification day, as he has expressed deliberately.

20                And that's clear in what he yells, right, when he gets

21      stymied by this line where Inspector Loyd is, what he's

22      repeatedly yelling is to the officers, You'll die for the

23      corporation, repeatedly.     You'll die for the corporation.

24      You'll die for the corporation.        He means the government saying

25      you, officers, right, are willing to die or going to die to


                                                                      Exhibit D-3
                                                                  Page 158 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 159 of 202
                                                                       159




1       defend the government, which is illegitimate because it's just

2       a corporation.   That's what he means when he's yelling these

3       things.

4                 I will address this in just a moment.

5                 So that's his intent.     And that intent is designed to

6       gain a benefit for himself.      He wants President Trump to remain

7       in power for his own personal benefit.       It's designed to gain a

8       benefit for President Trump.      He wants President Trump to

9       remain in power.      And he undertakes independently unlawful acts

10      to achieve all of this; fighting the officers, invading the

11      Capitol, occupying the Senate.

12                So from a sort of legal perspective, whatever

13      definition of corruptly Your Honor would use, the defendant

14      satisfies it with respect to the 1512.       He has a corrupt

15      intent.   He engages in corrupt actions.

16                The fact that he's in the Senate itself, right, it's

17      hard to be more obstructive than that.       As you heard Special

18      Agent Glavey say, it's not just that, you know, every last

19      rioter inside the Capitol blocked the building from being

20      declared safe again.      It's he is specifically inside the Senate

21      where the Vice President is supposed to be presiding.          The

22      defendant hasn't been screened in any way.        There's no way to

23      know whether he's carried in a weapon or planted any kind of

24      explosive device.     So his very presence has obstructed

25      Congress.


                                                                     Exhibit D-3
                                                                 Page 159 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 160 of 202
                                                                      160




1                 And if we were -- if the case ended there, there would

2       be enough to convict the defendant.      But it doesn't end there

3       because the defendant made additional statements after

4       January 6 that even though they are after and even though they

5       are about a plan for a different insurrection-ish event, they

6       shed light on the defendant's intent on January 6.

7                 And that's where sort of the Proud Boys evidence comes

8       in, not just because he associates with them or marches with

9       them on January 6, but because after January 6, the defendant

10      exhibits a consistent sort of plan of action.

11                He admits in the podcast that he's a member of the

12      Proud Boys during this time.     It's on the lock screen of his

13      cell phone.   It's on his clothing.    He has a helmet, all at

14      home.

15                The part that is alarming is about six weeks, seven

16      weeks after January 6 are these two messages on Telegram, an

17      encrypted app, found on the defendant's phone, 903 and 904.

18      They are arranged in chronological order, but to make sense of

19      them, you have to read them in reverse order.

20                So 904, the defendant is texting with someone he saved

21      in his phone as Marco Pledge.     It's well-known that the Proud

22      Boys have in their membership people have degrees, and

23      depending on what you do, you can be a first, second, third, or

24      fourth degree Proud Boy.    And when you are trying to join the

25      Proud Boys, you are a pledge.


                                                                    Exhibit D-3
                                                                Page 160 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24    Page 161 of 202
                                                                        161




1                 So the defendant, a member of the Proud Boys, is

2       texting with someone who apparently wants to be a Proud Boy

3       named Marco, Marco Pledge.    And the defendant writes, If we do

4       Portland, we do it with shock and awe.       Overwhelm them shit

5       stains with thousands of patriots like the Capitol.           Liberate

6       the libtards from themselves.     Who will come against us?           JBGC,

7       Cascadia, city cops, special units like SWAT and sheriffs.             I

8       would think we could outnumber all them twats.           This would be

9       like pulling the teeth out of a dog's mouth.         Then deconstruct

10      the comms transmitters and such.       Be done with them.      And it

11      doesn't matter what judicial legislates from the bench.            They

12      keep it up, and we occupy them too.       I don't see how NGs,

13      National Guard, would be dispatched from D.C. to come put out

14      this fire.   This would be a true test if military or admin was

15      controlling anything.    Better than dying a death of a thousand

16      cuts.

17                Marco, Well, now you're speaking my language.

18                And the defendant answers with, again, Trump now

19      dressed in Proud Boys gear.

20                This message gives me chills every time I read it, and

21      I have read it a lot.    There are, not only the embrace of

22      violence here, but the specificity of a full-out overthrow of

23      the government including direct address of law enforcement and

24      the judiciary.

25                What he's saying is, first, we just have to mass


                                                                     Exhibit D-3
                                                                 Page 161 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24   Page 162 of 202
                                                                        162




1       numbers and we can overwhelm the police.        That's just like what

2       happened on January 6.      It's exactly the same scenario.

3                 But then he takes it a step farther and thinks

4       through, we also need to stop ourselves from having judges have

5       any influence or power over this plan to take this over if the

6       judiciary tries to interfere.      Well, if we deconstruct the

7       comms, if we disable people's ability to communicate with each

8       other, then it won't matter what judges say because nobody will

9       be able to hear them.

10                That's his plan.     This is full on violent takeover of

11      the government.    And yeah, it's seven weeks later.        I

12      understand that.      It's about a different city and a state

13      government.   I get all that.     I get the fact that the capital

14      of Oregon isn't even Portland in the first place.          It's Salem.

15      But none of that is the point.

16                The point is that this shows that the defendant -- or

17      it doesn't by itself.      It corroborates the defendant's intent

18      on January 6.   It shows that January 6 he's not saying that was

19      the date in which I went to the Capitol to go hear some

20      speeches or that was the date in which I just went to protest.

21      No.   That's the date where we did just this, where the point

22      was to overwhelm with shock and awe.

23                And he views Trump as being sort of the Avatar for

24      that, which is why the texts the prior day aren't just selling

25      gas masks like you would to a friend, like you would tell your


                                                                     Exhibit D-3
                                                                 Page 162 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24     Page 163 of 202
                                                                        163




1       baseball card collection.    Read in context, the gas masks are

2       part of the preparation for whatever it is he wants to do in

3       Portland, particularly where he says -- he's talking to Flanary

4       on the left, I told Marco to keister them until we have funds

5       to buy all that are left, to hold on to them, to put them

6       aside, right?    They are connected.   He's coordinating.

7                  And the gas masks are important because on January 6,

8       the police used OC spray to try to repel rioters.           And while

9       the defendant's swim goggles may have been effective, these

10      would be better.

11                 The defendant has spent today repeatedly saying he

12      doesn't consent to this trial.     All right.    Obviously, as a

13      legal principle, that doesn't mean very much.           But it does

14      again shed light on the defendant's thinking and, therefore,

15      his intent on January 6.

16                 On January 6, he didn't consent either.         But that day

17      what he wasn't consenting to wasn't a trial.        It was peaceful

18      transfer of power.    It was the idea that the election has

19      consequences.    The election results in President Trump leaving

20      office and in that case Joe Biden taking it.

21                 So the defendant didn't consent to that either.            But

22      instead of just staying home and complaining about it, he took

23      action.    He flew all the way here.   He went straight to the

24      Capitol.    He trampled through barricades.     He tried to stop

25      officers from pushing rioters back.      He followed them over a


                                                                     Exhibit D-3
                                                                 Page 163 of 202
     Case 1:21-cr-00352-JEB    Document 107-3     Filed 11/15/24     Page 164 of 202
                                                                           164




1       barricade.    He broke into the Capitol.       He went to the Senate.

2       And then he celebrated with a selfie because he achieved what

3       he came to.    He stopped the Senate from certifying the

4       election.    Eventually they did, but he stopped them for a time.

5                 Ultimately the defendant here has been charged with

6       seven crimes, five misdemeanors, two felonies.             The

7       misdemeanors are established by essentially the same conduct

8       and elements as the felonies.

9                 So ultimately, Your Honor, there is one verdict

10      consistent with the law and the evidence.          It's that he's

11      guilty on all charges.

12                And your Honor should not have any pause about

13      convicting the defendant of that based on the nonsensical

14      nature of some of his rhetoric.         It doesn't make him

15      incapacitated.    It doesn't make him confused.            On January 6, he

16      knew exactly what he was doing, and he achieved his goal.

17      Thank you.

18                THE COURT:    Thank you very much.

19                Mr. Bru, do you wish to give a closing?

20                MR. BRU:    Well, though I am not in contract and I

21      don't consent to this, I would like to just point out that the

22      representative for the belligerent de facto has already stated

23      for the record that you are a corporation.          And you can look at

24      it in public record on the Dun & Bradstreet public record.

25      It's a for-profit corporation.      And a corporation cannot have


                                                                        Exhibit D-3
                                                                    Page 164 of 202
     Case 1:21-cr-00352-JEB    Document 107-3   Filed 11/15/24    Page 165 of 202
                                                                        165




1       authority over the people because the people are public.

2                 You are outside of your jurisdiction.          You have

3       trafficked me, and you have committed war crimes against me.

4                 THE COURT:    Okay.   Thank you.

5                 All right.    I will offer my verdict by first finding

6       the facts and then applying the law to those facts.

7                 First of all, there's no credibility question.            There

8       were only three government witnesses who testified.           They were

9       not crossed.   But even in the absence of cross, there was no

10      reason to question their credibility.        What they said was

11      backed up with extensive video evidence.

12                Inspector Loyd did testify about some of his

13      eyewitness observations, but most of the substance of what he

14      testified about was the subject of video and photographic

15      evidence and, therefore, was not disputed.

16                Similarly, Special Agent Glavey testified about what

17      she had observed on January 6, but again, much of that was

18      corroborated by documentary evidence and video evidence.

19                And finally, Special Agent Dippold testified almost

20      not at all about anything she had observed, but really was

21      there to introduce statements and videos and photographs of the

22      defendant.   So again, no dispute about any of this.

23                So there's no disputed facts here.        And so I accept as

24      true everything that the government witnesses testified to.

25                I think the government has laid out the salient facts


                                                                     Exhibit D-3
                                                                 Page 165 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 166 of 202
                                                                      166




1       in its closing, and I'll just go over those briefly, that the

2       defendant did come to Washington on January 6, 2021.         And as

3       the government underscores, and I agree this is of importance

4       here, that he was not intending, as many January 6 defendants

5       were, to go to the Stop the Steal Rally.       And then some got

6       caught up in what happened later, and some were motivated by

7       those speeches.    But the vast majority did attend the speech

8       first.   But not Mr. Bru, who did not attend the speech, didn't

9       go to Washington to attend the speech, but rather, went to meet

10      up with other Proud Boys and planned, as he said in earlier

11      posts, to go to the Capitol.     That was the intent all along.

12                He shared on December 15, 2020 what exactly would

13      happen on January 6, so he was fully knowledgeable about the

14      certification.    And his statements indicate that he was intent

15      on stopping that, that again, his statements regarding foreign

16      soil and the end of the banking cartel, again, whatever that

17      means, but what it does mean is that he was there to help

18      others to overthrow the valid election.

19                So he did then walk with the other Proud Boys to the

20      Peace Circle.    He was an early person at the Peace Circle and

21      was certainly aware of the barricades and the bike racks

22      throughout since he was only several rows behind those who

23      caused the initial breach of the Peace Circle and entered into

24      that restricted area immediately.

25                He then went up to the inauguration stage where he


                                                                    Exhibit D-3
                                                                Page 166 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 167 of 202
                                                                      167




1       yelled at police officers about dying for the corporation and

2       pointed at them, again was in the front lines.

3                 When that group was pushed back ultimately by Capitol

4       Police aided by MPD, the defendant, and I should note he was

5       wearing goggles which showed that he was ready to go and

6       prepared for pepper spray and confrontation, that the defendant

7       then aggressively approached the barricades, grabbed the

8       barricades, attempted to push them down and to thwart the

9       police efforts to manage the crowd and bar them from

10      progressing further.    And the defendant was a chief antagonist

11      in the crowd to resist that.

12                He then subsequently enters the Capitol despite

13      signage indicating this was an emergency exit and blaring

14      alarms, then proceeded in the building up to the Senate gallery

15      which he enters after passing other police lines and takes a

16      photo there.

17                Subsequent to January 6, he again manifests his

18      knowledge of what he had done there, is pleased with it, and

19      speaks of carrying those type of tactics over to Portland and

20      elsewhere with no remorse.

21                So the question is has the government established all

22      the elements of each offense, so let's go through those.

23                Count 1 is entering or remaining in a restricted

24      building or grounds.    It is clear the defendant knowingly

25      entered onto the Capitol grounds, past the bike racks which


                                                                    Exhibit D-3
                                                                Page 167 of 202
     Case 1:21-cr-00352-JEB   Document 107-3     Filed 11/15/24    Page 168 of 202
                                                                         168




1       marked the restricted area, and he knew that that was the case.

2       He also knowingly entered into the Capitol Building despite

3       alarms.   He also knowingly entered the Senate gallery knowing

4       he was not able to do so.

5                 The grounds were restricted given that Vice President

6       Pence, his wife, and daughter were temporarily visiting the

7       area, and they are people protected by the Secret Service and

8       thus, establish that the grounds were, in fact, restricted as

9       was the building based on the posted and cordoned-off signs.

10      So he is, therefore, guilty of Count 1.

11                Count 2 is disorderly or disruptive conduct in a

12      restricted building.    Once again, it's the same definition of

13      restricted building that I mentioned in Count 1.            And I find

14      that he did engage in disorderly or disruptive conduct in or in

15      proximity to the restricted building or grounds.

16                He certainly engaged in disruptive conduct in regard

17      to the bike racks and in regard to yelling at the officers

18      outside and aided and abetted others who were acting in a

19      disruptive manner inside the building.

20                The conduct did, in fact, impede and disrupt the

21      orderly conduct of government business because the vote

22      certification was stopped and had to recess, and his disorderly

23      conduct did disturb the public peace and undermine public

24      safety.   Officers were injured.       And his conduct was disruptive

25      in that it interrupted the vote certification.            So I will find


                                                                      Exhibit D-3
                                                                  Page 168 of 202
     Case 1:21-cr-00352-JEB   Document 107-3   Filed 11/15/24   Page 169 of 202
                                                                      169




1       him guilty of Count 2.

2                  Count 3 is entering or remaining in a gallery or a

3       house of Congress.     He did enter the Senate gallery which is

4       clear he did not have authority to do so.       He acted willfully

5       and knowingly in doing so.     And I, therefore, find him guilty

6       of Count 3.

7                  Count 4 is disorderly conduct in a Capitol Building or

8       grounds.    Again, I find for the same reasons I just said that

9       he did engage in disorderly or disruptive conduct on the

10      grounds in the pushing over of the bike racks and the yelling

11      and berating officers.     And he did so with the intent to impede

12      and disrupt and disturb the orderly session of Congress.            That

13      was his intent while he was there, which was to impede the vote

14      count on January 6.     So he did that willfully and knowingly,

15      and I find him guilty of Count 4.

16                 Count 5 is parading, demonstrating, or picketing in a

17      Capitol Building.     I find that he did demonstrate in the

18      Capitol and both did so himself and because he was part of the

19      largest demonstration that's ever occurred in that building.

20      He did so act willfully and knowingly and, therefore, is guilty

21      of Count 5.

22                 Count 6 is civil disorder, and he did act to obstruct,

23      impede, or interfere with law enforcement officers in regard to

24      the bike racks that he was pushing and also his berating and

25      yelling at officers.     He was attempting to -- or he did act


                                                                    Exhibit D-3
                                                                Page 169 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 170 of 202
                                                                       170




1       with the purpose of obstructing or impeding and interfering

2       with the officers.    The officers were engaged in the lawful

3       performance of their duties.

4                 And they were -- that was incident to and during a

5       civil disorder because the acts on that day did negatively

6       affect commerce, as we have seen from the Safeway documents,

7       and the performance of a federally protected function, which is

8       both the acts by the Capitol Police and the vote certification

9       for such functions.

10                The civil disorder did involve acts of violence that

11      caused danger or injury to others who were, in fact,

12      substantially injured.    So I will find him guilty of Count 6.

13      And he also, in addition to acting independently as a

14      principal, he did aid and abet others in that offense.

15                The final count is Count 7, obstruction of an official

16      proceeding.   As I have said before, he did attempt to obstruct

17      the official proceeding, which was the vote certification.

18      That was his intent on being there in the first place.          He

19      intended to do so, as we have seen from his posts and

20      statements.   He acted knowingly.      That's why he was there.

21                The natural, probable effect of his conduct would be

22      to obstruct and impede the proceeding, and he did that

23      corruptly even if I take the more restrictive definition

24      proposed by Judge Walker in the Fischer, F-I-S-C-H-E-R, case,

25      that he acted to secure a benefit for himself, which was to


                                                                     Exhibit D-3
                                                                 Page 170 of 202
     Case 1:21-cr-00352-JEB    Document 107-3    Filed 11/15/24    Page 171 of 202
                                                                         171




1       live under a Trump administration, not a Biden administration.

2       And he did act to secure a benefit for others, namely Donald

3       Trump, to secure the presidency for him.

4                 Without such a restrictive definition, he certainly

5       acted with an illegal means for an improper purpose and aided

6       and abetted others who did so.       So I will find him guilty of

7       Count 7 as well.

8                 Any other facts that the government wishes to find or

9       any other legal conclusions it wishes me to make, Mr. Gordon?

10                MR. GORDON:    No, Your Honor.

11                THE COURT:    Thank you.

12                Mr. Bru?

13                Hearing no response, I take it that the answer is no.

14                Okay.   Sentencing date, Nicole?

15                THE COURTROOM DEPUTY:      January 3, 10:00 a.m.

16                THE COURT:    January 3, 10:00 a.m. for the government?

17                MR. GORDON:    Can we do the next week?

18                MR. BRU:    I don't consent.     Drag it out as long as you

19      can.

20                THE COURTROOM DEPUTY:      January 8, 11:00 a.m.

21                MR. GORDON:    That's fine, Your Honor.         Thank you.

22                THE COURT:    January 8, 11:00 a.m.

23                Does the government seek to continue Mr. Bru's

24      detention until that time?

25                MR. GORDON:    Yes, we do, Your Honor.


                                                                      Exhibit D-3
                                                                  Page 171 of 202
     Case 1:21-cr-00352-JEB    Document 107-3     Filed 11/15/24   Page 172 of 202
                                                                         172




1                 THE COURT:    All right.      I find that -- Mr. Bru, do you

2       want to be heard on that?

3                 MR. BRU:    You guys go ahead and do what you do.

4                 THE COURT:    I'm sorry.      I couldn't hear you.

5                 MR. BRU:    You guys do what you do.

6                 THE COURT:    All right.      The defendant, given the fact

7       that he violated his release conditions on a number of

8       occasions, failed to appear, and has issued statements

9       indicating lack of respect for this Court in the process, I

10      find that there's clear and convincing evidence that he would

11      not follow any court orders given a number of his statements.

12      I also find that he's a danger to the community.            So I will

13      hold him without bond until such time.

14                Mr. Bru, you will be interviewed by the probation

15      office for your presentence report.         They will want to talk to

16      you about your employment, education, family history, health.

17      And then for the sentencing, the government may submit a

18      memorandum, and so may you.      You may also submit letters in

19      support if you wish.     At the sentencing, the government and you

20      will have an opportunity to speak before I impose sentence.

21                Do you have any questions about that?

22                MR. BRU:    Say not.

23                THE COURT:    Thank you.      Thank you all.     Thank you,

24      Mr. Muse.   Appreciate it.    We'll see you January 8.

25                (The trial concluded at 3:26 p.m.)


                                                                       Exhibit D-3
                                                                   Page 172 of 202
     Case 1:21-cr-00352-JEB   Document 107-3    Filed 11/15/24   Page 173 of 202
                                                                       173




1                                       - - -

2                              C E R T I F I C A T E

3

4                  I hereby certify that the foregoing is an

5       accurate transcription of the proceedings in the

6       above-entitled matter.

7

8

9       10/20/23                 s/ Tammy Nestor
                                 Tammy Nestor, RMR, CRR
10                               Official Court Reporter
                                 333 Constitution Avenue NW
11                               Washington, D.C. 20001
                                 tammy_nestor@dcd.uscourts.gov
12

13

14

15

16

17

18

19

20

21

22

23

24

25


                                                                     Exhibit D-3
                                                                 Page 173 of 202
 Case 1:21-cr-00352-JEB                 Document 107-3             Filed 11/15/24          Page 174 of 202
                                                                                                                     174

                         134/18 134/23 135/2 104 [1] 101/9             123/21 125/16 125/24    3200 [1] 1/13
                         135/6 135/18 137/23 106 [1] 101/20            139/23 154/5 166/12     33 [1] 58/6
MR. BRU: [23] 4/16
                         138/23 139/2 139/4    107 [2] 103/5 120/25 2021 [34] 6/17 8/18        333 [2] 1/24 173/10
5/4 5/8 5/19 7/4 12/6
                         139/7 139/19 141/3    108 [1] 103/24          11/17 16/23 17/7 20/4   33602 [1] 1/13
14/12 14/15 14/22
                         142/2 142/13 142/20 109 [1] 105/2             20/17 21/20 25/3 25/6   35 [1] 104/11
65/23 80/11 143/21
                         143/3 143/7 143/15    10:00 a.m [3] 126/19    26/24 33/14 41/11       352 [1] 4/3
144/3 144/6 144/16
                         143/19                 171/15 171/16          41/23 48/2 50/23        37 [1] 78/13
144/22 144/24 145/1
                         THE COURT: [105]      10:49 [1] 61/19         52/10 67/21 68/9        38 [2] 78/18 79/14
164/20 171/18 172/3
                         4/9 4/12 4/14 4/17    11 [1] 100/20           69/14 82/7 88/2 99/20   3:26 [1] 172/25
172/5 172/22
                         4/22 5/1 5/3 5/5 5/14 110 [4] 22/4 22/16      107/21 108/1 108/3      3:39 [1] 61/12
MR. GORDON: [43]
                         5/21 6/5 6/8 7/5 12/4  22/19 98/12            108/12 109/1 109/20     3D [1] 22/25
4/7 4/10 4/13 4/25
                         14/5 14/14 14/17      11:00 a.m [2] 171/20    126/15 127/17 139/22
15/10 15/15 15/21                                                                              4
                         14/23 15/3 15/14       171/22                 140/8 166/2
15/23 16/1 16/7 16/13
                         15/20 15/22 15/24     11:00 or [1] 61/6      2023 [8] 1/5 129/20      400 [3] 1/12 19/11
16/20 17/1 17/5 17/9
                         16/3 16/10 16/16      12 [3] 99/13 123/14     129/20 132/14 132/25     19/12
17/11 17/14 17/23
                         16/24 17/3 17/8 17/10 123/21                  133/10 135/17 136/17    401 [6] 2/19 40/15
18/1 62/2 62/4 66/4
                         17/12 17/20 17/25     12:15 [1] 5/24         203 [1] 27/19             42/4 42/8 47/18 49/14
66/8 66/21 67/6 71/17
                         18/2 18/15 18/19 21/3 12:16 [1] 121/19       20530 [1] 1/16           402 [2] 42/4 149/10
72/18 78/5 78/10
                         22/17 33/1 36/25 42/6 12:20 [1] 5/24         208 [1] 28/3             403 [4] 2/19 40/15
78/13 79/14 80/8
                         61/14 61/17 61/20     12:35 [1] 30/20        209 [4] 22/21 22/21       42/4 42/8
124/23 129/14 143/24
                         65/8 65/18 65/20      12:40 [1] 30/20         147/8 147/15            42 [2] 2/19 2/20
145/4 145/10 149/23
                         65/24 66/2 66/7 66/13 12:42 [1] 55/19        21 [2] 104/16 119/18     44 [1] 18/12
156/16 171/10 171/17
                         67/3 67/13 67/16      12:52 [2] 55/19 55/21 21-00352-JEB [1] 1/3      48 [1] 96/8
171/21 171/25
                         71/19 72/20 78/7 80/9 12:53 [4] 31/3 31/6    21-352 [1] 4/3           4:00 [1] 107/7
MR. MUSE: [1] 4/19
                         80/12 84/10 86/13      31/21 42/19           210 [1] 95/2             4:15 [1] 5/24
MS. MUMMA: [164]
                         86/15 94/23 112/10    12:58 [2] 34/9 36/7    211 [1] 57/13            4:30 [3] 5/23 55/25
6/3 6/6 6/9 7/7 15/1
                         113/24 117/7 121/16 12:58 p.m [1] 33/14      212 [4] 20/7 20/15        56/20
20/25 22/15 22/20
                         121/20 121/25 129/6 13 [2] 132/25 132/25      21/2 21/5               4:42 [1] 103/6
24/11 24/25 26/4
                         129/11 129/15 129/24 1301 [1] 1/15           213 [4] 36/1 36/11
27/18 28/2 28/17
                         131/22 134/9 134/15 13:13 [1] 48/2            36/24 37/2              5
32/12 32/24 33/4 33/7                                                                          50 [2] 52/3 52/5
                         134/21 134/24 135/4 142 [2] 2/24 3/2         23 [5] 11/17 38/4
36/10 36/23 37/3 37/6                                                                          501 [5] 2/19 41/8 42/4
                         135/13 135/20 138/25 1450792039 [1] 87/4      105/18 118/16 173/9
37/25 38/3 40/8 42/3                                                                            42/8 46/4
                         139/3 139/5 142/5     15 [9] 35/17 35/20     26 [1] 129/20
42/10 43/7 44/16 45/4                                                                          504 [2] 49/9 150/17
                         143/20 143/22 143/25 53/21 54/13 98/10       27 [4] 38/1 45/14 48/4
45/7 45/14 45/17 46/3                                                                          505 [1] 83/13
                         144/5 144/7 144/17     105/2 125/16 153/6     136/13
46/7 46/21 46/23                                                                               506 [2] 42/11 94/12
                         144/23 144/25 145/2    166/12                28 [1] 45/18
47/17 48/3 48/6 48/17                                                                          507 [5] 2/19 41/8 42/4
                         145/6 145/8 164/18    150 [1] 65/3           2:09 p.m [1] 50/23
49/8 49/11 49/21                                                                                42/8 95/7
                         165/4 171/11 171/16 1512 [3] 154/13 155/6 2:10 [7] 34/10 35/25
50/14 52/2 52/5 53/5                                                                           52 [2] 37/3 37/6
                         171/22 172/1 172/4     159/14                 38/9 51/5 51/6 51/10
55/18 55/21 57/8                                                                               58 [1] 33/8
                         172/6 172/23          1551 [1] 126/17         59/16
57/12 61/16 61/21                                                                              5:06 [1] 53/5
                         THE COURTROOM         16 [3] 50/15 105/3     2:10 p.m [1] 63/25
61/25 62/3 62/5 62/19                                                                          5th [1] 108/11
                         DEPUTY: [7] 4/2        137/5                 2:12 [1] 152/6
63/5 65/9 65/19 80/14
                         66/12 66/15 66/19     1752 [1] 154/15        2:12 p.m [2] 52/10
83/12 84/8 84/11
                         80/19 171/15 171/20 1789 [1] 14/4             52/16                   6
85/14 86/11 86/14                                                                              601 [1] 16/21
                         THE DEFENDANT: [1] 18 [4] 48/6 125/24        2:15 [1] 59/16
86/16 88/9 91/7 92/3                                                                           605 [1] 16/21
                          5/2                   132/12 132/14         2:23 [1] 145/7
94/11 94/25 95/7                                                                               606 [3] 16/22 16/23
                         THE WITNESS: [5]      188 [1] 1/20           2:30 [1] 38/11
95/17 95/20 96/7                                                                                17/4
                         66/1 66/14 67/15 97/4 19 [2] 124/12 126/5    2:36 [1] 22/7
96/10 97/1 97/8 97/11                                                                          607 [2] 16/22 17/1
                         108/3                 1:00 [3] 58/14 58/14   2:36 p.m [1] 99/20
98/21 99/1 99/13                                                                               608 [3] 16/22 17/2
                                                89/13                 2:40 p.m [1] 101/2
99/21 100/16 100/19     $                                                                       17/4
                                               1:00 on [1] 29/13      2:42 p.m [1] 102/8
101/8 101/11 101/20                                                                            6:00 [1] 56/23
                        $300 [1] 120/9         1:00 p.m [1] 58/23     2:46 p.m [1] 103/18
102/9 102/12 103/2                                                                             6th [2] 8/5 108/11
                                               1:04 a.m [1] 118/15    2:48 p.m [1] 105/14
103/8 103/23 104/1      1                      1:13 p.m [1] 48/2      2:50 p.m [1] 22/7
104/6 104/13 104/15     10 [7] 33/5 35/17      1:32 [1] 103/24
                                                                                               7
105/1 105/18 105/21      35/20 53/21 54/13                            3                        700 [1] 1/21
                                               1:41 [1] 101/21
106/7 106/24 107/14      122/17 122/18                                                         701 [4] 2/20 41/20
                                               1:45 [2] 121/17 121/17 3,000 miles [2] 8/10
107/22 108/2 110/5      10/20/23 [1] 173/9                                                      42/5 42/9
                                                                       156/12
110/23 111/17 112/8     1000 [2] 1/16 15/19    2                                               702 [4] 44/17 46/19
                                                                      30 [6] 84/17 84/18
112/13 112/21 113/22    1001 [3] 17/6 17/13                                                     147/19 154/17
                                               20 [8] 6/16 6/17 11/8   84/19 103/20 123/2
114/2 114/11 115/2       106/8                                                                 703 [5] 2/20 41/20
                                                105/15 123/7 151/13    155/9
115/18 117/5 117/10     1002 [3] 16/9 16/12                                                     42/5 42/9 43/8
                                                155/15 155/15         301 [6] 71/5 71/6
118/25 119/14 120/13     106/25                                                                704 [4] 113/14 113/23
                                               20001 [2] 1/24 173/11 71/18 71/21 72/10
120/24 121/18 121/22    1003 [1] 107/15                                                         114/1 115/3
                                               201 [4] 20/7 20/15      72/16
122/12 123/8 124/15     1004 [1] 110/6                                                         705 [1] 114/12
                                                21/1 21/5             302 [7] 72/5 72/6 72/8
124/21 124/24 125/18    1005 [2] 16/9 16/12                                                    706 [4] 113/15 113/23
                                               202 [3] 26/5 69/17      72/15 72/18 72/22
126/10 127/12 129/4     101 [5] 22/4 22/16                                                      114/1 114/3
                                                69/18                  72/24
129/9 129/18 130/19      22/19 98/12 98/23                                                     7067 [1] 12/20
                                               2020 [14] 6/11 7/24    305 [6] 76/18 77/7
131/20 131/25 132/16    102 [1] 99/22                                                          707 [3] 111/18 112/9
                                                8/19 29/5 57/25        77/8 78/5 78/9 78/11
133/1 134/5 134/11      103 [2] 100/17 100/20 122/17 122/20 123/14 31 [1] 133/10                112/12


                                                                                               Exhibit D-3
                                                                                           Page 174 of 202
    Case 1:21-cr-00352-JEB               Document 107-3             Filed 11/15/24          Page 175 of 202
                                                                                                                   175


7                       99503 [1] 1/21           140/19 141/10 141/24 113/25 117/8 131/23       94/24 95/4 95/10
                        9:32 [1] 4/1             173/5                   139/1 139/5 142/6      99/25 100/22 101/25
708.1 [4] 2/24 140/15
                                                accurately [5] 20/15    advances [1] 68/6       102/15 103/11 104/8
 142/3 142/7            A                        21/25 22/10 77/20      advise [1] 70/10        104/18 105/3 105/5
708.3 [5] 2/24 140/15
                        a.m [9] 4/1 61/3 61/19 78/2                     affect [2] 58/18 170/6 105/24 107/17 111/20
 142/3 142/7 143/4
                         118/15 126/19 171/15 achieve [2] 156/9         affiant [2] 139/21      112/15 114/5 116/14
709.1 [5] 2/24 141/6
                         171/16 171/20 171/22 159/10                     139/22                 121/22 122/15 123/12
 142/4 142/7 142/11
                        abet [1] 170/14         achieved [2] 164/2      affidavit [5] 8/15      124/5 124/18 126/13
709.2 [1] 142/21
                        abetted [2] 168/18       164/16                  138/10 139/13 154/1    127/15 128/7 130/2
709.3 [5] 2/24 141/6
                         171/6                  acquittal [1] 144/11     154/2                  132/19 133/4 134/2
 142/4 142/8 143/16
                        abide [1] 107/6         across [2] 100/10       affidavits [1] 81/18    135/22 138/2 139/10
710.1 [4] 3/2 141/20
                        ability [2] 58/19 162/7 110/2                   after [33] 11/17 11/21 140/4 142/10 142/16
 142/4 142/8
                        able [6] 55/11 61/8     act [4] 169/20 169/22 11/25 31/18 34/5          143/11 143/22 152/15
710.4 [5] 3/2 141/20
                         77/1 77/3 162/9 168/4 169/25 171/2              54/20 60/19 79/9       159/18 165/16 165/19
 142/4 142/8 143/8
                        about [84] 5/23 14/6    acted [4] 169/4 170/20 79/22 92/10 94/15       agents [3] 76/20 77/1
711 [4] 138/15 138/24
                         14/11 14/18 14/20       170/25 171/5            100/3 105/15 113/8     77/3
 139/4 139/6
                         24/18 25/22 26/17      acting [2] 168/18        122/19 127/18 134/13 aggressive [1] 10/2
712 [3] 138/24 139/3
                         32/1 36/6 43/3 45/5     170/13                  136/15 147/9 151/4    aggressively [1] 167/7
 139/8
                         45/14 47/4 47/8 47/15 action [7] 4/3 10/18      151/4 151/13 154/14 ago [2] 103/20 158/1
713 [3] 138/16 139/4
                         47/21 49/9 50/15 51/5 146/11 146/11 146/11 154/21 155/6 156/11 agree [1] 166/3
 139/6
                         51/6 54/13 55/19        160/10 163/23           156/12 158/1 160/3    ahead [26] 46/21 48/3
79 [2] 15/16 16/8
                         55/25 56/18 56/21      actions [4] 11/11 11/22 160/4 160/9 160/16      48/17 53/5 55/18
7:30 [1] 28/23
                         57/7 57/10 57/21        151/21 159/15           167/15                 89/21 92/3 95/4 97/8
7:30 a.m [1] 61/3
                         58/13 60/6 60/8 64/14 active [2] 54/15 130/3 afternoon [4] 34/10       100/19 102/9 104/4
7th [1] 108/11
                         65/2 65/12 81/8 84/22 actively [1] 64/6         38/9 55/25 121/20      104/13 105/21 118/13
8                        87/22 88/1 89/12       activity [2] 55/17 91/1 afterwards [1] 154/10 122/22 123/22 125/25
                         89/13 93/6 94/5 95/17 actors [1] 12/19         again [70] 7/1 9/8 9/9 126/25 127/20 135/19
8 feet [1] 27/7
                         96/8 96/25 97/17       acts [4] 159/9 170/5     9/12 10/4 10/22 11/6   137/6 142/13 143/3
803 [6] 15/17 15/20
                         98/24 101/21 102/10     170/8 170/10            14/14 16/16 17/8       143/7 172/3
 16/5 85/16 86/12
                         103/20 103/21 105/15 actual [5] 23/17 77/14 18/24 24/23 26/11         aid [1] 170/14
 86/15
                         105/18 105/25 106/18 108/10 108/24 112/23 32/2 38/18 44/1 51/1 aided [3] 167/4 168/18
804 [2] 88/6 91/8
                         107/20 107/25 122/2 actually [19] 23/16         56/2 56/3 57/23 57/23 171/5
806 [1] 88/10
                         122/3 122/3 122/6       25/6 30/17 30/25        63/19 65/6 73/19      air [1] 38/21
807 [5] 15/18 15/21
                         122/10 124/7 125/12     33/21 37/17 38/14       75/12 76/5 90/7 90/17 alarm [4] 96/14 96/25
 16/5 62/3 88/6
                         137/4 137/5 154/2       44/5 51/13 53/2 94/24 92/10 93/11 93/13        97/4 154/20
808 [2] 62/1 62/2
                         154/15 157/25 160/5     95/1 105/12 109/1       103/3 105/11 105/24 alarming [1] 160/15
809 [6] 15/18 15/23
                         160/15 162/12 163/22 109/6 116/13 116/14        108/7 110/10 119/23 alarms [5] 10/24
 16/5 62/4 62/5 88/7
                         164/12 165/12 165/14 118/14 123/10              120/16 121/4 121/14    154/18 154/22 167/14
811 [2] 122/13 123/10
                         165/16 165/20 165/22 addition [3] 27/2 29/9 122/2 125/21 126/5         168/3
812 [2] 123/10 123/10
                         166/13 167/1 172/16     170/13                  127/5 127/7 127/9     Alaska [2] 1/20 1/21
813 [3] 123/9 124/16
                         172/21                 additional [3] 102/22    129/6 132/23 133/10 Albertsons [2] 106/22
 129/6
                        above [2] 19/6 173/6     131/6 160/3             134/4 137/24 140/25    107/4
814 [1] 125/18
                        above-entitled [1]      Additionally [1] 16/13   141/17 142/25 147/10 all [119] 5/22 6/1 6/10
815 [1] 126/11
                         173/6                  address [4] 5/6 154/14 147/16 147/22 150/20 6/14 6/14 7/14 9/4
816 [6] 15/18 15/23
                        absence [1] 165/9        159/4 161/23            154/22 159/20 161/18 10/15 11/25 12/3
 16/5 86/15 88/7
                        accept [1] 165/23       addressed [1] 16/7       163/14 165/17 165/22 12/19 12/19 13/3 13/8
 127/12
                        access [5] 23/14 23/22 adjourned [2] 29/13       166/15 166/16 167/2    13/9 16/4 16/10 17/21
817 [5] 130/17 130/20
                         23/24 24/1 69/8         29/14                   167/17 168/12 169/8    25/13 27/9 28/19
 131/9 131/21 131/24
                        accessible [1] 85/23    admin [2] 119/4 161/14 against [17] 7/8 10/5    29/24 32/1 36/10
818B [1] 135/10
                        accomplished [1]        administration [6] 8/12 10/8 13/8 14/3 82/12    40/24 44/24 45/1 45/2
819 [1] 132/1
                         152/1                   8/20 139/24 154/6       82/13 82/15 118/19     47/16 50/5 50/11 54/8
820 [1] 132/17
                        account [34] 8/2 9/8     171/1 171/1             144/19 144/20 148/8    58/7 58/22 59/8 61/14
821 [1] 133/2
                         85/7 85/23 86/22       admission [2] 15/25      148/21 150/1 150/9     61/17 61/25 64/14
823 [1] 134/6
                         86/25 87/2 87/4 87/6    145/25                  161/6 165/3            65/4 66/3 66/7 71/17
824 [3] 131/10 131/21
                         87/9 91/14 122/8       admissions [1] 146/7 age [1] 12/11              72/4 76/16 78/15 80/1
 131/24
                         125/22 126/15 128/3 admit [14] 16/18 16/22 agencies [2] 30/5 30/6 86/24 87/15 87/18
8:00 [2] 61/9 64/11
                         128/12 128/13 128/16 21/1 22/16 32/25          agency [1] 81/11        87/18 89/14 92/3 93/6
8:06 [1] 152/7
                         130/7 130/9 130/11      36/24 42/4 86/11       agenda [1] 146/15       96/14 97/25 98/17
9                        130/14 130/15 131/2     112/8 113/22 117/5     agent [75] 4/11 30/8    107/4 107/6 108/5
901 [3] 116/16 117/6     131/3 131/3 131/4       131/21 138/24 142/3     66/4 66/23 66/24       108/24 109/13 112/20
 117/9                   131/6 131/8 131/12     admits [4] 142/18        66/25 67/9 67/11       115/10 118/9 118/14
902 [2] 117/13 119/15    132/7 132/21 133/8      145/18 152/22 160/11 67/18 67/24 68/4          118/20 120/21 120/21
903 [3] 117/13 119/15    135/24                 admitted [26] 16/4       69/17 71/1 78/15       120/23 121/16 122/25
 160/17                 accounts [4] 85/22       16/11 16/19 16/25       78/23 80/1 80/14       123/3 123/3 123/4
904 [5] 117/13 117/14    122/7 128/11 130/3      17/12 17/21 21/4        80/22 81/13 81/14      123/6 125/17 127/20
 118/5 160/17 160/20    accurate [18] 32/20      22/18 33/2 37/1 42/7    81/17 81/20 82/19      129/10 133/19 134/13
907 [4] 116/17 117/6     41/4 41/15 42/1 71/11 65/11 71/20 72/21         82/20 82/24 83/16      142/2 142/5 143/25
 117/9 117/13            72/15 86/6 112/3        78/8 83/13 85/15        84/9 85/5 85/18 88/12 144/5 145/2 145/8
908 [1] 117/11           113/19 116/25 117/1     85/16 86/14 112/11      91/10 92/7 94/14       153/11 155/7 155/10
                         117/22 131/15 138/21


                                                                                                Exhibit D-3
                                                                                            Page 175 of 202
    Case 1:21-cr-00352-JEB              Document 107-3              Filed 11/15/24          Page 176 of 202
                                                                                                                  176


A                       angry [1] 35/7         appearance [1] 84/20 101/25 102/2 103/9        arrived [3] 10/21 38/14
                        another [15] 32/17     APPEARANCES [1]         103/11 103/12 103/24 148/9
all... [29] 155/11
                         38/15 39/20 43/14      1/10                   104/15 105/3 105/24 article [1] 84/5
 155/12 155/14 155/15
                         43/16 86/24 116/14    appeared [3] 20/17      106/20 107/10 107/11 as [128] 4/19 6/19 8/3
 156/22 157/7 157/7
                         123/13 124/19 127/16 22/11 117/17             108/8 109/13 110/2      8/12 10/12 10/23 11/6
 157/7 157/8 157/18
                         128/8 130/13 132/20 appears [3] 44/10         112/16 112/18 113/17 12/15 12/16 13/6 13/6
 157/23 158/12 158/13
                         133/7 150/20           62/10 152/18           113/19 116/19 116/25 14/1 14/1 14/22 15/9
 159/10 160/13 161/8
                        answer [3] 13/14 13/16 appellate [1] 67/2      116/25 117/19 117/22 16/22 19/14 20/17
 162/13 163/5 163/12
                         171/13                application [2] 116/5   117/25 118/4 119/22     22/11 24/15 25/8 27/1
 163/23 164/11 165/5
                        answers [1] 161/18      128/8                  120/9 120/18 120/21     30/25 34/20 37/18
 165/7 165/20 166/11
                        antagonist [1] 167/10 applied [2] 13/24        120/23 121/6 121/14     40/1 50/11 54/6 54/6
 167/21 172/1 172/6
                        Anthony [1] 4/16        106/16                 123/8 123/15 123/20     54/11 54/11 59/14
 172/23
                        anticipated [4] 29/23  applying [1] 165/6      124/2 124/6 125/20      59/25 59/25 60/2 63/1
allow [3] 27/11 97/15
                         58/13 108/20 109/10 appointment [1] 25/11 126/1 127/10 129/20         64/1 64/1 64/16 64/16
 150/15
                        anticipation [1] 30/4  Appreciate [2] 66/2     129/21 131/12 131/15 66/18 67/1 67/1 68/4
allowed [7] 69/25 70/1
                        antigovernment [1]      172/24                 133/25 135/25 136/10 69/16 70/19 71/5 72/5
 146/23 147/1 147/22
                         93/1                  approach [2] 4/6 15/5 136/11 136/19 136/23 73/18 73/19 73/24
 150/21 154/25
                        antisemitic [3] 93/14  approached [4] 34/20 137/12 138/18 138/20 76/17 77/6 78/19
alluded [1] 154/14
                         127/9 157/17           47/8 74/18 167/7       138/21 140/17 140/19 80/18 81/17 82/24
almost [6] 58/4 81/24
                        any [95] 5/18 12/24    appropriate [1] 16/17   141/8 141/9 141/10      85/5 85/15 86/3 87/19
 90/12 148/8 152/7
                         13/14 13/16 13/20     approximately [36]      141/22 141/24 144/1     87/19 91/4 91/6 92/15
 165/19
                         13/25 14/12 16/3       19/8 19/11 22/7 23/8   144/9 144/22 145/11     93/19 93/21 95/13
alone [1] 35/16
                         16/10 17/20 20/19      27/6 27/7 28/23 33/5   146/24 149/16 150/22 97/17 98/1 99/7
along [6] 4/8 9/9 70/6
                         21/3 22/13 22/17       34/9 34/10 34/23       150/25 150/25 153/25 107/12 111/18 111/25
 126/21 158/6 166/11
                         25/14 25/18 26/19      35/17 35/25 38/9       154/15 154/18 154/25 112/15 114/21 118/7
alpha [1] 121/5
                         30/6 30/7 30/11 33/1   38/16 42/17 51/10      156/6 156/22 157/1      121/5 123/22 128/12
already [7] 12/10 69/16
                         34/20 36/25 37/19      53/21 56/20 56/23      157/23 158/25 160/4     128/25 130/2 131/5
 86/13 86/14 103/2
                         37/22 39/7 39/9 42/6   58/14 58/24 59/16      160/5 160/16 160/18     134/19 135/14 135/16
 146/5 164/22
                         45/24 47/11 50/7       61/6 61/9 61/12 63/24 160/24 160/25 161/21 136/20 138/2 140/6
also [34] 4/10 9/2
                         53/22 55/14 56/5 60/3 64/11 65/3 87/23        163/1 163/5 163/6       144/13 146/2 146/20
 12/16 12/17 12/17
                         68/6 70/10 71/19       88/20 98/9 101/25      163/7 164/7 164/23      147/18 148/6 148/13
 16/7 24/15 34/18 51/2
                         72/20 73/4 76/5 76/6   105/13 152/6 152/7     165/1 165/2 168/7       148/17 150/13 151/9
 68/6 70/20 70/23
                         76/7 76/9 78/7 81/21 April [2] 132/12 132/14 area [23] 9/17 27/1      151/25 152/18 153/23
 72/12 83/25 84/1 90/1
                         82/6 82/22 85/6 85/6 April 18 [2] 132/12      27/15 27/23 28/15       153/24 153/24 156/14
 90/2 90/2 90/19 91/13
                         86/9 87/19 87/20       132/14                 34/4 34/7 34/14 43/6    157/6 157/22 158/3
 91/17 93/9 115/6
                         90/21 93/8 102/22     arched [1] 79/7         43/17 51/22 53/9        158/4 158/5 158/13
 121/3 130/14 136/6
                         104/22 107/11 111/10 are [212] 4/2 4/23 13/9 53/20 62/14 65/8 70/2 158/19 159/17 160/21
 145/15 162/4 168/2
                         111/13 111/14 112/6    14/6 14/8 14/8 14/11   86/19 100/6 114/24      162/23 163/12 164/8
 168/3 169/24 170/13
                         112/10 112/24 113/5    15/12 15/16 15/17      146/21 166/24 168/1     165/23 166/2 166/4
 172/12 172/18
                         113/9 113/24 115/20    15/18 16/1 16/8 16/14 168/7                    166/10 168/8 170/6
altered [6] 20/19 22/13
                         116/10 117/3 117/7     16/24 18/15 19/3 19/4 areas [4] 20/16 22/10 170/13 170/16 170/19
 86/9 112/6 117/3
                         130/3 131/5 131/18     19/5 19/25 20/3 20/9   24/5 26/15              171/7 171/18 171/18
 131/18
                         131/22 138/25 140/7    20/11 20/22 20/22     aren't [2] 149/17       aside [5] 89/18 97/15
although [2] 145/20
                         142/5 143/11 143/23    21/10 21/12 22/6 23/5 162/24                   111/10 131/6 163/6
 156/16
                         144/2 144/9 144/14     23/11 28/8 33/10      argue [2] 16/18 144/16 ask [4] 12/1 33/7 122/3
always [1] 30/9
                         146/22 147/23 148/20 33/24 34/1 37/6 37/25 argument [2] 7/4 14/16 149/15
am [30] 5/14 8/18
                         159/22 159/23 162/5    38/4 38/20 40/7 40/17 arguments [3] 14/11     asked [2] 54/20 158/4
 14/20 16/18 24/5
                         164/12 165/22 171/8    41/4 41/10 41/15       14/12 158/10           assault [1] 31/9
 26/14 33/7 33/21
                         171/9 172/11 172/21    41/22 41/25 42/13     armed [1] 112/18        assaulting [2] 63/17
 40/11 67/6 67/20 71/4
                        anybody [4] 25/16       43/10 44/13 44/23     around [20] 5/24 10/5 63/19
 72/4 76/16 78/10
                         42/20 46/16 62/16      45/17 46/9 47/22 48/6 10/23 10/25 26/9 27/9 assess [1] 32/6
 81/13 83/18 92/22
                        anyone [6] 33/18 46/14 50/3 50/4 50/15 52/5    29/24 51/17 56/9 57/2 assets [1] 68/21
 98/17 101/22 103/2
                         70/1 70/12 145/15      52/13 52/19 54/5       68/5 69/7 83/24 84/1 assigned [2] 30/9 58/5
 106/21 115/11 118/13
                         146/1                  55/18 55/24 56/3 56/5 84/17 90/1 98/10        assignment [1] 28/24
 122/22 142/10 144/16
                        anything [19] 4/23 5/1 56/7 56/25 57/1 57/1    115/11 126/19 126/24 assist [1] 34/6
 149/14 154/4 164/20
                         5/3 26/23 27/13 43/3   58/15 59/5 59/8 59/22 arranged [1] 160/18     assistant [3] 19/7
AMERICA [12] 1/2 4/4
                         43/4 44/8 50/1 63/8    60/2 60/4 66/22 67/1 arrangements [1]          31/16 51/6
 8/20 8/22 12/16 12/19
                         88/3 116/1 119/5       67/3 69/4 69/8 70/19   128/1                  associated [7] 77/23
 93/2 134/4 139/24
                         126/20 135/15 143/1    70/23 72/25 73/18     arrest [7] 83/6 83/9     93/4 93/7 93/8 93/9
 140/1 154/6 154/8
                         150/21 161/15 165/20 77/14 77/18 78/3         84/14 84/16 111/4       115/13 115/14
American [2] 89/25
                        Anytime [1] 124/2       78/16 79/4 79/4 81/14 112/23 112/25           associates [1] 160/8
 90/11
                        anywhere [3] 46/1 68/9 82/15 86/15 86/18      arrested [5] 111/9      association [1] 13/3
Americans [3] 137/12
                         135/17                 88/12 88/24 89/1       112/24 113/3 113/3     assuming [1] 19/24
 137/16 137/18
                        apologize [1] 115/12    89/18 90/2 90/8 90/18 115/20                  attached [2] 72/10
among [1] 9/15
                        app [1] 160/17          90/19 90/21 91/2 91/3 arrests [1] 81/19        72/16
amongst [1] 9/24
                        apparently [1] 161/2    91/5 92/12 92/14      arrival [4] 30/10 30/13 attachment [1] 72/13
Anchorage [1] 1/21
                        appear [7] 97/15        92/21 92/25 93/15      68/22 73/3             attack [2] 13/11 64/7
angle [4] 36/16 56/6
                         129/21 137/5 140/21    93/16 95/15 96/13     arrive [4] 28/22 30/17 attacking [3] 8/20
 98/22 99/8
                         141/13 141/13 172/8    96/14 98/14 101/3      30/19 73/16             139/24 154/6
angles [1] 49/24


                                                                                                Exhibit D-3
                                                                                            Page 176 of 202
    Case 1:21-cr-00352-JEB               Document 107-3             Filed 11/15/24           Page 177 of 202
                                                                                                                   177


A                         89/15 121/11           115/12 118/21 118/22 behavior [1] 10/2          27/4 27/6 27/9 28/13
                         backing [1] 6/20        119/1 119/3 119/4      behind [3] 10/11         37/24 43/5 44/10
attempt [5] 53/19
                         backs [1] 148/8         123/25 124/1 128/8      147/12 166/22           48/15 50/4 50/5 69/11
 54/15 60/21 95/13
                         bad [3] 31/9 32/4       128/15 132/25 133/10 being [23] 10/7 10/15 70/9 148/11 149/8
 170/16
                          109/10                 135/16 137/16 142/19 13/7 14/2 35/1 39/1        149/11 166/21 167/25
attempted [2] 34/17
                         badge [1] 115/8         143/14 144/10 145/4     39/19 47/4 56/24 68/2 168/17 169/10 169/24
 167/8
                         bags [1] 25/19          147/1 147/23 148/15     77/12 91/6 110/14      bill [1] 13/15
attempting [3] 95/15
                         ballot [7] 25/24 29/5   150/24 151/21 151/22 120/7 124/4 128/3         bird's [1] 31/8
 148/16 169/25
                          57/25 59/7 64/4 64/9   151/23 151/24 153/14 129/22 129/23 147/9 bit [17] 27/4 31/12 37/8
attend [4] 145/25
                          64/19                  155/20 155/21 155/25 147/23 159/19 162/23 43/14 57/7 57/10
 166/7 166/8 166/9
                         ballots [7] 6/14 59/4   156/17 158/8 158/9      170/18                  57/18 85/3 97/1 98/18
attention [3] 65/17
                          123/3 123/4 155/11     159/17 159/21 160/2 belief [2] 93/16 155/25 104/1 105/25 124/5
 122/25 155/8
                          155/11 155/21          160/23 161/2 161/8     beliefs [6] 93/4 134/12 124/21 126/4 136/19
attorney [3] 1/19 125/6
                         banded [1] 90/25        161/10 161/13 161/14 135/3 135/5 135/14         139/20
 153/7
                         bank [1] 128/2          162/9 163/10 170/21     135/16                 black [10] 34/15 37/11
Attorney's [3] 1/11 1/15
                         bankers [4] 9/13 127/3 172/2 172/14            believe [27] 21/24 36/7 83/23 83/24 90/6
 32/9
                          157/15 157/21         bear [1] 38/22           88/1 88/21 89/4 89/13 109/22 114/17 115/8
audio [2] 21/17 87/19
                         banking [19] 6/24 93/6 became [3] 38/17         90/11 90/23 93/1        119/12 121/4
audiotape [1] 143/9
                          93/12 93/13 127/2      81/20 158/7             94/24 95/16 100/13     blare [1] 154/22
August [1] 129/20
                          127/3 127/6 127/9     because [38] 25/7        114/24 115/7 117/13 blaring [2] 154/18
August 3 [1] 129/20
                          146/12 153/24 156/18 30/22 31/8 35/20 44/5 118/3 121/11 122/16         167/13
AUSA [1] 138/8
                          156/25 157/8 157/14    47/14 54/3 55/4 59/24 124/8 124/10 126/19 block [1] 28/6
authenticating [2]
                          157/16 157/18 157/21 64/6 68/25 73/19          126/22 126/24 132/14 blocked [4] 10/3
 16/22 17/9
                          158/15 166/16          75/22 76/14 107/10      135/2 136/15 137/12     147/16 147/23 159/19
authority [2] 165/1
                         bar [1] 167/9           133/24 145/14 145/15 believed [4] 9/11         blow [1] 129/6
 169/4
                         barricade [8] 37/19     145/17 145/18 146/3     134/19 134/22 134/25 blue [12] 84/6 89/23
authorized [2] 69/8
                          37/22 70/6 147/6       146/10 147/23 148/24 believes [3] 134/16        90/16 99/25 100/22
 75/12
                          147/13 149/12 149/25 151/17 155/23 158/18 135/1 155/20                 102/3 104/21 118/6
autonomous [1] 134/1
                          164/1                  159/1 160/3 160/8      Bell [2] 66/9 66/9       118/10 118/13 118/15
Avatar [1] 162/23
                         barricades [18] 9/17    160/9 162/8 163/7      belligerent [2] 137/20 119/23
Avenue [5] 1/15 1/24
                          10/4 10/6 10/11 51/10 164/2 165/1 168/21       164/22                 blueprint [1] 57/16
 146/17 147/3 173/10
                          94/15 146/20 147/10    169/18 170/5           belonged [2] 127/2      board [1] 27/16
averment [6] 5/12
                          147/12 148/11 149/8 become [3] 84/19           157/14                 BOASBERG [2] 1/8
 12/15 144/3 144/7
                          149/17 149/20 151/5    84/24 98/6             belongs [2] 127/8        138/7
 144/8 158/3
                          163/24 166/21 167/7 becomes [1] 133/22         156/18                 body [9] 10/11 40/17
avoid [2] 123/25
                          167/8                 beeline [1] 11/4        below [3] 56/15 90/6     40/18 42/23 48/21
 150/19
                         barrier [1] 70/5       been [42] 5/10 12/10     133/16                  93/25 125/3 149/12
aware [19] 8/18 10/13
                         barriers [2] 48/15      15/8 18/11 20/19       Ben [1] 4/19             149/14
 11/7 16/18 66/22 67/6
                          70/11                  22/13 29/21 32/8       bench [7] 1/8 4/23      body-worn [3] 40/17
 68/8 89/1 107/10
                         base [4] 34/19 37/12    51/11 54/4 56/12 58/6 119/2 129/22 129/23       40/18 93/25
 107/11 110/2 139/23
                          38/19 63/20            58/7 59/2 64/22 64/23 145/14 161/11            bodyguard [1] 68/5
 143/12 152/24 153/20
                         baseball [1] 163/1      66/17 75/13 80/17      beneficiaries [1] 12/10 boiled [1] 93/15
 153/21 154/4 154/12
                         based [11] 21/22 91/16 81/6 85/14 85/16 86/1 benefit [5] 159/6 159/7 bond [1] 172/13
 166/21
                          93/7 93/16 103/19      86/9 88/1 90/20 94/15 159/8 170/25 171/2       Bootlegger777 [1]
awareness [1] 154/9
                          108/21 111/13 127/5    106/19 111/17 112/6 Benjamin [1] 1/19           130/16
away [2] 79/8 102/16
                          128/25 164/13 168/9    117/3 123/5 123/24     berated [1] 9/22        both [20] 4/9 4/22
awe [4] 11/19 118/16
                         basic [1] 81/25         131/18 132/14 134/12 berating [2] 169/11        19/25 20/11 22/10
 161/4 162/22
                         basically [5] 35/15     144/4 151/14 155/12     169/24                  29/11 38/25 51/23
B                         35/21 59/22 61/2       159/22 163/9 164/5     better [4] 109/25 119/5 59/20 83/9 90/1 90/3
back [51] 7/19 10/17      148/17                before [31] 1/8 5/3 9/5 161/15 163/10            90/3 90/19 93/15
 10/18 12/1 18/17 25/3 basis [2] 15/24 19/14     15/11 17/16 32/15      between [18] 12/8 22/7 123/6 149/11 155/13
 28/19 31/12 35/23       battle [3] 35/15 35/18 37/8 47/15 49/25 50/2 30/20 44/8 45/25 74/9 169/18 170/8
 37/18 37/20 37/23        44/3                   55/11 66/21 66/24       74/23 75/4 78/23 79/5 bottom [14] 23/12
 38/13 38/15 38/19       battling [1] 48/22      71/13 79/6 82/3 87/23 109/6 115/9 119/22        23/25 28/12 33/24
 39/10 39/15 39/21       be [97] 5/11 7/25 8/6   87/24 87/25 88/7        121/7 123/13 135/25     44/25 72/24 114/20
 43/14 48/24 50/3 59/9    13/24  14/16 16/4      88/22 95/10   100/8     156/24   157/21         115/10 119/9 121/5
 61/10 61/23 64/10        16/19 16/25 17/12      111/9 119/19 126/3     beyond [7] 23/16 26/2 121/6 123/18 128/6
 64/24 65/4 74/16 75/3 19/14 19/19 25/7 25/8 134/12 146/6 150/18         67/5 70/13 102/20       155/24
 76/12 79/9 79/11         29/21  29/23 30/2      170/16  172/20          106/1  157/17          Boulevard   [1] 1/20
 79/12 87/10 89/14        44/10 52/20 52/21     beforehand [1] 154/9 bicycle [1] 147/12         box [1] 136/24
 90/6 104/1 111/2         56/7 62/10 67/1 67/4 began [4] 4/1 31/2       bided [1] 10/23         Boy [4] 115/9 119/12
 121/21 126/2 127/25      68/5  68/15 68/21      58/22 73/20            Biden  [8]  6/21 8/12    160/24 161/2
 145/8 148/11 148/12      68/25 70/5 71/8 71/25 begin [5] 5/3 6/1 29/16 8/19 139/24 154/6       Boys [26] 9/3 9/4 90/3
 148/21 149/9 156/7       72/2 73/4 73/5 73/5    30/25 66/21             155/19 163/20 171/1     90/25 91/2 91/3
 158/14 158/17 163/25     73/6  75/12 75/22     beginning  [2]  4/5     Biden's  [1]  6/18       111/11 114/17 114/18
 167/3                    75/23 76/10 79/8       142/11                 big [3] 38/17 123/6      115/10 115/13 121/4
backbone [1] 137/18       79/11 80/2 80/4 80/19 begins [1] 15/11         155/13                  142/18 142/25 146/8
backed [1] 165/11         83/25  85/21 93/13    behalf [2] 144/18       bigger  [1]  129/11      146/16 153/1 156/13
background [3] 88/15 96/5 107/5 115/9            144/21                 bike [22] 26/21 27/2     160/7 160/12 160/22



                                                                                                 Exhibit D-3
                                                                                             Page 177 of 202
    Case 1:21-cr-00352-JEB               Document 107-3              Filed 11/15/24           Page 178 of 202
                                                                                                                    178


B                         18/23 19/17 19/25      28/10 28/13 28/14      157/13 162/13           14/7 14/9 14/18 14/24
                          20/3 21/12 22/25       28/17 29/6 32/1 32/12 Capitol [125] 7/12 7/20 47/9 82/15 82/19
Boys... [5] 160/25
                          23/22 24/17 24/21      33/22 34/11 34/11      9/5 9/19 9/23 10/4      82/20 82/22 82/24
 161/1 161/19 166/10
                          25/6 25/10 25/15       34/23 35/1 35/6 36/11 10/13 11/2 11/14         108/12 129/19 138/4
 166/19
                          25/21 25/22 27/1       37/9 37/18 38/3 38/12 11/20 18/10 18/11        138/13 160/1 163/20
Bradstreet [1] 164/24
                          27/11 28/8 29/1 29/8   38/20 40/8 42/13       18/13 18/22 18/23       168/1 170/24
breach [19] 9/16 31/6
                          29/18 30/5 30/10       43/10 43/13 43/21      19/2 19/16 19/18       cases [5] 69/7 81/15
 31/18 31/20 31/22
                          31/25 32/21 35/9       44/1 44/5 44/8 44/11   19/18 19/19 19/25       82/9 82/11 145/11
 32/1 32/8 34/5 34/13
                          35/11 35/24 51/15      44/16 45/4 45/7 45/17 20/12 20/16 20/17       cash [1] 128/2
 34/24 34/25 37/10
                          51/16 51/21 52/22      45/20 46/5 46/7 46/7   21/7 21/22 21/25 22/7 caught [1] 166/6
 42/15 42/18 42/19
                          52/25 53/2 53/3 53/10 46/21 47/2 47/21 48/1 22/11 22/11 22/25        cause [2] 52/25 137/18
 52/24 146/17 156/24
                          53/18 53/18 54/3 55/5 48/3 48/17 48/20        23/5 23/10 23/10       caused [4] 125/25
 166/23
                          56/2 56/4 56/9 56/9    49/11 49/21 49/25      23/13 23/14 23/17       156/6 166/23 170/11
breached [10] 35/10
                          56/13 56/19 56/20      50/22 50/24 52/2 52/8 25/5 26/8 27/16 29/3 CCTV [3] 22/9 33/15
 37/12 51/2 51/11
                          57/1 58/15 58/20       53/5 53/14 55/23       29/7 29/24 30/9 31/22 97/24
 52/17 53/2 53/17 54/4
                          59/24 60/4 60/9 60/10 56/24 57/8 57/12        32/17 33/17 35/9       cease [1] 6/19
 147/3 147/13
                          60/13 63/24 64/10      57/18 57/23 60/2 60/7 35/16 41/13 41/13       celebrate [1] 7/15
breaching [4] 31/24
                          64/23 70/3 74/6 74/19 60/11 61/25 63/1 63/5 41/16 41/16 41/22        celebrated [1] 164/2
 34/18 63/17 63/18
                          75/13 75/23 76/2 76/7 63/10 66/11 67/1 67/9 44/12 51/11 53/10        celebratory [3] 11/5
break [9] 7/17 10/6
                          76/8 76/11 76/15 80/5 72/24 80/24 81/16       56/6 56/8 57/11 57/17 151/15 152/1
 54/15 59/22 59/23
                          92/1 95/14 96/15       81/23 83/12 83/21      58/5 61/5 63/10 63/13 cell [4] 86/2 115/22
 61/15 121/15 121/17
                          97/16 97/21 98/3 98/7 83/25 84/4 84/4 85/2    68/12 68/19 68/22       115/23 160/13
 123/15
                          98/9 98/20 99/10       85/14 85/16 86/18      68/24 69/14 70/3 70/8 cement [1] 24/16
brief [6] 62/19 65/9
                          100/14 154/18 159/19 87/16 88/9 88/14         70/14 71/25 72/3 73/3 center [17] 19/18
 67/1 72/2 104/3 135/8
                          167/14 167/24 168/2    89/20 89/24 90/6       73/13 73/17 74/5        23/17 24/12 24/12
briefly [10] 46/7 108/15
                          168/9 168/12 168/13    90/15 91/7 91/15 92/3 74/18 74/19 75/1 75/1 24/20 24/20 33/24
 109/5 109/19 112/15
                          168/15 168/19 169/7    92/14 92/15 92/17      75/7 75/12 75/16        44/25 45/1 56/16
 120/7 133/11 133/19
                          169/17 169/19          94/11 95/1 95/2 95/4   78/21 80/5 82/7 88/14 67/20 83/18 90/13
 151/10 166/1
                         buildings [2] 20/10     95/7 95/17 96/7 96/12 91/25 92/1 92/18         102/3 104/10 104/21
bright [1] 42/23
                          58/7                   96/25 97/1 97/8 98/24 93/23 94/7 95/13 98/7 151/7
bring [2] 60/7 76/11
                         bullshit [1] 137/10     99/1 99/13 99/18       98/15 118/18 126/23 certain [5] 21/20 67/1
brings [1] 151/2
                         bumpy [1] 127/24        99/21 100/16 100/19    146/2 146/4 146/6       67/3 92/24 107/19
broad [1] 88/25
                         bureau [4] 54/19 81/5 100/25 101/8 101/11      146/9 146/24 151/6     certainly [4] 66/12
broke [6] 10/19 38/18
                          81/6 81/24             101/20 101/21 101/21 151/8 152/22 156/14       166/21 168/16 171/4
 63/24 122/25 155/7
                         business [9] 15/16      102/9 102/12 102/15    156/16 159/11 159/19 certification [25] 7/13
 164/1
                          16/1 57/11 60/2 61/10 103/5 103/6 103/11      161/5 162/19 163/24     8/3 8/4 29/4 30/4
broken [5] 6/14 51/15
                          61/11 63/1 64/11       103/23 104/1 104/4     164/1 166/11 167/3      57/25 58/11 64/9
 51/20 60/21 155/19
                          168/21                 104/6 104/13 104/15    167/12 167/25 168/2     65/14 68/14 68/16
brought [1] 148/11
                         businesses [2] 106/16 104/24 105/1 105/18      169/7 169/17 169/18     73/19 125/11 125/13
BRU [73] 1/5 1/18 4/4
                          106/19                 105/21 106/7 106/14    170/8                   152/3 152/5 152/25
 4/15 4/16 5/1 12/4
                         buy [2] 120/23 163/5    106/24 107/14 108/7 captains [2] 19/5 19/6 153/11 154/11 158/19
 12/9 13/5 65/22 80/10
                                                 109/4 110/5 110/8     capture [10] 21/17       166/14 168/22 168/25
 83/2 83/20 83/21 84/2 C
                                                 110/9 110/23 111/17    32/17 32/20 77/20       170/8 170/17
 86/19 87/8 88/13
                         call [8] 14/24 31/15    112/21 114/2 114/11    118/1 132/7 132/20     certified [2] 7/25 137/9
 88/16 89/19 90/4 92/8
                          31/16 31/18 51/6 66/3 115/2 115/18 118/4      133/7 135/23 137/2     certified-mailed [1]
 94/16 99/16 99/25
                          80/13 133/23           119/9 119/14 120/6    captured [4] 21/20       137/9
 101/13 102/5 102/16
                         called [11] 6/23 8/14   120/9 120/13 120/16    97/24 145/17 149/10 certify [1] 173/4
 102/22 103/15 104/8
                          31/6 34/5 58/25 100/6 120/24 121/13 122/12 captures [2] 42/1         certifying [2] 64/12
 104/18 105/6 111/9
                          130/15 137/13 140/21 123/9 123/10 123/15      150/17                  164/3
 114/23 115/20 118/6
                          154/2 155/25           124/5 124/15 124/21 car [4] 114/9 114/21      chain [1] 19/2
 119/10 119/23 120/4
                         calling [1] 59/4        124/24 125/2 125/7     115/21 152/17          chamber [38] 19/17
 120/8 120/19 120/21
                         calls [4] 15/1 51/17    125/18 126/3 126/10 card [3] 128/2 128/3       29/10 29/11 29/15
 122/16 122/23 123/13
                          66/4 80/14             127/12 127/25 128/8    163/1                   29/16 31/3 31/5 31/5
 123/19 124/2 124/19
                         cam [1] 48/21           129/4 129/6 129/7     cards [1] 128/2          51/18 51/19 51/22
 125/9 125/21 126/14
                         came [9] 37/12 51/16 129/15 131/25 132/17 carriage [3] 73/15           51/23 51/24 53/11
 127/16 127/21 132/7
                          53/18 54/16 118/6      133/1 133/25 134/5     73/15 73/17             53/19 54/10 54/15
 132/10 132/20 133/7
                          118/7 146/10 146/14    134/23 135/7 135/9    carried [1] 159/23       54/21 54/22 54/23
 133/14 135/23 135/25
                          164/3                  135/22 136/19 137/16 carrier [1] 153/14        55/2 55/6 55/8 57/19
 136/15 136/23 137/5
                         camera [10] 33/15       137/23 139/19 140/2 carrying [1] 167/19        57/20 57/22 59/3 59/5
 137/7 143/20 144/2
                          36/16 40/17 40/18      142/13 143/3 143/15 cartel [16] 6/25 93/6      60/19 60/20 61/1
 149/7 164/19 166/8
                          86/20 93/25 102/17     145/14 150/7 152/12    93/13 127/2 127/6       62/11 62/25 64/24
 171/12 172/1 172/14
                          103/16 116/15 149/15 160/23 162/1 164/23      127/9 146/12 153/24     64/25 74/17 74/17
Bru's [10] 91/13 98/19
                         cameras [4] 21/8 21/12 171/17 171/19           156/18 156/25 157/8     75/25
 111/24 114/21 122/7
                          21/17 21/20           can't [7] 70/10 96/24   157/14 157/18 157/21 chambers [10] 17/18
 131/4 138/13 139/13
                         can [225] 4/18 6/7 7/5 122/25 137/12 144/19 158/15 166/16              29/12 53/3 59/9 59/20
 140/13 171/23
                          8/25 10/1 10/8 10/24   155/8 158/8           Cascadia [2] 118/19      60/15 60/18 60/25
Bruce [1] 4/20
                          11/16 14/8 16/18      cannot [3] 14/1 133/13 161/7                    73/22 74/10
bubble [1] 118/7
                          16/20 18/7 18/17 20/9 164/25                 case [24] 1/3 11/8 12/1 champion [1] 156/24
bubbles [1] 118/6
                          22/24 23/15 23/22     capital [3] 127/1       12/25 13/22 13/25      chance [15] 36/1 40/14
building [93] 11/15
                          24/6 24/25 26/15 27/4


                                                                                                 Exhibit D-3
                                                                                             Page 178 of 202
    Case 1:21-cr-00352-JEB               Document 107-3             Filed 11/15/24           Page 179 of 202
                                                                                                                   179


C                       citywide [2] 106/13      51/21 74/20 85/2      confrontation [3] 65/5 143/13 148/15 148/16
                         106/15                  103/15 118/18 119/3    65/5 167/6              156/25 157/15
chance... [13] 40/24
                        civil [6] 11/24 148/3    137/11 153/16 157/19 confrontations [3] 40/3 controlling [2] 119/5
 41/7 41/19 98/11
                         151/1 169/22 170/5      158/1 161/6 161/13     45/24 64/21             161/15
 113/14 116/16 130/17
                         170/10                  166/2                 confronts [1] 154/17    convene [1] 8/5
 131/9 138/15 140/14
                        civilians [1] 19/10     comes [3] 54/20        confused [1] 164/15     convenient [1] 61/14
 141/1 141/5 141/19
                        claim [1] 146/3          150/11 160/7          Congress [19] 6/21 8/7 conversation [1] 124/6
change [2] 126/2 156/8
                        clear [17] 8/24 9/10    coming [3] 15/5 31/17 9/11 18/14 25/9 54/1 convict [1] 160/2
changed [1] 152/19
                         19/19 52/20 56/4        68/21                  59/25 63/12 64/7       convicting [1] 164/13
chanting [1] 154/23
                         64/19 101/22 111/2     command [1] 19/2        64/12 146/13 152/4     convincing [1] 172/10
characteristic [1]
                         150/24 152/8 152/8     commander [1] 51/11 152/10 156/22 157/7 coordinate [4] 68/20
 152/17
                         152/9 157/19 158/20 commands [1] 10/9          158/18 159/25 169/3     68/21 70/25 71/1
charge [1] 54/18
                         167/24 169/4 172/10 comment [1] 47/13          169/12                 coordinating [2] 40/5
charged [3] 11/22
                        cleared [1] 75/22       commerce [1] 170/6     congressional [7]        163/6
 70/20 164/5
                        clever [1] 128/4        committed [3] 14/2      16/15 16/24 17/1 17/2 copies [6] 113/19
charges [4] 14/10
                        clink [1] 137/14         82/7 165/3             17/17 17/19 153/3       117/1 138/21 140/19
 14/19 90/3 164/11
                        clip [8] 100/8 100/8    common [2] 13/21       Congresspeople [1]       141/11 141/24
Charlotte [1] 70/17
                         142/12 142/17 142/24 76/24                     55/11                  cops [2] 118/19 161/7
chart [6] 72/25 73/18
                         143/4 143/11 148/13 comms [3] 118/22          conjunction [1] 30/6    copy [6] 5/12 5/13
 75/2 98/19 107/25
                        clips [10] 40/17 98/14 161/10 162/7            connect [2] 6/4 75/9     71/11 72/16 78/2
 109/20
                         140/18 140/19 141/9 communicate [1] 162/7 connected [4] 9/3 85/7 125/10
charts [1] 108/5
                         141/10 141/11 141/23 communicating [1]         93/16 163/6            cordoned [1] 168/9
chat [1] 124/20
                         141/24 142/10           76/19                 connection [2] 112/25 cordoned-off [1] 168/9
chauvinist [1] 115/11
                        Clock [3] 51/22 53/9    communication [1]       157/20                 core [1] 63/10
cheating [2] 155/23
                         78/19                   39/15                 conquered [1] 152/2     corner [10] 33/11
 155/25
                        close [11] 18/15 18/18 communism [3] 8/21      consciousness [4]        43/22 43/23 48/1
check [2] 54/21 130/8
                         75/14 79/13 91/17       139/25 154/7           134/9 134/16 135/15     56/10 57/2 103/17
chemical [2] 38/23
                         98/1 107/7 107/10      community [3] 12/20     135/19                  105/5 110/8 110/16
 150/2
                         107/12 145/3 145/5      91/6 172/12           consent [12] 5/10 5/15 corporation [23] 6/24
chief [14] 1/9 4/20
                        closed [15] 9/17 10/22 compact [1] 158/4        12/6 14/15 65/23        12/17 47/5 47/15 93/2
 14/24 19/7 19/7 19/7
                         21/8 21/23 22/6 25/6 company [2] 12/17         80/11 143/21 163/12     93/12 127/3 127/8
 31/16 51/7 54/16
                         27/15 27/23 28/15       106/22                 163/16 163/21 164/21 133/13 133/22 134/2
 54/17 54/18 54/18
                         32/7 43/6 70/3 94/9    Compared [1] 109/2      171/18                  153/24 157/16 157/22
 138/7 167/10
                         98/14 146/21           compass [3] 114/19     consenting [1] 163/17 158/7 158/23 158/23
children [2] 82/12
                        closed-circuit [6] 21/8 114/20 114/20          consequences [1]         158/24 159/2 164/23
 82/13
                         21/23 22/6 32/7 94/9 competent [1] 12/11       163/19                  164/25 164/25 167/1
chilling [1] 151/17
                         98/14                  compilation [3] 17/15 consider [2] 80/1 80/4 corporations [1] 133/25
chills [1] 161/20
                        closer [1] 89/4          17/15 77/10           consideration [1] 12/15 correct [5] 68/1 71/3
choice [1] 155/5
                        closest [2] 23/12 57/5 complaining [1] 163/22 consistent [4] 12/2       75/5 79/18 99/11
choose [2] 144/18
                        closing [3] 145/9       complaint [4] 138/10    134/12 160/10 164/10 correctly [1] 124/12
 150/5
                         164/19 166/1            139/13 154/1 154/2    consistently [1] 134/13 corridor [4] 78/19
chronological [1]
                        clothing [2] 84/5       complete [3] 53/25     conspiracy [2] 13/19     102/16 103/12 104/19
 160/18
                         160/13                  81/21 152/4            156/21                 corroborated [1]
circle [30] 9/16 23/15
                        coats [1] 25/18         complex [1] 75/7       constantly [1] 50/3      165/18
 24/5 26/14 26/15
                        coin [1] 157/1          compliance [1] 13/5    Constitution [4] 1/24   corroborates [1]
 26/17 26/18 31/7
                        collapse [1] 44/7       complicated [1] 145/11 16/15 112/18 173/10      162/17
 31/19 33/22 34/13
                        colleague [1] 66/8      composed [1] 26/21     constitutional [2] 59/1 corrupt [3] 157/8
 42/16 45/13 53/14
                        collect [4] 113/5 138/6 comprehend [1]          64/12                   159/14 159/15
 83/19 89/20 89/21
                         138/10 138/13           144/22                construction [1] 27/1   corruptly [3] 9/11
 91/24 94/16 94/22
                        collected [5] 113/8     comprises [1] 151/1    contact [4] 49/3 55/12 159/13 170/23
 121/6 121/7 146/18
                         113/12 113/18 113/20 compromising [1] 79/3 55/14 72/1                 could [34] 4/12 6/3 8/7
 146/19 147/4 147/10
                         138/3                  concerned [1] 124/1    contain [2] 87/16 122/9 10/10 22/20 25/7 26/2
 154/16 166/20 166/20
                        collection [1] 163/1    concerning [1] 129/21 contained [3] 20/14       26/4 27/14 27/18 28/2
 166/23
                        collectively [1] 146/9  concluded [1] 172/25    22/9 70/2               33/4 36/10 37/3 39/21
circled [13] 45/13
                        College [1] 153/14      conclusions [1] 171/9 contemplate [1] 8/15      42/10 43/7 45/14 46/3
 48/10 49/19 73/8 79/4
                        colored [3] 83/24 90/10 concrete [1] 73/24     contents [1] 117/22      47/17 49/8 50/14 54/2
 95/24 96/20 99/5
                         148/10                 concurrent [1] 16/23   context [4] 83/5 124/5 54/3 73/22 76/4 98/22
 99/25 100/22 102/3
                        coloring [1] 114/8      conditions [1] 172/7    126/4 163/1             117/10 118/20 137/4
 104/10 104/21
                        COLUMBIA [4] 1/1        conduct [19] 68/6      continuation [1] 120/14 139/7 142/19 155/4
circling [5] 24/3 24/11
                         8/17 114/19 139/22      81/19 82/2 112/24     continue [5] 60/2 60/11 161/8
 33/24 65/4 89/17
                        column [12] 73/9 73/11 145/16 145/20 151/3      79/14 120/6 171/23     couldn't [6] 24/1 73/24
circuit [7] 21/8 21/23
                         108/11 108/17 108/24 152/8 164/7 168/11       continues [1] 5/10       75/14 76/11 144/25
 22/6 32/7 94/9 98/1
                         108/25 109/4 109/8      168/14 168/16 168/20 continuing [1] 120/18     172/4
 98/14
                         109/12 109/21 110/20 168/21 168/23 168/24 contract [3] 12/7 138/6 counsel [4] 4/5 4/11
circumstances [1] 5/8
                         110/21                  169/7 169/9 170/21     164/20                  4/18 4/20
citizen [2] 92/21 136/6
                        columns [1] 108/16      conducted [3] 91/1     contracts [3] 13/2 13/4 count [21] 148/3 148/4
citizens [3] 93/9 127/7
                        combat [1] 39/10         113/4 113/5            13/9                    148/5 151/1 167/23
 136/7
                        come [20] 4/15 5/5 5/6 confession [1] 135/15 control [10] 9/11 9/13 168/10 168/11 168/13
city [4] 106/1 118/19
                         12/1 12/9 39/18 39/21 confirm [1] 144/3        13/13 56/1 127/3        169/1 169/2 169/6
 161/7 162/12


                                                                                                 Exhibit D-3
                                                                                             Page 179 of 202
    Case 1:21-cr-00352-JEB                Document 107-3              Filed 11/15/24            Page 180 of 202
                                                                                                                      180


C                        106/13 106/15 106/16 decades [2] 58/2 63/7        131/15 145/16 151/3     86/18 87/16 90/7
                         107/5 107/6            December [7] 8/3           151/9 152/8 155/18      90/15 91/15 96/12
count... [10] 169/7
                        currently [1] 67/20      123/14 123/21 125/16      156/20 157/6 160/6      102/15 108/7 109/5
 169/14 169/15 169/16
                        cuts [2] 119/6 161/16 125/24 153/6 166/12          160/17 162/17 163/9     118/4 119/9 135/22
 169/21 169/22 170/12
                                                December 12 [2]            163/14                  136/19
 170/15 170/15 171/7 D
                                                 123/14 123/21            defendants [7] 90/2     described [4] 40/4
Count 1 [3] 167/23
                        D-I-P-P-O-L-D [2] 4/13 December 15 [3]             90/19 146/3 152/19      40/12 148/6 148/17
 168/10 168/13
                         81/2                    125/16 153/6 166/12       153/10 157/5 166/4     describing [1] 153/8
Count 2 [2] 168/11
                        D.C [29] 1/4 1/16 1/24 December 18 [1]            defender [2] 1/20 4/21 description [2] 75/2
 169/1
                         8/4 8/11 17/7 19/21     125/24                   defense [5] 5/1 130/13 153/7
counterpart [2] 68/20
                         19/22 92/12 106/1      decide [1] 148/25          143/25 144/15 149/3 designate [1] 26/11
 71/9
                         106/2 107/5 107/6      declared [1] 159/20       defensive [1] 82/1      designated [1] 69/13
country [14] 7/2 8/13
                         107/8 107/8 107/9      declaring [2] 106/13      deficit [1] 109/10      designed [2] 159/5
 9/14 127/3 127/4
                         107/11 108/13 110/9     106/15                   define [1] 158/2         159/7
 151/18 156/17 156/25
                         110/15 110/16 110/17 decline [1] 5/9             Definitely [1] 84/23    desks [1] 61/1
 157/3 157/9 157/15
                         110/22 119/3 145/24 deconstruct [2] 161/9        definition [4] 159/13   despite [2] 167/12
 157/16 157/22 158/14
                         153/1 154/4 161/13      162/6                     168/12 170/23 171/4     168/2
country's [1] 158/6
                         173/11                 deemed [2] 75/23          degree [1] 160/24       destinations [2] 73/5
counts [3] 11/22 11/23
                        daily [1] 19/14          75/24                    degrees [1] 160/22       73/6
 12/3
                        danger [4] 80/2 80/4    deep [1] 20/22            delay [2] 11/5 152/7    destruct [1] 118/22
county [2] 83/7 84/25
                         170/11 172/12          defend [1] 159/1          delayed [2] 64/9 152/5 detail [7] 67/24 68/2
couple [2] 31/17 89/20
                        dark [2] 89/25 90/10    defendant [140] 1/6       delete [2] 128/5 129/2 70/19 74/11 76/25
course [2] 98/20 129/9
                        dark-colored [1] 90/10 1/18 6/12 6/23 7/3 7/7     deleted [1] 128/16       145/22 153/12
court [13] 1/1 1/23
                        data [1] 117/23          7/13 7/20 7/23 8/2 8/9   deliberate [2] 69/2     detailed [2] 153/6
 12/19 12/19 13/20
                        date [21] 6/17 6/18      8/14 8/23 9/2 9/7 9/9     73/22                   153/8
 13/21 82/3 118/24
                         107/19 107/20 108/21 9/15 9/18 10/2 10/3         deliberately [1] 158/19 detention [1] 171/24
 141/2 152/18 172/9
                         108/22 118/2 119/17     10/17 10/20 11/2         Dell [1] 111/7          determination [1] 13/23
 172/11 173/10
                         122/18 125/15 125/23 11/10 11/21 12/10           democracy [2] 151/20 develop [1] 68/7
courtroom [1] 84/2
                         128/24 132/11 132/24 12/25 13/4 13/5 13/6         151/24                 device [1] 159/24
cover [3] 8/24 87/22
                         133/9 136/12 136/14     13/9 13/12 13/15         democrats [2] 157/1     devices [2] 76/9
 107/19
                         162/19 162/20 162/21 13/17 13/18 14/3             157/5                   115/20
covered [1] 65/8
                         171/14                  40/23 41/10 41/16        demonstrate [1]         did [196] 7/10 10/17
covering [2] 83/25
                        dated [1] 136/10         42/21 43/15 43/21         169/17                  10/22 11/5 11/13 13/1
 90/11
                        dates [1] 123/20         45/3 45/10 45/20 46/1    demonstrating [2]        13/14 20/6 22/3 25/23
covers [1] 36/6
                        daughter [3] 70/17       46/1 46/17 47/3 48/9      13/21 169/16            27/25 28/22 28/24
COVID [6] 25/7 25/13
                         70/21 168/6             48/22 48/25 49/16        demonstration [1]        30/5 30/6 30/17 30/19
 62/13 124/12 126/5
                        day [53] 7/24 8/13 9/24 50/2 50/9 62/8 64/15       169/19                  30/23 30/24 31/13
 156/5
                         26/10 28/14 28/20       65/5 82/16 83/2 84/9     demonstrative [1]        32/25 34/3 34/3 35/8
COVID-19 [2] 124/12
                         28/22 30/15 30/17       85/6 85/7 87/7 92/15      117/12                  35/14 36/1 37/19
 126/5
                         30/25 31/13 32/8        93/21 93/22 94/1         denied [1] 12/7          37/22 38/23 39/9 39/9
creating [1] 115/12
                         32/22 39/3 41/5 53/24 95/22 96/17 97/21          departed [1] 66/9        39/10 39/12 46/11
credibility [2] 165/7
                         54/19 59/11 59/23       98/9 98/14 99/3          departing [1] 73/7       47/6 47/8 49/3 51/9
 165/10
                         60/3 61/3 62/21 63/14 100/22 111/2 112/24        department [8] 35/19     51/13 52/11 52/24
crimes [5] 14/2 82/12
                         64/15 64/22 67/23       118/9 118/14 130/3        35/25 43/13 47/25       52/25 53/22 54/23
 82/13 164/6 165/3
                         68/3 68/11 68/23        138/3 138/7 138/11        58/6 63/22 63/23        54/25 55/14 58/2
criminal [4] 1/3 4/3
                         68/24 69/3 70/4 70/14 140/7 145/15 145/18         158/16                  58/14 59/11 59/13
 81/15 81/16
                         71/1 73/23 74/13 75/7 145/23 146/5 146/23        departure [2] 30/11      59/14 59/19 60/14
cross [7] 2/2 65/21
                         76/20 83/6 83/6 89/1    147/17 148/1 148/13       73/7                    60/18 60/23 61/5
 65/22 70/1 80/10
                         107/11 145/22 151/19 148/14 148/19 149/11        depending [3] 60/12      61/11 63/13 63/16
 143/20 165/9
                         152/25 153/1 153/2      149/17 149/18 149/23      73/23 160/23            64/10 64/15 65/6
cross-examine [2]
                         155/15 155/16 158/19 150/5 150/8 150/10          depict [2] 20/16 22/10 67/23 68/2 68/18
 65/22 80/10
                         162/24 163/16 170/5     150/12 150/18 150/20     depicted [1] 50/18       68/24 69/25 72/12
crossed [2] 145/15
                        day's [1] 7/24           151/15 151/22 151/25     depicting [1] 20/11      74/13 74/13 74/14
 165/9
                        days [8] 6/13 109/23     152/21 153/12 153/20     depiction [5] 23/10      74/20 75/6 75/10
crowd [32] 29/17 29/21
                         109/23 119/19 122/19 153/23 154/1 155/7           32/21 41/5 112/3        75/19 75/21 76/19
 29/23 30/2 34/14
                         123/2 127/18 155/9      155/24 156/2 157/19       118/5                   76/21 76/24 80/1 80/4
 34/20 35/6 35/7 36/20
                        dcd.uscourts.gov [2]     158/2 158/6 158/10       depictions [2] 41/15     81/20 81/22 82/24
 36/21 37/17 37/19
                         1/25 173/11             159/13 159/22 160/2       131/15                  83/5 84/13 84/15
 37/22 38/15 38/17
                        de [3] 6/25 137/20       160/3 160/9 160/20       depicts [1] 21/25        84/19 84/24 85/6
 38/23 39/10 43/14
                         164/22                  161/1 161/3 161/18       deploy [2] 65/6 65/7     85/25 86/3 86/21
 50/4 50/6 51/3 143/13
                        de facto [3] 6/25        162/16 163/11 163/21     deputy [5] 19/6 54/15 86/24 87/6 87/10
 147/20 148/15 148/17
                         137/20 164/22           164/5 164/13 165/22       54/17 54/18 54/18       87/13 87/13 87/16
 148/18 149/9 149/19
                        deactivated [1] 128/18 166/2 167/4 167/6          describe [35] 24/6 27/4 87/22 88/3 88/6 88/8
 149/25 154/23 167/9
                        deactivation [1] 128/24 167/10 167/24 172/6        28/10 29/6 32/10        89/2 89/3 89/12 93/21
 167/11
                        dead [5] 6/15 123/4     defendant's [27] 5/15      34/11 35/6 37/9 38/12 93/25 97/17 97/18
CRR [2] 1/23 173/9
                         127/4 155/11 157/16     6/19 6/21 7/1 8/1         42/13 43/10 43/21       97/21 98/2 98/6 98/8
crux [1] 148/3
                        deal [1] 59/22           13/16 86/6 112/3          44/1 45/20 47/2 48/20 98/11 102/18 103/14
culture [3] 126/1 156/4
                        death [2] 119/5 161/15 112/23 122/3 129/21         49/25 50/24 55/23       106/17 107/13 109/16
 156/6
                        debit [1] 128/2          130/11 131/3 131/12       65/17 81/23 83/21       109/25 111/9 112/24
curfew [7] 17/6 106/2
                        debt [1] 137/19


                                                                                                   Exhibit D-3
                                                                                               Page 180 of 202
    Case 1:21-cr-00352-JEB                Document 107-3               Filed 11/15/24          Page 181 of 202
                                                                                                                     181


D                        discovered [2] 128/10     106/11 106/16 107/17 Donald [5] 7/1 89/9      25/25 26/1 51/8 51/10
                          155/22                   108/19 109/17 110/4    119/12 146/3 171/2     51/12 51/13 57/2 57/2
did... [73] 113/2 113/5
                         discuss [3] 14/7 14/9     110/11 110/16 111/20 done [8] 50/1 50/5       60/22
 113/8 113/11 114/7
                          120/18                   113/17 114/14 114/23 55/1 118/22 119/1       Eastern [1] 126/18
 115/20 115/23 116/1
                         discussed [2] 37/11       116/12 118/16 118/16 137/10 161/10 167/18 easy [1] 152/14
 116/3 116/9 116/12
                          43/4                     120/1 120/2 123/10    door [17] 10/21 24/18 ECF [1] 16/8
 116/13 117/19 118/1
                         discussion [1] 59/10      124/10 125/10 126/5    24/19 31/11 32/5      ECF No. 79 [1] 16/8
 118/3 118/3 122/9
                         discussions [1] 124/9     126/20 127/7 128/4     52/14 52/19 56/8      educated [1] 8/2
 122/11 128/11 128/12
                         dismiss [1] 138/13        128/11 128/17 128/20 56/10 56/11 56/12       education [1] 172/16
 128/13 128/14 130/2
                         disorder [6] 11/24        128/21 129/9 130/22    79/23 96/6 96/22      effect [1] 170/21
 130/7 130/11 131/5
                          148/3 151/1 169/22       132/3 132/4 133/4      99/12 151/7 154/21    effective [1] 163/9
 138/6 138/10 138/13
                          170/5 170/10             133/5 134/8 136/3     doors [13] 10/21 10/22 effort [2] 7/16 10/11
 139/3 140/6 140/21
                         disorderly [5] 168/11     136/8 139/10 139/11    23/24 56/5 56/6 96/13 efforts [2] 7/11 167/9
 141/13 141/13 141/15
                          168/14 168/22 169/7      139/14 139/15 140/4    96/18 99/17 100/4     eight [2] 46/11 154/2
 146/7 146/15 149/7
                          169/9                    140/5 143/20 144/11    101/4 102/17 102/19 either [7] 52/21 96/4
 150/4 152/1 152/18
                         dispatch [1] 152/12       144/14 144/17 144/20 102/20                   98/18 121/11 125/21
 152/23 152/24 153/2
                         dispatched [2] 119/3      144/21 144/23 144/24 doorway [2] 79/1 79/7 163/16 163/21
 153/4 155/3 162/21
                          161/13                   145/1 145/3 145/14    dots [1] 75/9          election [18] 6/11 7/25
 164/4 165/12 166/2
                         displayed [2] 78/3        146/10 150/15 150/21 down [32] 28/12 29/15 8/19 29/5 58/1 64/13
 166/7 166/8 166/19
                          146/21                   150/25 152/11 154/12 31/5 32/5 34/3 34/13     122/19 122/20 125/11
 168/14 168/20 168/23
                         dispute [1] 165/22        154/13 158/12 160/23 35/1 35/11 35/12 36/8 139/23 154/5 155/7
 169/3 169/4 169/9
                         disputed [2] 165/15       161/3 161/4 163/2      37/18 42/15 53/4       155/18 156/4 163/18
 169/11 169/14 169/17
                          165/23                   164/19 168/4 169/4     54/14 55/2 55/6 62/16 163/19 164/4 166/18
 169/18 169/20 169/22
                         disrupt [2] 168/20        170/19 171/17 171/25 64/24 66/2 72/24        electoral [2] 8/8 153/13
 169/25 170/5 170/10
                          169/12                   172/1 172/3 172/3      77/13 79/23 93/15     elements [3] 67/4
 170/14 170/16 170/22
                         disruptive [6] 168/11     172/5 172/5 172/21     102/16 105/21 107/22 164/8 167/22
 171/2 171/6
                          168/14 168/16 168/19    docket [2] 15/16        123/15 139/19 146/16 elites [1] 156/21
didn't [16] 10/5 10/12
                          168/24 169/9             129/19                 147/3 150/23 167/8    ELIZABETH [4] 2/5
 10/15 75/13 146/1
                         distance [1] 91/23       document [6] 72/16     downed [1] 146/20       66/5 66/16 67/11
 146/2 146/23 147/17
                         distinction [1] 74/23     110/17 113/8 113/11 downtown [1] 92/12       Ellipse [6] 9/6 89/5
 147/18 148/19 148/19
                         DISTRICT [7] 1/1 1/1      116/9 144/8           dozen [1] 34/24         89/6 146/5 146/8
 148/20 148/24 163/16
                          1/9 1/12 1/20 8/17      documentary [1]        Drag [1] 171/18         146/9
 163/21 166/8
                          139/21                   165/18                drawing [1] 137/11     Ellis [2] 125/6 153/7
die [6] 137/21 158/22
                         disturb [2] 168/23       documenting [1] 17/18 dressed [4] 39/3 39/4 else [17] 7/8 26/23
 158/23 158/24 158/25
                          169/12                  documents [3] 138/18 39/7 161/19               27/13 43/3 46/14
 158/25
                         division [1] 81/10        138/21 170/6          drink [1] 91/5          46/16 50/1 64/22
difference [1] 109/6
                         do [192] 5/9 5/20 5/20   does [31] 12/23 19/1 drive [2] 81/15 127/25 70/12 75/6 75/7
different [6] 93/3 93/19
                          10/14 11/18 11/18        21/7 21/14 22/9 26/11 drove [1] 82/21         133/17 136/1 136/2
 99/8 157/4 160/5
                          12/4 12/6 12/12 15/13    29/6 33/13 36/19      ducked [1] 150/18       137/3 150/13 150/14
 162/12
                          18/9 18/9 18/22 19/8     59/21 69/20 73/1 73/8 ducks [2] 150/1 150/10 elsewhere [1] 167/20
DIPPOLD [50] 2/7 4/11
                          20/14 21/17 21/17        73/12 77/20 78/1      due [4] 13/10 13/17    email [8] 71/9 71/11
 80/15 80/16 80/22
                          21/23 23/15 23/15        82/20 92/23 97/6       13/25 68/11            71/13 71/15 71/23
 81/1 83/16 84/9 85/5
                          30/21 33/10 33/18        100/9 100/25 102/6    duly [3] 15/8 66/17     71/24 72/10 107/3
 85/18 88/12 91/10
                          34/7 35/8 35/14 36/6     107/19 109/9 110/20    80/17                 embedded [2] 123/3
 92/7 94/14 94/24 95/4
                          40/1 42/20 43/2 43/3     125/5 139/16 143/25 Dun [1] 164/24            155/10
 95/10 99/25 100/22
                          44/20 45/2 45/3 45/10    163/13 166/17 171/23 during [12] 25/10       emblem [1] 119/12
 101/25 102/15 103/11
                          45/24 46/12 46/14       doesn't [14] 119/1      26/25 35/14 35/18     embrace [2] 156/9
 104/8 104/18 105/5
                          46/16 47/2 49/16         148/25 149/1 149/2     58/2 58/10 62/13 75/7 161/21
 105/24 107/17 111/20
                          50/11 51/9 52/20 53/8    156/1 157/11 158/15    83/9 83/9 160/12      emergency [7] 10/24
 114/5 121/23 122/15
                          53/12 55/2 57/15         160/2 161/11 162/17    170/4                  24/23 24/24 97/6 97/7
 123/12 124/5 124/18
                          60/23 62/7 62/9 62/16    163/12 163/13 164/14 duties [7] 10/14 19/14 154/20 167/13
 126/13 127/15 128/7
                          63/16 65/1 65/16         164/15                 68/20 148/22 149/5    employees [1] 12/19
 130/2 132/19 133/4
                          65/23 67/18 67/18       dog's [2] 118/21 161/9 150/16 170/3           employing [1] 143/13
 134/2 135/22 138/2
                          68/3 69/9 69/9 69/17    doing [15] 45/21 47/3 duty [2] 28/20 64/12    employment [1] 172/16
 139/10 140/4 142/11
                          69/19 71/5 71/7 71/8     48/12 48/14 51/5      dying [3] 119/5 161/15 empty [2] 151/25
 142/16 143/11 152/16
                          72/5 72/7 73/22 74/23    60/12 68/15 73/6 96/3 167/1                   156/19
 165/19
                          76/14 77/7 77/17         103/19 148/16 150/21                         encounters [1] 151/12
direct [7] 2/2 18/3
                          77/19 78/21 80/10        150/25 164/16 169/5 E                        encrypted [3] 116/7
 66/25 67/7 79/11
                          80/11 81/4 81/17 82/6   dollars [1] 120/10     each [7] 69/1 77/4      128/9 160/17
 80/20 161/23
                          82/9 82/11 83/5 83/16   don't [29] 14/15 15/13 108/10 108/15 110/14 end [9] 46/23 48/17
direction [7] 10/16
                          83/17 84/2 84/3 85/18    16/16 16/17 16/19      162/7 167/22           49/21 56/8 97/8 97/13
 33/15 56/24 56/25
                          85/19 88/20 89/18        50/16 53/6 61/23 62/2 earlier [16] 30/23      146/3 160/2 166/16
 57/4 79/12 151/12
                          90/17 90/17 91/10        65/16 76/5 76/6 77/13 37/12 43/4 58/9 61/3 ended [5] 34/18 37/11
directly [7] 48/23 55/16
                          91/11 91/15 92/9 95/5    87/24 94/23 99/14      61/7 65/11 75/3 97/25 63/22 147/14 160/1
 56/15 129/7 146/9
                          95/16 95/22 96/17        119/3 135/11 135/13    111/3 122/6 122/10    ends [1] 156/10
 150/8 151/8
                          96/22 97/23 99/3 99/4    135/17 143/21 144/10 126/22 153/6 154/15 enemy [1] 157/6
disable [1] 162/7
                          100/6 100/9 100/12       145/22 150/24 153/22 166/10                  enforced [1] 70/8
disassemble [1] 48/13
                          101/25 104/22 105/8      158/10 161/12 164/21 early [4] 64/13 107/10 enforcement [9] 9/21
disaster [1] 53/25
                          105/9 105/13 106/10      171/18                 107/12 166/20          11/7 30/5 69/12 91/6
discover [1] 140/6
                                                                         east [11] 23/19 23/20


                                                                                                   Exhibit D-3
                                                                                               Page 181 of 202
    Case 1:21-cr-00352-JEB               Document 107-3              Filed 11/15/24            Page 182 of 202
                                                                                                                      182


E                       evacuated [7] 11/7       28/17 32/13 32/25       expects [1] 7/6           84/24 88/24 92/12
                         54/8 60/20 62/24        36/1 36/11 36/17        experience [3] 93/7       92/14 92/21 98/6
enforcement... [4]
                         105/12 151/14 151/22 36/24 42/11 43/8            127/5 128/25             106/20 112/16
 104/22 152/9 161/23
                        evacuation [3] 60/16     44/17 46/4 46/19        experienced [1] 63/8     family [3] 70/20 137/17
 169/23
                         79/3 105/15             47/18 49/9 49/14        experiencing [2] 126/1    172/16
enforcing [1] 12/13
                        even [9] 63/21 76/1      50/15 57/8 57/13 62/1    156/6                   far [3] 67/5 109/21
engage [8] 39/9 39/12
                         154/20 158/1 160/4      62/3 62/4 62/5 63/5     explain [3] 76/4 124/5    149/24
 39/20 39/22 53/22
                         160/4 162/14 165/9      65/11 69/17 69/18        158/8                   farther [2] 147/24
 150/16 168/14 169/9
                         170/23                  71/5 71/6 72/5 72/15    explicit [1] 154/10       162/3
engaged [3] 149/4
                        evening [2] 61/5 61/9 76/18 77/7 83/13           explored [1] 61/2        fashion [1] 153/9
 168/16 170/2
                        event [2] 153/3 160/5 85/15 85/16 86/12          explosive [1] 159/24     fast [1] 128/3
engages [1] 159/15
                        events [9] 17/18 21/25 88/10 91/8 94/12 95/2     explosives [2] 76/6      FB [1] 128/5
engaging [1] 148/22
                         78/3 105/25 123/24      95/7 95/8 98/23 99/22    76/7                    FBI [5] 4/11 81/7 81/20
enough [5] 76/10
                         140/13 140/25 141/17 100/17 100/20 101/9        expressed [2] 11/10       93/7 129/1
 92/14 92/14 123/24
                         141/17                  101/20 103/5 103/24      158/19                  feat [2] 7/15 7/16
 160/2
                        eventual [1] 129/23      105/2 106/8 106/25      extensive [1] 165/11     February [3] 11/17
ensure [2] 12/14 30/10
                        eventually [9] 11/1      107/15 110/6 110/23     exterior [9] 10/21        118/16 119/18
entail [3] 68/2 68/18
                         38/17 39/16 44/6 54/8 111/18 112/9 112/21        20/12 20/16 25/22       February 21 [1] 119/18
 82/20
                         55/5 60/18 64/10        114/3 114/12 115/3       29/18 56/4 56/21        February 23 [2] 11/17
enter [14] 25/9 25/15
                         164/4                   115/18 117/11 117/14     60/10 99/17              118/16
 27/11 27/14 53/18
                        ever [4] 55/14 63/7      117/16 118/5 120/25     extremely [1] 145/16     federal [5] 1/20 4/21
 60/18 69/8 95/14
                         146/6 169/19            121/13 122/13 123/9     extremists [1] 91/6       81/5 81/6 81/24
 95/15 97/15 97/21
                        every [7] 23/3 26/24     123/9 124/16 126/11     eye [1] 31/8             federally [1] 170/7
 98/3 102/18 169/3
                         68/3 80/4 153/13        127/12 129/4 130/17     eyewitness [1] 165/13    feedback [1] 18/19
entered [13] 11/2
                         159/18 161/20           130/20 131/25 132/1                              feet [1] 27/7
 51/14 74/18 75/12                                                       F
                        everybody [1] 57/5       132/3 132/17 133/2                               fellow [3] 9/3 30/5
 80/5 102/17 102/22
                        everyone [3] 121/20      134/6 135/7 135/10      F-I-S-C-H-E-R [1]         146/8
 113/12 152/22 166/23
                         137/15 157/10           138/24 139/8 142/11      170/24                  felonies [2] 164/6
 167/25 168/2 168/3
                        everything [1] 165/24 142/21 143/4 143/8         face [7] 8/24 13/1        164/8
entering [4] 15/12 79/1
                        evidence [62] 6/23 7/6 143/16 147/8 147/15        13/10 48/23 83/25       felony [1] 151/2
 167/23 169/2
                         7/22 8/1 8/11 9/2 9/15 147/19                    90/1 150/23             felt [2] 7/7 150/14
enters [5] 25/16 151/6
                         11/25 14/7 14/9 14/10 Exhibit 2 [1] 17/15       Facebook [27] 8/2 8/25 female [1] 78/15
 154/18 167/12 167/15
                         14/18 14/20 14/22      Exhibit 209 [1] 147/15    9/7 9/8 9/9 9/12 15/16 fence [9] 27/3 27/23
entertaining [1] 137/10
                         15/13 16/6 16/12       Exhibit 305 [1] 76/18     15/18 85/6 85/21 86/7 27/24 28/15 34/15
entire [6] 25/24 38/7
                         16/19 17/4 17/13       exhibited [2] 12/21       87/10 87/17 88/18        37/11 37/12 43/6 70/6
 59/11 61/2 70/6
                         17/22 21/5 22/19 33/3 12/22                      91/13 91/21 122/7       fencing [1] 7/18
 149/12
                         37/2 42/9 69/16 71/18 exhibits [41] 2/10 3/1     124/19 125/22 126/14 few [10] 11/5 24/5
entitled [1] 173/6
                         71/21 72/19 72/22       15/12 15/15 15/17        127/11 128/13 128/19 26/15 51/1 65/1 69/2
entity [3] 6/20 6/24
                         78/6 78/9 82/24         15/17 15/19 16/9         128/23 155/7 157/12      104/4 142/10 154/15
 133/24
                         102/22 102/25 112/12 16/14 16/21 20/7            157/13                   158/1
entity's [1] 7/2
                         113/5 114/1 117/9       20/15 21/1 22/4 22/9    faces [1] 147/21         fight [3] 35/3 35/4
entrance [5] 23/14
                         129/3 129/3 131/6       22/16 40/15 40/25       facial [1] 152/20         149/18
 23/21 73/17 98/21
                         131/24 134/10 134/18 41/8 41/20 42/4 66/11      facing [2] 23/10 33/17 fighting [4] 39/10 39/12
 100/3
                         135/2 139/6 142/8       88/6 98/11 113/14       fact [12] 66/22 66/23     39/14 159/10
entries [1] 129/19
                         143/23 144/2 144/9      113/23 116/16 116/25     128/20 133/24 149/6 filed [2] 144/7 144/8
entry [1] 15/16
                         144/14 145/15 145/21 117/6 117/13 119/15         152/3 159/16 162/13 files [1] 154/2
episode [5] 47/6 47/8
                         160/7 164/10 165/11     131/9 131/21 138/15      168/8 168/20 170/11 filings [1] 138/3
 140/12 140/24 141/16
                         165/15 165/18 165/18 138/18 140/15 141/6         172/6                   fill [1] 39/19
erect [1] 149/8
                         172/10                  141/20 142/3 157/25     facto [3] 6/25 137/20 filled [1] 48/24
escort [2] 31/4 31/13
                        exactly [16] 7/19 18/22 160/10                    164/22                  filmed [1] 41/2
escorted [1] 56/25
                         26/12 34/1 49/1 75/9 Exhibits 701 [1] 41/20     facts [7] 12/11 13/21 filming [2] 97/18
escorting [1] 64/23
                         81/12 87/24 111/6      Exhibits 701-point [1]    165/6 165/6 165/23       126/23
Esquire [3] 1/11 1/14
                         121/10 124/7 150/9      140/15                   165/25 171/8            final [2] 155/16 170/15
 1/19
                         153/8 162/2 164/16     Exhibits 709.1 [1]       failed [1] 172/8         finally [3] 10/19 17/14
essentially [10] 68/5
                         166/12                  141/6                   failing [1] 137/5         165/19
 93/12 100/10 107/5
                        EXAMINATION [3]         Exhibits 710.1 [1]       failure [1] 129/21       financial [1] 158/16
 108/9 110/14 113/3
                         18/3 67/7 80/20         141/20                  fair [17] 32/20 41/4     find [16] 54/25 88/3
 120/8 130/25 164/7
                        examine [2] 65/22       exist [1] 6/20            41/15 42/1 71/11         116/1 116/3 168/13
establish [8] 13/12
                         80/10                  existing [1] 12/13        72/15 86/6 112/3         168/25 169/5 169/8
 13/20 30/7 67/2 69/10
                        examined [3] 15/8       exit [9] 10/24 24/23      113/19 116/25 116/25 169/15 169/17 170/12
 69/11 70/9 168/8
                         66/17 80/17             24/24 27/11 57/5 97/6    117/22 131/15 138/21 171/6 171/8 172/1
established [7] 12/20
                        example [1] 74/2         97/7 154/20 167/13       140/19 141/10 141/24 172/10 172/12
 14/1 47/24 59/2 67/4
                        except [1] 109/13       exits [1] 151/10         fairly [6] 20/15 21/24 finding [1] 165/5
 164/7 167/21
                        exchange [2] 71/15      expect [1] 68/24          22/9 77/20 78/1         fine [2] 16/20 171/21
establishing [3] 13/2
                         123/13                 expectations [1] 29/25    152/14                  finger [1] 147/7
 14/1 147/12
                        exercise [1] 124/3      expected [5] 68/25       fake [1] 20/23           finish [1] 61/11
estimate [1] 84/15
                        exhibit [104] 17/6       73/20 74/1 109/17       fakes [1] 20/22          fire [2] 119/4 161/14
evacuate [6] 55/11
                         17/15 17/23 22/21       109/24                  fall [2] 7/2 19/1        firearms [1] 82/1
 60/14 64/4 74/20
                         22/21 26/5 27/19 28/3 expecting [1] 29/17       familiar [13] 19/25 20/3 first [53] 7/19 9/16
 74/24 74/25
                                                                          21/10 69/4 84/19


                                                                                                   Exhibit D-3
                                                                                               Page 182 of 202
    Case 1:21-cr-00352-JEB               Document 107-3              Filed 11/15/24           Page 183 of 202
                                                                                                                     183


F                         forget [1] 119/24       gaiter [6] 8/24 83/25    68/12 69/3 72/25       99/13 99/21 100/16
                          form [3] 38/19 76/5      90/1 90/11 114/6        74/13 79/2 79/9 79/11 101/8 101/20 102/9
first... [51] 12/25 14/25
                           157/13                  152/17                  89/21 92/3 95/4 97/8   103/5 103/8 103/23
 15/8 15/15 19/21
                          formal [1] 59/7         galleries [1] 61/2       98/17 100/19 102/9     104/2 104/13 104/15
 26/15 26/16 28/6
                          format [2] 117/19       gallery [20] 7/15 7/21 104/4 104/13 105/2       105/1 105/19 106/7
 28/12 40/14 46/11
                           117/22                  11/4 62/10 62/12        105/21 118/13 120/13 106/24 107/14 107/22
 51/15 51/20 52/17
                          former [2] 89/9 119/11 62/13 63/2 102/2          120/24 122/22 123/22 108/2 110/5 110/24
 53/17 55/3 56/8 58/4
                          forth [3] 39/15 50/3     102/21 102/23 103/1     125/25 126/25 127/20 111/17 112/21 114/2
 58/5 58/14 61/25
                           75/4                    103/13 103/15 103/21 135/19 137/6 137/13       114/11 115/2 117/10
 63/17 66/17 78/15
                          forward [4] 4/15 5/16    105/11 151/16 167/14 137/15 137/16 142/13 119/14 120/13 120/24
 80/17 82/4 87/18
                           148/7 149/12            168/3 169/2 169/3       143/3 143/7 145/22     121/13 122/12 124/15
 89/24 107/20 108/11
                          forwarded [1] 129/13 gap [2] 39/20 48/24         146/2 149/14 149/21    124/22 125/18 126/10
 108/24 109/19 118/15
                          fought [2] 7/17 148/20 gaps [1] 27/10            150/6 150/11 150/15    127/13 129/4 130/19
 119/24 123/23 127/23
                          found [12] 10/3 91/13 gas [6] 120/8 120/11       153/21 155/2 155/3     131/25 132/17 133/1
 133/21 139/14 145/23
                           114/9 114/21 115/6      120/18 162/25 163/1     162/19 166/1 166/5     134/5 135/7 135/9
 146/17 147/2 147/9
                           121/9 121/10 128/8      163/7                   166/9 166/11 167/5     137/23 138/8 139/2
 152/14 153/13 160/23
                           128/10 129/1 152/17 gather [4] 82/24 85/25 167/22 172/3                139/7 139/19 140/2
 161/25 162/14 165/5
                           160/17                  86/3 131/5             goal [2] 64/18 164/16 142/20 143/3 143/7
 165/7 166/8 170/18
                          four [4] 23/3 26/24     gathered [2] 90/21      goes [13] 30/12 36/7    143/15 171/9
Fischer [1] 170/24
                           95/17 155/4             111/25                  119/24 134/11 135/2 gorilla [2] 121/4 121/7
fist [1] 49/2
                          fourth [1] 160/24       gathering [1] 153/1      135/17 135/18 149/18 got [10] 5/22 14/17
fits [1] 120/21
                          frame [5] 36/6 46/18    gatherings [1] 123/25 149/19 150/10 151/10 35/19 37/16 54/25
five [8] 7/13 30/8 55/5
                           77/14 77/18 149/24     gathers [1] 156/13       151/11 151/13          55/1 55/3 60/24
 81/8 81/24 98/24
                          frankly [1] 152/18      gear [5] 39/5 39/7      goggles [5] 8/24 83/24 147/10 166/5
 156/2 164/6
                          frat [1] 91/4            147/11 147/17 161/19 150/8 163/9 167/5        government [64] 4/5
five-agent [1] 30/8
                          fraud [7] 8/19 12/25    gears [3] 105/24        going [70] 7/8 12/1     4/24 5/16 6/1 7/9
flag [5] 56/15 65/16
                           13/10 123/5 139/23      121/14 137/24           15/10 24/5 26/14 33/7 11/14 12/8 12/8 14/24
 89/25 90/6 90/11
                           154/5 155/13           general [7] 14/10        36/20 37/25 38/13      15/1 15/12 16/13 21/1
Flanary [6] 119/24
                          free [2] 116/7 137/21    23/22 25/7 40/12        40/4 40/7 40/11 43/2   22/15 36/23 42/3 66/3
 120/1 120/8 120/11
                          Freedom [1] 143/8        56/11 62/14 88/24       44/1 50/16 55/18       66/4 71/17 72/18 78/5
 120/19 163/3
                          freedoms [1] 124/3      generally [5] 64/14      57/11 58/6 58/15       80/13 80/14 92/25
fleeting [1] 84/16
                          frequency [1] 76/24      73/1 92/23 109/8        65/15 68/15 68/16      92/25 93/17 112/8
flew [2] 8/10 163/23
                          frequently [1] 76/25     156/5                   72/25 73/5 73/16 74/2 113/22 117/5 117/19
floor [13] 11/6 11/8
                          friend [3] 11/13 11/16 generously [1] 66/8       74/5 74/8 74/9 75/3    121/21 124/13 125/25
 51/16 51/18 53/19
                           162/25                 get [26] 10/18 29/11     78/2 78/10 83/18       126/2 126/6 133/22
 57/16 61/2 62/16
                          front [24] 9/21 10/15    35/24 57/5 64/6 64/10 98/17 101/22 103/3       133/23 138/23 143/23
 62/22 100/10 101/16
                           26/25 27/22 27/25       68/22 73/24 91/5        103/24 105/24 107/5    143/24 145/2 145/8
 101/18 151/8
                           28/1 33/17 34/9 35/21 110/17 120/9 122/2        107/6 108/20 118/13    146/13 156/6 156/7
floors [2] 23/5 23/6
                           36/4 39/16 39/17 44/4 127/24 128/1 129/3        121/14 122/22 123/6    157/7 157/22 158/8
Florida [3] 1/12 1/13
                           45/22 45/25 51/7 51/8 137/11 147/21 148/25 123/8 124/2 125/7           158/24 159/1 161/23
 90/3
                           51/10 51/12 51/13       150/3 150/6 150/15      127/24 129/13 129/15 162/11 162/13 165/8
focus [3] 54/7 56/2
                           146/19 147/19 147/20 150/23 154/13 156/11 129/16 133/11 133/19 165/24 165/25 166/3
 149/15
                           167/2                   162/13 162/13           136/7 139/20 142/10    167/21 168/21 171/8
follow [2] 74/13 172/11
                          frontline [1] 19/3      gets [2] 154/3 158/20 144/9 144/16 146/25       171/16 171/23 172/17
followed [2] 11/3
                          frustrated [3] 156/3    getting [5] 28/19 37/15 147/23 149/14 149/16 172/19
 163/25
                           156/3 156/4             61/10 147/21 154/21     153/19 155/14 155/21 government's [135]
followers [1] 146/4
                          fuck [2] 121/5 137/16 give [9] 6/1 15/2 36/19 155/22 155/23 155/25 2/10 2/25 12/1 15/17
following [6] 4/1 6/13
                          fucking [4] 137/11       50/22 67/9 73/24        158/25                 16/5 16/8 16/12 16/21
 11/10 12/11 47/6
                           137/13 137/18 137/22 145/9 148/20 164/19 gold [1] 115/8                17/4 17/5 17/13 17/14
 87/11
                          fulfill [1] 64/12       given [10] 5/8 9/5      gone [1] 54/2           17/22 17/23 20/6
follows [3] 15/9 66/18
                          full [9] 10/11 80/24     25/13 29/21 89/7 89/9 good [19] 4/2 4/7 4/9    20/15 21/1 21/5 22/4
 80/18
                           125/8 136/25 147/22     145/21 168/5 172/6      4/14 4/17 4/19 6/10    22/16 22/19 22/21
footage [17] 21/15
                           150/1 151/24 161/22     172/11                  15/4 18/5 18/6 45/2    26/4 27/19 28/2 32/12
 21/20 21/24 22/6 22/9
                           162/10                 gives [1] 161/20         66/13 66/14 80/22      32/25 33/3 36/1 36/11
 32/7 36/16 41/2 45/21
                          full-out [1] 161/22     Glance [1] 49/5          80/23 121/16 121/20    36/17 36/24 37/2
 93/22 94/5 94/7 94/9
                          fully [2] 148/15 166/13 GLAVEY [13] 2/5 66/5 129/12 145/6               40/14 41/8 41/19 42/8
 97/24 98/1 98/4 98/6
                          function [2] 24/3 170/7 66/16 66/24 66/25       Gordon [104] 1/11 2/6 42/11 43/7 44/16 46/4
force [2] 37/19 37/22
                          functions [1] 170/9      67/9 67/11 67/18        4/7 22/20 24/25 26/4   47/17 49/8 49/13
forced [4] 38/18 63/23
                          fund [1] 130/14          69/17 78/15 80/1        27/18 28/2 32/12 33/4 57/12 62/1 62/3 69/16
 64/4 151/22
                          funds [5] 12/21 120/23 159/18 165/16             33/8 36/10 37/3 38/1   69/17 71/5 71/5 71/18
forceful [1] 38/18
                           127/25 128/1 163/4     globalist [1] 156/25     38/3 40/9 42/10 43/7   71/21 72/5 72/6 72/8
forcibly [1] 7/12
                          further [8] 18/1 65/19 globalists [2] 156/21     44/16 45/4 45/14 46/3 72/15 72/22 76/17
forcing [5] 13/3 37/17
                           80/8 89/4 102/16        157/18                  46/21 47/17 48/3 49/8 77/7 77/8 78/9 78/11
 38/15 57/2 63/25
                           143/19 143/23 167/10 gloves [1] 83/25           49/21 50/14 52/2 53/5 83/12 86/12 88/6 88/9
forefront [2] 28/10 90/4
                                                  go [68] 5/16 6/10        55/18 57/8 57/12       91/7 94/11 95/8 98/11
foregoing [1] 173/4       G                        18/20 25/14 26/2        61/25 63/5 83/12       98/23 99/22 100/16
foreign [9] 12/18 12/18
                          G-L-A-V-E-Y [1] 67/15 46/21 48/3 48/17 51/7 85/14 88/9 91/7 92/3        100/20 101/9 103/23
 127/1 156/17 156/20
                          gain [3] 148/12 159/6 51/12 51/13 54/21          94/11 95/1 95/7 95/17 105/1 106/7 106/24
 156/24 157/9 157/14
                           159/7                   54/23 59/9 59/19 67/4 96/7 97/2 97/9 98/22     107/14 110/5 111/18
 166/15
                          gained [2] 44/5 56/1


                                                                                                  Exhibit D-3
                                                                                              Page 183 of 202
 Case 1:21-cr-00352-JEB                 Document 107-3             Filed 11/15/24          Page 184 of 202
                                                                                                                  184


G                       135/15 135/19           happens [1] 148/2        150/24 151/14 151/22 148/14 148/15 148/17
                       guilty [9] 12/3 164/11 happy [3] 5/14 14/20       152/11 152/19 153/2    148/19 148/20 148/20
government's... [52]
                        168/10 169/1 169/5       145/4                   153/11 155/1 155/4     148/21 148/23 148/24
 112/9 112/12 113/14
                        169/15 169/20 170/12 hard [2] 27/6 159/17        155/12 155/14 155/15 148/25 149/1 149/1
 113/23 114/1 114/2
                        171/6                   has [49] 5/10 6/14 8/15 155/22 156/7 157/8      149/2 149/2 149/5
 114/11 115/3 116/16
                       gun [2] 13/5 86/20        11/25 13/15 44/3        160/19 160/22 160/22 150/10 150/13 150/14
 117/6 117/9 117/11
                       guys [3] 91/4 172/3       47/11 66/9 83/23        161/21 161/25 162/4    150/21 151/4 151/5
 117/13 117/14 118/4
                        172/5                    83/24 83/25 84/9        163/4 163/9 164/12     151/9 151/10 151/12
 118/5 119/15 120/25
                                                 85/16 86/19 89/25       164/25 165/2 165/3     152/8 152/9 152/14
 122/12 123/9 124/15 H
                                                 90/10 90/16 96/4        169/4 170/6 170/16     152/16 152/17 152/18
 126/10 127/12 129/22
                       had [73] 9/5 11/7 12/7 112/6 114/17 115/7         170/19 172/20 172/21 152/20 152/22 152/23
 130/17 130/19 131/9
                        16/17 29/21 31/8         115/8 120/8 122/25     haven't [4] 22/13 117/3 152/24 152/24 153/2
 131/21 131/24 132/17
                        34/13 39/18 40/14        125/10 126/5 127/2      123/24 131/18          153/4 153/4 153/5
 133/1 134/5 135/9
                        40/24 41/7 41/19 43/6 127/7 144/4 146/18        having [7] 13/22 15/8 154/2 154/3 154/9
 138/15 138/24 139/6
                        44/5 47/14 48/24 51/1 147/22 150/18 150/20 66/17 80/17 107/12           154/10 154/10 154/12
 139/7 140/14 141/5
                        51/1 51/6 51/11 51/14 152/20 155/7 157/14        127/9 162/4            154/12 154/16 154/17
 141/19 142/3 142/7
                        51/15 51/20 51/21        157/19 158/12 158/19 Hawa [2] 71/2 71/9        154/18 154/18 154/23
 142/11 142/21 143/4
                        52/17 53/17 53/25        159/14 159/24 160/13 Hawley [2] 136/4          156/5 156/13 157/3
 143/8 143/16 147/7
                        54/3 55/1 56/1 59/23     163/11 163/18 164/5     136/22                 157/9 157/10 157/11
 147/14 147/18 149/10
                        61/7 62/23 67/21         164/22 165/25 167/21 Hazel [1] 111/7           157/12 157/22 158/3
 150/17
                        70/25 74/20 74/22        172/8                  he [311] 7/8 7/9 7/10   158/4 158/12 158/13
Government's 305 [1]
                        75/11 75/13 75/14       hasn't [3] 86/9 145/15 7/14 7/17 8/3 8/11       158/14 158/18 158/19
 78/11
                        75/22 76/6 97/25 98/3 159/22                     8/13 8/15 8/25 9/3     158/20 158/20 158/24
Government's Exhibit
                        107/10 113/14 115/6 hat [5] 89/23 89/25          9/10 9/11 9/17 9/19    159/2 159/6 159/8
 704 [1] 115/3
                        116/16 124/10 128/16 90/10 90/16 119/12          9/20 9/20 9/22 9/24    159/9 159/14 159/15
Government's Exhibits
                        130/3 130/12 130/17 have [176] 4/18 5/12         10/1 10/5 10/5 10/6    159/20 160/8 160/11
 [2] 113/14 113/23
                        131/9 136/15 138/15      5/12 6/3 6/15 7/8 12/7 10/9 10/10 10/12        160/13 160/20 162/3
grab [1] 66/6
                        140/14 141/1 141/5       12/7 12/10 12/12        10/15 10/18 10/21      162/23 163/2 163/3
grabbed [1] 167/7
                        141/19 142/16 146/5      12/21 12/23 12/24       10/22 10/23 11/4 11/5 163/11 163/16 163/17
grabbing [1] 48/15
                        146/25 147/5 148/7       14/5 17/16 18/11 19/3 11/5 11/11 11/12         163/22 163/23 163/23
grabs [2] 149/20
                        148/9 148/11 149/2       20/19 21/19 24/5 25/8 11/13 30/17 30/19        163/24 163/24 163/25
 149/25
                        155/19 165/17 165/20 25/11 25/14 25/16           31/8 41/13 45/12 47/4 164/1 164/1 164/2
grand [1] 81/18
                        167/18 168/22            25/18 25/19 25/23       48/12 48/14 50/10      164/2 164/3 164/3
granting [1] 13/24
                       hair [2] 152/19 152/20 26/14 28/12 28/24          51/9 51/12 54/20       164/4 164/15 164/16
grass [1] 28/14
                       half [4] 10/1 11/18 81/8 32/15 36/1 38/23 40/1 64/15 64/19 68/11         164/16 165/13 166/4
gray [5] 84/6 118/7
                        87/20                    40/14 40/24 41/7        68/12 68/15 68/16      166/10 166/12 166/13
 118/10 119/7 119/23
                       halfway [1] 37/18         41/19 43/14 49/24       73/4 73/5 73/5 73/6    166/14 166/17 166/19
great [21] 6/9 18/20
                       hallmark [1] 151/19       50/11 52/18 52/20       74/5 74/8 74/9 75/16   166/20 166/22 166/25
 19/8 19/19 23/2 23/13
                       hallway [2] 79/13         56/12 58/6 58/7 59/4    75/19 75/21 83/7       166/25 167/4 167/5
 24/9 28/16 44/15
                        79/24                    59/10 61/23 62/2 63/7 83/23 83/24 83/25        167/12 167/15 167/17
 47/16 52/11 53/16
                       hallways [1] 55/16        64/22 64/23 65/8        84/25 86/19 89/25      167/18 168/1 168/2
 57/18 59/11 61/11
                       halt [1] 60/7             66/11 66/20 66/23       90/10 90/16 91/14      168/3 168/4 168/10
 81/4 83/21 107/19
                       hand [8] 15/6 66/15       66/24 67/2 67/23        91/21 92/19 93/6       168/14 168/16 169/3
 108/15 124/24 145/22
                        100/24 105/5 110/8       71/13 73/8 73/20 74/5 95/24 96/1 96/3 96/4     169/4 169/4 169/9
green [4] 44/14 136/20
                        110/16 145/18 149/25 74/8 74/9 74/25 75/6        96/5 97/18 97/24       169/11 169/13 169/14
 136/24 137/6
                       handle [1] 15/10          75/14 75/21 75/24       99/17 100/3 100/9      169/17 169/18 169/20
greeters [1] 73/4
                       handlers [2] 123/4        76/5 76/14 76/16        100/10 100/15 101/15 169/22 169/24 169/25
grocery [2] 106/18
                        155/12                   76/19 77/6 77/10        101/17 102/18 103/1    169/25 170/13 170/14
 106/20
                       handling [2] 123/5        77/12 77/13 77/17       103/20 111/10 111/13 170/16 170/18 170/20
gross [1] 13/11
                        155/13                   77/23 78/13 78/18       113/3 113/3 114/6      170/20 170/22 170/25
ground [4] 37/17 44/5
                       hands [4] 7/3 39/24       78/20 79/4 81/6 82/3    119/24 120/2 120/3     171/2 171/4 172/7
 148/12 148/20
                        149/11 150/1             83/2 84/13 86/1 87/13 120/8 120/9 126/22       172/10
grounds [25] 20/1 20/3
                       hang [1] 39/10            88/1 90/5 90/20 92/10 128/1 128/16 130/12 he's [59] 24/11 45/13
 20/12 20/17 25/22
                       happen [11] 52/25         92/24 94/15 94/23       130/12 131/8 132/6     45/22 48/13 49/19
 25/23 27/3 31/22
                        59/11 59/14 59/14        95/10 95/11 98/11       132/23 133/17 134/3    83/23 86/20 90/7
 32/18 32/21 41/13
                        75/10 124/11 148/20      100/8 103/2 106/19      134/11 134/13 134/15 90/12 90/15 92/15
 41/17 56/21 60/9
                        153/8 153/19 156/1       108/5 108/6 113/14      134/16 134/19 134/21 92/16 92/17 96/4 96/5
 75/17 82/7 95/13
                        166/13                   116/16 117/4 120/23     134/25 134/25 140/21 96/18 100/12 101/16
 146/24 167/24 167/25
                       happened [9] 32/10        123/4 123/6 123/7       141/13 141/13 141/15 101/18 120/4 123/5
 168/5 168/8 168/15
                        42/1 54/12 65/13         126/1 128/2 128/5       142/18 142/25 143/2    123/6 130/13 138/4
 169/8 169/10
                        97/13 102/15 146/6       129/1 130/17 131/9      143/12 143/13 145/23 147/16 147/21 147/22
group [5] 70/13 90/25
                        162/2 166/6              132/14 134/12 134/18 145/25 146/1 146/2        147/23 149/18 150/21
 91/4 124/8 167/3
                       happening [21] 29/2       134/18 135/4 136/22     146/7 146/7 146/8      151/10 152/15 152/16
groups [2] 111/10
                        34/6 34/12 45/25         136/23 137/17 138/2     146/10 146/11 146/14 152/20 153/21 154/22
 111/14
                        50/25 52/11 52/12        138/15 138/17 140/14 146/14 146/16 146/25 155/13 155/14 155/23
Guard [1] 161/13
                        52/15 53/16 55/23        140/16 141/1 141/5      147/1 147/1 147/3      156/3 156/4 156/11
guess [5] 85/25 123/24
                        57/23 58/13 94/14        141/7 141/19 141/21     147/9 147/10 147/10    156/12 156/20 158/15
 129/13 144/1 144/1
                        96/12 120/16 148/6       144/18 144/20 145/13 147/13 147/14 147/19 158/16 158/17 158/18
guest [1] 140/7
                        151/21 151/24 153/2      145/21 146/23 147/6     147/20 147/22 147/23 158/21 159/2 159/16
guilt [4] 134/9 134/16
                        156/3 156/4


                                                                                               Exhibit D-3
                                                                                           Page 184 of 202
    Case 1:21-cr-00352-JEB                Document 107-3               Filed 11/15/24           Page 185 of 202
                                                                                                                      185


H                        166/4                     150/10 152/17 152/22 how [55] 9/22 14/9         44/22 50/25 53/12
                        here's [1] 150/20          154/9 154/16 156/22    14/18 18/11 19/8 20/3 55/24 96/2 98/19
he's... [8] 159/23
                        hereby [1] 173/4           157/4 157/6 157/9      23/5 23/6 23/15 24/18 102/1 104/10 116/13
 160/11 161/25 162/18
                        herein [2] 12/21 12/22     157/10 159/5 159/7     29/6 29/6 30/21 34/7     119/9 133/16 133/21
 163/3 163/6 164/10
                        heros [1] 137/13           159/24 160/12 160/13 34/23 39/3 42/22          images [3] 94/1 94/1
 172/12
                        Hi [1] 122/2               160/21 162/10 163/15 47/11 48/14 49/1           96/5
head [5] 71/10 71/24
                        hide [1] 129/3             164/14 164/16 165/12 53/20 58/2 63/16 65/2 immediate [1] 70/20
 72/9 110/21 150/10
                        high [2] 27/7 96/13        166/14 166/15 167/17 68/24 73/23 75/19         immediately [7] 31/9
headed [6] 8/25 51/16
                        high-pitched [1] 96/13     168/6 168/22 168/24    81/6 82/2 84/13 84/14 32/4 34/6 76/11 79/22
 56/25 92/17 100/15
                        higher [1] 107/3           169/13 169/24 170/18 84/24 85/11 87/6           151/11 166/24
 101/16
                        higher-ups [1] 107/3       170/19 170/21 172/7    90/17 90/17 92/9        impact [1] 105/25
heading [5] 29/25
                        highlight [1] 133/11       172/11                 97/17 97/18 97/23       impede [7] 149/5 149/7
 52/19 57/2 100/12
                        highlighted [4] 42/21     history [2] 158/7       98/9 113/11 114/7        168/20 169/11 169/13
 101/18
                         42/22 139/14 139/20       172/16                 117/16 119/3 123/15      169/23 170/22
health [1] 172/16
                        highlighter [1] 148/10    hit [2] 126/1 156/7     127/25 128/22 130/11 impeding [1] 170/1
hear [11] 9/22 9/25
                        highlighter-colored [1]   hold [6] 144/19 144/19 134/16 136/8 136/19 implementing [3] 8/21
 14/20 77/3 144/12
                         148/10                    149/20 149/25 163/5    154/12 154/13 161/12 139/25 154/7
 144/12 144/25 146/10
                        highlights [1] 133/20      172/13                huh [2] 90/14 115/17 importance [2] 157/24
 162/9 162/19 172/4
                        him [39] 10/7 10/8        holding [2] 95/24      hundred [2] 120/9         166/3
heard [14] 11/25 32/1
                         10/10 10/25 11/13         146/20                 120/11                  important [2] 150/4
 47/14 51/17 66/23
                         74/11 74/22 75/6         home [3] 127/25        hundreds [1] 10/14        163/7
 66/24 77/23 78/19
                         75/11 75/15 75/16         160/14 163/22         hung [2] 123/7 155/14 importantly [2] 14/6
 78/20 92/19 145/21
                         77/12 79/10 80/4 84/4    Honor [67] 4/7 4/10                              145/23
 148/13 159/17 172/2
                         84/4 84/5 84/14 84/15     4/19 4/25 5/4 6/4 6/7 I                        impose [1] 172/20
hearing [3] 78/16
                         92/10 98/3 99/5           6/11 10/12 10/24 11/6 I'll [4] 95/4 120/20     imposed [3] 106/2
 137/5 171/13
                         146/12 146/19 149/7       11/25 15/2 15/10       135/19 166/1             106/5 124/13
hearings [1] 136/16
                         150/3 150/3 150/3         16/20 17/5 17/14      I'm [40] 4/20 5/2 14/12 improper [3] 7/4 149/2
hearsay [1] 16/2
                         150/6 157/23 164/14       17/24 20/25 22/15      14/17 15/20 15/24        171/5
heinously [1] 13/11
                         164/15 169/1 169/5        32/24 36/23 42/3       18/23 19/16 19/24       inaugural [1] 148/8
held [3] 38/16 116/4
                         169/15 170/12 171/3       61/21 62/19 65/9       34/2 37/21 44/24        inauguration [13] 6/18
 116/14
                         171/6 172/13              65/10 66/5 66/21 67/6 46/15 47/10 50/10         23/1 23/2 23/4 27/1
hell [4] 6/14 122/25
                        himself [16] 4/18 8/2      80/8 84/8 86/11 86/16 54/17 65/15 67/11         31/10 32/6 34/2 34/19
 155/7 155/19
                         103/1 130/12 132/23       103/3 112/8 117/5      76/16 81/10 81/10        50/20 63/20 155/16
helmet [3] 115/6 115/7
                         142/25 149/19 149/24      117/12 121/14 121/22 106/14 120/11 123/1        166/25
 160/13
                         150/5 150/9 152/16        129/14 129/18 131/20 125/7 129/14 131/4        incapacitated [1]
help [5] 11/13 32/9
                         152/21 156/14 159/6       132/16 134/23 135/6    133/11 133/19 135/5      164/15
 51/17 60/14 166/17
                         169/18 170/25             135/8 135/11 138/23    137/10 137/11 137/18 incarcerating [1] 13/6
helped [2] 60/14 64/11
                        his [135] 6/12 7/11        139/4 142/2 143/19     139/3 139/20 144/25 incident [7] 49/13
her [4] 66/6 136/8
                         7/16 7/17 8/9 8/15        143/24 145/4 145/10    155/8 156/16 158/14      49/24 148/2 148/3
 136/9 136/9
                         8/24 8/25 9/3 9/5 9/8     145/11 146/18 149/15 172/4                      151/1 151/5 170/4
here [93] 4/2 4/20 4/23
                         9/10 9/12 9/18 10/2       153/5 157/25 158/4    I-N-D-E-X [1] 2/1        include [5] 11/23 19/10
 28/8 28/11 33/10 37/6
                         10/3 10/11 10/16          159/13 164/9 164/12 ID [5] 108/16 108/24        19/17 22/25 25/16
 37/18 42/14 42/25
                         10/20 10/23 10/24         171/10 171/21 171/25 109/5 109/12 109/21 included [2] 25/24
 43/10 45/7 45/17 46/9
                         11/11 11/16 11/22        HONORABLE [1] 1/8 idea [3] 14/6 127/7            106/19
 47/22 49/11 50/18
                         42/23 68/2 70/20         hoodie [2] 83/23        163/18                  including [4] 6/24 9/23
 50/22 52/5 52/11
                         70/20 74/2 74/11 75/4     114/17                identifiable [1] 152/20 139/17 161/23
 52/21 53/16 54/13
                         75/11 75/15 75/25        hook [1] 27/7          identification [4] 71/4 incorporated [1]
 54/16 55/21 55/24
                         79/10 83/6 83/9 83/24    hop [1] 60/21           72/5 76/17 77/6          133/24
 56/25 61/24 70/7
                         84/1 84/19 84/22         hoping [1] 153/21      identified [4] 84/9 90/5 independently [2]
 79/14 86/18 88/12
                         84/24 85/21 88/18        hosts [1] 136/7         90/12 130/12             159/9 170/13
 88/16 89/14 89/22
                         90/1 90/11 91/21         hour [4] 9/19 35/12    identifier [1] 87/4      indicate [2] 69/20
 90/5 90/21 91/24
                         92/10 96/4 96/22          38/16 146/6           identifies [1] 132/23     166/14
 94/14 95/5 95/24
                         98/21 100/3 111/4        hours [11] 7/13 36/7   identify [10] 4/6 4/18   indicated [1] 147/7
 96/12 99/1 100/19
                         111/15 113/4 113/4        44/4 64/10 69/2 69/3   24/6 44/11 44/11 84/4 indicates [1] 147/19
 101/11 101/21 101/22
                         113/6 114/9 115/21        73/22 75/20 75/21      84/4 85/6 108/15        indicating [20] 24/8
 102/12 102/15 103/8
                         115/21 115/22 121/3       152/5 152/7            130/11                   24/19 26/16 26/18
 104/6 104/15 104/18
                         121/9 121/10 121/12      house [38] 8/5 17/18 identity [3] 152/12         27/14 33/23 53/15
 104/24 105/2 105/5
                         122/10 125/22 126/14      19/17 29/7 29/11       152/14 152/20            57/20 57/22 88/16
 105/13 107/20 107/25
                         128/16 129/23 130/13      29/11 29/16 31/5      ideology [1] 92/24        89/17 89/22 91/24
 108/16 109/12 110/8
                         130/25 131/2 131/3        51/24 53/3 54/6 54/21 ignite [2] 122/25 155/8 95/5 101/13 104/8
 110/20 117/16 117/20
                         131/13 131/16 132/7       54/23 55/2 55/6 55/7 ignore [1] 16/21           104/21 147/6 167/13
 118/13 119/10 120/7
                         132/21 133/8 134/11       55/7 55/11 57/19      illegal [7] 8/22 13/8     172/9
 120/17 124/6 125/3
                         134/11 135/2 135/3        57/20 57/24 58/10      13/18 140/1 148/25      indication [3] 30/3
 125/20 127/1 131/7
                         135/14 135/16 135/23      59/3 59/3 59/5 59/6    154/8 171/5              150/20 150/24
 133/20 135/12 136/20
                         136/15 140/25 141/17      59/9 60/16 60/20      illegally [1] 13/6       indications [1] 146/25
 139/20 144/11 147/6
                         141/17 142/18 145/25      63/25 64/5 64/25 74/9 illegitimate [4] 5/11    indisputable [2] 145/17
 148/6 149/24 152/21
                         146/3 146/4 146/7         75/4 96/16 100/14      6/20 93/17 159/1         152/3
 153/11 154/15 157/3
                         146/20 147/19 147/20      153/16 169/3          image [20] 22/25 23/9 individual [12] 60/12
 157/13 158/14 161/22
                         149/12 150/1 150/7       House's [1] 17/2        23/17 24/12 40/17        64/16 72/2 89/22
 163/23 164/5 165/23
                                                                          40/20 41/4 41/22


                                                                                                   Exhibit D-3
                                                                                               Page 185 of 202
    Case 1:21-cr-00352-JEB               Document 107-3              Filed 11/15/24            Page 186 of 202
                                                                                                                      186


I                        interacting [1] 36/20    56/10 56/11 57/15        137/15 139/12 139/13 93/3 93/11 93/14 94/4
                         interactions [1] 40/12   57/19 57/23 58/16        139/22 140/1 140/4      94/20 95/5 95/12
individual... [8] 89/23
                         interchangeable [1]      58/23 59/5 60/8 60/12    140/10 142/11 143/4     95/13 96/24 96/25
 89/24 97/17 120/4
                          43/19                   61/14 62/7 62/12         143/16 145/2 145/11     97/6 98/10 98/18
 123/14 123/18 123/23
                         interested [1] 120/12    63/11 65/11 65/17        145/16 145/16 146/7     100/2 103/3 103/4
 127/17
                         interfere [4] 149/5      66/22 67/11 67/21        146/12 147/14 147/23 104/25 105/7 105/10
individual's [1] 119/24
                          149/7 162/6 169/23      67/22 69/6 69/22 71/1    148/3 148/3 148/4       106/12 106/17 107/19
individuals [3] 55/15
                         interfering [1] 170/1    71/11 71/12 71/24        148/6 149/1 149/1       108/16 110/9 110/9
 96/14 126/7
                         interior [10] 10/22 22/6 72/8 72/15 72/17 73/2    149/3 149/11 150/4      110/13 111/7 111/22
indulgence [4] 62/19
                          32/21 35/9 53/2 54/3    73/15 73/15 74/15        150/8 150/21 151/17     112/3 112/6 114/7
 65/9 104/3 135/8
                          56/1 56/20 60/9 101/4 78/15 78/16 78/17          151/17 151/19 151/20 114/8 114/16 115/7
industry [1] 93/13
                         interrupted [2] 59/16    78/23 78/24 81/2 81/9    151/24 151/25 152/8     115/7 115/8 115/11
influence [1] 162/5
                          168/25                  81/12 82/4 83/18         152/14 152/14 153/12 116/1 116/14 117/13
info [3] 128/2 128/3
                         interruption [2] 118/24 83/20 83/21 85/20         153/20 154/8 154/23     118/1 118/3 118/3
 137/20
                          141/2                   85/25 86/6 87/18         154/23 155/10 155/12 118/16 119/1 119/2
information [3] 72/1
                         interviewed [1] 172/14 87/20 88/13 88/16          155/16 155/20 155/22 121/11 124/9 124/12
 72/25 87/21
                         interviews [1] 81/19     88/17 90/4 90/11         155/25 156/2 156/20     125/2 125/8 125/9
initial [12] 31/6 31/22
                         intimidate [3] 13/17     90/24 90/25 91/10        156/21 156/21 156/23 125/10 125/12 125/25
 34/5 34/13 34/24
                          13/18 155/1             91/12 91/13 91/25        157/2 157/3 157/7       126/2 126/18 127/1
 34/24 35/15 37/10
                         introduce [1] 165/21     92/7 92/15 92/25 93/2    157/9 157/14 157/16     127/7 128/13 128/14
 42/15 42/17 42/19
                         introducing [1] 16/14    93/3 93/6 93/7 93/10     158/10 158/21 158/22 128/18 129/6 129/9
 166/23
                         invade [1] 7/20          93/11 93/12 93/17        159/1 159/5 159/20      130/8 130/9 130/10
initially [4] 31/16 32/3
                         invading [1] 159/10      94/14 94/15 94/16        159/21 160/15 160/15 130/24 131/1 132/5
 39/15 147/5
                         investigation [16] 81/5 94/18 94/20 95/5          160/20 161/1 161/25     132/23 133/6 133/21
injunction [1] 13/23
                          81/7 82/18 82/25 85/5 95/12 95/13 95/24          162/10 162/15 162/16 133/23 134/11 134/21
injured [7] 34/21 35/23
                          86/4 88/4 93/21 98/1    96/1 96/14 99/5 99/7     162/24 163/2 164/9      135/13 135/18 137/2
 39/19 64/8 65/1
                          111/10 112/1 127/5      99/16 99/17 99/25        166/3 166/17 167/18     137/4 137/21 139/12
 168/24 170/12
                          130/2 131/5 138/2       100/2 100/3 100/6        167/21 167/23 167/24 139/17 142/19 143/2
injury [1] 170/11
                          140/6                   100/22 101/4 101/5       168/10 168/11 169/2     144/12 145/18 146/24
innocent [1] 146/24
                         investigations [5] 81/15 101/13 101/15 102/3      169/3 169/7 169/16      148/17 148/24 148/25
inside [22] 11/4 17/17
                          81/16 81/25 82/2 82/6 102/22 102/25 103/17       169/20 169/22 170/7     149/2 150/1 150/7
 21/12 22/10 22/11
                         investigator [3] 4/21    103/20 104/8 104/18      170/15 171/13 173/4     150/17 151/25 152/5
 29/1 55/7 57/11 59/24
                          82/21 128/25            104/24 104/25 105/5     ish [1] 160/5            154/10 154/12 154/13
 60/23 60/24 64/23
                         invited [2] 25/7 25/8    105/7 105/8 105/10      isn't [5] 134/21 134/24 156/8 156/17 157/9
 75/1 96/18 99/17
                         involve [3] 10/15 82/6 105/11 106/10 106/12       152/21 156/19 162/14 157/11 157/13 158/15
 103/1 103/20 114/19
                          170/10                  106/13 106/15 106/22    issue [2] 59/23 135/14 158/17 159/14 160/2
 121/7 159/19 159/20
                         involved [2] 68/17       107/2 107/6 107/17      issued [4] 17/6 129/22 161/4 161/10 161/12
 168/19
                          82/15                   107/21 108/1 108/25      129/23 172/8            161/20 161/21 162/3
inspector [45] 9/23
                         involvement [1] 142/18 109/4 109/9 109/22        issues [2] 5/18 14/8     162/8 162/17 162/17
 9/25 10/12 10/16 15/1
                         involving [1] 140/7      110/11 110/13 110/14    it [239] 5/14 6/19 7/8   162/18 163/2 163/13
 15/11 18/5 18/8 18/25
                         irritants [2] 38/23 39/1 111/4 111/7 111/20       7/13 11/8 11/18 13/24 163/17 163/18 163/20
 19/1 19/15 21/7 22/24
                         is [405] 4/11 5/10 5/15 111/22 112/3 114/5        14/18 23/15 25/24       163/22 164/14 164/15
 25/3 26/7 28/5 32/15
                          6/15 7/5 8/14 8/21 9/7 114/6 114/14 114/16       26/21 27/11 29/4 30/1 164/24 166/17 167/18
 33/10 37/8 38/6 40/1
                          9/8 9/12 10/7 10/13     114/19 114/20 114/23     31/9 32/4 32/4 32/6     167/24 168/25 171/9
 42/13 43/10 44/20
                          10/13 11/6 12/25 13/7 115/5 115/6 115/9          35/1 35/3 35/4 35/16    171/13 171/18 172/24
 45/10 45/20 47/2
                          13/8 13/17 13/18        117/12 117/16 118/9      35/18 36/7 36/11       it's [100] 16/17 17/15
 47/21 48/8 50/11
                          13/20 13/25 14/1 14/2 118/10 118/15 119/9        38/19 39/5 39/15        23/3 23/16 23/16
 50/18 52/8 61/23 62/7
                          14/7 14/12 14/15        119/15 119/17 119/19     43/19 44/18 45/7        23/18 24/16 26/8 27/6
 63/7 71/2 148/2 148/6
                          14/19 15/10 15/12       119/23 119/23 119/24     45/17 46/7 46/8 46/21 27/22 29/9 33/17
 149/6 150/2 150/11
                          15/15 15/25 16/8        120/1 120/2 120/3        47/14 50/16 51/14       42/23 57/16 59/22
 150/13 152/15 158/21
                          16/13 16/23 17/1 17/2 120/8 120/14 121/2         52/18 53/25 54/3 55/3 60/11 62/3 65/12 69/7
 165/12
                          17/6 17/8 17/15 19/6    121/7 121/9 122/15       58/4 58/5 59/5 59/13    73/19 81/1 81/1 81/15
instead [4] 9/20 11/11
                          19/19 22/24 22/25       122/22 123/2 123/5       59/14 59/14 59/16       86/1 87/17 87/20
 151/24 163/22
                          23/2 23/10 23/11        123/12 123/13 123/17     59/17 59/19 59/19       88/13 91/3 92/24 93/9
instructor [1] 67/20
                          23/16 23/17 23/21       123/18 124/3 124/4       60/23 62/10 64/18       93/14 101/2 101/7
insurrection [1] 160/5
                          24/3 24/7 24/14 24/23 124/7 124/18 125/3         65/15 65/16 65/17       107/18 108/9 108/22
insurrection-ish [1]
                          26/7 27/6 27/21 28/5    125/16 125/21 126/13     65/23 66/2 67/22 68/4 109/10 109/10 111/23
 160/5
                          30/9 30/10 32/17        126/18 126/18 126/19     68/19 70/5 70/8 71/12 114/17 115/8 115/15
intended [3] 59/14
                          32/20 33/8 33/15 36/4 127/1 127/4 127/6          72/1 72/11 72/17 73/1 116/7 119/11 121/3
 154/13 170/19
                          36/14 36/16 38/10       127/15 127/24 128/7      73/2 73/3 73/3 73/14    121/3 121/4 123/6
intending [2] 144/1
                          38/11 40/1 40/20        128/8 128/18 129/13      73/16 74/13 74/14       127/9 128/3 128/9
 166/4
                          41/13 42/23 43/2        130/22 130/24 131/1      75/23 75/24 77/17       130/25 131/2 131/2
intent [14] 152/13
                          43/16 43/19 44/11       132/5 132/9 132/9        78/17 79/8 79/13        132/6 132/6 132/20
 155/6 157/10 159/5
                          44/12 44/12 45/12       132/10 132/19 133/6      81/24 83/6 83/25        133/7 133/10 133/17
 159/5 159/15 160/6
                          46/5 46/18 48/2 48/8    133/14 133/17 133/23     85/10 85/15 85/20       134/14 134/15 135/13
 162/17 163/15 166/11
                          48/14 49/13 50/18       134/3 134/9 134/13       86/6 86/9 87/4 87/23    135/14 135/16 135/23
 166/14 169/11 169/13
                          50/19 50/24 51/3        134/16 135/5 135/13      87/24 87/25 87/25       136/8 145/14 145/17
 170/18
                          52/11 52/12 52/15       135/15 135/22 136/3      88/1 88/17 88/21 89/2 147/17 149/17 150/24
intentions [1] 9/10
                          53/8 53/10 54/17        136/6 136/25 137/4       89/20 91/12 91/24       151/18 152/3 152/8
interacted [1] 83/2


                                                                                                   Exhibit D-3
                                                                                               Page 186 of 202
    Case 1:21-cr-00352-JEB                Document 107-3               Filed 11/15/24            Page 187 of 202
                                                                                                                        187


I                          152/24 153/9 153/10 Johnson [1] 4/20              129/15 129/16 161/12 30/2 44/6
                           153/15 153/19 154/4 join [2] 59/3 160/24         keeping [1] 78/25       larger [1] 121/7
it's... [25] 152/9 154/25
                           154/9 155/15 155/15 joint [7] 8/5 29/9 29/16 keister [2] 120/22          largest [1] 169/19
 155/13 155/21 156/17
                           156/11 157/5 158/1       30/23 58/22 61/7         163/4                  last [15] 4/12 12/7
 156/19 157/4 157/6
                           158/18 160/4 160/6       153/16                  kept [2] 10/10 50/6      56/18 67/13 76/10
 157/7 157/8 159/1
                           160/9 160/9 160/16      joke [2] 123/6 155/13 kettling [2] 148/17         80/4 81/2 108/22
 159/7 159/16 159/18
                           162/2 162/18 162/18 JUDGE [3] 1/9 138/7           149/1                   109/4 119/19 122/2
 159/20 160/12 160/13
                           163/7 163/15 163/16      170/24                  key [2] 142/16 142/24 127/11 155/16 155/22
 160/21 162/2 162/11
                           164/15 165/17 166/2 judges [3] 5/23 162/4 kind [46] 19/1 24/6             159/18
 162/12 162/14 164/10
                           166/4 166/13 167/17      162/8                    28/10 29/6 32/7 33/15 lasted [1] 44/3
 164/25 168/12
                           169/14 171/15 171/16 judgment [2] 13/22           34/7 34/11 35/1 36/19 lastly [2] 141/13
item [1] 113/12
                           171/20 171/22 172/24 144/11                       37/9 37/19 37/22        143/15
items [5] 25/20 113/5
                          January 20 [3] 6/17      judicial [6] 13/1 13/2    39/14 40/11 43/3       later [10] 10/1 10/3
 113/8 113/18 113/20
                           155/15 155/15            119/1 129/19 138/6       43/19 45/24 47/21       55/6 152/17 154/3
itinerary [2] 72/2 73/2
                          January 2021 [1] 25/6 161/11                       48/20 50/1 50/7 50/12 156/2 156/2 157/12
its [10] 6/1 13/1 13/10
                          January 3 [3] 16/23      judiciary [2] 161/24      50/24 52/11 53/22       162/11 166/6
 14/24 14/24 66/3
                           171/15 171/16            162/6                    56/5 56/16 57/10       laugh [1] 155/22
 80/13 145/9 148/23
                          January 4 [1] 8/9        JULIANNA [5] 2/7 4/11 61/24 65/6 81/14           laurel [2] 115/8 121/8
 166/1
                          January 5 [2] 107/21      80/15 80/16 81/1         82/11 85/6 90/6 91/4 laurels [1] 121/6
itself [15] 18/23 19/17
                           109/20                  June [4] 129/20 136/13 93/3 93/8 93/20 98/19 law [18] 9/21 11/7
 19/25 23/9 27/14
                          January 6 [108] 7/11      136/17 137/5             100/24 111/13 111/14 13/20 13/21 16/18
 28/20 30/5 35/9 84/16
                           7/21 7/23 8/23 9/13     June 16 [1] 137/5         115/14 150/9 159/23     16/18 16/18 16/19
 134/13 149/15 151/13
                           11/10 11/11 11/12       June 26 [1] 129/20       kinds [2] 82/9 129/1     30/5 69/12 82/1 91/5
 156/11 159/16 162/17
                           11/17 11/22 17/7 20/4 June 27 [1] 136/13         knew [5] 8/3 68/25       104/22 152/9 161/23
J                          20/17 21/22 22/1        June 7 [1] 136/17         69/2 164/16 168/1       164/10 165/6 169/23
J-U-L-I-A-N-N-A [1]        22/11 25/21 26/8        jurisdiction [1] 165/2   know [56] 6/19 17/16 lawful [4] 5/11 115/23
 81/1                      27/22 28/7 28/19        jury [1] 81/18            20/22 23/15 23/24       149/4 170/2
J6ers [1] 137/15           28/24 29/3 29/13        just [110] 5/22 6/3 11/8 30/21 36/6 38/16        layer [1] 56/8
jackets [2] 148/10         29/17 29/22 29/25        11/17 14/17 19/19        47/11 53/25 61/1 62/7 layman's [1] 130/25
 148/10                    30/13 32/10    33/14     20/10  21/17  21/18      65/1 65/6 65/10 66/22 lead [2] 50/20 82/21
jail [2] 83/7 84/25        39/3 41/17 47/6 55/25 24/11 26/14 27/4            66/23 70/9 75/13 76/5 leader's [2] 31/7 32/3
jailed [2] 123/7 155/14 57/11 57/24 60/3 63/8 32/17 35/3 35/16               76/6 87/6 89/18 90/17 leading [2] 7/23 35/17
JAMES [1] 1/8              63/13 64/17    68/9      35/18  36/11  36/17      91/15 92/9 96/22       league [1] 156/23
Jan [2] 6/16 123/7         69/14 70/2 80/2 87/23 37/9 38/8 38/12 39/4        97/23 100/6 100/12     leaning [1] 149/11
Jan 20 [1] 6/16            87/24 87/25 88/24        40/4 46/11 46/18         101/25 105/13 106/16 learn [2] 111/9 130/3
January [144] 6/17         90/2 90/19 91/1 91/19 46/23 48/20 49/13           108/19 115/12 116/12 learned [3] 7/23 82/1
 7/11 7/21 7/23 8/9        93/23 106/1 106/3        50/15 52/12 53/11        120/1 120/2 124/6       92/10
 8/18 8/23 9/13 11/10      107/12 109/17 114/6      53/23 55/23 57/18        128/17 128/20 135/13 least [5] 34/24 85/12
 11/11 11/12 11/17         114/7 124/7 124/9        60/3 61/24 65/10         136/3 136/8 140/4       85/13 98/18 152/6
 11/22 16/23 17/7 20/4 124/11 125/10 127/18 65/16 67/2 69/22                 146/23 147/17 152/23 leave [4] 7/2 51/7
 20/17 21/20 21/22         129/8 134/12 134/12      72/10 73/23 75/2 75/9 152/24 153/10 154/12 54/21 61/5
 22/1 22/11 25/3 25/6      134/19  134/20   134/22  79/23 81/16 83/18        155/4 155/25 158/12 leaves [5] 115/8 115/9
 25/21 26/8 26/24          134/25 135/3 140/13      85/2 87/20 90/4 92/7     159/18 159/23           121/6 121/8 153/22
 27/22 28/7 28/19          140/25 141/18 142/25 92/19 92/23 94/15           knowing [1] 168/3       leaving [3] 151/4 151/5
 28/24 29/3 29/13          145/24 146/2 150/14      95/4 96/18 97/1 98/3 knowingly [7] 167/24        163/19
 29/17 29/22 29/25         152/19 152/24 153/9      98/19 98/22 99/7 99/8 168/2 168/3 169/5         lectern [1] 4/6
 30/13 32/10 33/14         153/10 153/15 153/19 100/10 101/5 102/15          169/14 169/20 170/20 led [4] 7/19 35/15
 39/3 41/11 41/17          154/4 154/9 156/11       103/14 104/1 104/4      knowledge [5] 21/23      60/16 79/1
 41/23 47/6 48/2 50/23 157/5 158/1 158/18           108/15 112/15 119/20 106/2 147/22 153/3         left [27] 38/9 42/25
 52/10 55/25 57/11         160/4 160/6 160/9        126/6 129/6 129/11       167/18                  44/24 44/25 45/1 56/7
 57/24 60/3 61/12 63/8 160/9 160/16 162/2           133/11 133/19 135/12 knowledgeable [1]           61/23 73/9 74/25
 63/13 64/13 64/17         162/18 162/18 163/7      135/16 138/18 143/7      166/13                  99/17 99/18 100/1
 67/21 68/9 69/14 70/2     163/15  163/16   164/15  144/3  144/12   144/17  known   [4] 12/16 24/15  101/1 102/7 105/5
 80/2 82/7 87/23 87/24 165/17 166/4 166/13          145/21 148/13 150/18 91/5 160/21                 110/8 110/16 118/11
 87/25 88/24 90/2          167/17 169/14            153/1 153/1 153/5       knows [2] 157/10         119/7 120/22 120/23
 90/19 91/1 91/19         January   7 [3]  61/12    153/10   153/13  154/15  158/18                  136/21 136/22 136/25
 93/23 99/20 106/1         64/13 108/3              157/1 157/10 157/11                              146/5 163/4 163/5
                                                                            L
 106/3 107/12 107/21 January 8 [4] 127/17           158/3 158/4 159/1                               left-hand [3] 105/5
                           171/20 171/22 172/24 159/4 159/18 160/8          L-O-Y-D [1] 18/8         110/8 110/16
 108/1 108/3 108/12
                                                                            labeled [1] 111/18
 109/1 109/17 109/20 JBGC [2] 118/19 161/6 161/25 162/1 162/20                                      legal [7] 14/8 14/10
 114/6 114/7 124/7        jeans [1] 83/24           162/21 162/24 163/22 lack [1] 172/9              14/12 82/22 159/12
                          JEB  [1]  1/3             164/21   166/1  169/8   lady [1] 70/17           163/13 171/9
 124/9 124/11 125/10
                                                                            laid [2] 136/19 165/25 legality [1] 112/16
 126/15 127/17 127/18 Jenna [2] 125/6 153/7 justice [1] 13/24
                                                                            Lancaster [1] 110/19 legally [1] 13/10
 129/8 134/12 134/12 Jewish [1] 93/14              K
                          Jews  [1]  127/10                                 Lanelle [2] 71/2 71/9 legislates [2] 119/2
 134/19 134/20 134/22
                                                   Karen [1] 70/17          language [2] 119/8
 134/25 135/3 139/22 job [4] 67/21 67/23                                                             161/11
                           81/12 125/10            keenly [2] 153/20         161/17                 legitimate [7] 6/14
 140/7 140/13 140/25
                                                    153/21                  lapse [4] 36/4 36/14
 141/18 142/25 145/24 Joe [3] 6/21 155/19                                                            92/25 123/3 123/3
                           163/20                  keep [8] 50/16 96/7       37/10 147/5             155/10 155/11 158/8
 146/2 150/14 152/19
                                                    119/2 127/23 129/13 large [4] 25/18 29/21


                                                                                                     Exhibit D-3
                                                                                                 Page 187 of 202
    Case 1:21-cr-00352-JEB               Document 107-3              Filed 11/15/24          Page 188 of 202
                                                                                                                    188


L                         18/19 27/4 31/12 37/8 luncheon [1] 121/17      mark [2] 78/18 79/15 mentioned [9] 30/23
                          43/14 57/7 57/10                               marked [2] 85/15       52/24 58/9 65/1 97/25
length [1] 27/7                                  M
                          57/18 85/2 94/15                               168/1                  111/3 123/23 128/10
less [1] 109/24
                          105/25 124/21 126/4 machine [1] 25/19          Marshals [2] 83/8 85/1 168/13
let [18] 9/13 10/25 14/5
                          136/19 139/19 157/4 made [31] 7/13 9/10        martyrs [1] 137/16     mere [1] 153/6
 66/5 96/15 97/14
                         live [2] 151/24 171/1   10/20 11/4 11/12 27/6 masks [6] 120/9          merely [1] 151/13
 97/14 127/3 144/17
                         lives [1] 64/2          29/14 34/18 37/17       120/11 120/18 162/25 message [22] 11/21
 149/20 150/6 150/11
                         living [2] 18/9 134/1   38/14 39/16 50/1        163/1 163/7            118/13 118/15 119/7
 150/15 154/23 154/24
                         Lloyd [1] 149/6         51/14 51/18 51/21       mass [1] 161/25        119/10 119/19 122/16
 155/2 155/3 157/15
                         lobby [1] 60/22         52/18 55/6 55/12        massive [3] 8/18       123/13 123/17 123/18
let's [7] 6/1 45/3 61/17
                         locate [1] 93/22        60/19 60/23 64/17       139/23 154/5           123/23 124/19 125/7
 108/15 109/19 110/10
                         located [4] 19/20 44/23 109/7 109/23 109/23 math [1] 103/19            125/21 126/21 127/11
 167/22
                          81/9 81/10             128/1 131/8 135/23      matter [6] 119/1 149/1 127/23 128/5 136/25
letter [1] 138/6
                         location [3] 75/19      155/5 157/8 157/19      149/2 161/11 162/8     137/6 153/18 161/20
letters [2] 138/3 172/18
                          78/21 105/8            160/3                   173/6                  messages [22] 87/21
letting [1] 137/15
                         locations [2] 73/4      Madison [2] 1/14 4/8 may [19] 6/1 14/24        116/4 116/9 116/23
level [2] 30/1 153/12
                          109/16                 magnetometer [1]        61/20 66/2 66/19 67/4 117/16 118/2 119/17
liaison [2] 68/20 70/25
                         lock [1] 160/12         25/17                   77/13 80/13 80/19      119/22 120/6 122/9
libel [1] 14/2
                         lockdown [1] 51/25      mailed [1] 137/9        84/8 96/5 121/21       123/15 123/20 126/3
liberate [4] 118/18
                         locked [4] 35/11 53/3 main [1] 121/11           121/24 133/10 145/8    127/16 135/25 136/10
 157/3 157/9 161/5
                          54/14 55/2             maintain [4] 21/8 21/14 163/9 172/17 172/18    136/10 136/19 136/22
Liberty [2] 140/10
                         log [1] 113/13          50/5 50/6               172/18                 136/23 152/22 160/16
 143/5
                         lol [2] 123/24 128/4    majority [4] 12/11 31/7 May 31 [1] 133/10      messaging [2] 116/7
libtards [2] 118/18
                         lone [1] 156/23         32/3 166/7              maybe [1] 86/1         128/8
 161/6
                         long [13] 18/11 34/7    make [20] 12/5 25/11 mayor [2] 17/6 106/6 messenger [1] 128/5
lie [2] 13/25 14/1
                          47/11 53/20 68/24      25/17 25/19 46/5 49/3 MC [2] 73/8 73/14        met [2] 59/8 146/8
lieutenants [2] 19/4
                          68/25 75/19 81/6       55/14 74/23 96/25       McConnell's [1] 31/8 metal [3] 9/17 10/4
 19/5
                          84/13 84/14 98/9       108/20 109/7 109/11 me [23] 5/6 12/8 14/5 27/6
life [1] 137/17
                          156/17 171/18          137/21 144/1 157/10     15/2 19/6 39/21 51/7 Metropolitan [18] 35/19
light [3] 83/24 160/6
                         longer [7] 9/13 73/24   158/9 160/18 164/14     51/12 54/16 66/5       35/25 37/16 38/14
 163/14
                          73/24 127/2 133/25     164/15 171/9            66/24 68/4 87/8        38/19 39/17 43/13
light-colored [1] 83/24
                          156/18 157/15          makes [2] 137/21        127/24 129/6 135/12    44/5 44/8 44/12 44/13
lightning [1] 145/13
                         look [9] 5/14 93/25     154/10                  137/11 137/11 144/17 47/24 48/21 48/22
Lights [1] 1/20
                          109/19 110/8 152/1     making [2] 14/12 121/6 161/20 165/3 165/3      56/3 63/21 63/23 94/3
like [34] 5/25 11/20
                          152/1 152/2 153/11     mall [6] 9/1 9/4 9/8    171/9                  mic [1] 18/15
 25/4 27/13 30/6 35/1
                          164/23                 88/14 92/16 126/24      mean [11] 59/21 69/25 Michael [2] 1/11 67/25
 63/2 63/8 65/7 65/22
                         looked [1] 20/4         man [3] 90/6 90/12      73/8 73/12 109/9       microphone [1] 85/2
 74/11 89/25 89/25
                         looking [18] 23/11 28/8 134/1                   131/3 134/11 144/10 mid [1] 8/3
 90/10 90/11 91/4 91/5
                          33/15 36/17 42/13      man/woman [1] 134/1 158/15 163/13 166/17 mid-December [1] 8/3
 103/3 118/17 118/19
                          43/10 47/22 52/13      manage [1] 167/9        meaning [1] 143/13     middle [7] 1/12 26/9
 118/21 121/16 124/12
                          77/14 77/18 88/12      managers [1] 107/4      means [13] 74/25       34/16 56/13 102/17
 137/2 148/19 148/24
                          90/1 98/6 99/10        maneuver [1] 148/18     76/19 108/19 109/16    123/1 155/8
 151/21 161/5 161/7
                          108/24 109/12 117/16 maneuvers [2] 149/18 133/24 150/6 156/9          midnight [1] 61/6
 161/9 162/1 162/25
                          117/19                 149/24                  158/2 158/17 158/24 might [2] 123/25
 162/25 164/21
                         looks [1] 137/2         manifests [1] 167/17    159/2 166/17 171/5     146/23
line [41] 7/17 7/18 10/4
                         loose [4] 6/14 122/25 manipulated [2] 20/19 meant [1] 73/16            Mike [2] 4/7 138/8
 10/6 10/8 10/19 26/9
                          155/8 155/19           22/13                   measures [3] 25/14     miles [2] 8/10 156/12
 34/15 34/17 34/18
                         lost [2] 107/11 137/17 manned [1] 27/12         30/7 50/12             military [2] 119/4
 35/11 37/14 38/16
                         lot [3] 31/12 31/17     manner [1] 168/19       media [4] 87/18 122/4 161/14
 38/16 38/18 39/16
                          161/21                 many [18] 6/24 19/8     129/2 130/3            militia [4] 111/14
 39/17 39/18 39/19
                         lower [12] 24/15 31/10 23/5 23/6 34/23 58/2 medium [1] 120/20          111/15 111/23 112/4
 39/20 44/6 45/22
                          32/5 38/7 43/12 43/16 65/2 73/18 73/23         meet [1] 166/9         militias [2] 112/16
 47/23 48/13 50/6 51/2
                          43/22 43/23 47/24      85/11 93/3 97/17        meeting [1] 5/23       112/18
 51/2 52/18 63/19
                          50/20 63/18 133/23     97/18 123/15 146/2      meets [1] 148/4        mind [11] 6/19 6/21 7/1
 69/20 70/2 70/6 72/25
                         lowest [1] 24/12        152/5 152/5 166/4       Mel [4] 136/2 136/3    47/11 47/13 74/25
 73/1 104/24 137/11
                         LOYD [40] 2/3 9/23      map [1] 57/16           136/4 136/22           95/1 135/3 135/4
 139/14 146/19 147/12
                          9/25 10/12 10/16 15/1 MARC [8] 1/5 1/18 4/4 member [9] 9/3 10/13 156/21 156/22
 154/22 158/21
                          15/7 15/11 18/5 18/8   4/16 12/9 13/5 123/13 25/4 25/9 70/19          mind-set [2] 135/3
lines [4] 10/15 110/3
                          21/7 22/24 25/3 26/7   149/6                   111/10 111/13 160/11 135/4
 167/2 167/15
                          28/5 32/15 33/10 37/8 march [4] 88/1 132/25 161/1                     minute [9] 14/5 33/5
linked [3] 87/6 128/2
                          38/6 42/13 43/11       132/25 146/4            members [7] 8/7 9/24 50/15 52/3 52/5 61/17
 130/14
                          44/20 45/10 45/20      March 13 [2] 132/25     55/7 55/10 59/6 59/25 65/12 104/10 145/5
list [2] 25/9 81/16
                          47/2 47/21 48/8 50/18 132/25                   64/7                   minutes [22] 11/9
listed [3] 73/18 73/19
                          52/9 61/23 62/7 63/7 marched [3] 9/4           membership [1] 160/22 31/18 35/17 35/20
 108/11
                          148/2 148/6 150/2      146/16 147/3            memorandum [1]         38/1 38/4 53/21 54/13
listen [1] 146/1
                          150/11 150/13 152/15 marches [1] 160/8         172/18                 55/5 84/17 84/18
listening [2] 142/17
                          158/21 165/12          Marco [9] 118/7 118/9 mens [4] 152/12          84/19 98/10 102/10
 146/15
                         luckily [1] 64/7        118/10 120/22 160/21 152/23 154/13 154/15 102/13 103/9 103/21
literal [1] 116/21
                         lunch [2] 5/24 121/17 161/3 161/3 161/17        mentality [1] 127/9    104/16 105/15 151/13
little [18] 18/15 18/17
                                                 163/4


                                                                                                 Exhibit D-3
                                                                                             Page 188 of 202
  Case 1:21-cr-00352-JEB                 Document 107-3             Filed 11/15/24           Page 189 of 202
                                                                                                                   189


M                      123/8 131/20 135/6      172/14 172/24           much [13] 4/14 4/17     never [7] 12/6 47/14
                       138/24 142/3 147/25 Mr. Bru [65] 4/15 5/1        5/21 9/20 12/4 14/23    51/14 77/10 78/20
minutes... [2] 157/12
                       moved [2] 74/16 79/22 12/4 65/22 80/10 83/2 61/23 66/19 89/4             95/1 146/1
158/1
                       movements [2] 77/11 83/20 83/21 84/2             143/22 163/13 164/18 New [1] 1/15
misdemeanors [2]
                       77/21                   86/19 87/8 88/13         165/17                 next [20] 54/12 66/3
164/6 164/7
                       moves [6] 78/5 100/10 88/16 89/19 90/4 92/8 multiple [7] 7/14 49/24 69/3 80/13 83/6 108/2
missed [1] 136/15
                       112/8 113/22 117/5      94/16 99/16 99/25        77/12 124/8 139/17      119/10 119/14 120/6
mission [6] 18/13 54/1
                       148/1                   101/13 102/5 102/16      146/18 150/6            120/13 120/16 120/24
54/7 63/10 63/14
                       moving [4] 85/5 93/19 102/22 103/15 104/8 Mumma [7] 1/14 2/4             123/1 123/8 128/5
64/15
                       112/23 152/23           104/18 105/6 111/9       2/8 4/8 15/10 18/2      143/7 149/14 154/19
mistake [1] 146/24
                       MPD [3] 148/9 148/10 114/23 115/20 118/6         157/25                  155/9 171/17
mix [1] 109/22
                       167/4                   119/10 119/23 120/4 murder [2] 13/5 137/15 NGs [2] 119/3 161/12
mob [9] 9/21 9/24
                       MR [5] 2/6 82/15        120/8 120/19 120/21 Muse [3] 1/19 4/19          Nice [2] 120/19 137/9
34/17 35/10 37/12
                       105/11 111/17 122/12 122/16 122/23 123/19 172/24                        Nicole [1] 171/14
64/6 64/16 64/17
                       Mr. [178] 4/15 5/1 12/4 124/2 124/19 125/9      must [1] 13/24          nine [1] 65/12
155/5
                       22/20 24/25 26/4        125/21 126/14 127/16 my [40] 5/12 30/1 30/1 nine-minute [1] 65/12
modern [1] 115/12
                       27/18 28/2 31/8 32/12 127/21 132/7 132/10        31/17 32/8 35/15       no [69] 1/3 4/25 7/16
moment [11] 6/3 6/12
                       33/4 33/8 36/10 37/3    132/20 133/7 133/14      35/17 35/23 37/13       9/13 11/10 12/24
15/2 61/21 62/17 66/5
                       38/1 38/3 40/9 42/10    135/23 135/25 136/15 38/13 39/16 47/13           13/12 14/6 14/16
66/12 149/10 150/18
                       43/7 44/16 45/4 45/14 136/23 137/5 137/7         49/2 51/6 51/17 51/18 20/24 22/14 23/3
151/17 159/4
                       46/3 46/21 47/17 48/3 143/20 144/2 164/19        55/1 63/17 63/19 66/8 23/23 24/2 26/3 30/3
momentarily [1] 34/14
                       49/8 49/21 50/14 52/2 166/8 171/12 172/1         67/11 68/20 68/20       31/14 38/9 39/6 40/2
moments [1] 151/19
                       53/5 55/18 57/8 57/12 172/14                     71/9 74/25 76/23 82/4 50/13 51/11 51/14
money [2] 130/13
                       61/25 63/5 65/22        Mr. Bru's [10] 91/13     93/11 119/8 128/2       52/23 54/15 55/17
137/12
                       80/10 83/2 83/12        98/19 111/24 114/21      128/3 128/5 137/9       59/16 60/5 62/17 63/3
monitor [1] 130/7
                       83/20 83/21 84/2        122/7 131/4 138/13       137/17 137/17 137/17 63/9 64/7 64/21 70/3
montage [4] 32/8
                       85/14 86/19 87/8 88/9 139/13 140/13 171/23 137/21 147/7 161/17           74/4 74/14 76/3 76/13
32/15 65/11 65/12
                       88/13 88/16 89/19       Mr. Flanary [3] 120/8    165/5                   77/9 82/10 86/10
month [3] 11/17 11/18
                       90/4 91/7 91/13 92/3    120/11 120/19           myself [8] 30/1 37/13    86/23 94/25 111/12
156/2
                       92/8 94/11 94/16 95/1 Mr. Gordon [98] 22/20 40/21 116/14 123/1           112/7 116/14 117/18
monthly [1] 5/23
                       95/7 95/17 96/7 97/2    24/25 26/4 27/18 28/2 128/4 139/18 155/9         127/2 128/14 131/19
months [2] 81/24 154/2
                       97/9 98/19 98/22        32/12 33/4 33/8 36/10                            133/25 137/18 143/24
monument [3] 88/14                                                     N
                       99/13 99/16 99/21       37/3 38/1 38/3 40/9                              144/16 144/22 150/13
89/4 89/15
                       99/25 100/16 101/8      42/10 43/7 44/16 45/4 name [12] 4/12 18/7        155/4 156/17 157/14
mood [1] 35/6
                       101/13 101/20 102/5     45/14 46/3 46/21         43/17 67/9 67/11        159/22 162/21 165/7
moot [2] 12/25 13/10
                       102/9 102/16 102/22     47/17 48/3 49/8 49/21 67/13 78/20 80/24          165/9 165/22 165/23
more [21] 5/6 9/25
                       103/5 103/8 103/15      50/14 52/2 53/5 55/18 81/2 87/2 111/15           167/20 171/10 171/13
14/6 17/5 28/19 40/12
                       103/23 104/2 104/8      57/8 57/12 61/25 63/5 119/24                     171/13
57/7 57/10 65/4 65/10
                       104/13 104/15 104/18 83/12 85/14 88/9 91/7 named [4] 12/9 12/10 No. [2] 16/8 19/21
85/9 97/1 106/14
                       105/1 105/6 105/19      92/3 94/11 95/1 95/7     136/2 161/3            No. 1 [1] 19/21
124/10 124/12 125/10
                       106/7 106/24 107/14     95/17 96/7 97/2 97/9 namely [1] 171/2           nobody [3] 62/21
126/5 127/16 135/18
                       107/22 108/2 110/5      98/22 99/13 99/21       names [2] 6/24 139/17 150/14 162/8
159/17 170/23
                       110/24 111/9 111/24     100/16 101/8 101/20 nanotech [2] 123/2          non [1] 16/2
morning [20] 4/2 4/7
                       112/21 114/2 114/11     102/9 103/5 103/8        155/10                 non-hearsay [1] 16/2
4/9 4/14 4/17 4/19
                       114/21 114/23 115/2     103/23 104/2 104/13 narrative [1] 5/9           none [4] 23/24 56/7
8/23 15/4 18/5 18/6
                       115/20 117/10 118/6     104/15 105/1 105/19 nation [2] 127/1 157/13 149/3 162/15
61/12 64/13 66/13
                       119/10 119/14 119/23 106/7 106/24 107/14 national [3] 9/1 91/3          nonsensical [1] 164/13
66/14 80/22 80/23
                       120/4 120/8 120/8       107/22 108/2 110/5       161/13                 noon [2] 88/22 89/13
88/21 91/17 91/19
                       120/11 120/13 120/19 110/24 112/21 114/2 natural [1] 170/21             normal [1] 62/13
126/18
                       120/19 120/21 120/24 114/11 115/2 117/10 nature [2] 123/24              normally [2] 40/1 120/9
mortal [1] 8/12
                       121/13 122/7 122/16     119/14 120/13 120/24 164/14                     norms [2] 12/13 13/8
Mossy [1] 124/11
                       122/23 123/19 124/2     121/13 124/15 124/22 nearly [2] 7/13 8/10       north [6] 1/12 27/10
most [8] 55/4 79/11
                       124/15 124/19 124/22 125/18 126/10 127/13 necessary [1] 150/14           50/19 55/4 56/8
84/25 129/7 145/23
                       125/9 125/18 125/21     129/4 130/19 131/25 neck [4] 8/24 83/24          151/11
151/18 151/18 165/13
                       126/10 126/14 127/13 132/17 133/1 134/5          84/1 114/6             Northern [1] 1/20
mostly [2] 44/13 56/3
                       127/16 127/21 129/4     135/7 135/9 137/23      need [12] 5/5 14/18     Northwest [6] 1/15
motion [4] 14/8 137/9
                       130/19 131/4 131/25     139/2 139/7 139/19       50/16 53/6 67/4 67/4    1/24 19/21 26/15
138/13 144/11
                       132/7 132/10 132/17     140/2 142/20 143/3       99/14 107/7 127/25      26/16 28/6
motions [1] 137/16
                       132/20 133/1 133/7      143/7 143/15 171/9       144/11 145/22 162/4 Norwood [2] 66/9 66/9
motivated [1] 166/6
                       133/14 134/5 135/7      Mr. McConnell's [1]     needed [1] 54/7         not [98] 5/9 5/11 5/15
motivations [1] 129/1
                       135/9 135/23 135/25     31/8                    needs [1] 16/19          9/20 10/10 10/14
motorcade [2] 73/10
                       136/15 136/23 137/5 Mr. Muse [1] 172/24         nefarious [2] 25/18      10/22 11/5 12/6 12/23
73/16
                       137/7 137/23 138/13 MS [2] 2/4 2/8               25/20                   13/1 13/14 14/10
mouth [3] 90/11
                       139/2 139/7 139/13      Ms. [5] 15/10 18/2 66/9 negative [6] 5/12 12/14 14/11 14/12 20/21
118/21 161/9
                       139/19 140/2 140/13     66/9 157/25              144/3 144/7 144/8       20/22 20/22 23/17
move [21] 21/1 22/16
                       142/20 143/3 143/7      Ms. Bell-Norwood [2]     158/3                   27/14 29/14 31/13
32/24 36/24 42/4
                       143/15 143/20 144/2     66/9 66/9               negatively [1] 170/5     54/2 54/3 55/16 60/3
58/19 74/5 74/8 74/9
                       164/19 166/8 171/9      Ms. Mumma [3] 15/10 negligence [1] 13/11         60/9 62/17 65/15
74/11 75/3 86/11
                       171/12 171/23 172/1     18/2 157/25             nestor [5] 1/23 1/25     65/23 66/23 67/4
94/25 96/15 119/14
                                                                        173/9 173/9 173/11


                                                                                                 Exhibit D-3
                                                                                             Page 189 of 202
    Case 1:21-cr-00352-JEB                 Document 107-3                Filed 11/15/24           Page 190 of 202
                                                                                                                          190


N                        O                         10/7 10/14 11/2 19/3       85/2 86/14 86/16        opposing [1] 157/2
                                                   19/8 27/12 34/20           86/21 87/10 88/18       opposite [1] 151/8
not... [66] 67/22 72/25 oath [3] 15/8 66/17
                                                   35/21 35/23 37/13          90/21 91/2 93/3 93/15   opposition [2] 13/12
 74/14 75/12 75/13        80/17
                                                   37/17 39/1 39/7 40/5       93/19 93/25 94/22        124/4
 76/10 80/11 85/16       object [4] 5/19 8/7 69/1
                                                   41/23 45/22 45/25          96/22 101/8 101/17      order [11] 7/9 17/6
 92/25 98/17 103/3        69/2
                                                   47/4 48/22 48/23 51/1      102/6 103/5 103/19       51/9 58/25 106/13
 116/14 117/4 118/3      objected [2] 73/23
                                                   51/17 55/1 63/18           105/24 108/7 109/4       106/15 126/2 150/23
 124/4 124/11 125/7       74/16
                                                   63/19 65/1 78/23           109/12 110/2 110/16      156/7 160/18 160/19
 128/4 128/14 129/20 objection [20] 7/4 16/3
                                                   78/25 79/4 97/15           110/20 114/7 116/9      ordered [2] 51/7 51/12
 134/25 135/5 137/19      16/10 17/20 21/3
                                                   97/17 97/18 147/5          116/12 118/9 119/13     orderly [2] 168/21
 137/19 143/13 144/9      22/17 33/1 36/25 42/6
                                                   147/11 147/16 147/21       119/19 121/13 122/5      169/12
 144/16 144/19 144/23 59/10 71/19 72/20
                                                   148/9 148/10 148/16        123/12 123/22 125/12    orders [1] 172/11
 144/24 145/1 145/11      73/21 78/7 112/10
                                                   148/22 149/4 149/8         129/12 129/13 129/16    Oregon [6] 8/10 11/14
 145/14 145/24 146/10 113/24 117/7 131/22
                                                   149/16 149/20 150/5        129/17 129/24 130/15     11/14 83/8 120/5
 147/1 147/17 147/22      138/25 142/5
                                                   150/22 151/12 152/9        132/13 132/15 133/9      162/14
 150/4 150/21 152/20 objections [2] 59/7
                                                   154/17 154/23 155/1        135/6 135/18 135/20     organization [1] 91/3
 152/25 153/1 154/25      73/20
                                                   155/2 155/3 155/4          135/25 136/25 137/6     orient [2] 26/14 57/18
 154/25 156/12 156/12 obligation [2] 12/12
                                                   158/22 158/25 159/10       137/9 137/15 139/1      original [2] 38/13 54/1
 157/6 158/7 159/18       12/24
                                                   163/25 167/1 168/17        139/5 142/6 143/20      originally [1] 87/8
 160/8 161/21 162/18 observations [1]
                                                   168/24 169/11 169/23       143/22 144/7 144/9      other [35] 5/18 7/11
 164/12 164/20 165/9      165/13
                                                   169/25 170/2 170/2         144/17 145/6 165/4       11/1 16/17 17/16 30/6
 165/15 165/20 166/4 observe [3] 5/13 32/4
                                                  officers' [1] 148/8         171/14                   40/5 58/8 58/16 58/20
 166/8 166/8 168/4        62/14
                                                  official [14] 1/23 11/23   once [11] 51/1 51/14      65/19 70/10 76/19
 169/4 171/1 172/11      observed [2] 165/17
                                                   25/8 57/11 65/11           56/2 56/3 60/23 60/24    77/1 77/3 77/4 79/3
 172/22                   165/20
                                                   65/12 148/22 150/16        63/19 73/19 73/20        90/19 100/10 109/23
notable [1] 43/3         observer [1] 9/20
                                                   153/3 153/20 155/16        147/10 168/12            123/14 123/23 131/8
notarized [1] 154/3      obstruct [11] 7/20
                                                   170/15 170/17 173/10      one [55] 6/3 15/2         145/19 147/13 149/7
note [1] 167/4            63/13 64/15 64/18
                                                  officially [1] 6/22         48/22 58/4 58/15         157/19 157/20 157/20
nothing [7] 7/7 18/1      149/5 149/7 153/4
                                                  often [1] 50/11             58/19 60/6 60/7 60/8     162/8 166/10 166/19
 25/17 25/20 65/19        154/13 169/22 170/16
                                                  oh [6] 66/9 85/15           60/21 61/21 64/17        167/15 171/8 171/9
 80/8 143/19              170/22
                                                   102/21 128/14 133/15       65/4 65/10 66/5 66/12   others [7] 118/3
notice [3] 29/21 129/19 obstructed [4] 152/4
                                                   153/10                     69/10 70/17 74/1         166/18 168/18 170/11
 129/22                   152/9 152/10 159/24
                                                  Ohio [3] 51/22 53/9         74/16 74/16 76/1         170/14 171/2 171/6
notification [3] 71/10   obstructing [2] 9/21
                                                   78/19                      77/12 82/21 85/9        our [17] 5/22 9/14 26/9
 71/25 72/9               170/1
                                                  okay [183] 4/14 4/15        85/21 89/9 90/8 93/4     26/13 28/13 54/14
notifications [1] 127/24 obstruction [2] 11/23
                                                   4/22 5/8 5/14 5/21         98/22 106/14 107/3       63/17 67/20 68/22
notifies [1] 71/25        170/15
                                                   5/25 6/9 14/14 14/17       109/13 120/21 122/7      69/7 76/25 96/15
notwithstanding [1]      obstructive [1] 159/17
                                                   14/23 15/3 15/14           135/16 136/15 136/20     127/3 151/18 151/20
 5/15                    obtain [2] 86/21 86/24
                                                   15/22 15/24 16/11          140/10 142/18 145/12     157/5 157/15
November [5] 8/19        obviously [5] 6/17 7/24
                                                   17/3 17/20 18/24 19/1      145/18 146/17 146/22    ourselves [1] 162/4
 122/17 122/18 139/23 64/3 88/22 163/12
                                                   20/11 20/14 20/19          147/2 149/18 149/25     out [35] 9/24 29/7 31/7
 154/5                   OC [1] 163/8
                                                   20/22 20/25 23/9           150/6 150/13 151/17      31/10 32/5 33/16 34/5
November 10 [2]          occasions [1] 172/8
                                                   23/19 23/21 24/3 24/5      151/18 152/22 156/19     34/6 39/17 48/24
 122/17 122/18           occupation [1] 67/10
                                                   24/18 25/11 26/11          157/2 164/9              57/19 75/23 76/10
November 3 [3] 8/19 occupy [4] 7/12 7/21
                                                   26/14 26/19 27/9          ones [1] 136/20           79/23 81/10 84/4 90/3
 139/23 154/5             119/2 161/12
                                                   27/13 27/17 27/25         ongoing [1] 44/3          93/12 95/4 96/25
now [43] 12/9 13/7       occupying [2] 151/25
                                                   28/16 29/2 29/17          online [1] 138/11         99/10 103/15 103/16
 37/25 40/7 40/11         159/11
                                                   29/25 30/4 30/17          only [17] 10/17 12/2      113/3 118/21 119/4
 49/24 56/2 65/15        occur [2] 89/3 89/12
                                                   30/23 31/15 31/20          23/3 24/24 65/10         124/2 136/20 150/7
 69/16 70/12 70/25       occurred [2] 89/1
                                                   32/1 33/2 33/15 33/22      66/23 69/8 97/7          161/9 161/13 161/22
 71/4 71/11 72/4 74/13 169/19
                                                   34/20 35/1 35/8 35/12      134/21 134/24 145/14     164/21 165/25 171/18
 75/2 76/16 77/6 77/14 occurs [1] 59/8
                                                   36/8 37/1 37/25 39/9       150/4 152/11 154/20     outer [9] 25/23 26/9
 78/10 92/19 98/3        October [1] 1/5
                                                   39/14 40/22 41/7           161/21 165/8 166/22      26/13 26/21 28/13
 99/21 101/3 101/15      odd [1] 47/14
                                                   42/20 43/16 43/21         open [12] 10/21 25/21     54/2 63/17 96/13
 101/16 101/18 101/25 off [6] 10/17 24/25
                                                   45/2 45/24 46/3 46/18      29/10 29/11 41/10        96/18
 108/24 119/7 124/4       39/18 57/5 117/23
                                                   47/6 47/16 48/16 49/7      64/11 94/5 94/20 96/6   outline [3] 20/10 43/15
 124/16 128/3 134/16      168/9
                                                   49/20 50/14 50/22          96/13 102/17 153/16      70/7
 135/1 145/3 146/4       offense [2] 167/22
                                                   52/1 52/15 52/20 53/8     opening [5] 6/2 7/5      outlined [2] 42/23
 146/18 150/1 151/2       170/14
                                                   53/12 53/24 54/9           12/5 14/7 14/19          43/24
 155/20 161/17 161/18 offenses [1] 82/7
                                                   54/12 56/5 56/14          operate [2] 18/22        outnumber [2] 118/20
nowadays [1] 124/3       offer [1] 165/5
                                                   56/16 57/7 57/23 58/9      110/2                    161/8
number [9] 15/12         office [19] 1/11 1/15
                                                   58/15 59/13 59/17         operating [1] 12/20      outnumbered [1] 11/1
 16/14 109/4 109/8        7/2 31/8 31/8 32/3
                                                   59/19 60/2 60/8 60/14     operational [1] 54/19    outset [1] 135/11
 109/9 110/22 146/22      32/9 32/9 58/7 73/13
                                                   60/18 61/7 61/13          operations [1] 28/25     outside [17] 19/18
 172/7 172/11             74/2 75/4 75/25 79/2
                                                   61/20 62/16 62/18         opportunity [4] 10/23     21/12 31/3 35/24 38/6
numbered [1] 129/20       79/10 81/9 153/23
                                                   63/1 63/4 64/21 65/9       59/6 87/13 172/20        51/22 53/11 56/2 66/5
numbers [2] 109/13        163/20 172/15
                                                   65/18 65/24 70/5          oppose [2] 158/15         93/22 101/5 101/7
 162/1                   officer [4] 39/18 39/20
                                                   70/12 73/11 80/1 80/7      158/16                   102/2 103/12 105/11
numerous [1] 35/20        150/2 150/7
                                                   80/12 81/12 84/18         opposed [1] 135/14        165/2 168/18
NW [1] 173/10            officers [68] 7/18 9/23


                                                                                                      Exhibit D-3
                                                                                                  Page 190 of 202
 Case 1:21-cr-00352-JEB                     Document 107-3                Filed 11/15/24             Page 191 of 202
                                                                                                                              191


O                         111/10 140/12               150/10 150/22 167/6       113/19 117/1 117/24      147/11 147/15 148/2
                         particularly [1] 163/3      Per [1] 112/18            physical [4] 45/24        148/7 148/12 151/4
outskirts [1] 58/7
                         particulars [1] 13/15       perceived [1] 12/8         55/17 65/5 123/25        151/6
over [38] 6/22 8/6 9/17
                         parties [2] 123/6           percentage [3] 109/5 physically [4] 26/19          please [23] 4/5 5/6
 9/18 11/17 13/8 35/12
                          155/14                      109/12 109/21             39/23 48/15 64/8         15/5 18/7 22/20 27/18
 35/21 43/5 51/12
                         parts [2] 16/24 87/18 peremptory [2] 12/13 picketing [1] 169/16                 44/18 49/9 50/14
 51/13 51/14 53/19
                         party [4] 6/25 8/21          13/8                     picture [19] 10/7 10/8 66/15 67/9 67/10
 54/23 59/10 70/2
                          139/25 154/7               performance [3] 12/14 23/9 26/8 27/23 28/6          67/14 80/25 85/16
 94/16 104/24 114/18
                         passed [2] 79/7 97/18 170/3 170/7                      43/13 44/13 50/19        95/2 95/18 98/22
 114/19 116/15 121/5
                         passing [2] 55/16           perimeter [23] 9/16        54/20 62/23 85/21        101/11 103/6 103/6
 123/4 146/20 146/25
                          167/15                      25/23 26/2 26/10          91/17 103/2 119/11       121/25 135/9
 146/25 146/25 150/10
                         passive [1] 9/20             26/11 26/13 26/19         120/19 121/4 130/25 pleased [1] 167/18
 150/11 154/16 155/12
                         past [4] 11/1 79/23          26/21 27/9 27/14          136/9                   pledge [8] 115/15
 162/5 162/5 163/25
                          154/19 167/25               28/14 54/2 63/17 69/4 pictures [8] 20/23           115/16 118/8 118/9
 165/1 166/1 167/19
                         paste [1] 125/10             69/6 69/7 69/9 69/11      87/20 96/5 103/1         118/10 160/21 160/25
 169/10
                         patch [1] 115/7              69/13 69/21 69/22         116/15 116/20 116/21 161/3
overcoming [1] 63/22
                         path [4] 9/18 10/3           70/8 70/9                 118/1                   Plus [1] 152/21
overhead [1] 10/25
                          79/11 151/9                period [2] 38/7 87/22 pitched [1] 96/13            podcast [18] 136/7
overlooking [1] 11/6
                         patriot [1] 137/13          periodically [1] 130/8 place [11] 8/4 12/25         136/9 140/4 140/10
overrun [2] 10/19
                         patriots [4] 11/19          perjury [1] 12/12          21/25 53/4 54/5 55/3     140/18 140/22 140/24
 94/16
                          118/17 124/2 161/5         permission [2] 52/21       64/2 91/15 152/25        141/9 141/11 141/11
oversee [2] 19/8 68/16
                         pattern [1] 114/8            54/21                     162/14 170/18            141/14 141/23 141/25
oversees [1] 10/14
                         pause [25] 33/7 36/11 persistent [1] 10/9             placed [1] 126/6          142/12 143/5 143/8
overtaken [1] 54/4
                          38/3 44/18 45/7 45/7 person [11] 12/9 25/18 places [1] 142/25                  148/14 160/11
overthrow [3] 11/13
                          45/17 46/7 46/7 49/11 60/6 60/7 60/8 76/10 Plaintiff [2] 1/3 1/11             podcasts [1] 140/7
 161/22 166/18
                          55/21 61/8 95/20 99/1 83/3 87/8 115/21               plan [8] 68/22 74/13     podium [3] 5/5 5/7
overwhelm [6] 7/12
                          100/19 101/11 101/21 150/15 166/20                    155/20 156/1 160/5       66/11
 11/19 118/17 161/4
                          101/22 102/12 103/8 personal [1] 159/7                160/10 162/5 162/10 point [35] 35/3 35/9
 162/1 162/22
                          103/24 104/6 104/15 personally [1] 58/4              planned [2] 9/10          35/10 35/22 48/25
overwhelmed [2] 37/15
                          105/2 164/12               personnel [2] 30/1         166/10                   50/24 51/24 51/25
 37/15
                         paused [14] 33/10 37/6 69/12                          planning [1] 68/17        53/24 54/5 54/9 54/14
own [7] 144/14 144/18
                          38/4 45/17 46/9 48/6 perspective [1] 159/12 plans [3] 11/12 68/7               57/5 57/18 58/10
 144/21 145/25 146/7
                          50/16 52/5 78/13           peruse [1] 5/13            68/8                     59/17 61/8 62/21
 151/23 159/7
                          100/19 102/13 103/9 petitioners [5] 12/23            planted [2] 76/7 159/23 62/23 64/4 74/16
P                         104/16 105/3                12/23 13/1 13/7 13/14 plastic [1] 27/3             76/12 84/4 95/4 96/4
p.m [18] 22/7 33/14      pavement     [1]  44/6      phone  [26]  51/6   86/2  platform  [1]  128/9      99/16 140/15 144/1
 48/2 50/23 52/10        pay [2] 122/25 155/8         95/24 96/5 115/22        play [33] 33/4 37/3       154/14 157/6 157/7
 52/16 58/23 61/9        paying [1] 137/12            115/23 116/13 116/13 37/25 45/4 45/14              162/15 162/16 162/21
 63/25 99/20 101/2       pdf [1]  87/20               116/15  116/20    116/21  46/21 48/3   48/17 49/9  164/21
 102/8 103/18 105/14 peace [19] 9/16 26/17 116/23 117/1 117/17                  49/21 50/16 52/2 53/6 pointed [1] 167/2
 107/7 121/19 145/7       26/18 31/7 31/19            117/24 117/24 118/1       55/19 65/15 92/4        pointing [2] 45/23
 172/25                   34/13  42/15    94/16       118/7 121/3   121/9       95/17 97/1   97/8 98/17  86/20
packed [1] 8/9            94/22 128/6 146/18          121/10 121/12 146/20 98/24 99/14 102/9            points [2] 23/25 72/1
page [8] 2/10 3/1         146/19 147/4 147/10         160/13 160/17 160/21 103/6 104/4 104/13           police [75] 7/12 7/17
 107/20 107/23 108/2      154/16   166/20   166/20   phones   [1] 128/9         105/18  142/10  142/13   7/20 9/23 10/5 10/6
 109/19 111/24 112/4      166/23 168/23              photo [29] 8/25 23/14 142/20 143/4 143/7            10/13 10/19 18/10
pain [1] 13/5            peaceful   [2]  151/20       23/25 28/11   34/12       143/16                   18/11 18/13 19/2 21/7
parading [1] 169/16       163/17                      41/25 42/20   43/3  44/2 played  [43]  33/6 37/5   27/12 27/16 34/15
paragraph [1] 153/13 pedestrians [1] 70/1             44/12 44/20 62/9          38/2 45/6 45/16 46/6     34/17 35/10 35/16
parent [1] 106/22        penalties   [1]  12/12       83/16 83/18   83/22       46/22 46/23   47/19      35/19 35/25 36/20
part [27] 7/16 11/16     Pence [6] 67/25 70/13 85/18 85/23 86/18                48/5 48/18 49/10         37/14 37/16 38/14
 14/17 23/17 24/12        70/17 70/18 105/12          89/14 89/18 90/5          49/22 52/4 55/20         38/15 38/18 38/19
 28/13 47/4 64/16 68/2    168/6                       90/13 91/23   94/17       77/15 77/17   78/12      38/24 39/17 41/23
 71/15 85/5 86/3 87/18 Pennsylvania [3]               100/24 132/9 132/10       79/16 79/20 92/5         43/13 44/5 44/8 44/12
 93/19 93/21 98/1         110/19 146/16 147/3         137/1 167/16              95/19 96/9 97/3 97/10 44/12 44/13 45/22
 111/7 111/25 130/2      people [35] 6/15 29/22 photograph [5] 24/20            98/25 99/23 100/18       47/4 47/23 47/25
 131/5 138/2 140/6        30/2 31/17 38/23 54/8 94/18 95/25 116/13              101/10 101/23 102/11 48/13 48/21 48/23
 154/23 158/5 160/15      60/3 60/4 60/14 64/18 146/19                          103/7 103/25 104/5       50/6 51/2 51/2 51/7
 163/2 169/18             69/25  70/1   82/6  89/18  photographed     [3]       104/14  105/20  142/14   52/18 56/3 63/11
Partially [2] 49/4 49/5 90/17 90/21 92/24             113/12 116/11 116/12 142/22 143/6 143/9            63/18 63/19 63/21
participated [1] 64/20 93/14 116/7 123/4             photographic [1]           143/18 149/22 156/15 63/23 70/8 94/3 94/7
participation [3] 140/13 124/9 129/2 139/17           165/14                   playing [1] 96/7          143/12 147/12 148/21
 140/25 141/17            146/10 146/17 147/20 photographing [1]               plays [1] 29/7            148/22 149/13 150/15
particular [19] 26/10     151/21 153/23 153/24 126/23                          plaza [25] 7/17 9/19      150/19 150/22 151/12
 40/11 43/12 44/4         155/11   157/4   160/22    photographs    [2]         10/19 24/7   24/10       154/22 162/1 163/8
 47/13 47/14 51/25        165/1 165/1 168/7           113/18 165/21             24/16 25/25 37/18        167/1 167/4 167/9
 54/19 59/7 59/10        people's [1] 162/7          photos [11] 10/9 20/11 38/7 38/7 41/23 42/1         167/15 170/8
 59/23 62/17 64/17       pepper   [9]  10/10   38/22  20/14 41/10   41/15       43/18 50/21   57/3      policy [1] 158/16
 77/9 90/22 93/4 93/8     48/23 50/7 50/9 150/7 41/25 93/22 93/25               64/22 95/6 147/4        political [3] 5/11 13/12



                                                                                                         Exhibit D-3
                                                                                                     Page 191 of 202
    Case 1:21-cr-00352-JEB               Document 107-3               Filed 11/15/24          Page 192 of 202
                                                                                                                     192


P                         168/5                   proposed [2] 73/2      pulled [2] 116/23       ray [1] 25/19
                         president's [8] 67/24     170/24                 117/23                 rea [4] 152/13 152/23
political... [1] 156/10
                          68/7 68/8 69/14 70/19 prosecutor [2] 5/13      pulling [3] 76/16        154/13 154/15
portion [6] 24/16 25/25
                          73/2 73/13 79/2          137/10                 118/21 161/9           reaction [1] 6/12
 26/9 26/25 42/23 44/6
                         presidential [10] 6/11 prosecutorial [1] 13/2 pulls [1] 150/7           read [27] 48/1 52/8
Portland [10] 8/10
                          7/25 25/24 29/4 57/25 prosperity [1] 137/17 punch [7] 10/16 49/25 96/24 99/18 109/4
 11/15 11/18 83/8
                          58/1 59/4 64/3 64/9     protect [6] 18/14 54/1 150/3 150/12 150/14      118/13 118/14 119/20
 118/16 120/4 161/4
                          64/19                    54/2 54/3 63/12 150/8 150/18 150/23            122/22 123/22 125/2
 162/14 163/3 167/19
                         presiding [2] 30/24      protected [2] 168/7    punches [1] 150/3        125/8 125/25 126/25
position [2] 148/18
                          159/21                   170/7                 punching [1] 50/2        127/20 129/7 132/16
 150/5
                         presses [1] 150/1        protectees [1] 70/23   purpose [6] 13/20        133/19 137/6 139/20
post [7] 9/9 125/21
                         pretty [2] 128/4 150/24 protecting [1] 70/20     68/13 71/23 71/24       153/5 153/12 158/3
 132/6 132/6 132/20
                         previous [6] 13/4 13/9 protection [1] 30/12      170/1 171/5             160/19 161/20 161/21
 133/7 135/23
                          46/19 101/17 108/21 protects [1] 70/13         pursuant [1] 115/23      163/1
posted [10] 8/15 9/13
                          109/2                   protest [2] 124/10     push [4] 97/4 149/8     readily [1] 152/20
 88/18 91/21 124/19
                         previously [3] 83/13      162/20                 154/20 167/8           reading [1] 158/12
 126/14 126/20 132/20
                          85/15 85/15             protester [1] 60/22    pushed [7] 10/5 11/1 ready [2] 147/21 167/5
 133/7 168/9
                         primarily [1] 82/12      protesters [9] 31/25    43/5 43/14 147/19      real [1] 152/21
posts [9] 87/20 122/9
                         primary [1] 18/13         39/20 52/20 55/4       148/7 167/3            really [3] 135/17 148/4
 130/12 131/8 157/11
                         principal [1] 170/14      74/18 75/11 75/22     pushes [1] 147/20        165/20
 157/12 157/20 166/11
                         principle [1] 163/13      76/8 78/25            pushing [11] 7/18 10/8 reappearance [1]
 170/19
                         print [1] 137/21         proud [30] 9/3 9/4      10/10 50/6 57/4         129/23
posture [1] 54/14
                         prior [9] 11/9 20/6 22/3 11/12 90/3 90/25 91/2 148/12 149/12 149/17 reason [4] 47/13 90/22
potential [2] 8/12 124/4
                          36/2 129/22 134/19       91/3 111/11 114/17     163/25 169/10 169/24 90/24 165/10
potentially [1] 69/3
                          134/22 134/25 162/24 114/18 115/10 115/13 put [13] 8/23 14/24          reasons [5] 8/18
POTUS [3] 6/15 123/5
                         private [1] 122/9         119/12 121/4 142/18    25/9 25/19 29/14 77/6 135/12 139/22 154/4
 155/12
                         Pro [1] 1/18              142/25 146/8 146/16    119/4 144/2 144/9       169/8
power [13] 6/20 7/9
                         probable [1] 170/21       153/1 156/13 160/7     144/14 150/5 161/13 recall [4] 20/21 61/20
 9/10 146/13 151/20
                         probation [1] 172/14      160/12 160/21 160/24 163/5                     77/13 88/20
 153/22 153/25 155/16
                         problem [2] 94/25         160/25 161/1 161/2    putting [1] 10/11       Recalling [1] 121/22
 158/17 159/7 159/9
                          127/10                   161/19 166/10 166/19                          recap [1] 145/20
 162/5 163/18
                         procedures [3] 13/23 provide [2] 71/24 126/3 Q                          receive [3] 72/12 87/10
powers [3] 13/2 13/2
                          25/4 25/13              provided [2] 128/23    Quantico [1] 81/25       128/1
 13/3
                         proceed [7] 5/16 14/1 128/23                    question [4] 152/21     received [23] 16/6
prediction [1] 156/19
                          63/1 100/9 121/24       provides [4] 72/1 73/3 165/7 165/10 167/21      16/12 17/4 17/13
preliminary [4] 4/24 5/1
                          135/12 135/19            73/4 87/17            questioning [1] 15/11    17/22 21/5 22/19
 5/3 5/18
                         proceeded [2] 145/13 proving [1] 13/22          questions [6] 13/14      31/15 31/16 33/3 37/2
premarked [4] 71/4
                          167/14                  proximity [3] 60/12     13/16 66/22 152/11      42/9 51/6 71/21 72/22
 72/4 76/17 77/6
                         proceeding [7] 11/23      75/14 168/15           152/13 172/21           78/9 112/12 114/1
preparation [2] 21/19
                          65/12 153/3 153/20      public [19] 4/21 16/22 quickly [6] 11/2 35/19 117/9 122/7 131/24
 163/2
                          170/16 170/17 170/22 17/10 23/22 24/1 25/4 37/16 92/23 145/20           139/6 142/8
prepared [4] 13/15
                         proceedings [4] 4/1       25/7 25/21 26/2 27/14 152/12                  recess [12] 5/23 5/24
 32/8 145/2 167/6
                          30/24 62/15 173/5        62/14 70/3 128/12     quiet [1] 55/3           29/15 59/19 59/20
preparing [1] 31/4
                         process [22] 8/3 13/10 130/9 164/24 164/24 quite [1] 68/25               61/18 61/19 121/19
presence [3] 21/22
                          13/17 13/25 25/24        165/1 168/23 168/23 quote [2] 8/14 9/12        145/3 145/5 145/7
 58/18 159/24
                          29/4 29/6 30/4 57/25 publicly [1] 85/23                                 168/22
                          58/11 59/1 59/1 59/11 publish [53] 22/20 26/4 R
present [7] 4/10 8/17
                                                                                                 recognizable [2]
 41/2 83/9 111/3                                                         rack [17] 26/22 27/2
                          60/11 64/3 64/4 64/9     27/18 28/2 32/12                               152/15 152/15
 139/21 154/3                                                             27/6 27/9 28/13 37/24 recognize [31] 33/18
                          64/19 65/14 84/14        32/25 42/10 43/7
presented [1] 108/16
                          125/12 172/9             44/16 46/3 47/17 49/8 43/5 44/10 48/15 50/4 42/20 46/14 46/16
presentence [1] 172/15                                                    50/5 69/11 70/9
                         processed [1] 144/6       50/15 57/12 66/11                              53/8 57/15 62/9 71/5
preside [1] 8/6
                         processes [1] 82/22       78/10 83/12 88/9 91/7 147/12 148/11 149/8      71/8 72/5 77/7 77/17
presidency [1] 171/3                                                      149/11
                         processing [1] 60/7       94/11 95/1 95/2 95/7                           78/21 83/16 85/18
president [57] 6/18 8/6                                                  racks [6] 27/4 166/21 89/20 91/10 105/8
                         produce [1] 117/19        98/23 99/21 100/16
 9/5 11/7 29/10 29/14                                                     167/25 168/17 169/10 106/10 107/17 110/11
                         profile [4] 85/21 86/7    101/8 101/20 103/5
 30/8 30/14 30/15                                                         169/24
                          130/25 131/16            103/23 105/1 106/7                             111/20 114/7 114/14
 30/24 31/4 31/13 54/6
                         profit [1] 164/25         106/24 107/14 110/5 radio [6] 31/18 76/23      130/22 132/3 133/4
 54/11 58/9 58/19 59/2                                                    76/24 77/23 78/1 78/2 134/8 136/9 139/10
                         program [1] 82/1          114/2 114/11 115/2
 60/1 60/20 62/24 64/1
                         progress [2] 38/14        122/12 124/15 125/18 railroading [1] 14/2      145/21
 64/5 64/24 67/25 68/5
                          149/13                   126/10 127/12 130/19 raise [3] 15/5 59/7      record [19] 4/6 13/21
 70/13 74/1 74/21 75/3                                                    66/15
                         progressed [1] 147/4      132/1 132/17 133/1                             16/15 16/25 17/1 17/2
 75/15 75/24 76/11                                                       rally [8] 89/1 89/7
                         progresses [1] 151/5      134/5 135/9 139/7                              17/10 17/17 18/7
 77/11 77/21 79/10                                                        143/1 145/25 146/1
                         progressing [1] 167/10 142/20 143/3 143/15                               24/11 46/24 67/2
 79/22 80/2 89/9                                                          153/2 156/12 166/5
                         prohibited [1] 112/19 published [3] 132/6                                67/10 80/24 84/8 90/4
 105/12 105/16 119/11                                                    ran [1] 31/7
                         projected [6] 108/10      132/7 138/11                                   164/23 164/24 164/24
 125/6 146/14 151/14                                                     range [1] 107/20
                          108/16 109/5 109/7      publishing [1] 69/16                           recorded [1] 17/18
 151/23 153/7 153/21                                                     rank [1] 19/6
                          109/13 109/22           pull [8] 36/10 61/25                           recording [2] 87/19
 153/22 155/22 156/23                                                    rather [3] 44/22 137/21 87/19
                         prompt [1] 129/1          85/14 85/16 98/22
 157/2 159/6 159/8                                                        166/9
                         proper [1] 13/23          111/17 117/10 123/9                           records [15] 15/16
 159/8 159/21 163/19                                                     rational [1] 158/9


                                                                                                  Exhibit D-3
                                                                                              Page 192 of 202
    Case 1:21-cr-00352-JEB               Document 107-3               Filed 11/15/24          Page 193 of 202
                                                                                                                     193


R                        47/6 47/8 87/24          171/4                   165/5 172/1 172/6       108/10 108/21 109/1
                         113/17 114/23 124/12 rests [1] 143/24           right-hand [1] 100/24 salient [1] 165/25
records... [14] 15/19
                         126/20                  result [1] 107/12       right-wing [1] 91/6     same [29] 13/6 13/7
 16/1 16/8 16/22 17/19
                        remind [3] 57/23 63/10 resulted [1] 155/18       rights [2] 124/3 137/14 36/16 40/3 46/18
 87/10 87/13 87/14
                         103/11                  results [1] 163/19      ringing [1] 96/14        49/13 73/11 79/11
 87/17 87/22 88/3
                        remorse [1] 167/20       resume [2] 61/8         riot [6] 39/5 39/7 44/2 79/11 79/12 91/17
 91/16 156/13 157/11
                        remove [13] 28/17         121/21                  147/11 147/17 148/23 99/7 108/22 108/22
RECROSS [1] 2/2
                         40/8 57/8 63/5 110/23 retreat [3] 10/12 10/15 rioter [4] 56/18 76/1      126/24 135/12 135/14
recruiting [1] 11/13
                         112/21 115/18 121/13 150/3                       80/5 159/19             144/10 144/12 145/22
red [16] 26/8 42/24
                         129/4 131/25 135/7      retreated [1] 35/23     rioters [30] 10/20       152/18 157/1 157/12
 43/24 45/13 48/10
                         137/23 140/2            return [6] 12/2 40/7     10/25 11/1 40/4 40/13 158/4 158/5 162/2
 49/19 69/20 70/2 70/6
                        removed [2] 56/18         73/21 75/23 75/25       44/9 45/25 51/15        164/7 168/12 169/8
 90/6 95/24 96/20
                         76/8                     79/10                   51/20 52/17 53/17      sand [1] 137/12
 109/9 109/13 109/22
                        repeat [2] 11/12         returns [3] 122/6 122/9 53/22 55/12 55/14       satisfied [2] 13/15
 133/19
                         134/23                   128/23                  56/24 58/18 59/24       54/13
REDIRECT [1] 2/2
                        repeatedly [4] 9/22      retweeting [1] 133/18 60/18 60/23 63/13         satisfies [1] 159/14
refer [1] 92/23
                         158/22 158/23 163/11 revealed [1] 156/1          64/14 64/21 79/5       saved [1] 160/20
reference [3] 47/15
                        repel [1] 163/8          revenue [3] 107/11       79/24 95/13 147/13     saw [17] 31/9 32/4
 73/11 73/14
                        repelling [1] 150/9       109/23 109/24           148/7 148/12 163/8      34/5 37/9 41/5 72/10
referenced [1] 138/18
                        replace [1] 39/21        reverse [1] 160/19       163/25                  75/2 79/6 79/23 85/23
referred [1] 78/19
                        reply [1] 137/21         review [20] 20/6 22/3 rioters' [1] 7/11          98/22 101/5 103/15
referring [4] 69/22
                        report [1] 172/15         36/1 40/14 40/24 41/7 River [1] 114/20          126/22 147/4 148/14
 78/24 124/7 134/3
                        reported [2] 1/23 87/8 41/19 82/24 87/14         RMR [2] 1/23 173/9       151/9
refers [1] 153/23
                        reporter [4] 1/23         88/6 93/22 98/11       road [1] 148/4          say [29] 27/25 32/2
reflect [2] 84/8 84/10
                         118/24 141/2 173/10      113/14 116/16 130/17 Rock [1] 124/11            33/13 40/22 43/16
reflections [1] 117/23
                        reports [1] 108/7         131/9 138/15 140/14 role [2] 39/18 82/18        84/15 84/21 86/19
refuses [3] 115/11
                        represent [1] 133/25      141/5 141/19           room [4] 74/1 78/18      94/22 97/6 100/25
 149/20 150/11
                        representative [1]       reviewed [6] 21/19       151/15 151/23           102/6 106/14 107/8
regard [3] 168/16
                         164/22                   21/24 36/14 88/3       roots [1] 93/14          110/21 116/12 121/9
 168/17 169/23
                        Representatives [6]       97/25 108/5            rotunda [7] 100/7        125/5 128/4 135/11
regarding [5] 71/10
                         54/7 59/3 59/6 60/17 rhetoric [1] 164/14         101/4 101/5 101/7       136/6 139/3 139/16
 72/1 135/14 138/4
                         64/1 64/6               rid [1] 129/3            151/8 151/10 151/10     143/12 148/13 157/11
 166/15
                        republicans [1] 157/1 ride [1] 84/25             Roughly [1] 92/13        159/18 162/8 172/22
regime [2] 6/25 137/20
                        request [2] 65/15        ridiculing [1] 13/16    route [2] 58/18 79/11 saying [10] 14/17 77/3
registered [1] 111/15
                         129/18                  right [111] 5/22 6/1    routes [1] 79/4          78/23 107/5 144/22
registry [1] 12/21
                        require [1] 15/13         6/10 10/24 12/14       routine [1] 28/25        156/20 158/24 161/25
regret [1] 11/11
                        required [2] 5/15 68/4 12/24 15/5 16/4 16/10 row [1] 108/25               162/18 163/11
regular [4] 39/4 70/1
                        rescinded [1] 13/9        17/8 17/21 17/25       rows [1] 166/22         says [20] 73/14 93/6
 126/6 155/1
                        resident [1] 81/11        25/13 28/19 32/1       rubber [1] 148/4         96/22 99/18 108/16
rehabilitated [1] 35/24
                        resist [1] 167/11         33/25 36/10 43/22      Rule [1] 12/20           110/9 110/9 110/17
reinforced [1] 26/19
                        resolution [1] 16/23      43/23 45/2 47/16       run [1] 93/14            115/11 120/11 120/19
reinforcements [1]
                        resolved [1] 60/11        50/11 51/22 56/16      runs [2] 34/16 153/18 125/7 133/23 134/2
 63/21
                        resort [2] 50/12 54/1     58/16 58/22 58/23      rushing [1] 51/3         134/15 154/1 154/3
related [3] 82/25 90/2
                        resorted [1] 50/2         61/14 61/17 64/14                               154/19 158/14 163/3
 124/12
                        resources [1] 63/22       65/4 66/3 66/7 66/15 S                         scenario [2] 65/7 162/2
relates [1] 14/19
                        respect [5] 35/8 65/13 71/17 72/4 76/16          S214 [1] 73/11          scene [1] 42/15
relation [1] 53/10
                         143/1 159/14 172/9       77/14 79/5 80/1 86/24 sacred [2] 151/18        scenes [2] 20/16 22/10
relatively [1] 55/3
                        respective [1] 59/9       89/14 89/17 89/22       151/19                 schedule [1] 59/15
release [1] 172/7
                        respond [1] 34/4          90/8 90/9 91/6 92/3    safe [3] 75/23 75/24    scheduled [2] 30/25
relevance [2] 134/10
                        respondents [1] 139/17 93/6 95/24 96/18           159/20                  68/12
 157/24
                        responding [1] 148/23 96/23 97/25 99/5           safety [7] 19/16 30/7 scheduling [1] 5/22
relevant [7] 88/4 116/3
                        responds [1] 120/21       100/24 105/17 108/24 59/25 75/11 75/15         screen [28] 6/7 23/12
 129/7 134/17 134/21
                        response [1] 171/13       109/12 109/14 111/4     151/23 168/24           23/15 23/16 23/18
 134/24 135/5
                        responsibilities [1]      112/20 118/9 121/16 Safeway [16] 15/17          24/3 24/6 25/1 26/9
relief [1] 13/24
                         81/14                    122/23 125/17 133/19 16/8 106/20 106/22         28/13 34/16 40/8
relieved [1] 54/16
                        responsibility [1] 30/10 134/15 136/23 137/7      107/4 107/6 107/8       42/25 44/24 45/1 56/7
relocate [5] 74/22
                        responsible [2] 19/16     142/2 142/5 143/25      107/9 107/11 108/10     79/4 102/4 111/3
 74/23 75/1 75/6 75/11
                         28/25                    144/5 144/18 144/20     108/13 109/16 110/2     116/15 121/11 132/7
relocated [6] 75/15
                        rest [1] 153/18           145/2 145/8 146/24      110/10 110/17 170/6     132/20 133/7 135/23
 75/16 75/19 77/12
                        restrict [1] 69/8         147/18 149/3 149/15 said [22] 31/12 31/15 137/2 149/16 160/12
 79/9 151/23
                        restricted [15] 9/16      149/23 149/24 150/6     35/12 43/22 58/22      screened [2] 75/13
relying [1] 158/11
                         27/13 69/4 69/6 69/9     150/21 150/24 151/19 61/3 61/7 62/12 68/17 159/22
remain [3] 153/15
                         69/13 69/22 166/24       152/4 152/13 153/2      70/25 75/3 82/13       screenshot [10] 85/25
 159/6 159/9
                         167/23 168/1 168/5       153/6 153/24 154/19     89/14 92/19 94/22       86/1 86/3 86/6 111/23
remained [1] 75/1
                         168/8 168/12 168/13      155/6 155/15 155/16     120/7 146/11 150/13     111/25 131/1 131/2
remaining [3] 152/11
                         168/15                   155/20 156/1 156/12     165/10 166/10 169/8     131/7 136/10
 167/23 169/2
                        restrictions [3] 124/13 156/20 156/22 156/23 170/16                      screenshots [1] 131/12
remedy [1] 124/4
                         126/6 156/5              157/2 158/20 158/25 sails [1] 114/19           scroll [3] 104/1 107/22
remember [12] 10/1
                        restrictive [2] 170/23    159/16 163/6 163/12 Salem [1] 162/14            139/19
 20/9 34/7 34/23 47/2
                                                                         sales [5] 107/18 108/9


                                                                                                  Exhibit D-3
                                                                                              Page 193 of 202
    Case 1:21-cr-00352-JEB               Document 107-3             Filed 11/15/24           Page 194 of 202
                                                                                                                   194


S                       seen [15] 17/16 32/15 87/11 116/7 168/7          149/24 149/24 151/11 99/7 101/4 101/15
                         49/24 71/13 77/10      services [1] 54/19      sides [2] 97/19 157/1    101/17 103/2 103/19
Scrolling [1] 72/24
                         77/12 77/13 94/23      session [11] 8/6 17/2 sight [1] 103/16           105/11 105/15 107/21
Se [1] 1/18
                         95/10 98/3 100/8        29/9 29/12 29/16       sign [9] 10/24 13/1      108/9 108/11 108/15
sealed [2] 153/14
                         103/2 146/18 170/6      30/23 58/22 58/25       27/23 96/22 119/13      108/22 109/4 109/6
 153/15
                         170/19                  61/7 153/16 169/12      128/6 146/22 154/19     109/8 109/12 109/16
search [11] 86/21
                        segregated [2] 26/25 set [11] 34/14 34/17        158/5                   111/7 111/15 113/3
 86/21 86/24 87/11
                         27/3                    37/13 38/15 51/1 69/9 signage [2] 70/10         113/4 116/21 118/9
 113/2 113/4 113/6
                        seize [2] 9/10 115/20    70/8 102/17 135/3       167/13                  119/19 120/6 120/18
 115/23 115/23 128/11
                        seized [1] 115/22        135/4 147/6            signal [3] 127/24 128/7 121/14 122/2 122/6
 128/12
                        self [2] 16/22 17/9     setting [1] 50/4         128/8                   123/8 123/17 123/22
searched [1] 117/17
                        self-authenticating [2] seven [5] 11/22 122/19 signed [2] 13/4 138/7 124/6 125/9 125/12
searches [1] 112/24
                         16/22 17/9              160/15 162/11 164/6 significance [7] 7/24       127/18 128/3 128/4
seat [1] 66/20
                        selfie [5] 9/7 88/13    several [9] 8/15 37/16 62/12 116/1 122/18        128/4 129/7 134/2
seated [1] 80/19
                         90/5 152/1 164/2        44/3 64/10 69/1 73/22 132/22 136/14 152/24 135/5 135/19 137/13
Seattle [1] 81/10
                        selfies [5] 7/15 11/5    75/20 75/21 166/22     signs [8] 9/17 27/15     143/22 144/9 144/14
second [15] 53/19
                         11/9 151/15 152/16     shame [1] 11/11          28/15 43/6 70/6         144/17 145/2 145/20
 57/16 70/17 73/8
                        selling [1] 162/24      shared [2] 153/5         146/21 154/16 168/9     146/2 146/2 146/15
 78/18 79/14 87/20
                        semicircle [1] 147/7     166/12                 similar [1] 126/3        146/22 147/3 147/9
 101/17 107/23 108/17
                        Senate [85] 7/14 7/15 shares [1] 154/9          Similarly [2] 16/7       148/7 148/20 150/20
 110/20 110/21 151/2
                         7/21 8/5 8/7 11/4 11/6 sharing [1] 153/12       165/16                  151/1 152/8 152/11
 151/7 160/23
                         16/23 17/17 19/17      she [7] 7/5 7/6 15/11 since [4] 14/5 68/19       152/23 153/19 154/2
seconds [37] 33/5 33/8
                         29/7 29/9 29/10 29/13 136/6 136/6 165/17        144/12 166/22           154/9 154/12 154/25
 37/4 37/6 38/1 38/4
                         29/15 31/3 31/4 31/5    165/20                 sir [6] 15/4 15/4 65/25 155/6 155/18 155/20
 45/5 45/8 45/15 45/18
                         51/16 51/17 51/18      shed [2] 160/6 163/14 66/1 66/11 66/14           155/25 157/3 158/13
 46/9 46/11 48/4 48/6
                         51/19 51/22 51/23      shelter [1] 64/1        six [6] 23/8 78/23       159/5 159/12 159/24
 49/9 50/15 52/3 52/6
                         52/13 52/19 52/24      sheltered [1] 53/4       78/25 79/4 152/7        160/20 161/1 163/21
 77/17 77/18 78/13
                         53/3 53/11 53/19 54/6 sheltering [2] 54/5 55/3 160/15                   164/9 165/22 165/23
 79/6 95/18 96/8 98/24
                         54/10 54/21 56/9       sheriffs [2] 118/20     size [2] 36/19 120/21    165/23 166/13 166/19
 99/13 100/20 102/10
                         56/10 57/21 57/22       161/7                  skip [5] 53/5 55/18      167/21 167/22 168/4
 102/13 103/9 103/20
                         57/24 59/2 59/9 60/19 shift [1] 68/4            99/13 101/21 103/24     168/10 168/25 169/4
 104/4 104/11 104/16
                         60/19 61/1 61/2 62/11 ship [1] 114/18          skipped [1] 143/2        169/5 169/11 169/14
 105/2 105/3 105/18
                         62/24 62/25 63/2       shipments [2] 110/9     slave [1] 137/19         169/18 169/20 170/12
secret [13] 30/9 30/11
                         63/25 64/5 64/24        110/18                 slide [5] 119/15 120/6 170/19 171/6 171/6
 66/4 66/23 67/12
                         64/24 73/14 73/15      shipped [1] 110/14       120/13 120/17 120/24 172/12 172/18
 67/18 70/12 70/23
                         73/17 73/21 74/2 74/9 shirt [1] 84/6           slightly [1] 33/24      so-called [4] 8/14
 76/19 77/10 155/20
                         74/17 74/17 74/21      shit [3] 11/19 118/17 small [1] 7/16             137/13 154/2 155/25
 156/1 168/7
                         75/4 75/6 75/25 75/25 161/4                    smoothly [2] 30/12      social [3] 122/3 129/2
section [5] 62/10 62/12
                         100/14 100/15 102/2 shock [4] 11/18 118/16 74/13                        130/3
 62/13 124/23 139/20
                         102/21 102/23 103/12 161/4 162/22              snapped [1] 11/5        soil [6] 127/2 156/17
secure [5] 123/1 155/9
                         103/15 105/11 151/12 shortly [1] 54/20         snow [5] 27/3 27/23      156/20 157/9 157/14
 170/25 171/2 171/3
                         151/13 152/6 153/16 shot [2] 60/22 149/14 27/23 28/15 43/5              166/16
security [8] 19/16
                         159/11 159/16 159/20 should [6] 5/6 124/1      so [194] 5/5 5/16 5/21 sold [1] 93/12
 25/14 35/8 51/23 53/1
                         164/1 164/3 167/14      137/20 151/24 164/12 5/22 5/23 7/3 7/7 7/22 solely [1] 157/5
 68/7 70/19 74/11
                         168/3 169/3             167/4                   8/9 8/14 8/23 10/18    soliciting [1] 130/13
see [66] 6/7 7/22 8/1
                        Senate's [1] 17/1       shouting [3] 10/25       11/10 11/17 12/15      some [29] 19/14 27/10
 8/25 9/18 9/22 10/8
                        senatorial [1] 62/14     96/15 97/14             14/16 14/20 15/13       39/8 40/11 44/10
 10/24 11/16 23/25
                        senators [8] 11/8 54/9 shoved [1] 10/5           15/17 15/20 16/25       55/16 58/10 59/17
 28/13 28/14 33/10
                         55/10 58/10 58/19      show [11] 6/23 7/6       20/19 23/19 23/24       59/22 61/8 70/5 81/16
 34/11 37/18 38/20
                         59/7 151/14 151/22      7/22 8/11 9/2 9/15      25/11 26/2 26/19 27/2 98/18 109/23 109/25
 43/2 43/3 43/5 43/13
                        sending [1] 11/21        32/7 103/3 128/13       28/19 30/15 31/7 31/9 109/25 116/4 118/3
 43/14 43/21 44/6 44/8
                        sends [1] 120/19         129/6 158/2             31/12 32/1 33/24 34/6 123/13 145/11 146/15
 44/20 45/3 45/3 45/10
                        sense [3] 36/19 158/9 showed [1] 167/5           34/11 35/17 36/8        152/19 153/10 157/5
 45/20 45/24 46/12
                         160/18                 showing [5] 8/2 71/4     39/12 40/3 43/21        162/19 164/14 165/12
 49/16 53/12 56/3
                        sent [8] 122/16 127/16 72/4 107/18 108/9         49/24 50/11 50/24       166/5 166/6
 56/15 56/24 62/16
                         136/20 136/20 136/22 shown [1] 135/4            51/5 51/12 51/18 54/5 somebody [1] 63/1
 69/17 78/18 84/2
                         136/23 138/7 153/14 shows [3] 128/3             54/9 56/16 58/15       someone [10] 23/13
 88/14 95/22 96/17
                        sentence [1] 172/20      162/16 162/18           58/22 59/17 65/10       72/12 86/2 118/7
 97/17 97/18 99/3
                        sentenced [1] 90/20     sic [1] 138/24           66/25 69/2 69/25 73/3 122/16 135/25 136/2
 103/3 103/14 104/22
                        sentencing [3] 171/14 side [35] 23/11 23/11 73/18 73/20 75/15            137/3 160/20 161/2
 108/16 109/21 110/8
                         172/17 172/19           23/19 23/20 23/21       76/7 76/10 77/1 79/9 something [9] 5/25
 110/9 110/17 119/3
                        sequence [1] 150/4       23/25 24/16 25/25       81/10 81/15 82/21       29/2 38/20 40/1 60/10
 125/2 137/13 139/14
                        sergeants [2] 19/4 19/4 26/1 26/24 27/2 27/10 82/22 84/10 84/21          70/6 125/9 126/14
 146/25 147/18 149/10
                        serve [1] 81/18          28/8 28/9 31/25 42/25 87/17 87/18 88/13         133/17
 149/16 149/23 150/17
                        served [2] 82/22 88/1 50/19 55/5 56/9 57/1       88/22 89/22 90/23      somewhere [6] 64/22
 161/12 172/24
                        service [15] 30/9 30/11 58/15 58/20 95/25        91/4 91/17 92/14        75/6 75/7 75/17
seeing [5] 55/23 55/24
                         58/2 63/7 66/4 66/23    96/19 99/17 100/11      93/15 94/18 94/22       133/17 158/6
 86/18 118/4 125/20
                         67/12 67/19 70/12       100/14 100/15 100/24 96/5 96/13 97/14          soon [2] 11/21 127/25
seek [2] 158/8 171/23
                         70/23 76/20 77/11       148/1 149/16 149/19     97/25 98/10 98/21      sorry [29] 5/2 15/20
seems [1] 129/7


                                                                                                 Exhibit D-3
                                                                                             Page 194 of 202
    Case 1:21-cr-00352-JEB                Document 107-3               Filed 11/15/24            Page 195 of 202
                                                                                                                        195


S                       163/11                   12/16 12/17 12/17         147/9 147/10 158/21 synonyms [1] 157/23
                       spray [13] 10/10 38/22 12/18 27/16 54/6            subject [3] 14/8 15/15 system [5] 21/7 21/8
sorry... [27] 15/24
                        38/22 48/23 50/7 50/9 62/24 63/25 64/5             165/14                   21/10 21/14 21/23
 19/24 37/21 46/15
                        150/2 150/7 150/10       67/12 69/1 73/20         submit [4] 137/19
 47/10 54/17 62/3
                        150/19 150/22 163/8      73/23 74/16 93/1          137/22 172/17 172/18 T
 65/12 76/16 85/4
                        167/6                    93/11 93/16 127/8        submits [2] 71/18        table [3] 4/11 107/18
 89/24 94/1 106/14
                       sprayed [4] 10/7 39/1 134/4 139/24 140/1            72/18                    108/9
 110/10 123/10 129/14
                        39/19 50/9               154/6 154/8 158/7        submitted [1] 158/13 tactic [3] 148/23 149/2
 131/2 131/4 132/6
                       sprays [1] 150/7         stating [1] 31/17         subpoenas [1] 81/18       150/9
 133/14 133/15 134/23
                       square [2] 19/18 25/25 stationed [1] 18/23         subscriber [1] 87/21     tactics [6] 65/6 82/1
 139/3 139/4 140/15
                       staff [3] 25/8 25/16     status [2] 51/23 87/21 Subsequent [1] 167/17 140/10 143/5 148/15
 144/25 172/4
                        27/11                   statutes [1] 16/14        subsequently [1]          167/19
sort [16] 14/10 39/9
                       stage [20] 23/1 23/2     stay [4] 68/24 74/1        167/12                  take [24] 5/14 6/5 6/22
 70/5 135/16 148/1
                        27/1 27/2 31/10 32/6     75/19 75/21              substance [1] 165/13      7/8 8/4 10/22 24/25
 148/4 151/2 153/18
                        33/21 34/2 34/6 34/19 stayed [1] 35/24            substantially [1] 170/12 51/12 51/13 53/19
 155/23 156/24 157/17
                        35/16 37/13 38/19       staying [2] 98/19         successful [1] 7/10       59/23 61/15 61/17
 157/21 159/12 160/7
                        44/1 50/20 63/20         163/22                   successfully [1] 147/6 105/21 120/20 121/15
 160/10 162/23
                        63/24 148/8 151/2       stays [1] 153/22          such [7] 13/6 50/12       129/19 145/4 146/11
Souls [5] 140/21
                        166/25                  Steal [2] 145/25 166/5 118/22 161/10 170/9          158/14 158/17 162/5
 141/11 142/12 143/17
                       stains [3] 11/19 118/17 step [6] 66/2 66/5          171/4 172/13             170/23 171/13
 148/14
                        161/5                    97/15 153/19 153/19 sue [1] 12/24                 takeaway [3] 142/16
sound [2] 46/5 96/14
                       staircase [1] 79/8        162/3                    sufficiently [1] 135/5    142/24 143/11
sounding [1] 10/25
                       stairs [4] 79/12 79/23 steps [5] 50/19 50/20 suggestion [1] 146/22 taken [10] 41/22 61/19
sounds [6] 96/25 97/4
                        101/18 151/6             51/3 52/18 79/8          Suite [3] 1/13 1/16       62/9 62/23 76/10 86/1
 105/17 121/16 145/6
                       stairway [1] 79/5        still [28] 6/15 10/1 40/5 1/21                      91/18 121/3 121/19
 154/20
                       stairwell [3] 51/21       40/17 40/20 41/22        summarize [5] 72/24       145/7
source [3] 41/10 94/5
                        77/13 79/2               44/22 50/25 54/9 55/4 120/7 120/16 125/7          takeover [1] 162/10
 94/20
                       stamp [12] 21/14 33/11 55/8 55/24 75/16 76/1 137/4                          takes [3] 151/15 162/3
south [2] 27/10 148/1
                        38/10 48/1 50/22 52/8 76/14 96/2 96/17            summarizes [1] 65/13 167/15
sovereign [10] 92/21
                        99/18 100/25 102/6       98/19 103/12 104/10 sunglasses [4] 89/23 taking [8] 59/22 90/5
 93/9 127/7 136/6
                        103/17 105/13 128/24 104/18 123/5 137/18           90/1 90/10 90/16         92/15 96/5 146/13
 136/7 140/21 141/11
                       stand [4] 7/8 15/5        146/21 149/14 154/22 superimposed [1]              151/25 152/25 163/20
 142/12 143/16 148/14
                        149/3 150/23             155/12 156/3              119/11                  talk [4] 57/7 57/10
spaces [1] 151/18
                       standard [1] 144/10      stood [1] 9/24            supervise [1] 19/6        105/25 172/15
speak [6] 14/18 14/20
                       standards [1] 59/8       stop [13] 7/9 10/10       supervised [3] 19/3      talked [2] 84/25 122/10
 77/1 146/1 146/10
                       standby [3] 1/19 4/18 14/5 50/2 145/25              19/4 19/5               talking [5] 14/6 90/8
 172/20
                        4/20                     146/12 146/13 148/21 supervisor [1] 39/18          122/6 157/25 163/3
Speaker [1] 29/11
                       standing [6] 12/14        148/23 149/13 162/4 supervisors [2] 19/10 talks [1] 125/12
speaker's [1] 60/22
                        12/24 34/2 151/16        163/24 166/5              40/5                    tammy [5] 1/23 1/25
speaking [4] 92/7
                        154/21 156/24           stopped [11] 7/12         support [1] 172/19        173/9 173/9 173/11
 118/10 119/8 161/17
                       stands [1] 154/19         59/17 59/19 60/22        supports [1] 14/10       Tampa [2] 1/12 1/13
speaks [1] 167/19
                       start [4] 24/7 89/24      64/3 122/2 154/22        supposed [4] 124/10 TBD [2] 73/18 73/19
special [21] 4/11 29/2
                        110/10 155/6             155/5 164/3 164/4         143/13 151/20 159/21 team [4] 30/8 30/13
 66/24 66/25 67/9
                       started [4] 61/3 61/10 168/22                      sure [8] 25/17 25/19      35/15 35/17
 67/11 67/18 69/17
                        87/25 103/20            stopping [1] 166/15        46/5 50/10 81/18        techniques [1] 143/13
 78/15 80/1 80/14
                       starting [7] 96/15 98/21 store [3] 107/4 107/18 135/5 137/21 157/10 teeth [2] 118/21 161/9
 81/13 81/14 81/17
                        115/10 118/15 127/23 110/22                       surged [1] 34/14         Telegram [3] 116/4
 81/20 118/19 153/14
                        136/25 148/11           stores [17] 106/18        surging [2] 63/18 63/20 116/6 160/16
 159/17 161/7 165/16
                       starts [4] 36/7 117/14 106/20 107/4 107/6          surrounding [3] 5/9      tell [8] 35/1 47/21 73/1
 165/19
                        133/21 155/24            107/8 107/9 107/11        124/6 124/13             92/14 92/15 92/17
specific [6] 18/24
                       state [19] 7/5 11/14      108/10 108/13 109/16 survey [1] 39/17              144/17 162/25
 28/24 60/11 76/25
                        12/11 18/7 69/1 71/10 109/25 110/2 110/10 suspect [2] 40/21                telling [2] 75/9 120/8
 146/11 153/2
                        71/24 72/9 80/24         110/14 110/15 110/16 40/22                        telltale [1] 148/9
specifically [8] 10/1
                        110/3 111/13 111/15      110/17                   SWAT [2] 118/19          temporarily [1] 168/6
 64/15 86/22 107/9
                        111/23 112/4 112/16 straight [2] 9/5 163/23 161/7                          temporary [15] 10/18
 111/2 149/6 154/11
                        112/17 126/8 145/24 straightforward [1]           swear [1] 81/18           12/13 34/15 34/15
 159/20
                        162/12                   145/16                   Sweep [1] 76/15           34/17 35/10 37/11
specificity [1] 161/22
                       state's [1] 112/18       strategic [1] 155/5       swept [1] 76/8            37/13 38/15 47/23
speech [7] 9/6 89/12
                       stated [2] 27/15 164/22 street [9] 1/12 19/21      swim [1] 163/9            48/13 50/4 51/2 52/17
 143/1 146/3 166/7
                       statement [6] 7/5 12/5 26/15 26/16 28/6            swing [1] 50/1            63/19
 166/8 166/9
                        14/7 14/13 14/15         28/12 35/3 35/4          switch [2] 121/14        ten [3] 55/5 61/17
speeches [6] 89/7 89/9
                        14/19                    158/17                    137/24                   145/5
 146/15 156/13 162/20
                       statements [8] 157/20 strip [1] 137/14             switching [3] 105/24     ten-minute [2] 61/17
 166/7
                        160/3 165/21 166/14 striped [1] 84/6               111/2 129/5              145/5
speed [1] 145/13
                        166/15 170/20 172/8 strokes [1] 88/25             swore [1] 82/23          tens [3] 29/22 30/2
spell [4] 4/12 18/7
                        172/11                  struck [2] 48/24 49/1 sworn [3] 15/8 66/17          64/17
 67/13 80/24
                       states [36] 1/1 1/2 1/9 stuck [2] 47/11 47/13 80/17                         term [4] 69/4 92/21
spend [2] 84/13 84/15
                        1/11 1/15 4/3 4/8 6/19 stylize [1] 91/4           synonymous [2]            93/3 93/4
spending [1] 92/10
                        7/14 8/8 8/20 8/22      stymied [4] 147/9          146/12 158/13           terminology [1] 128/18
spent [3] 9/18 9/20
                                                                                                   terms [8] 52/25 59/14


                                                                                                    Exhibit D-3
                                                                                                Page 195 of 202
    Case 1:21-cr-00352-JEB                 Document 107-3             Filed 11/15/24          Page 196 of 202
                                                                                                                      196


T                          29/23 30/6 30/13        97/21 97/25 98/3 98/4 152/25 152/25 153/2       129/2 137/10 137/13
                           30/15 30/17 30/23       98/6 99/5 99/25        153/5 153/20 153/21      148/9 148/10 148/22
terms... [6] 130/25
                           30/25 31/13 31/18       100/22 101/5 101/13    154/2 154/4 154/10       148/23 149/4 150/16
 134/13 158/2 158/3
                           31/20 31/22 32/4 32/8   102/2 102/6 102/22     154/12 154/14 154/19     151/23 152/19 152/19
 158/4 158/5
                           32/9 32/21 33/13 34/4   102/25 103/2 104/8     154/23 155/4 155/10      160/22 165/10 170/3
terrace [26] 10/21
                           34/14 34/16 34/18       105/5 105/17 105/21    155/11 155/18 155/19    them [64] 11/19 28/15
 24/15 24/18 24/19
                           34/20 35/3 35/14        106/5 106/14 106/16    155/23 155/25 156/1      39/22 43/6 55/12 56/7
 31/10 32/5 43/12
                           35/18 35/21 36/4 36/6   106/19 107/3 107/6     156/6 156/19 156/21      57/2 57/4 64/7 64/7
 43/16 47/24 50/21
                           36/14 36/16 36/21       107/10 108/19 108/21 156/22 157/1 157/19        75/14 76/6 76/6 82/22
 50/21 51/4 52/13
                           37/10 37/11 37/12       108/25 109/5 109/8     157/19 157/22 157/25     82/23 87/15 87/16
 52/15 52/19 52/21
                           38/7 38/8 38/11 38/21   109/9 109/16 109/22    158/3 158/9 158/13       90/2 97/15 98/18
 56/11 56/12 56/13
                           38/24 39/3 39/19 40/1   110/21 110/23 111/3    158/15 159/5 159/16      104/24 113/8 113/11
 57/6 63/18 95/6 95/16
                           40/3 40/3 40/4 40/12    111/4 111/6 111/14     159/17 159/18 160/4      118/17 118/20 118/23
 99/12 100/4 151/7
                           40/20 41/5 43/4 43/5    112/25 113/6 113/18    160/11 160/15 160/21     119/1 119/2 120/22
test [2] 119/4 161/14
                           43/6 43/13 43/17 44/3   114/6 114/17 114/24    162/12 162/13 162/13     120/22 122/7 123/6
testified [9] 15/9 66/18
                           44/6 46/18 47/3 47/13   115/6 115/22 115/23    162/15 162/16 162/16     126/23 128/1 140/10
 80/18 82/3 165/8
                           47/14 47/22 47/24       116/3 116/20 117/1     162/18 162/18 162/20     145/12 146/13 146/21
 165/14 165/16 165/19
                           48/8 48/14 48/21        117/19 117/23 117/23 162/24 163/5 163/13        147/18 147/22 149/5
 165/24
                           48/25 49/25 50/1 50/1   117/24 118/7 119/19    163/16 163/18 163/20     154/15 155/2 155/3
testify [6] 66/24 144/18
                           50/5 50/9 51/2 51/9     120/4 120/8 120/9      163/21 164/10 164/13     155/14 157/2 158/13
 144/19 144/20 144/23
                           51/19 51/24 51/25       120/9 120/23 122/6     164/21 164/23 165/17     160/8 160/9 160/19
 165/12
                           52/17 52/24 52/25       122/10 122/16 122/18 165/24 166/1 166/4         160/19 161/4 161/8
testimony [6] 20/6
                           53/10 54/2 54/7 55/8    123/2 123/4 123/15     166/11 166/14 166/15     161/10 161/12 162/9
 21/19 22/3 36/2 38/13
                           56/9 57/4 57/5 58/9     123/23 123/24 124/10 166/15 166/16 166/17       163/4 163/5 163/5
 88/7
                           58/13 58/14 58/16       124/13 124/14 124/19 166/24 167/3 167/5         163/25 164/4 167/2
text [5] 11/16 11/16
                           58/18 58/22 58/23       125/5 125/9 125/12     167/6 167/11 168/1       167/8 167/9
 16/14 133/11 152/22
                           58/25 59/8 59/10        125/16 126/1 126/6     168/1 168/5 168/8       themselves [4] 91/4
texting [2] 160/20
                           59/11 59/11 59/21       126/14 126/18 126/19 168/13 168/14 168/25       118/18 137/17 161/6
 161/2
                           60/12 60/22 61/3 61/5   126/19 126/22 126/24 169/8 169/12 169/14       then [69] 5/24 10/17
texts [1] 162/24
                           61/7 62/17 62/21        127/8 127/8 127/9      169/17 169/19 169/24     15/19 15/23 16/20
than [11] 5/6 9/25
                           62/23 62/23 63/2        127/10 127/16 128/8    170/4 170/5 170/10       29/13 32/4 38/17 41/7
 65/19 85/9 109/17
                           63/14 63/14 63/16       128/10 128/15 128/17 170/14 170/18 170/22       56/21 59/8 73/6 73/7
 109/24 119/5 137/22
                           63/19 64/4 64/15        128/18 128/20 128/23 170/25 171/8 171/13        74/18 82/1 83/6 89/22
 157/4 159/17 161/15
                           64/17 64/19 64/20       128/24 129/7 129/7     171/24 172/1 172/2       90/5 90/10 90/12 92/7
Thank [43] 4/14 4/17
                           64/22 65/7 65/13        129/19 129/23 130/7    172/7 172/10 172/10      94/5 94/9 97/14
 4/22 6/6 6/10 12/3
                           65/15 65/19 66/22       130/14 130/14 130/15 172/12 172/21 173/4        102/17 103/16 108/10
 12/4 14/23 15/4 15/4
                           67/3 67/4 67/5 67/21    131/8 131/8 132/6     that's [83] 6/17 8/13     110/20 114/18 114/19
 18/1 18/2 22/22 28/17
                           67/23 68/2 68/11        132/7 132/8 132/9      12/3 14/19 16/16         115/10 118/6 118/22
 36/12 65/18 65/20
                           68/17 68/18 68/19       132/10 132/10 132/14 16/20 17/23 24/15          119/7 119/23 120/11
 65/25 66/1 66/19 80/9
                           68/21 68/23 68/24       132/20 133/7 133/10    24/20 26/13 28/6 31/6    120/19 121/7 123/18
 81/4 83/14 84/7 84/11
                           69/1 69/7 69/20 69/22   133/14 133/17 133/24 32/8 34/16 37/10           133/16 133/23 142/19
 86/16 96/10 97/11
                           69/25 70/2 70/3 70/6    133/24 134/16 134/18 42/15 42/21 43/12          144/10 145/5 147/10
 105/21 110/23 112/13
                           70/11 70/12 70/14       134/19 135/2 135/4     44/3 45/2 47/23 48/9     147/13 148/9 150/2
 121/18 121/22 143/22
                           70/25 71/1 71/1 71/8    135/15 135/15 135/17 50/19 53/3 53/9 53/11      151/4 151/11 151/13
 145/10 164/17 164/18
                           72/2 72/10 73/5 73/8    135/23 136/5 136/7     53/17 57/20 59/1 59/1    152/12 153/18 154/19
 165/4 171/11 171/21
                           73/11 73/12 73/15       136/14 136/15 136/23 62/14 64/14 65/23          154/20 156/11 157/12
 172/23 172/23 172/23
                           73/16 73/22 74/15       136/25 137/4 137/23    68/1 71/3 71/9 73/13     161/9 162/3 162/8
Thanks [5] 5/21 67/16
                           74/23 74/25 75/2        138/3 139/14 139/16    77/7 79/18 86/13         164/2 165/6 166/5
 121/17 129/17 137/20
                           75/10 75/19 76/12       139/22 140/12 140/18 86/14 86/19 87/18          166/19 166/25 167/7
that [624] 5/12 5/15
                           76/20 76/22 77/14       140/24 141/9 141/11    89/14 95/6 96/25         167/12 167/14 172/17
 5/25 6/7 6/18 6/23
                           77/18 78/2 78/16        141/16 141/23 141/24 99/11 105/15 108/13       theories [1] 93/15
 6/23 7/2 7/9 7/15 7/16
                           78/16 78/18 78/20       142/17 142/19 142/24 108/20 109/1 109/6        theory [2] 93/8 93/10
 7/22 7/24 8/2 8/3 8/4
                           78/24 78/25 79/1 79/5   143/11 143/12 143/12 116/7 122/19 124/24       there [148] 7/7 8/6
 8/5 8/6 8/7 8/11 8/13
                           79/8 79/22 79/23        144/3 144/7 144/12     127/18 129/12 134/24     9/19 11/5 12/21 14/8
 8/18 9/2 9/3 9/7 9/15
                           79/24 81/17 81/23       144/17 144/19 144/20 137/7 146/10 146/14        14/16 15/11 18/19
 9/17 9/18 9/20 9/24
                           82/1 82/6 82/18 82/20   144/21 145/14 145/20 146/22 147/1 148/25        18/19 21/12 23/2 23/3
 9/25 10/2 10/6 10/9
                           82/21 83/5 83/9 83/18   145/21 146/6 146/11    150/11 153/11 155/21     23/21 25/13 27/9
 10/11 10/17 11/13
                           83/20 84/8 84/19        146/14 146/18 146/22 155/24 157/4 157/10        27/10 27/13 27/15
 12/22 14/17 15/12
                           85/21 85/23 86/1        146/23 146/25 147/1    157/24 157/24 158/18     29/2 29/21 30/2 30/22
 15/13 15/15 16/14
                           86/20 87/2 87/6 87/6    147/5 147/13 147/17    158/20 159/2 159/5       31/12 31/17 31/18
 17/2 17/12 17/15
                           87/9 87/11 88/13 89/1   147/19 148/5 148/13    160/7 162/1 162/10       32/6 34/3 34/17 35/2
 17/20 20/21 21/10
                           89/3 89/7 89/12 89/13   148/16 148/19 148/19 162/21 169/19 170/20       35/12 35/19 36/8
 21/14 21/14 21/24
                           89/20 90/6 90/24        148/25 149/1 149/1     171/21                   37/16 38/3 38/10
 21/24 21/25 22/9
                           91/13 91/14 91/23       149/2 149/3 149/6     their [33] 25/18 30/10    38/20 43/2 43/16
 23/15 23/22 24/14
                           91/25 92/14 92/23       149/16 150/4 150/5     34/18 35/20 51/21        44/10 44/11 48/1
 24/23 24/25 25/10
                           92/24 93/1 93/7 93/8    150/9 150/14 150/18    55/6 59/9 60/12 60/19    48/12 49/25 50/1 51/1
 25/14 26/2 26/10
                           93/11 93/12 93/14       150/21 150/21 151/5    61/11 63/23 64/2         51/11 51/11 51/14
 26/11 27/14 27/15
                           93/14 93/16 94/3 96/6   151/24 152/3 152/4     64/12 91/1 109/1         51/19 52/8 53/21
 28/14 28/17 28/20
                           96/13 96/22 97/13       152/9 152/22 152/24    110/17 124/3 124/3       54/15 54/25 55/1 55/4
 28/22 29/6 29/6 29/21


                                                                                                  Exhibit D-3
                                                                                              Page 196 of 202
    Case 1:21-cr-00352-JEB                Document 107-3              Filed 11/15/24           Page 197 of 202
                                                                                                                       197


T                         53/18 53/18 55/1 55/2 36/19 36/23 37/8 38/6      133/4 133/21 134/9      threw [1] 10/16
                          55/6 55/7 55/11 56/25 40/8 42/3 43/3 43/12       134/10 134/19 135/2     through [89] 2/19 2/19
there... [92] 55/16
                          57/1 58/14 58/15        44/1 44/4 44/12 44/13    135/5 135/7 135/22       2/20 2/24 2/24 3/2
 55/17 56/5 56/15
                          59/23 60/19 60/23       44/22 45/4 45/18         138/4 138/13 138/23      15/18 15/18 15/20
 59/24 60/2 60/3 60/21
                          60/24 61/1 61/8 61/9    45/21 46/18 47/6 47/8    139/10 139/13 139/20     15/21 15/23 16/5 16/5
 62/16 62/21 64/21
                          61/11 63/16 63/22       47/9 47/11 49/13         140/2 142/2 144/1        16/9 16/12 16/21 17/4
 67/1 67/3 68/15 68/25
                          63/23 63/24 64/3 69/2 49/24 50/19 50/24          145/11 145/13 147/25     20/7 20/15 21/2 21/5
 69/15 70/5 70/9 70/10
                          70/23 73/21 73/22       50/25 51/5 52/2 52/11    148/2 148/4 151/1        22/4 22/16 22/19
 70/10 73/21 74/20
                          75/12 75/13 76/5 76/6 52/12 52/24 53/8 53/8      151/15 151/17 151/17     25/14 25/17 34/16
 75/21 75/25 78/25
                          79/5 87/16 89/23        53/20 53/24 54/5 54/9    151/19 151/23 153/3      35/15 37/3 40/15 41/8
 79/7 85/9 89/15 89/17
                          90/19 90/25 91/3 91/5 54/14 54/19 54/20          153/3 153/18 154/21      41/20 42/4 42/5 42/8
 94/24 96/19 97/7
                          92/25 95/15 97/14       55/24 55/25 56/1 56/5    155/20 155/24 155/24     42/8 42/9 60/21 61/1
 97/13 97/20 99/5
                          107/10 107/13 108/7     56/11 57/8 57/15 58/4    155/25 156/6 156/14      79/1 79/7 81/25 86/15
 99/19 99/25 101/1
                          108/20 108/20 109/6     59/23 61/14 62/7 62/9    156/17 156/24 157/16     88/6 88/7 98/6 98/12
 101/13 102/3 102/22
                          109/7 109/10 109/17     63/5 65/8 65/23 66/22    158/5 158/8 158/21       98/15 98/18 98/20
 103/17 104/8 106/4
                          109/23 109/23 110/4     71/11 71/13 71/15        159/4 159/10 160/12      100/3 102/19 111/9
 108/11 115/22 116/4
                          113/12 113/19 116/11 71/17 71/23 71/24           161/8 161/14 161/14      113/15 113/23 114/1
 118/24 123/16 123/25
                          117/3 117/4 117/25      72/10 72/12 72/15        161/20 162/5 162/5       116/17 117/6 117/9
 124/8 124/9 125/15
                          119/2 120/18 120/21     72/18 72/25 73/18        162/10 162/16 162/21     119/15 131/10 131/21
 126/16 132/9 132/9
                          122/11 124/6 128/23     74/2 74/13 77/9 77/13    163/12 164/21 165/22     131/24 137/15 138/16
 132/24 133/9 139/14
                          129/20 129/21 131/15 77/14 77/20 77/23           166/3 167/13 172/9       138/24 139/3 139/4
 141/2 143/14 147/16
                          131/18 133/24 133/25 78/1 78/5 78/16 78/18      THOMAS [4] 2/3 9/23       139/6 140/15 141/6
 147/18 147/25 148/1
                          136/11 137/10 137/11 78/19 78/21 78/23           15/1 15/7                141/20 142/3 142/4
 149/3 151/10 153/4
                          137/14 137/14 137/14 79/11 80/11 82/4           those [87] 9/11 10/6      142/4 142/7 142/7
 154/10 154/21 155/20
                          138/20 138/21 140/19 83/16 85/18 85/23           11/23 14/8 15/17         142/8 149/19 149/25
 156/12 156/13 156/21
                          141/9 141/24 146/8      85/25 85/25 86/3         15/18 16/25 17/18        151/6 151/7 151/11
 158/15 158/16 158/17
                          146/20 147/18 153/11 86/21 88/13 88/16           20/9 20/14 21/20 22/6    153/18 154/16 154/21
 158/18 160/1 160/1
                          153/15 153/22 154/25 88/18 89/22 89/22           22/9 24/1 25/19 25/20    162/4 163/24 167/22
 160/2 161/21 164/9
                          155/1 155/5 156/14      90/12 90/25 91/10        27/4 39/1 40/17 40/20   throughout [2] 74/5
 165/7 165/9 165/21
                          156/22 157/8 157/22     91/13 91/15 91/21        40/24 41/10 41/15        166/22
 166/17 167/16 167/18
                          158/1 158/1 158/2       92/15 94/14 94/15        41/22 41/25 54/8        throwing [1] 119/13
 169/13 170/18 170/20
                          160/4 160/4 160/5       94/17 94/18 94/23        55/14 56/22 58/2 69/8   thus [1] 168/8
there's [22] 25/17
                          160/18 161/11 163/6     95/5 95/10 96/4 96/17    73/6 79/12 79/23        thwart [1] 167/8
 25/20 30/8 34/15
                          164/4 165/8 165/10      98/24 99/7 99/16         79/23 82/9 87/13        tie [1] 84/6
 60/10 73/4 73/11
                          168/7 170/4 172/15      100/3 100/6 100/8        87/14 89/9 89/18        time [85] 6/5 9/21 10/4
 73/14 78/23 85/12
                         thing [5] 5/19 65/10     100/8 101/3 101/4        90/17 91/16 93/15        10/23 11/14 20/25
 89/20 93/13 107/5
                          134/24 135/16 157/12 101/5 101/22 102/1          96/13 96/18 98/14        21/14 22/15 25/10
 123/17 130/12 150/13
                         things [8] 8/9 67/1      103/14 103/19 104/10     99/17 100/3 102/19       28/22 30/19 31/20
 155/4 156/9 159/22
                          81/17 153/21 157/18     104/18 104/18 104/22     102/20 108/10 109/13     32/24 33/10 35/2
 165/7 165/23 172/10
                          158/10 158/12 159/3     104/24 104/24 105/8      110/14 113/8 113/17      35/14 36/4 36/6 36/14
thereby [7] 12/13
                         think [21] 16/16 16/16 105/11 106/10 106/13       116/9 116/9 116/19       36/23 37/10 38/7
 12/19 12/24 13/3 13/9
                          16/17 16/19 65/8        106/15 107/2 107/3       116/25 116/25 121/6      38/10 40/3 42/3 42/17
 13/16 13/22
                          65/16 84/17 94/23       107/17 107/21 107/25     122/9 130/5 131/12       42/17 44/4 46/18 48/1
therefore [9] 13/25
                          97/20 98/10 118/20      108/1 108/12 110/11      135/5 138/18 138/21      50/22 50/24 51/5
 16/1 126/1 156/7
                          122/10 128/18 134/18 111/20 111/25 112/15        140/17 140/19 141/8      51/19 51/24 52/8 55/8
 163/14 165/15 168/10
                          135/4 135/17 135/18     112/21 114/5 114/6       141/10 141/22 147/21     56/1 56/18 58/5 58/13
 169/5 169/20
                          144/11 155/3 161/8      114/9 114/14 114/21      148/21 149/4 149/8       58/14 61/5 61/11
these [38] 10/9 11/9
                          165/25                  115/5 115/6 115/18       153/24 155/4 157/3       61/14 65/4 68/25
 14/22 16/24 23/24
                         thinking [2] 53/24       117/12 117/16 117/16     157/25 158/3 158/5       71/17 72/18 73/24
 40/3 41/4 53/22 66/25
                          163/14                  117/19 117/22 118/15     165/6 166/1 166/7        74/2 74/20 78/2 78/5
 78/3 79/5 90/21 96/14
                         thinks [3] 149/1 149/2 118/21 119/4 119/4         166/22 167/19 167/22     82/4 87/22 88/20
 98/17 108/5 108/7
                          162/3                   119/19 120/16 121/2     though [6] 127/1          89/12 91/17 92/10
 108/15 109/16 118/14
                         third [3] 101/16 101/18 121/3 121/9 121/9         157/13 158/1 160/4       96/4 97/21 99/7 99/18
 119/17 119/22 120/6
                          160/23                  121/10 121/13 121/16     160/4 164/20             100/25 102/6 103/17
 123/20 123/22 127/16
                         this [338] 5/9 5/10 5/10 122/15 122/16 122/22    thousand [2] 119/6        105/13 106/14 108/22
 127/20 127/20 128/11
                          6/12 6/12 7/5 8/14      122/22 123/12 123/13     161/15                   118/2 126/16 126/18
 134/13 135/25 136/10
                          8/25 9/7 9/8 9/12 9/12 124/7 124/8 124/10       thousands [8] 11/19       126/24 128/24 129/18
 136/10 142/10 148/21
                          10/4 10/7 10/23 11/8    124/18 124/19 125/2      29/22 30/2 64/18         131/20 138/23 142/2
 158/2 159/2 160/16
                          11/14 11/16 11/21       125/2 125/2 125/7        118/17 147/20 155/5      147/5 160/12 161/20
 163/9
                          12/1 12/6 12/25 14/12 125/9 125/20 125/21        161/5                    164/4 171/24 172/13
they [141] 9/4 16/1
                          14/15 16/17 20/25       125/25 126/5 126/13     thread [1] 124/8         time-lapse [1] 37/10
 16/4 20/11 20/17
                          22/15 22/24 22/25       126/14 126/20 126/21    threat [4] 8/12 13/4     timeline [3] 73/25
 20/19 20/22 20/22
                          23/9 23/9 23/14 24/20 126/24 126/25 127/4        51/19 156/19             88/24 122/10
 21/17 22/11 22/13
                          26/7 27/21 27/25 28/5 127/15 127/24 128/11      threatening [1] 59/25    times [8] 38/20 58/8
 23/14 25/16 25/18
                          32/15 32/17 32/20       128/12 129/4 129/13     three [13] 12/7 19/6      62/13 73/3 73/7 73/18
 25/19 27/7 30/24 31/2
                          32/20 32/24 33/4 33/8 129/18 129/19 130/22       40/24 85/12 85/13        77/12 146/18
 34/13 35/21 37/17
                          33/18 34/7 34/12        131/6 131/6 131/20       97/20 103/21 108/5      timid [1] 124/4
 37/19 37/22 38/14
                          34/24 35/2 35/9 35/10 131/25 132/3 132/11        127/20 128/11 138/18    tiny [2] 97/1 98/18
 38/16 38/18 51/16
                          35/10 36/14 36/16       132/16 132/19 132/22     153/6 165/8             title [3] 18/24 81/12
 51/25 52/19 53/2


                                                                                                   Exhibit D-3
                                                                                               Page 197 of 202
    Case 1:21-cr-00352-JEB               Document 107-3              Filed 11/15/24           Page 198 of 202
                                                                                                                    198


T                        transmitters [2] 118/22 tyrants [1] 137/22       55/19 60/11 87/25     vast [1] 166/7
                          161/10                                          96/7 97/4 102/10      vehicle [5] 113/4 113/4
title... [1] 133/21                              U
                         transport [1] 84/16                              105/18 120/22 121/17 113/6 115/6 115/22
titled [1] 144/8
                         transported [1] 83/7    U.S [18] 9/22 12/18      123/7 152/6 153/15    Velcroed [1] 115/7
today [15] 4/3 4/23
                         travel [4] 58/10 68/7    12/18 18/10 21/7        154/20 155/2 163/4    venue [1] 69/7
 5/23 9/25 20/6 21/19
                          68/8 68/11              22/25 26/8 29/13 31/4 171/24 172/13           Verbal [1] 10/9
 22/3 36/2 71/13 84/2
                         traveled [2] 145/23      32/9 41/22 57/16       unveil [1] 155/23      verbally [1] 53/23
 88/7 133/23 152/18
                          156/11                  62/10 82/7 83/7 85/1 up [67] 7/19 7/23        verdict [6] 12/2 12/2
 153/13 163/11
                         traveling [1] 70/13      92/25 94/7              10/20 18/17 26/24      12/3 144/13 164/9
together [8] 9/4 27/8
                         treasury [1] 158/16     Uh [2] 90/14 115/17      28/14 29/10 29/11      165/5
 68/22 90/21 90/25
                         tremendous [1] 35/3     Uh-huh [2] 90/14         31/12 33/11 34/14     version [1] 43/15
 91/1 91/5 156/23
                         tremendously [1] 37/15 115/17                    34/14 34/17 34/18     versus [5] 4/4 109/5
told [5] 30/1 120/22
                         trial [20] 1/8 4/3 4/23 ultimately [4] 74/18     36/11 37/11 37/13      109/7 109/13 109/21
 146/4 149/6 163/4
                          5/9 5/10 5/10 5/16      164/5 164/9 167/3       38/10 38/15 50/4      very [26] 4/14 4/17
Tom [1] 18/8
                          5/17 12/6 14/11 14/16 umbrella [1] 93/3         50/21 51/1 51/3 51/21 12/4 14/23 31/9 32/4
too [7] 18/18 38/17
                          16/17 65/23 80/11      unable [1] 152/4         53/18 61/24 61/25      35/7 35/19 37/16
 38/17 61/23 67/5
                          145/13 145/14 158/5 unappreciated [1]           63/22 63/23 64/10      52/20 56/12 66/8
 119/3 161/12
                          163/12 163/17 172/25 137/16                     64/17 69/9 70/8 76/16 66/19 66/25 80/12
took [20] 7/14 7/16 9/8
                         trials [2] 17/16 90/19 unauthorized [4] 60/3 77/6 79/2 79/12 83/23 84/16 109/19 112/15
 21/25 35/21 48/23
                         tried [7] 10/6 148/21    60/4 60/8 76/1          85/2 85/14 85/16       146/17 151/15 153/8
 49/25 88/13 91/14
                          148/23 149/5 150/6     Unchained [2] 141/14 87/25 96/5 98/22           153/8 157/19 159/24
 91/15 103/1 113/19
                          150/13 163/24           143/8                   101/16 101/18 111/17 163/13 164/18
 116/15 117/1 117/23
                         tries [4] 150/2 150/3   under [9] 12/12 12/20 116/23 117/10 119/2 veteran [1] 10/13
 117/24 118/1 133/17
                          150/12 162/6            13/4 30/11 87/2         119/13 121/6 123/9    via [2] 13/5 73/14
 152/16 163/22
                         trip [1] 69/14           114/20 121/5 144/12     128/13 129/7 146/8    vice [49] 8/6 11/7
top [20] 23/16 23/18
                         true [4] 6/20 119/4      171/1                   146/20 147/6 147/14    29/10 29/14 30/8
 44/25 52/8 97/7 99/5
                          161/14 165/24          underline [1] 125/2      149/19 151/6 161/12    30/14 30/15 30/24
 99/18 100/1 100/25
                         Trump [22] 6/15 7/1     undermine [1] 168/23 165/11 166/6 166/10        31/4 31/13 54/6 54/11
 110/8 110/16 114/18
                          9/5 89/10 119/12       underneath [1] 121/5     166/25 167/14          58/9 58/19 59/2 60/1
 114/19 121/5 123/17
                          123/5 146/4 146/14     underscores [1] 166/3 updates [1] 87/21         60/20 62/24 64/1 64/5
 124/24 125/15 126/16
                          153/22 153/22 155/13 understand [5] 67/3       upper [21] 10/20 24/18 64/24 67/24 67/25
 127/23 133/12
                          155/22 156/23 157/2     115/9 144/21 158/10     24/19 42/23 50/21      68/5 68/6 68/8 69/13
topic [6] 93/20 112/15
                          159/6 159/8 159/8       162/12                  51/3 52/13 52/15       70/13 70/19 73/2
 140/12 140/24 141/10
                          161/18 162/23 163/19 understanding [1]          52/18 52/21 56/11      73/13 74/1 74/20 75/3
 141/16
                          171/1 171/3             93/11                   56/12 56/13 57/6       75/15 75/24 76/11
topics [1] 66/25
                         Trump's [2] 125/6       understood [2] 148/15 95/16 99/12 100/4         77/11 77/21 79/2 79/9
torture [3] 13/6 13/7
                          153/7                   148/15                  100/24 102/2 102/6     79/22 80/2 105/12
 137/14
                         trust [1] 12/20         undertakes [1] 159/9     151/7                  105/16 151/14 151/23
tortured [1] 13/7
                         trustee [1] 12/9        undertones [1] 157/17 ups [1] 107/3             159/21 168/5
total [2] 19/9 65/2
                         truth [2] 12/12 13/22   undisputable [1]        us [34] 4/10 10/25     vicinity [3] 38/6 46/1
totalitarian [7] 6/25
                         try [5] 12/24 50/5 67/1 145/17                   23/12 24/6 26/14 27/5 56/11
 8/21 13/13 137/14
                          123/25 163/8           unidentified [1] 123/18 35/1 35/18 47/21       Vicorous [3] 87/3
 137/19 139/25 154/7
                         trying [11] 48/13 50/4 uniform [1] 39/4          50/22 52/8 57/18       122/8 128/11
touched [1] 37/8
                          56/3 64/6 123/1        uniformed [4] 147/11     57/23 63/10 66/10     video [64] 17/15 21/8
tourist [1] 155/1
                          148/17 149/8 149/12     147/16 148/21 150/22 67/9 67/13 68/21 73/1 21/14 21/17 21/18
tourists [1] 70/1
                          150/22 155/9 160/24 uniparty [2] 153/23         75/9 78/23 96/15       21/23 32/7 32/20 33/4
towards [9] 23/25
                         tuned [1] 76/24          156/22                  97/14 97/14 103/11     33/11 33/18 36/19
 28/14 33/25 57/2 96/6
                         turn [5] 10/5 10/23     unique [1] 114/8         118/19 123/15 124/21 37/10 38/12 38/20
 100/15 100/24 103/16
                          12/21 14/22 40/11      unit [1] 64/17           126/3 129/9 151/2      45/4 45/18 46/12
 126/23
                         turned [1] 87/8         UNITED [31] 1/1 1/2      154/24 154/24 161/6    46/14 46/16 46/23
town [1] 68/19
                         twats [2] 118/20 161/8 1/9 1/11 1/15 4/3 4/8 USA [1] 121/5              47/3 47/21 47/23
traced [2] 123/5
                         tweet [5] 132/11         6/19 7/14 8/20 8/22    use [6] 37/19 37/22     50/22 52/2 65/13 77/7
 155/12
                          132/22 134/2 137/2      12/16 12/16 12/17       69/12 116/8 150/2      77/9 77/10 77/20
tracing [1] 151/9
                          137/4                   12/18 27/15 54/5        159/13                 77/24 78/1 78/13
tracks [1] 148/24
                         tweets [3] 131/13        62/24 63/25 64/5       used [7] 50/7 70/9      78/16 87/19 91/13
traffic [3] 77/23 78/1
                          131/16 157/20           67/12 93/1 93/11        70/11 128/3 158/3      91/14 91/15 92/4
 78/2
                         Twitter [11] 129/5       93/16 127/8 134/4       158/5 163/8            92/15 95/13 96/17
trafficked [1] 165/3
                          130/6 130/14 130/15     139/24 140/1 154/6     uses [1] 128/19         97/13 98/14 98/24
trained [1] 55/2
                          131/4 131/12 131/16     154/8 158/7            using [1] 134/13        99/7 101/3 101/6
training [4] 67/20 81/21
                          132/7 132/21 133/8     units [2] 118/19 161/7 usual [2] 60/2 63/1      101/17 103/14 103/19
 81/23 81/25
                          135/24                 Universal [1] 126/17    usually [4] 10/14 23/2 104/22 105/8 126/22
trample [1] 146/20
                         two [15] 5/6 10/1 17/5 unlawful [1] 159/9        82/9 123/25            145/17 147/5 147/25
trampled [2] 9/17
                          87/18 97/20 103/21     unlawfully [1] 80/5     UTC [1] 126/17          149/15 156/14 157/11
 163/24
                          119/19 123/16 123/17 unless [5] 60/10 65/15                            165/11 165/14 165/18
tramples [1] 154/16                                                      V
                          126/3 127/18 150/1      103/3 134/9 134/15                            videos [16] 17/17
transcription [1] 173/5
                          157/1 160/16 164/6     unscreened [1] 76/1     Vaguely [1] 78/22       20/11 20/14 22/6
transfer [5] 7/9 83/10
                         type [2] 87/19 167/19 until [30] 6/15 10/12     valid [1] 166/18        40/20 41/4 41/10
 84/14 151/20 163/18
                         typically [4] 82/11      10/16 26/24 33/5 34/9 Vancouver [4] 81/11      41/15 41/22 41/25
transferred [1] 155/17
                          87/17 93/1 129/1        35/25 38/1 39/20        111/8 114/17 114/25    41/25 78/3 94/1 94/5
translation [1] 13/3
                                                  45/14 47/8 48/4 52/2 various [1] 138/3


                                                                                                 Exhibit D-3
                                                                                             Page 198 of 202
 Case 1:21-cr-00352-JEB                Document 107-3             Filed 11/15/24           Page 199 of 202
                                                                                                                 199


V                       Wall [1] 158/17        84/16 84/17 85/9        154/4                  103/11 103/12 103/14
                        want [18] 7/19 14/20   85/10 85/23 87/2 87/4   Washington, D.C [9]    103/15 103/24 104/15
videos... [2] 98/17
                        31/12 57/7 57/10       87/6 87/23 87/24        8/4 8/11 17/7 19/21    105/3 105/21 105/24
 165/21
                        61/24 76/7 76/8        87/25 88/18 88/21       19/22 92/12 106/1      107/22 110/23 113/4
videotape [40] 33/6
                        121/15 129/9 135/12    89/9 89/13 91/13        145/24 154/4           115/18 117/19 118/4
 37/5 38/2 45/6 45/16
                        137/11 145/3 145/20    91/18 92/5 94/3 94/4    wasn't [7] 25/21 39/5  118/16 118/16 118/20
 46/6 46/22 47/19 48/5
                        148/19 148/20 172/2    94/24 95/19 96/9 97/3   125/9 146/15 146/23    119/2 120/21 120/22
 48/18 49/10 49/22
                        172/15                 97/10 97/20 97/24       163/17 163/17          121/13 121/14 122/2
 52/4 55/20 77/15
                        wanted [5] 10/18 23/13 98/9 98/10 98/25        watch [1] 52/12        122/2 123/7 123/8
 78/12 79/16 79/20
                        65/16 79/9 79/10       99/23 100/15 100/18     watched [6] 38/8 38/12 124/6 125/20 126/1
 92/5 95/19 96/9 97/3
                        wants [4] 159/6 159/8 101/10 101/17 101/23     46/11 46/19 49/13      126/1 126/22 127/2
 97/10 98/25 99/23
                        161/2 163/2            102/11 103/7 103/20     99/7                   127/25 131/20 133/23
 100/18 101/10 101/23
                        war [1] 165/3          103/25 104/5 104/14     watching [1] 98/18     134/18 134/18 135/2
 102/11 103/7 103/25
                        warehouse [1] 110/9    105/20 106/2 106/4      watermark [2] 123/2    135/6 137/23 142/2
 104/5 104/14 105/20
                        warning [1] 30/3       106/5 107/3 111/6       155/9                  144/7 144/8 144/12
 142/14 142/22 143/6
                        warrant [6] 86/21      111/7 111/10 111/13     watermarked [1]        144/12 145/13 145/14
 143/18 149/22 156/15
                        86/24 87/11 115/24     111/15 113/3 113/3      155/21                 145/22 146/24 152/1
view [7] 27/22 31/9
                        129/22 129/23          115/7 115/22 115/22     watershed [1] 6/12     152/2 152/12 154/12
 43/19 155/18 157/5
                        was [354] 6/11 6/12    116/3 116/14 118/7      wave [3] 51/15 51/20   154/13 155/3 155/14
 157/6 157/7
                        7/7 7/8 7/10 8/17 9/2  118/24 119/5 121/3      53/17                  156/6 156/7 156/11
viewed [1] 8/11
                        9/12 9/15 9/19 9/20    121/9 121/10 121/11     way [44] 7/14 7/17     157/15 160/1 161/3
viewing [1] 157/17
                        10/9 10/17 10/19 11/8 121/19 122/3 122/16      8/20 9/9 10/20 20/20   161/4 161/8 161/12
views [3] 157/22
                        11/11 11/21 13/4 15/8 123/2 124/8 124/10       22/13 23/10 26/20      161/25 162/1 162/4
 158/13 162/23
                        18/19 25/6 26/9 26/19 124/11 124/12 124/19     31/17 34/18 39/16      162/6 162/7 162/21
violated [1] 172/7
                        26/21 26/21 27/9       125/9 126/14 126/20     39/22 40/12 44/11      163/4 170/6 170/19
violation [2] 13/17
                        27/11 27/13 27/25      126/20 126/22 126/24    44/24 45/1 47/12       171/17 171/25
 13/25
                        28/13 28/25 29/2 29/4 130/9 130/10 130/11      51/18 51/21 53/22      We'll [1] 172/24
violations [1] 13/11
                        29/23 30/1 30/1 30/3   130/14 130/15 132/22    55/6 60/19 63/23 86/9 we've [1] 5/22
violence [5] 11/12 30/3
                        30/15 30/22 31/3 31/6 136/15 139/21 140/7      112/6 113/9 115/11     weapon [1] 159/23
 124/1 161/22 170/10
                        31/9 31/17 31/18       140/12 140/24 141/2     115/14 116/10 117/3 weapons [2] 75/14
violent [3] 151/21
                        31/20 31/22 31/24      141/10 141/16 142/14    131/18 139/25 147/19 76/5
 156/9 162/10
                        32/4 33/6 34/5 34/5    142/16 142/22 142/24    147/20 153/21 154/7 wearing [10] 83/21
VIP [2] 30/11 30/15
                        34/9 35/1 35/3 35/4    143/6 143/9 143/12      154/16 155/4 157/9     83/23 90/7 90/15
Virginia [1] 81/25
                        35/6 35/7 35/16 35/17 143/13 143/18 145/7      158/9 159/22 159/22    119/12 147/11 147/17
visible [2] 56/5 94/16
                        35/18 36/20 37/5 38/2 146/11 146/14 146/17     163/23                 150/8 152/16 167/5
visit [9] 23/13 25/4
                        38/21 38/23 39/4       146/24 147/1 147/1      we [192] 4/2 4/18 4/23 website [3] 111/16
 30/11 68/17 68/19
                        39/15 39/17 41/2       147/9 147/10 148/16     5/3 5/16 5/23 5/24     111/23 130/13
 68/23 71/1 73/3 155/1
                        42/17 42/19 43/5 45/6 149/22 150/14 152/3      6/15 6/19 9/13 11/18 websites [1] 8/16
visiting [3] 71/25 72/2
                        45/16 46/6 46/22 47/3 152/4 152/5 152/17       11/18 16/16 16/20      wee [1] 69/3
 168/6
                        47/4 47/14 47/19       152/24 152/25 152/25    16/21 23/25 25/23      week [1] 171/17
visitor [3] 19/18 23/17
                        47/24 48/5 48/18       153/2 153/4 154/3       26/25 28/8 29/21       weeks [6] 7/23 153/6
 25/8
                        48/21 49/10 49/22      154/10 154/12 155/10    32/24 33/10 34/14      156/2 160/15 160/16
voice [6] 78/15 78/16
                        49/25 50/1 50/1 50/5   155/19 155/23 156/15    35/15 36/16 37/6 37/9 162/11
 79/18 84/22 84/24
                        50/7 50/9 50/10 51/2   157/25 161/14 162/18    37/11 37/15 37/25      weight [3] 10/11
 92/11
                        51/11 51/19 51/23      162/20 162/22 163/17    38/4 38/8 38/12 40/7   149/12 150/1
void [2] 13/1 13/10
                        52/4 53/21 53/25 54/2 163/18 164/16 165/9      42/13 43/4 43/10       Welcome [5] 4/22
vote [6] 68/14 168/21
                        54/13 54/13 54/15      165/10 165/14 165/15    45/17 45/20 46/5 46/9 61/23 82/5 121/21
 168/25 169/13 170/8
                        54/18 55/3 55/16       165/17 165/20 166/4     46/11 46/18 47/22      145/8
 170/17
                        55/17 55/20 55/25      166/11 166/13 166/14    48/6 48/20 49/13       well [24] 5/19 14/14
votes [3] 8/8 153/14
                        56/2 56/18 57/5 58/4   166/17 166/20 166/21    49/24 50/3 50/4 50/15 25/13 43/2 54/6 54/11
 153/17
                        58/5 58/5 58/5 58/13   166/22 167/2 167/3      52/5 52/12 54/1 54/2   59/2 59/14 59/25 64/1
W                       58/14 58/25 59/14      167/4 167/5 167/10      54/5 54/8 54/14 55/18 66/22 67/6 80/12
waist [1] 27/7          59/16  60/21 60/22     167/13 168/1 168/4      55/23 55/24 56/1 57/1 87/19 96/4 114/21
wait [1] 75/22          61/19 62/9 62/21       168/9 168/22 168/24     62/2 62/23 64/4 64/10 119/7 123/22 134/19
waiting [1] 31/3        62/23 64/6 64/9 64/17 169/13 169/13 169/13     64/11 65/8 65/10       160/21 161/17 162/6
Waldow [3] 54/16        64/18 64/19 66/17      169/18 169/24 169/25    66/25 67/1 67/1 68/25 164/20 171/7
 54/17 54/18            67/24 68/11 68/12      170/4 170/17 170/18     68/25 69/2 69/3 69/11 well-known [1] 160/21
walk [6] 25/17 29/14    68/15 68/16 68/19      170/20 170/25           72/10 72/25 73/20      went [21] 6/15 8/13
 103/15 154/25 156/14   69/13  69/15 70/3 70/5 Washington  [22] 1/4    74/12 74/16 74/17      31/10 32/2 32/3 32/5
 166/19                 70/9 70/10 70/12       1/16 1/24 8/17 88/14    74/22 74/25 75/1 75/2 34/6 59/20 61/1 100/3
walked [6] 29/15 48/20 71/16 72/10 72/11       89/4 111/7 111/8        75/11 75/13 75/14      107/3 123/4 146/1
 97/18 102/16 146/5     73/16  73/21 74/1 74/2 111/13 111/15 111/23    75/15 75/22 77/14      146/7 155/11 162/19
 146/9                  74/5 74/8 74/9 75/3    112/4 112/15 112/18     77/18 78/16 78/18      162/20 163/23 164/1
Walker [1] 170/24       75/16 76/1 76/22       124/11 126/8 139/21     79/6 79/14 79/23       166/9 166/25
walking [6] 41/13       76/24  77/15 78/2      145/24 153/15 166/2     86/11 86/18 88/12      were [116] 7/2 9/11
 41/16 96/6 98/15       78/12 79/2 79/7 79/16 166/9 173/11             94/23 94/25 98/17      9/18 10/21 10/22
 126/23 156/16          79/20 79/22 80/17      Washington, [9] 8/4     98/21 99/7 101/3       15/15 25/3 25/13 27/3
walks [1] 154/19        81/24  82/18 82/19     8/11 17/7 19/21 19/22   101/5 101/25 102/2     27/10 27/15 28/20
walkway [1] 24/16       82/21 82/21 83/6 83/7 92/12 106/1 145/24       102/12 103/2 103/9     29/17 29/25 31/2 32/7



                                                                                               Exhibit D-3
                                                                                           Page 199 of 202
  Case 1:21-cr-00352-JEB                  Document 107-3               Filed 11/15/24          Page 200 of 202
                                                                                                                     200


W                         45/20 47/3 48/20        166/17 167/18 172/3    134/14 159/23            135/6 135/11 137/6
                          50/18 50/24 51/5        172/5                  which [57] 8/15 8/21     137/11 137/19 137/23
were... [100] 34/3 34/7
                          51/23 52/11 52/11       what's [45] 18/13      8/24 9/4 13/17 13/18     144/12 144/12 147/25
34/20 35/12 35/15
                          52/12 52/15 52/24       18/24 28/10 34/11      14/2 15/16 16/8 17/8     149/23 150/17 153/14
35/23 36/8 36/17
                          52/25 53/24 54/12       43/2 44/1 48/12 53/16 23/10 23/17 28/8          153/15 153/16 154/14
37/15 38/6 39/1 39/3
                          54/25 55/1 55/23        69/16 71/4 71/23 72/4 28/13 48/2 56/24          157/15 158/9 159/4
39/7 40/3 40/4 41/2
                          55/24 56/18 56/21       76/17 77/6 85/14       56/25 65/11 88/1         161/6 162/8 165/5
51/5 51/16 51/25
                          57/15 57/21 57/23       91/23 94/14 96/3       90/12 98/21 103/20       168/25 170/12 171/6
53/20 53/24 54/9
                          58/13 59/21 60/6 60/8   96/12 102/20 105/13    111/7 115/9 115/12       172/12 172/14 172/15
54/14 55/1 55/2 55/4
                          60/12 60/23 61/5        107/19 107/20 111/17 119/15 120/14 124/11 172/20
55/7 55/7 55/10 55/11
                          61/11 62/12 63/10       116/6 120/7 120/16     124/23 130/11 130/12 willfully [3] 169/4
55/23 56/21 57/4
                          64/14 65/6 65/13        122/18 125/15 125/20 132/25 140/1 142/11        169/14 169/20
59/24 59/24 60/20
                          65/17 67/18 67/23       125/23 126/16 132/11 143/4 143/16 146/12 willing [1] 158/25
61/8 64/4 64/7 64/21
                          68/2 68/13 68/15        132/24 133/9 133/11    148/3 151/2 151/19       willingly [1] 137/12
65/1 68/8 68/17 68/20
                          68/18 69/6 69/9 69/20   133/16 134/10 136/12 152/12 152/14 152/17 win [1] 155/19
69/22 69/25 69/25
                          69/25 71/8 72/8 73/1    136/14 140/21 148/6    154/7 156/25 159/1       window [1] 60/21
70/10 70/11 71/15
                          73/5 73/8 73/12 73/15   153/19 156/3 156/4     162/19 162/20 162/24 windows [1] 23/24
72/12 74/17 75/12
                          73/15 76/14 76/22       whatever [4] 7/6       167/5 167/15 167/25 wing [5] 52/14 52/19
77/1 77/3 77/3 78/25
                          77/3 78/24 81/12        159/12 163/2 166/16    169/3 169/13 170/7       52/25 56/10 91/6
78/25 83/9 84/13 89/7
                          81/14 82/11 82/18       when [73] 5/5 10/18    170/17 170/25            wish [8] 12/4 80/10
90/2 97/14 108/20
                          82/20 83/5 83/21        10/21 31/2 31/6 32/1 while [10] 9/19 11/4       143/20 143/25 144/14
109/1 109/7 111/3
                          84/22 85/20 86/18       35/10 35/18 38/13      36/8 55/7 58/5 59/5      144/23 164/19 172/19
113/12 113/18 116/4
                          87/2 87/13 87/16        39/16 40/22 41/2       74/17 154/21 163/8       wishes [2] 171/8 171/9
116/9 116/11 122/2
                          87/22 88/12 88/20       43/16 46/11 53/2 53/3 169/13                    within [8] 12/10 19/1
122/6 124/8 124/9
                          89/12 90/7 90/10        54/25 55/1 55/3 56/21 white [3] 89/23 90/16     29/7 30/4 35/20 70/2
127/16 130/5 143/12
                          90/15 90/24 91/10       59/19 60/2 60/3 62/23 136/21                    78/21 116/4
147/18 148/8 148/11
                          91/12 92/19 92/23       73/14 74/20 75/16      who [60] 10/12 10/13 without [6] 62/13 75/9
148/16 148/22 149/4
                          93/6 93/10 94/5 94/14   78/23 81/20 83/7       19/3 25/4 25/16 30/9     79/3 120/22 171/4
153/1 155/21 160/1
                          95/5 95/12 96/22        84/13 87/17 87/25      31/24 33/20 35/23        172/13
165/8 165/8 166/5
                          97/13 99/18 100/6       87/25 88/3 91/15 93/6 40/20 44/11 44/12         witness [9] 2/2 14/25
166/6 168/5 168/6
                          100/8 100/25 102/6      94/22 103/19 107/8     48/8 51/7 51/15 51/20 15/5 15/13 58/3 61/20
168/8 168/18 168/24
                          102/15 102/25 103/14    109/4 109/8 109/8      52/17 53/17 54/17        65/22 66/3 80/13
170/2 170/4 170/11
                          103/17 106/10 106/12    112/23 113/2 113/3     59/24 62/7 69/8 70/16 witnessed [1] 58/4
west [73] 1/20 7/17
                          106/18 107/2 107/17     113/5 115/20 116/12    71/25 72/12 75/13        witnesses [2] 165/8
9/19 10/19 10/20
                          107/20 107/25 108/7     117/17 118/1 121/9     80/5 83/18 87/8 89/18 165/24
23/11 23/11 23/21
                          108/19 108/20 108/25    122/2 123/1 128/10     90/17 91/2 91/4 92/7 woman [1] 134/1
23/25 24/7 24/10
                          109/1 109/6 109/7       128/12 133/21 134/2    92/24 102/3 106/5        won't [5] 132/16
24/15 24/15 24/16
                          109/9 109/10 110/11     148/9 149/4 150/1      115/11 118/18 119/22 144/19 153/12 156/17
24/18 24/19 25/24
                          110/13 110/14 110/20    150/11 150/18 150/22 120/1 120/2 120/3          162/8
25/25 26/24 26/25
                          111/20 111/22 113/17    153/15 154/18 155/8    132/9 136/3 136/20       wooded [1] 86/19
26/25 27/2 27/22
                          114/5 114/14 114/16     155/21 158/14 158/20 136/20 148/22 149/18 word [2] 5/6 153/13
27/25 28/1 28/9 31/10
                          115/5 115/14 116/3      159/2 160/24 167/3     149/18 150/8 157/5       words [1] 79/3
31/25 32/5 33/17 34/9
                          116/19 118/4 119/1      where [80] 13/24 18/22 161/2 161/6 165/8        wore [1] 114/6
35/21 36/4 37/18 38/7
                          119/9 119/17 119/24     19/1 19/19 23/13       166/8 166/22 168/18 work [9] 18/10 28/22
38/7 41/23 42/1 43/12
                          121/2 122/15 123/12     27/25 29/23 31/2 32/2 170/11 171/6              30/6 68/4 81/4 81/5
43/16 43/18 44/4
                          123/20 124/6 124/18     34/1 37/13 38/20       Who's [1] 136/5          82/9 82/11 82/12
47/24 50/20 50/21
                          125/5 125/7 125/20      44/23 45/12 49/18      whole [2] 5/19 74/2      worked [2] 30/13 120/4
50/21 51/3 51/7 52/13
                          126/13 127/6 127/15     53/8 53/10 57/19 59/2 whose [2] 10/14 64/18 working [3] 24/3 46/5
52/15 52/18 52/21
                          128/7 129/1 130/5       62/9 68/4 68/7 68/11 why [21] 8/13 29/20        115/10
56/11 56/12 56/13
                          130/15 130/22 130/24    70/10 73/4 73/6 74/8   34/3 34/3 34/3 51/9      worksheet [1] 72/9
57/1 57/6 63/18 64/22
                          132/5 132/19 132/22     75/9 79/1 81/4 81/9    57/4 58/25 62/21         world [2] 13/8 115/12
95/6 95/6 95/16 99/12
                          133/6 133/23 134/2      89/3 92/15 92/17       73/18 74/15 74/23        worldview [2] 157/4
100/4 147/4 147/11
                          134/11 134/15 134/16    95/15 99/16 100/3      75/10 75/21 76/4         158/9
147/15 148/1 148/7
                          134/21 134/25 134/25    100/12 101/3 101/15    128/15 134/21 134/24 worn [3] 40/17 40/18
148/12 151/4 151/6
                          135/13 135/22 137/4     101/25 102/18 103/11 155/3 162/24 170/20        93/25
151/7
                          139/12 139/16 140/4     105/8 105/10 105/11 wife [2] 70/20 168/6        worse [1] 109/17
western [1] 115/11
                          140/12 140/17 140/24    108/16 110/8 110/9     will [71] 5/16 5/23 5/24 would [104] 6/19 6/21
what [260] 5/20 7/19
                          141/8 141/10 141/16     110/17 111/6 113/2     6/23 7/22 7/22 8/1       7/2 7/25 8/4 8/5 8/6
14/6 14/19 18/9 19/14
                          141/22 142/16 142/24    114/23 121/9 123/25    8/11 9/2 9/13 9/15       8/7 16/21 19/14 21/1
20/9 22/24 23/9 24/7
                          144/22 146/7 146/10     126/22 130/13 147/1    9/18 9/22 9/25 12/21     22/16 23/14 25/4
24/14 25/3 25/22 26/7
                          146/14 146/14 148/14    147/4 147/6 147/14     14/16 14/22 16/4         25/11 25/14 29/21
26/11 26/17 27/21
                          148/16 150/25 152/1     147/23 148/2 148/4     16/25 17/12 29/11        30/2 32/9 32/24 36/24
28/5 28/22 29/25
                          152/1 152/2 153/8       149/10 149/16 150/25 58/10 65/16 66/8           39/17 39/19 42/4 44/7
30/19 31/20 32/10
                          156/20 158/2 158/20     151/12 153/15 154/23 66/25 73/4 73/5 73/5       56/7 56/12 58/18 59/9
33/13 33/15 34/5 35/1
                          158/21 159/2 160/23     155/16 155/20 155/24 73/6 79/14 91/23           64/22 64/23 65/6
35/6 35/8 35/14 36/6
                          161/11 161/25 162/1     158/21 159/21 160/7    94/25 98/17 111/2        65/22 67/13 68/5 68/6
36/20 37/9 38/10
                          162/8 163/17 164/2      162/21 162/21 163/3    118/14 118/18 123/22 68/7 68/21 69/1 69/1
38/12 38/21 39/14
                          164/16 165/10 165/13    166/25                 125/2 125/25 126/25      69/2 69/3 69/7 69/11
39/22 41/5 42/1 42/13
                          165/16 166/6 166/12     whether [4] 14/9 70/5 127/2 127/20 127/25       71/25 72/2 73/21
42/17 42/17 43/10


                                                                                                   Exhibit D-3
                                                                                               Page 200 of 202
 Case 1:21-cr-00352-JEB                Document 107-3             Filed 11/15/24          Page 201 of 202
                                                                                                                 201


W                       35/13 36/3 36/5 36/9   120/18 122/11 122/21 45/4 45/7 45/10 45/14     90/17 90/17 91/7
                        36/15 36/18 36/22      122/24 125/4 125/14    45/17 45/20 45/24       91/10 91/15 91/15
would... [57] 73/23
                        37/10 37/24 37/24      127/19 127/22 129/9    46/3 46/7 46/7 46/11    92/3 92/9 92/12 92/14
74/11 74/12 74/25
                        38/13 39/2 39/11       129/11 130/4 130/8     46/12 46/14 46/16       92/14 92/14 92/17
75/24 76/7 76/8 76/14
                        39/13 39/25 40/6       130/10 130/18 130/23 46/21 47/2 47/2 47/6      92/19 92/21 93/21
79/8 79/10 84/15
                        40/16 40/19 41/1 41/3 131/2 131/4 131/8       47/8 47/8 47/11 47/17   93/25 94/11 94/22
84/21 85/21 86/1
                        41/6 41/9 41/12 41/14 131/11 131/14 131/17 47/21 48/1 48/3 48/17      94/22 95/1 95/2 95/4
86/11 86/19 88/1
                        41/18 41/21 41/24      132/10 133/15 136/2    48/20 49/3 49/8 49/11   95/5 95/7 95/10 95/17
93/13 103/3 106/19
                        42/2 42/15 42/21 43/1 136/11 136/18 136/22 49/16 49/21 49/25          95/22 96/7 96/10
118/20 118/21 119/3
                        43/12 43/20 43/23      137/2 137/8 138/5      49/25 50/2 50/11        96/12 96/17 96/22
119/4 128/15 129/18
                        43/25 44/3 44/10       138/9 138/12 138/14    50/14 50/16 50/22       96/24 97/1 97/8 97/11
130/8 130/19 131/20
                        44/21 45/11 46/2       138/22 139/4 140/9     50/24 51/5 51/9 51/13   97/17 97/18 97/23
132/14 132/25 133/10
                        46/13 46/17 46/20      140/11 140/20 140/23 52/2 52/8 52/13 52/24     97/25 97/25 98/3 98/6
135/16 136/6 136/22
                        47/7 47/13 47/23       141/3 141/12 142/1     53/5 53/6 53/8 53/12    98/11 98/22 98/24
136/23 137/21 138/24
                        48/11 48/21 49/4 49/6 153/4 171/25            53/14 53/20 53/22       99/1 99/3 99/13 99/14
142/3 142/20 143/12
                        49/15 49/17 50/3 50/8 yet [3] 123/24 137/18 53/24 53/25 53/25         99/18 99/21 100/6
144/10 145/4 153/8
                        51/1 51/20 52/10 53/9 151/21                  54/23 54/25 54/25       100/8 100/12 100/16
159/13 160/1 161/8
                        53/13 54/24 55/9      York [1] 1/15           55/23 56/3 56/15        100/19 100/25 101/8
161/8 161/13 161/14
                        55/13 55/25 56/17     you [757] 4/9 4/12 4/14 56/24 57/4 57/8 57/12   101/8 101/11 101/20
162/25 162/25 163/10
                        57/16 58/12 58/17      4/17 4/22 4/22 5/5 5/6 57/15 57/18 57/23       101/21 101/21 101/25
164/21 166/12 170/21
                        58/21 58/24 59/12      5/13 5/19 5/20 6/6 6/7 58/2 58/9 58/22 59/3    102/9 102/15 103/5
172/10
                        59/18 59/20 60/16      6/10 7/22 8/1 8/24     59/5 59/22 60/14        103/6 103/11 103/23
wrap [1] 61/24
                        60/25 61/4 61/9 61/16 9/18 9/22 9/25 10/8     60/14 61/1 61/3 61/3    104/1 104/4 104/6
wrapped [1] 84/1
                        62/8 62/10 63/15       11/16 12/1 12/3 12/4   61/5 61/7 61/20 61/24   104/13 104/15 104/22
writes [3] 155/7 156/5
                        64/16 64/23 67/6       12/4 14/5 14/6 14/8    61/25 62/7 62/9 62/12   104/24 105/1 105/8
161/3
                        68/10 69/5 69/15       14/18 14/20 14/21      62/16 63/5 63/7 63/10   105/13 105/18 105/22
written [8] 114/17
                        69/19 69/24 70/15      14/23 15/4 15/4 16/18 64/22 65/1 65/1 65/6     106/7 106/10 106/14
114/18 138/4 138/6
                        70/22 70/24 71/7       17/16 18/1 18/2 18/7   65/6 65/7 65/10 65/15   106/16 106/20 106/24
138/10 156/9 157/12
                        71/12 71/14 71/16      18/9 18/11 18/15       65/16 65/18 65/20       107/8 107/10 107/11
158/13
                        72/7 72/11 72/14       18/17 18/19 18/22      65/22 65/25 66/1 66/2   107/14 107/17 108/5
wrote [1] 125/9
                        72/17 74/7 74/12 75/8 19/3 19/8 19/10 19/25 66/19 66/19 66/22         108/7 108/16 108/19
X                       75/18 76/21 77/2 77/5 20/3 20/6 20/9 20/22    66/23 66/24 67/4 67/9   109/5 109/21 110/2
x-ray [1] 25/19         77/19 77/22 77/25      21/10  21/19 21/23     67/13 67/18 67/21       110/5 110/8 110/9
Xerox [2] 123/2 155/10 78/4 78/17 79/7 79/13 21/24 22/3 22/20         67/23 68/2 68/8 68/17   110/11 110/16 110/23
                        79/19 79/25 80/3 80/6 22/22 22/24 23/11       68/17 68/24 69/4 69/9   111/3 111/3 111/9
Y                       82/8 82/14 82/17 83/1 23/15 23/15 23/24       69/17 69/22 70/20       111/9 111/17 111/20
yeah [17] 78/22 87/17 83/4 83/11 83/23         24/5 24/6 24/7 24/25   70/25 70/25 71/4 71/5   111/25 112/13 112/16
 87/24 89/21 89/25      84/21 85/4 85/8 85/24 25/7 25/8 25/11 25/14 71/8 71/13 71/15 72/4     112/21 112/23 112/24
 96/18 106/17 107/21    86/1 86/5 86/8 87/1    26/4 26/14 26/15 27/4 72/5 72/12 72/12         113/2 113/2 113/5
 108/9 108/23 109/6     87/5 87/12 87/15 88/5 27/18 27/25 28/2        72/24 73/24 74/11       113/5 113/8 113/8
 109/23 110/1 125/9     88/19 88/23 89/2 89/8 28/10 28/12 28/13       74/20 74/23 75/3 75/6   113/11 113/14 113/17
 126/9 126/19 162/11    89/11 89/16 90/9       28/14  28/17 28/17     75/16 75/24 76/4 76/5   113/19 113/20 114/2
year [3] 108/21 108/22 90/23 91/20 91/22       28/20 28/22 28/24      76/6 76/7 76/8 76/11    114/7 114/9 114/11
 109/2                  92/2 92/20 93/5 93/9   29/6 29/17 30/5 30/6   76/14 76/16 76/19       114/14 114/21 114/23
years [7] 10/1 12/7     93/18 93/24 94/2 94/4  30/7 30/21  30/23 31/2 76/24 77/1 77/3 77/4    115/2 115/20 115/20
 18/12 23/3 26/25 58/6 94/6 94/8 94/10 94/19 31/12 31/13 31/15        77/7 77/10 77/17        115/23 116/1 116/3
 81/8                   94/21 95/23 96/1       31/15 32/1 32/2 32/2   77/23 78/18 78/21       116/9 116/12 116/12
yell [1] 147/22         96/13 96/21 97/7       32/7 32/9  32/12 32/15 79/7 79/8 79/9 79/9     116/12 116/13 116/16
yelled [1] 167/1        97/22 98/5 98/13       33/4 33/7 33/10 33/18 79/10 80/1 80/4 80/9     117/1 117/10 117/17
yelling [8] 45/22 47/4  98/16 99/6 99/9 100/2 33/22 33/24 34/1 34/3 80/10 80/19 80/24         117/23 117/23 117/24
 50/3 158/22 159/2      100/5 100/23 101/7     34/3 34/3 34/7 34/7    81/4 81/4 81/6 81/16    118/1 118/4 119/9
 168/17 169/10 169/25 101/14 101/19 102/2      34/11 34/11 34/23      81/17 81/20 81/20       119/14 120/1 120/6
yellow [4] 44/14 121/4  102/16 102/24  103/12  35/1 35/6  35/8 35/12  81/23 82/3 82/9 82/11   120/13 120/16 120/24
 147/14 148/9           103/22 104/9 104/12    35/12 35/14 36/1 36/6 82/13 82/15 82/24        121/9 121/14 121/18
yells [1] 158/20        104/20 104/23 104/25 36/8 36/10 36/11         83/2 83/5 83/9 83/12    121/22 122/3 122/6
yes [320] 5/4 6/8 17/11 105/7 105/9 105/17     36/12  36/14 37/3 37/8 83/14 83/16 83/21       122/6 122/10 122/12
 19/13 19/23 20/2 20/5 106/4 106/19 106/23     37/9 37/18 38/3 38/6   84/2 84/4 84/4 84/7     123/9 123/10 123/15
 20/8 20/13 20/18 21/9 107/9 107/18 108/14     38/12 38/16 38/20      84/11 84/13 84/13       123/23 124/5 124/15
 21/11 21/13 21/16      108/18 109/3 109/15    39/3 39/9  39/9 39/10  84/13 84/15 84/15       124/21 124/24 125/2
 21/21 22/2 22/5 22/8   109/18 110/12 110/19 39/12 40/1 40/4 40/4     84/19 84/24 85/2 85/6   125/7 125/18 126/3
 22/12 23/7 23/20 24/4 111/5 111/21 112/2      40/8 40/14 40/22       85/14 85/16 85/18       126/10 126/20 127/12
 24/22 25/12 25/16      112/5 113/1 113/7      40/24  41/2 41/5 41/7  85/23 85/25 86/3        128/10 128/10 128/10
 26/21 27/10 28/12      113/10 113/16 113/21 41/19 42/10 42/13        86/16 86/18 86/21       128/11 128/12 128/17
 28/21 28/25 29/4 29/9 114/10 114/15 114/22 42/20 43/2 43/3 43/5      86/24 87/6 87/10        128/20 129/1 129/4
 29/19 30/8 30/16       115/1 115/25 116/2     43/7 43/10  43/13      87/13 87/16 88/3 88/3   129/6 129/9 129/15
 30/18 31/1 31/23 32/3 116/18 116/22 116/24 43/14 43/16 43/21         88/6 88/9 88/14 88/20   129/19 130/2 130/7
 32/11 32/16 32/19      117/2 117/21 117/25    43/21 43/21 44/1 44/5 88/24 89/1 89/14         130/11 130/17 130/19
 32/23 33/12 33/19      118/6 118/12 118/25    44/8 44/11 44/16       89/18 89/24 90/5 90/6   130/22 131/3 131/5
 34/13 34/22 35/5       119/11 119/21 120/2    44/20 44/23 45/2 45/3 90/8 90/12 90/15         131/9 131/25 132/3



                                                                                              Exhibit D-3
                                                                                          Page 201 of 202
 Case 1:21-cr-00352-JEB                  Document 107-3   Filed 11/15/24   Page 202 of 202
                                                                                         202


Y                        117/12 121/14 121/22
                         127/5 127/5 128/1
you... [115] 132/17
                         128/2 128/25 129/14
 133/1 133/4 133/25
                         129/18 130/2 131/5
 134/5 134/8 134/23
                         131/20 132/16 134/23
 135/4 135/7 135/9
                         135/6 135/8 135/11
 135/11 135/12 135/22
                         138/2 138/23 139/4
 136/3 136/8 136/19
                         140/6 142/2 143/19
 137/4 137/20 137/23
                         143/24 144/14 144/18
 138/2 138/6 138/10
                         144/20 145/4 145/10
 138/13 138/15 139/3
                         145/11 146/18 149/15
 139/7 139/10 139/14
                         153/5 157/25 158/4
 139/19 140/2 140/4
                         159/13 162/25 164/9
 140/6 140/14 141/1
                         164/12 165/2 171/10
 141/5 141/19 142/10
                         171/21 171/25 172/15
 142/13 142/16 142/20
                         172/16
 143/3 143/15 143/20
                        yours [1] 128/4
 143/22 144/1 144/9
                        yourself [10] 4/6 33/22
 144/14 144/17 144/17
                         33/24 39/9 44/20
 144/18 144/19 144/20
                         46/12 53/12 53/14
 144/20 144/21 144/22
                         60/15 77/1
 144/23 145/3 145/10
 145/21 147/4 148/13 Z
 149/6 149/10 149/16
                        zip [1] 83/23
 149/23 150/17 150/22
                        zip-up [1] 83/23
 150/23 150/23 150/24
                        zoom [3] 124/21
 150/25 150/25 151/9
                         124/24 129/9
 155/3 155/25 158/9
 158/25 159/17 159/18
 160/19 160/23 160/23
 160/24 160/25 162/25
 162/25 164/17 164/18
 164/19 164/23 164/23
 165/2 165/2 165/3
 165/4 171/11 171/18
 171/21 172/1 172/3
 172/3 172/4 172/5
 172/5 172/14 172/16
 172/18 172/18 172/19
 172/19 172/21 172/23
 172/23 172/23 172/24
You'll [3] 158/22
 158/23 158/24
you're [2] 119/8 161/17
you've [1] 40/12
your [134] 4/7 4/10
 4/19 4/25 5/4 6/3 6/5
 6/7 6/11 10/12 10/24
 11/6 11/25 15/2 15/5
 15/10 16/20 17/5
 17/14 17/23 18/7
 18/24 19/14 20/6
 20/25 21/19 21/22
 21/23 22/3 22/15 24/3
 29/25 32/24 36/2
 36/23 39/7 39/24 40/5
 42/3 43/19 47/11 54/1
 58/2 61/3 61/20 61/21
 62/19 63/7 64/15 65/4
 65/5 65/9 65/10 65/16
 66/5 66/15 66/21 67/6
 67/9 67/13 70/13
 70/25 75/2 76/24
 77/20 78/16 79/18
 80/8 80/24 81/9 81/12
 82/6 82/18 84/8 85/5
 86/3 86/11 86/16 88/7
 93/7 93/19 93/21
 103/3 106/2 111/9
 111/25 112/8 117/5


                                                                               Exhibit D-3
                                                                           Page 202 of 202
